                 Case 6:21-cv-01606-SI             Document 17             Filed 11/29/21   Page 1 of 68




     ELLEN F. ROSENBLUM
     Attorney General
     SHANNON M. VINCENT #054700
     Senior Assistant Attorney General
     KENNETH C. CROWLEY #883554
     Senior Assistant Attorney General
     Department of Justice
     1162 Court Street NE
     Salem, OR 97301-4096
     Telephone: (503) 947-4700
     Fax: (503) 947-4791
     Email: Shannon.M.Vincent@doj.state.or.us
             Sharmon.M.Vincent@doj.state.or.us
             Kenneth.C.Crowley@doj.state.or.us
             Kermeth.C.Crowley@doj.state.or.us

     Attorneys for Defendant Jerry Plante




                                    IN THE UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF OREGON



     MARK WILSON,                                                  Case No. 6:21-cv-01606-SI

                       Plaintiff,                                  JEREMY NOFZIGER'S DECLARATION IN
                                                                   SUPPORT OF DEFENDANT JERRY
                                                                   PLANTE'S RESPONSE IN OPPOSITION TO
              v.
                                                                   PLAINTIFF'S MOTION FOR TEMPORARY
                                                                   RESTRAINING ORDER
     JERRY PLANTE, and JOHN DOES 1-10,

                       Defendants.
     I, Jeremy Nofziger, hereby declare:

              1.       The Oregon Department of Corrections (ODOC) employs me as an Assistant

     Inspector General in the Office of Inspector General.

              2.       I make this declaration from personal knowledge and in reliance on the attached

     records, which are regularly maintained in the ordinary course of ODOC's
                                                                       ODOC’s business.

              3.       I make this declaration in support of Defendant Jerry Plante's
                                                                             Plante’s Response in

     Opposition to Plaintiff's
                   Plaintiff’s Motion for
                                      for Temporary Restraining Order.


Page 1 -   DECLARATION OF JEREMY NOFZIGER
           SMV/jm8/Wilson 1606 PLD Nofziger Declaration iso Defs
                                                            Def's response to TRO.docx
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              4.       On August 9, 2021, Hearings Officer Ronnie Foss opened a prison disciplinary

     hearing in Disciplinary Case No. 2013 OSCI 0056, which arose out of the misconduct report that

     Inspector Jerry Plante issued to AIC Mark Wilson. A true and correct copy of the Finding of

     Fact, Conclusion, and Order is attached to this declaration as Exhibit 1.

              5.                                                             Wilson’s request for
                       On August 10, 2021, Hearings Officer Foss granted Mr. Wilson's

     witnesses in the case. See Ex. 1, p. 1.

              6.       The case was reconvened on August 31, 2021, and concluded. See Ex. 1, p. 1.

              7.                                                                           Wilson’s
                       A true and correct copy of the disciplinary rules applicable to Mr. Wilson's

     disciplinary case is attached to this declaration as Exhibit 2.

              8.       Hearings Officer Foss sanctioned Mr. Wilson for three rule violations: (1) Rule

     4.15, Compromising an Employee (a Level 1 on the Major Violation Grid); (2) Rule 1.11,

     Contraband II (a Level IV on the Major Violation Grid); and (3) Rule 1.26, Unauthorized Use of

     Information Systems II (a Level IV on the Major Violation Grid).

              9.       Because Mr. Wilson was sanctioned for a Level 1 rule violation on the Major

     Violation Grid, he could have petitioned the Inspector General for administrative review.

              10.      Under OAR 291-105-0085, disciplinary actions for Level I rule violations are

     subject to review by the Inspector General. See Ex. 2, p. 27.

              11.                                    “Petitions for administrative review must be
                       OAR 291-105-0085(3) provides: "Petitions

     filed by the AIC and received by the Inspector General within 60 calendar days after the

     preliminary order
     preliminary order becomes
                       becomes the
                               the Final
                                   Final Order
                                         Order under OAR 291-105-0031.
                                               under OAR 291‑105‑0031. Filing
                                                                       Filing aa petition
                                                                                 petition for
                                                                                          for

     administrative review shall not stay the imposition of a sanction."
                                                              sanction.” See Ex. 2, p. 27.

              12.                                           “shall request an administrative review by
                       An AIC seeking administrative review "shall

     completing the Department approved Petition for Administrative Review form and submitting it

     to the Inspector General."
                      General.” OAR 291-105-0085(4). The petition must state the date of the

     hearing, the rule meeting the criteria for review, and sufficient information to show either (a)

     why there was not substantial compliance with OAR 291-105, (b) that the finding was not based

Page 2 -   DECLARATION OF JEREMY NOFZIGER
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     upon a preponderance of the evidence, or (c) that the sanctions imposed were not in accordance

     with provisions set forth in OAR 291-105. Id.

              13.      Here, Mr. Wilson was entitled to seek administrative review for Case No. 2103

     OSCI 0056 because he was sanctioned for a Level I rule violation.

              14.      Mr. Wilson never submitted a petition for administrative review.

              15.      On September 29, 2021, Mr. Wilson's
                                                  Wilson’s counsel submitted a request that Mr.

     Wilson’s disciplinary order "be
     Wilson's                    “be vacated in the interest of justice, pursuant to OAR 291-105-

     0100.” A true and correct copy of the request is attached to this declaration as Exhibit 3.
     0100."

              16.      Inspector General Craig Prins's
                                               Prins’s October 28, 2021, response to Mr. Wilson's
                                                                                         Wilson’s

     request under OAR 291-105-0100 is attached to this declaration as Exhibit 4.

              17.      OAR 291-105-0100 is a separate provision that supplements OAR 291-105-

     0085’s administrative review process. It does not replace the administrative review process.
     0085's

              18.      Mr. Wilson did not exhaust all levels of administrative review available to him

     before filing this lawsuit on November 4, 2021.

              I declare under penalty of perjury that the foregoing is true and correct.

              EXECUTED on November 23, 2021.


                                                                    s/ Jeremy Nofziger
                                                                 JEREMY NOFZIGER




Page 3 -   DECLARATION OF JEREMY NOFZIGER
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                                                               Oregon Department of Corrections
                                                         Disciplinary Hearing
                                                 Finding of Fact, Conclusion, and Order
  Offender Name:                       Wilson, Mark James                                                Case #:                                    2103 OSCI 0056 OSCI 35
  SID:                                 7449142                                                           Date(s) of Hearing:                        08/10/2021, 08/31/2021,
                                                                                                                                                    08/09/2021
 Rules Charged                                                                                              Plea
      4.15 - Compromising an Employee                                                                       Deny
      1.25 - Unauthorized Use Info System I                                                                 Deny
     4.01 - Disobedience of an Order I                                                                      Deny
           1.11 -            Contraband II                                                                  Deny


 Procedural Points
              On August 10, 2021 the Hearings Officer granted the AIC's request for witness(es). The case was reconvened
              on August 31, 2021 and concluded.

              Adult in Custody (AIC) received a copy of the Misconduct Report, Notice of Hearing, Notice of Rights in a
              Hearing and Rules of Prohibited Conduct. The AIC acknowledged understanding the Misconduct Report and
              Rights in a Hearing.

              The Hearings Officer considered the Confidential Information provided and found it to be believable.

              AIC's request for witness(es) was denied because the proffered testimony would not constitute a defense to the
              charges nor substantially mitigate the rule violations.

              All relevant documentary evidence was considered by the Hearings Officer.

       An audio recording of the incident was available and considered by the Hearings Officer.
 Finding of Fact
             On December 4, 2020, an anonymous Adult in Custody (AIC) communication was received by the staff at the
             Oregon State Correctional Institution (OSCI) and reported to the Special Investigations Unit (SIU). The
             communication contained numerous allegations pertaining to Library Coordinator Pam McKinney, AIC Wilson,
             Mark (7449142) and unauthorized activities occurring in the library at OSCI. Inspector III Plante initiated an
             investigation due to the information provided.

             Inspector III Plante reports conducting a search of AIC Wilson's assigned work area in the legal library on
             January 19, 2021. During the search Inspector III Plante found a white plastic child's toy phone. Inspector III
             Plante reports during an interview with Ms. McKinney, she admitted to buying the plastic child's toy phone with
             her own money and giving the plastic child's toy phone to AIC Wilson without Ms. McKinney's supervisor's
             approval.

             Inspector III Plante reports reviewing Ms. McKinney's emails between January 2020 and January 2021.
             Inspector III Plante found hundreds of emails, both incoming and outgoing, associated with AIC Wilson in some
             manner that were with Individuals at an outside justice resource firm, attorneys, other professionals, and other
             individuals. Inspector III Plante reports upon closer review of the emails discovering Ms. McKinney was sending
             and receiving hundreds of pages of attached documents that were sent from or to be given to AIC Wilson.
             Inspector III Plante reports by Ms. McKinney sending these documents for AIC Wilson this saved AIC Wilson a
             significant amount of money along with bypassing the Mailroom.


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                                                              Oregon Department of Corrections
                                                                      Disciplinary Hearing
                                                Finding of Fact, Conclusion, and Order
  Offender Name:                      Wilson, Mark James                                                Case #:                                   2103 OSCI 0056 OSCI 35
  SID:                                7449142                                                           Date(s) of Hearing:                       08/10/2021, 08/31/2021,
                                                                                                                                                  08/09/2021
 Finding of Fact
             Inspector III Plante interviewed AIC Wilson. During the interview AIC Wilson admitted to receiving photographs
             and a video of an former AIC that was placed on a thumb drive by Ms. McKinney, which Ms. McKinney had
             received by email from the former AIC. AIC Wilson sent an email message to the former AIC through Ms.
             McKinney, which was an obituary. Also, in the Interview AIC Wilson admitted to receiving two black thumb drives
             from Ms. McKinney that he was storing all of his legal work on. AIC Wilson stated he was planning on taking the
             two black thumb drives home with him when he was going to leave the institution as they were given to him by
             Ms. McKinney. AIC Wilson admitted to having personal photos, music and videos stored on the thumb drives
             AIC Wilson was to use for work as a Legal Assistant. At one point in the interview AIC Wilson stated,
             "McKinney's biggest sin is being overly helpful, right. I mean seriously, I mean she, she's helpful with stuff, and
             so, uh, it makes it easy to say hey, can we let Katie know this, and she says, yeah, fine, no problem, you know.
             So, you know, it speeds the process up. It's more convenient."

             Confidential Information was provided for the hearing.

             An audio recording was provided for the hearing.

             Emails were provided for the hearing.

            At the hearing, AIC Wilson requested numerous staff, AICs and members of the community be called as
            witnesses. Most of these witnesses were denied as the proffered testimony would not constitute a defense to the
            charges nor substantially mitigate the rule violations. At the hearing, AIC Wilson was asked about the
            photographs and video of the former AIC on the thumb drive, to which AIC Wilson admitted Ms. McKinney gave
            to AIC Wilson and placed on the thumb drive. AIC Wilson admitted Ms. McKinney sent messages and
            documents through email for AIC Wilson. When asked if AIC Wilson had ever asked any other boss or staff other
            than Ms. McKinney to send messages or documents for AIC Wilson, AIC Wilson stated he had not. AIC Wilson
            also stated no other staff, other than Ms. McKinney, had ever sent messages or documents through email for AIC
            Wilson. When asked about the plastic child's toy phone, AIC Wilson became agitated and stated the plastic
            child's toy phone was a Joke from Ms. McKinney.

            There is a preponderance of evidence AIC Wilson engaged in a personal relationship with Ms. McKinney by
            accepting Items that were not authorized such as a plastic child's toy phone, photographs from a former AIC, a
            video of a former AIC, two thumb drives, and having Ms. McKinney send and receive numerous emalls on AIC
            Wilson's behalf.

            There is a preponderance of the evidence AIC Wilson exceeded the conditions of usage of a state owned
            computer that are granted by the Director, functional unit manager or designee by viewing photographs of a
            former AIC and video of a former AIC on the state owned computer for personal use and using that computer to
            share the photographs and video with other AICs.




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                                                                Oregon Department of Corrections
                                                                        Disciplinary Hearing
                                                  Finding of Fact, Conclusion, and Order
   Offender Name:                      Wilson, Mark James                                                 Case #:                                    2103 OSCI 0056 OSCI 35
   SID:                                7449142                                                            Date(s) of Hearing:                        08/10/2021, 08/31/2021,
                                                                                                                                                     08/09/2021
 Finding of Fact

              There is preponderance of the evidence AIC Wilson was in possession of contraband that was not authorized
              that created a threat to the safety, security or orderly operations of the facility as AIC Wilson was in possession of
              an unauthorized plastic child's toy phone in AIC Wilson's work area, photographs of a former AIC on AIC Wilson's
              thumb drive that is to be utilized for work as the Legal Assistant, a video of a former AIC on AIC Wilson's thumb
              drive that is to be utilized for work as the Legal Assistant, music on the thumb drive that is to be utilized for work
              as the Legal Assistant.

 Ultimate Findings of Fact and Conclusions
               AIC knowingly engaged an employee, public safety officer, non-employee service provider, or any person
               involved in DOC programs or activities in a personal relationship or business transaction, excluding AICs or
               visitors approved under DOC visiting rules, thereby, violating Rule 4.15, Compromising an Employee.

               AIC possessed contraband that created a threat to the safety, security, or orderly operation of the facility,
               thereby, violating Rule 1.11.01. The contraband includes tobacco or smoking paraphernalia, unauthorized
               medication, items of barter, checks, money under $10, or unauthorized sexually explicit material.

               On Rule 1.25, Unauthorized Use of Information Systems I, the Hearings Officer is substituting the lesser
               included minor rule violation of Rule 1.26, Unauthorized Use of Information Systems II.

               AIC made copies, viewed video, or listened to audio files for personal use, by operating or using any information
               system equipment (including terminals, personal computers, tablet computers, minicomputers, work stations,
               controllers, printers, copiers, fax machines, or phones) that exceeded the conditions of use or access granted
               by the Director, functional unit manager, or designee, thereby, violating Rule 1.26.02, Unauthorized Use of
               Information Systems

               Rule 4.01, Disobedience of an Order I, is dismissed. Corrective action using less formalized procedures would
               have been more appropriate.

 Preliminary Order
               AIC has had 0 major rule violation(s) in the past two years. Rule 4.15, Compromising an Employee, is on Level
               1 of the Major Violation Grid.




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                                                                Oregon Department of Corrections
                                                          Disciplinary Hearing
                                                  Finding of Fact, Conclusion, and Order
   Offender Name:                      Wilson, Mark James                                                 Case #:                                   2103 OSCI 0056 OSCI 35
   SID:                                7449142                                                            Date(s) of Hearing:                       08/10/2021, 08/31/2021,
                                                                                                                                                    08/09/2021
 Rule           Charge
 Compromising Violation
 an Employee
        Sanctions     Begin Date End Date Days                                                           Amount                 Suspended                                   Notes
                                                                                                                                   Thru
               Disciplinary                  8/31/2021              12/28/2021               120
               Segregation
               suspended                                                                                                          12/28/2021               Suspend $100 Fine
               sanctions                                                                                                                                   pending no major rule
                                                                                                                                                           violations.
               suspended                                                                                                          12/28/2021               Suspend 28 days Loss of
               sanctions                                                                                                                                   Privileges pending no
                                                                                                                                                           major rule violations.
         Confiscate                                                                                                                                        Toy phone, thumb drives,
         Contraband                                                                                                                                        video, photographs.
 Unauthorized     Violation
 Use Info Systm
 II
         Sanctions        Begin Date End Date Days                                                      Amount                  Suspended                                  Notes
                                                                                                                                   Thru
        Merged per                                                                            0
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                                                               Oregon Department of Corrections
                                                                       Disciplinary Hearing
                                                 Finding of Fact, Conclusion, and Order
   Offender Name:                     Wilson, Mark James                                                 Case #:                                     2103 OSCI 0056 OSCI 35
  SID:                                7449142                                                            Date(s) of Hearing:                         08/10/2021, 08/31/2021,
                                                                                                                                                     08/09/2021
 Rule           Charge
 Contraband II  Violation
        Sanctions       Begin Date End Date Days                                                        Amount                  Suspended                                  Notes
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                                                                                                                                                        Correctional Institution




   Hearing Officer:                                  Foss, Ronnie                                                                         Date: 08/31/2021
   Functional Unit Manager:                                                                                                               Date: 9j15
                                                                                                                                                  -1,1-

  Final Order:                       VI....Approved                               Order Hearing Reopened                                         0      Amended per below




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                                           ORS            421.068, 421.180,
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                                           (3) Policy:
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                                                                                                           adults in
                                                                                                                  in custody
                                                                                                                     custody accountable
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                                                                                       Oregon Accountability
                                                                                               Accountability Model   and Correctional
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                                                                                                                                               Management.

                                           ((b)
                                             b) Adults
                                                Adults in
                                                       in custody
                                                          custody under
                                                                  under Department
                                                                        Department of
                                                                                    of Corrections
                                                                                       Corrections supervision
                                                                                                   supervision shall
                                                                                                                shall be
                                                                                                                      be disciplined for violation
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                                                                                                                                                                      of




                                                                                                                                                               fi
                                           p rohibited conduct
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                                                                              with the
                                                                                   the procedures set forth
                                                                                       procedures set forth in
                                                                                                            in these
                                                                                                               these rules.  The primary
                                                                                                                      rules. The primary objectives
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                                                                                                                                                      of these
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                                                                                                                                                               rules are:
                                                                                                                                                                     are:

                                           ((A)
                                             A) To
                                                To provide for the
                                                   provide for the safe,
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                                                                                                orderly management      of Department
                                                                                                                           Department of   Corrections facilities,
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                                                                                                                                                                   the safety
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                                                                                  fi
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                                                          of Department
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                                                                          employees, the
                                                                                       the public,  adults in
                                                                                            public, adults in custody, and property
                                                                                                              custody, and           of the
                                                                                                                            property of the Department
                                                                                                                                            Department of   Corrections;
                                                                                                                                                         of Corrections;

                                           ((B)
                                             B) To
                                                To establish
                                                   establish norms
                                                             norms of   acceptable conduct
                                                                     of acceptable conduct and
                                                                                           and consistent
                                                                                               consistent and
                                                                                                          and fair
                                                                                                              fair procedures for the
                                                                                                                   procedures for the processing
                                                                                                                                      processing of misconduct
                                                                                                                                                 of misconduct
                                           reports for
                                           reports   for adults
                                                         adults in
                                                                in custody
                                                                   custody

                                           ((C)
                                             C) To
                                                To allow
                                                   allow aa range
                                                            range of
                                                                  of appropriate
                                                                     appropriate disciplinary sanctions for
                                                                                 disciplinary sanctions for violation
                                                                                                            violation of
                                                                                                                      of the
                                                                                                                         the rules of prohibited
                                                                                                                             rules of prohibited conduct for adults
                                                                                                                                                 conduct for adults in
                                                                                                                                                                    in
                                           ccustody;
                                             ustody; and
                                                      and

                                           (D) To
                                           (D) To encourage
                                                  encourage positive
                                                            positive behavioral change.
                                                                     behavioral change.

                                           ((c)
                                             c) To
                                                To promote these objectives,
                                                   promote these objectives, adults  in custody
                                                                              adults in          found in
                                                                                        custody found    in violation
                                                                                                            violation of
                                                                                                                      of the
                                                                                                                         the rules
                                                                                                                             rules of
                                                                                                                                   of prohibited
                                                                                                                                      prohibited conduct
                                                                                                                                                 conduct are
                                                                                                                                                         are issued
                                                                                                                                                             issued
                                           individualized sanctions
                                           individualized  sanctions based  upon the
                                                                      based upon  the totality
                                                                                       totality of the circumstances
                                                                                                of the circumstances (including
                                                                                                                        (including input
                                                                                                                                   input from
                                                                                                                                         from stakeholders,
                                                                                                                                               stakeholders, and
                                                                                                                                                             and the
                                                                                                                                                                 the adult
                                                                                                                                                                     adult
                                           in custody’s
                                           in  custody's behavior, strengths, and
                                                         behavior, strengths, and needs,  subject to
                                                                                  needs, subject       modi cation upon
                                                                                                    to modification  upon order
                                                                                                                            order of the Hearings
                                                                                                                                  of the           Of cer and
                                                                                                                                         Hearings Officer      functional
                                                                                                                                                          and functional
                                                                                                           fi
                                                                                                                                                    fi
                                           unit manager
                                           unit           or designee.
                                                 manager or  designee.

                                           ((d)
                                             d) The
                                                The Department
                                                    Department intends
                                                                 intends that
                                                                         that the
                                                                              the authorization
                                                                                  authorization in
                                                                                                in OAR
                                                                                                   OAR 291-105-0100
                                                                                                         291-105-0100 to to withdraw
                                                                                                                            withdraw an
                                                                                                                                      an order
                                                                                                                                         order and
                                                                                                                                               and direct   the
                                                                                                                                                    direct the
                                           d isciplinary hearing
                                            disciplinary         to be
                                                         hearing to    reopened applies
                                                                    be reopened  applies retroactively
                                                                                         retroactively to
                                                                                                       to disciplinary
                                                                                                          disciplinary orders
                                                                                                                       orders issued
                                                                                                                              issued on,
                                                                                                                                     on, before, or after
                                                                                                                                         before, or after these
                                                                                                                                                          these rules.
                                                                                                                                                                rules.

                                           Statutory/Other Authority:
                                           Statutory/Other       Authority: ORSORS 179.040,
                                                                                      179.040, 421.068,
                                                                                               421.068, 421.180,
                                                                                                         421.180, 423.020,
                                                                                                                  423.020, 423.030
                                                                                                                           423.030 &
                                                                                                                                   & 423.075
                                                                                                                                     423.075
                                           Statutes/Other Implemented:
                                           Statutes/Other      Implemented: ORS   ORS 179.040,
                                                                                        179.040, 421.068,
                                                                                                  421.068, 421.180,
                                                                                                           421.180, 423.020,
                                                                                                                    423.020, 423.030
                                                                                                                             423.030 &
                                                                                                                                     & 423.075
                                                                                                                                       423.075
                                           History:
                                           History:
                                           DOC 25-2020,
                                           DOC   25-2020, amend
                                                              amend filed led 12/14/2020,
                                                                              12/14/2020, effective
                                                                                             effective 12/15/2020
                                                                                                       12/15/2020
                                                                   fi
                                           DOC 24-2011,
                                           DOC   24-2011, f.  f. 12-2-11,
                                                                 12-2-11, cert.
                                                                            cert. ef.
                                                                                  ef. 12-7-11
                                                                                      12-7-11
                                           DOC 11-2011(Temp),
                                           DOC   11-2011(Temp), f.     f. &
                                                                          & cert.
                                                                            cert. ef. 6-10-11 thru
                                                                                  ef. 6-10-11 thru 12-7-11
                                                                                                    12-7-11
                                           DOC 9-2005,
                                           DOC   9-2005, f.f. 7-22-05,
                                                              7-22-05, cert.
                                                                           cert. ef.
                                                                                 ef. 7-24-05
                                                                                     7-24-05
                                           DOC 6-2002,
                                           DOC   6-2002, f.f. 4-30-02,
                                                              4-30-02, cert.
                                                                           cert. ef.
                                                                                 ef. 5-1-02
                                                                                     5-1-02
                                           CD 16-1996,
                                           CD 16-1996, f. f. 11-13-96,
                                                             11-13-96, cert.cert. ef.
                                                                                  ef. 11-15-96
                                                                                      11-15-96
                                           CD 8-1992,
                                           CD          f. 3-27-92,
                                              8-1992, f.  3-27-92, cert.      ef. 4-15-92
                                                                        cert. ef. 4-15-92
                                           CD 5-1989,
                                           CD          f. &
                                               5-1989, f. & cert.
                                                               cert. ef.  4-21-89
                                                                      ef. 4-21-89
                                           CD 29-1986,
                                           CD  29-1986, f.f. &
                                                             & ef.
                                                                 ef. 8-20-86
                                                                     8-20-86
                                           CD 6-1986(Temp),
                                           CD 6-1986(Temp), f.     f. 3-14-86,   ef. 4-15-86
                                                                      3-14-86, ef.   4-15-86
                                           CD 30-1985,
                                           CD  30-1985, f.f. &
                                                             & ef.
                                                                 ef. 8-16-85
                                                                     8-16-85
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                                                                                                                Declaration of
                                                                                                                Declaration of Nofziger,
                                                                                                                               Nofziger, Exhibit
                                                                                                                                         Exhibit 2,
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                                                                                           of State
                                                                                              State Administrative
                                                                                                    Administrative Rules
                                                                                                                   Rules
                                        CD 8-1985(Temp),
                                        CD 8-1985(Temp), f.  f. &
                                                                & ef.
                                                                   ef. 6-19-85
                                                                       6-19-85
                                        CD 25-1982,
                                        CD 25-1982, f.f. &
                                                         & ef.
                                                           ef. 11-19-82
                                                               11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f.f. &
                                                         & ef.
                                                           ef. 4-15-80
                                                               4-15-80
                                        CD 19-1979(Temp),
                                        CD 19-1979(Temp), f.    f. &
                                                                   & ef.
                                                                     ef. 10-19-79
                                                                         10-19-79
                                        CD 7-1979,
                                        CD 7-1979, f.
                                                   f. &
                                                      & ef.
                                                         ef. 3-14-79
                                                             3-14-79


                                        2 91-105-0010
                                        291-105-0010
                                        De nitions
                                        Definitions




                                           fi
                                        (1) Adjudicator:
                                        (1) Adjudicator: The
                                                         The assigned
                                                             assigned employee
                                                                      employee within
                                                                                 within the
                                                                                        the facility
                                                                                            facility responsible for the
                                                                                                     responsible for the disposition
                                                                                                                         disposition of
                                                                                                                                     of all informal hearings
                                                                                                                                        all informal hearings and
                                                                                                                                                              and
                                        minor misconduct
                                        minor  misconduct reports  that are
                                                           reports that are to
                                                                            to be
                                                                               be adjudicated without aa formal
                                                                                  adjudicated without    formal hearing.
                                                                                                                 hearing.

                                        (2) Adult
                                        (2) Adult in
                                                  in Custody
                                                     Custody (AIC):    A person
                                                                (AIC): A           incarcerated or
                                                                         person incarcerated     or detained  in a
                                                                                                    detained in  a correctional     facility who
                                                                                                                    correctional facility    who is
                                                                                                                                                  is accused
                                                                                                                                                     accused of,
                                                                                                                                                              of, convicted of or
                                                                                                                                                                  convicted of or
                                        sentenced for
                                        sentenced   for aa violation
                                                           violation of
                                                                     of criminal
                                                                        criminal law   or for
                                                                                   law or for the
                                                                                              the violation
                                                                                                  violation of
                                                                                                            of the
                                                                                                               the terms
                                                                                                                     terms and
                                                                                                                            and conditions
                                                                                                                                  conditions ofof pretrial
                                                                                                                                                  pretrial release,
                                                                                                                                                           release, probation,
                                                                                                                                                                    probation,
                                        p arole, post-prison
                                        parole,                supervision, or
                                                 post-prison supervision,    or aa diversion
                                                                                   diversion program.   For the
                                                                                              program. For  the purposes
                                                                                                                 purposes of of these
                                                                                                                                 these rules,
                                                                                                                                        rules, AIC
                                                                                                                                               AIC includes
                                                                                                                                                    includes individuals
                                                                                                                                                              individuals who
                                                                                                                                                                           who
                                        are in
                                        are in the
                                               the legal
                                                   legal custody   of the
                                                          custody of  the Department
                                                                          Department of   of Corrections
                                                                                             Corrections but
                                                                                                          but are   temporarily outside
                                                                                                               are temporarily     outside ofof the
                                                                                                                                                the physical
                                                                                                                                                     physical custody  of the
                                                                                                                                                              custody of  the
                                        Department of
                                        Department        Corrections for
                                                      of Corrections    for reasons
                                                                            reasons that
                                                                                      that include,
                                                                                            include, but are not
                                                                                                     but are not limited   to, transport,
                                                                                                                  limited to,               court proceeding,
                                                                                                                               transport, court    proceeding, medical
                                                                                                                                                                 medical
                                        appointments, work
                                        appointments,     work assignment,
                                                                assignment, programs,
                                                                              programs, or    interstate compact.
                                                                                           or interstate compact. AIC AIC also  includes those
                                                                                                                          also includes    those who
                                                                                                                                                  who have
                                                                                                                                                       have been   released onto
                                                                                                                                                             been released   onto
                                        Short-Term Transitional
                                        Short-Term   Transitional Leave,
                                                                    Leave, Non-Prison
                                                                           Non-Prison leave,
                                                                                          leave, or emergency leave.
                                                                                                 or emergency    leave.

                                        (3) Attempt
                                        (3) Attempt: Conduct
                                                     Conduct that
                                                             that constitutes
                                                                  constitutes a substantial step
                                                                              a substantial step towards
                                                                                                 towards the
                                                                                                         the commission
                                                                                                             commission of
                                                                                                                        of aa rule
                                                                                                                              rule violation.
                                                                                                                                   violation.

                                        (4) Calendar
                                        (4) Calendar Day:
                                                     Day: All
                                                          All weekdays,
                                                              weekdays, weekends,
                                                                        weekends, and
                                                                                  and holidays.
                                                                                      holidays.

                                        (5) Conduct
                                        (5) Conduct Order:
                                                      Order: An
                                                             An Oregon
                                                                 Oregon Department
                                                                          Department of    Corrections form
                                                                                        of Corrections   form that
                                                                                                              that allows  for various
                                                                                                                    allows for various interventions
                                                                                                                                       interventions to
                                                                                                                                                     to affect
                                                                                                                                                        affect positive
                                                                                                                                                               positive
                                        b ehavioral change,
                                        behavioral  change, and  without the
                                                             and without  the need
                                                                               need for
                                                                                    for aa disciplinary
                                                                                           disciplinary hearing,
                                                                                                        hearing, in
                                                                                                                 in accordance
                                                                                                                    accordance with
                                                                                                                                 with OAR   291-105-0021(1).
                                                                                                                                      OAR 291-105-0021(1).
                                        Restriction of
                                        Restriction  of an
                                                        an AIC's
                                                           AIC’s privileges
                                                                 privileges through
                                                                            through aa conduct
                                                                                       conduct order    can be
                                                                                                 order can     for no
                                                                                                            be for no more  than 72
                                                                                                                       more than  72 hours.
                                                                                                                                     hours.

                                        (6) Conspiracy:
                                        (6) Conspiracy: An
                                                        An agreement
                                                           agreement between an AIC
                                                                     between an AIC and
                                                                                    and one
                                                                                        one or more persons
                                                                                            or more         to engage
                                                                                                    persons to engage in,
                                                                                                                      in, cause,
                                                                                                                          cause, or
                                                                                                                                 or conceal
                                                                                                                                    conceal aa rule
                                                                                                                                               rule violation.
                                                                                                                                                    violation.

                                        (7) Contraband:
                                        (7) Contraband: Any
                                                         Any article
                                                              article or
                                                                      or thing
                                                                         thing that
                                                                               that an
                                                                                    an AIC
                                                                                       AIC is
                                                                                           is prohibited
                                                                                              prohibited by  statute, rule,
                                                                                                          by statute, rule, or
                                                                                                                            or order
                                                                                                                               order from
                                                                                                                                     from obtaining
                                                                                                                                           obtaining or
                                                                                                                                                     or possessing, that
                                                                                                                                                        possessing, that
                                        the AIC
                                        the AIC is
                                                is not speci cally authorized
                                                   not specifically             to obtain
                                                                    authorized to  obtain or
                                                                                          or possess, or that
                                                                                             possess, or that the
                                                                                                              the AIC
                                                                                                                  AIC alters
                                                                                                                       alters without
                                                                                                                               without authorization.
                                                                                                                                        authorization.
                                                              fi
                                        (8) Controlled
                                        (8) Controlled Substance:
                                                       Substance: A
                                                                  A drug or its
                                                                    drug or its precursor
                                                                                precursor as
                                                                                          as listed in ORS
                                                                                             listed in ORS 475.005
                                                                                                           475.005 through
                                                                                                                   through 475.999.
                                                                                                                           475.999.

                                        (9) Dangerous
                                        (9) Dangerous or
                                                       or Deadly
                                                          Deadly Weapon:
                                                                  Weapon: AnyAny instrument,
                                                                                 instrument, article,
                                                                                             article, or
                                                                                                      or substance speci cally designed
                                                                                                         substance specifically          for or
                                                                                                                                designed for or readily capable of
                                                                                                                                                readily capable of

                                                                                                                                fi
                                        ccausing
                                          ausing death or serious
                                                 death or serious physical injury.
                                                                  physical injury.

                                        (10) Deadly
                                        (10) Deadly Force:
                                                    Force: Physical
                                                            Physical force
                                                                     force that,
                                                                           that, under
                                                                                 under the
                                                                                       the circumstances
                                                                                           circumstances in
                                                                                                         in which
                                                                                                            which it
                                                                                                                  it is
                                                                                                                     is used,
                                                                                                                        used, is
                                                                                                                              is readily
                                                                                                                                 readily capable
                                                                                                                                         capable of causing death
                                                                                                                                                 of causing death or
                                                                                                                                                                  or
                                        serious physical
                                        serious          injury.
                                                physical injury.

                                        (11) Department
                                        (11) Department of
                                                        of Corrections
                                                           Corrections Facility:
                                                                       Facility: Any
                                                                                 Any institution,
                                                                                     institution, facility,
                                                                                                  facility, or
                                                                                                            or employee of ce, including
                                                                                                               employee office, including the
                                                                                                                                          the grounds,
                                                                                                                                              grounds, operated
                                                                                                                                                       operated by
                                                                                                                                                                by
                                                                                                                                     fi
                                        the Department
                                        the Department of
                                                       of Corrections.
                                                          Corrections.

                                        (12) Distribution:
                                        (12) Distribution: The
                                                           The transfer
                                                               transfer of
                                                                        of contraband from one
                                                                           contraband from one person to another.
                                                                                               person to another. This
                                                                                                                  This term
                                                                                                                       term includes
                                                                                                                            includes smuggling
                                                                                                                                     smuggling or
                                                                                                                                               or the
                                                                                                                                                  the deliberate
                                                                                                                                                      deliberate
                                        d estruction of
                                        destruction     evidence.
                                                     of evidence.

                                        (13) Drugs:
                                        (13) Drugs: Any
                                                    Any controlled substance as
                                                        controlled substance    listed in
                                                                             as listed in ORS
                                                                                          ORS 475.005
                                                                                              475.005 through
                                                                                                      through 475.999.
                                                                                                              475.999.

                                        (14) Electronic
                                        (14) Electronic Communication
                                                        Communication Device:
                                                                      Device: AA device
                                                                                 device designed to be
                                                                                        designed to    used for
                                                                                                    be used for or is readily
                                                                                                                or is         capable of
                                                                                                                      readily capable of being used for
                                                                                                                                         being used for making
                                                                                                                                                        making
                                        or receiving
                                        or receiving wireless
                                                     wireless communication
                                                              communication transmissions.
                                                                            transmissions.

                                        (15) Employee:
                                        (15) Employee: Any
                                                       Any person
                                                           person who is employed
                                                                  who is employed full
                                                                                   full time,
                                                                                        time, part time, or
                                                                                              part time, or under
                                                                                                            under temporary
                                                                                                                  temporary employment
                                                                                                                            employment by the Department
                                                                                                                                       by the Department of
                                                                                                                                                         of
                                        Corrections or
                                        Corrections or Oregon
                                                       Oregon Corrections
                                                              Corrections Enterprises.
                                                                          Enterprises.

                                        (16) Escape
                                        (16) Escape Device:
                                                     Device: Any
                                                             Any item
                                                                 item designed      for, physically
                                                                        designed for,    physically altered for, or
                                                                                                    altered for, or readily
                                                                                                                    readily capable of being
                                                                                                                            capable of       used to
                                                                                                                                       being used to facilitate
                                                                                                                                                     facilitate an escape
                                                                                                                                                                an escape
                                        from aa secure
                                        from    secure housing unit, a
                                                       housing unit,   facility, or
                                                                     a facility, or from
                                                                                    from custody.
                                                                                           custody.

                                        (17) Facility:
                                        (17) Facility: Any
                                                       Any institution,
                                                           institution, facility,
                                                                        facility, or
                                                                                  or employee of ce, including
                                                                                     employee office, including the
                                                                                                                the grounds,
                                                                                                                    grounds, that
                                                                                                                             that an
                                                                                                                                  an AIC
                                                                                                                                     AIC under
                                                                                                                                         under the
                                                                                                                                               the supervision
                                                                                                                                                   supervision of the
                                                                                                                                                               of the
                                                                                                   fi
                                        Department of
                                        Department        Corrections is
                                                       of Corrections is assigned.
                                                                         assigned.

                                        (18) Fine:
                                        (18) Fine: A
                                                   A monetary sanction imposed
                                                     monetary sanction imposed in
                                                                                in accordance
                                                                                   accordance with
                                                                                              with these
                                                                                                   these rules
                                                                                                         rules (OAR
                                                                                                               (OAR 291-105.)
                                                                                                                    291-105.) AIC   nes shall
                                                                                                                              AIC fines shall be
                                                                                                                                              be deposited as
                                                                                                                                                 deposited as
                                                                                                                                                 fi
                                        established under
                                        established  under ORS
                                                           ORS 421.068
                                                               421.068 as
                                                                        as con  scated funds.
                                                                           confiscated funds.
                                                                                    fi
                                        (19) Functional
                                        (19) Functional Unit
                                                         Unit: Any
                                                               Any organizational
                                                                   organizational component
                                                                                  component within
                                                                                            within the Department of
                                                                                                   the Department of Corrections
                                                                                                                     Corrections responsible for the
                                                                                                                                 responsible for the delivery
                                                                                                                                                     delivery
                                        of services
                                        of services or
                                                    or coordination  of programs.
                                                       coordination of  programs.

                                        (20) Functional
                                        (20) Functional Unit
                                                        Unit Manager:
                                                             Manager: Any
                                                                        Any person
                                                                            person within   the Department
                                                                                     within the  Department ofof Corrections
                                                                                                                 Corrections who
                                                                                                                              who reports  to either
                                                                                                                                   reports to either the
                                                                                                                                                     the Director,
                                                                                                                                                         Director,
                                        Deputy Director,
                                        Deputy  Director, an
                                                          an assistant director, or
                                                             assistant director, or an administrator, and
                                                                                    an administrator, and who   has responsibility
                                                                                                          who has   responsibility for
                                                                                                                                   for the
                                                                                                                                       the delivery of program
                                                                                                                                           delivery of program
                                        services or
                                        services or coordination
                                                    coordination of
                                                                  of program  operations. In
                                                                     program operations.  In aa correctional
                                                                                                correctional setting
                                                                                                             setting the functional unit
                                                                                                                     the functional unit manager
                                                                                                                                         manager is
                                                                                                                                                  is the
                                                                                                                                                     the
                                        superintendent.
                                        superintendent.


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                                                                                                                Declaration of Nofziger,
                                                                                                                               Nofziger, Exhibit
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                                                                                                of State
                                                                                                   State Administrative
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                                                                                                                        Rules
                                        (21) Good
                                        (21) Good Cause:
                                                   Cause: Adequate
                                                          Adequate oror substantial
                                                                        substantial grounds
                                                                                    grounds oror reason to take
                                                                                                 reason to take (or
                                                                                                                (or not  take) an
                                                                                                                    not take)  an action
                                                                                                                                  action prescribed
                                                                                                                                         prescribed by law. What
                                                                                                                                                    by law. What
                                        cconstitutes
                                          onstitutes good
                                                     good cause
                                                          cause is
                                                                is usually
                                                                   usually determined
                                                                           determined on
                                                                                       on aa case-by-case
                                                                                             case-by-case basis  and is
                                                                                                           basis and is thus
                                                                                                                        thus relative.
                                                                                                                             relative.

                                        (22) Hearings
                                        (22)          Of cer: A
                                             Hearings Officer: A DOC
                                                                 DOC employee assigned to
                                                                     employee assigned to review and adjudicate
                                                                                          review and adjudicate misconduct reports through
                                                                                                                misconduct reports through aa formal
                                                                                                                                              formal hearing.
                                                                                                                                                     hearing.




                                                          fi
                                        (23) Intoxicant:
                                        (23) Intoxicant: Any
                                                         Any substance,
                                                             substance, including
                                                                          including but not limited
                                                                                    but not limited to,
                                                                                                    to, unauthorized
                                                                                                        unauthorized medication,
                                                                                                                      medication, alcoholic
                                                                                                                                   alcoholic beverages,
                                                                                                                                             beverages, and
                                                                                                                                                        and
                                        inhalants, which
                                        inhalants, which causes
                                                          causes aa disturbance  of mental
                                                                    disturbance of         or physical
                                                                                    mental or physical capacity  resulting from
                                                                                                        capacity resulting from the
                                                                                                                                the introduction
                                                                                                                                    introduction of
                                                                                                                                                 of the
                                                                                                                                                    the substance
                                                                                                                                                        substance in
                                                                                                                                                                  in
                                        the body.
                                        the body.

                                        (24) Lesser
                                        (24)   Lesser Included
                                                       Included Violation:
                                                                 Violation: Any
                                                                            Any violation
                                                                                violation which is aa lesser
                                                                                          which is    lesser degree of the
                                                                                                             degree of the charged violation (for
                                                                                                                           charged violation (for example,
                                                                                                                                                  example, AIC
                                                                                                                                                           AIC Assault
                                                                                                                                                               Assault
                                        III is
                                        III is aa lesser
                                                  lesser included
                                                         included violation
                                                                  violation of AIC Assault
                                                                            of AIC Assault II.)
                                                                                           IL)

                                        (25) Local
                                        (25) Local Jail:
                                                   Jail: Any
                                                         Any city
                                                             city or county lock-up
                                                                  or county lock‑up or
                                                                                    or local
                                                                                       local correctional
                                                                                             correctional facility.
                                                                                                          facility.

                                        (26) Money:
                                        (26) Money: Cash,
                                                    Cash, money
                                                          money orders,
                                                                orders, personal
                                                                        personal checks,
                                                                                 checks, warrants,
                                                                                         warrants, certi  ed checks,
                                                                                                   certified checks, and
                                                                                                                     and other
                                                                                                                         other remittances.
                                                                                                                               remittances.




                                                                                                                     fi
                                        (27) Non-Employee
                                        (27) Non-Employee Service
                                                              Service Provider
                                                                      Provider (NSP):
                                                                                (NSP): An
                                                                                       An individual
                                                                                           individual who
                                                                                                      who provides
                                                                                                          provides services
                                                                                                                   services or
                                                                                                                            or programs  to the
                                                                                                                               programs to  the Department
                                                                                                                                                Department or  to
                                                                                                                                                            or to
                                        AICs, but
                                        AICs,     not as
                                              but not as aa paid employee of
                                                            paid employee     the Department.
                                                                           of the Department. Examples
                                                                                                 Examples of
                                                                                                          of non-employee
                                                                                                             non-employee service
                                                                                                                            service providers include contractors,
                                                                                                                                    providers include contractors,
                                        volunteers, mentors,
                                        volunteers, mentors, criminal   justice partners,
                                                               criminal justice           and government
                                                                                partners, and government agency
                                                                                                           agency partners.
                                                                                                                  partners.

                                        (28) Non-Prison
                                        (28) Non-Prison Leave:
                                                         Leave: AA period of leave
                                                                   period of leave preceding  an established
                                                                                   preceding an              release date
                                                                                                 established release      granted to
                                                                                                                     date granted   to AICs
                                                                                                                                       AICs successfully
                                                                                                                                             successfully completing
                                                                                                                                                          completing
                                        the institution
                                        the institution phase of an
                                                        phase of an Alternative
                                                                    Alternative Incarceration
                                                                                Incarceration Program.
                                                                                               Program. Non-Prison   Leave is
                                                                                                         Non-Prison Leave   is designed
                                                                                                                               designed toto provide AICs with
                                                                                                                                             provide AICs with
                                        transitional opportunities
                                        transitional                that promote
                                                     opportunities that           successful reintegration
                                                                         promote successful  reintegration into
                                                                                                           into the
                                                                                                                the community
                                                                                                                    community andand is
                                                                                                                                      is granted
                                                                                                                                         granted in
                                                                                                                                                 in accordance
                                                                                                                                                    accordance with
                                                                                                                                                               with
                                        O RS 137.751,
                                        ORS             ORS 421.508,
                                              137.751, ORS  421.508, ORS
                                                                      ORS 421.510
                                                                            421.510 and
                                                                                     and the
                                                                                         the Department's
                                                                                             Department’s rule   on Alternative
                                                                                                            rule on Alternative Incarceration
                                                                                                                                 Incarceration Programs
                                                                                                                                                Programs (OAR
                                                                                                                                                           (OAR 291-
                                                                                                                                                                291-
                                        062).
                                        062).

                                        (29) Officer-in-Charge:
                                        (29) Of cer-in-Charge: That
                                                                 That person
                                                                      person designated
                                                                             designated by   the functional
                                                                                          by the functional unit
                                                                                                            unit manager to supervise
                                                                                                                 manager to supervise the
                                                                                                                                      the facility
                                                                                                                                          facility and
                                                                                                                                                   and make
                                                                                                                                                       make
                                                  fi
                                        o perational decisions
                                        operational            in accordance
                                                     decisions in            with policy,
                                                                  accordance with         rule, or
                                                                                  policy, rule, or procedure
                                                                                                   procedure during
                                                                                                             during periods
                                                                                                                    periods when the functional
                                                                                                                            when the  functional unit
                                                                                                                                                  unit manager
                                                                                                                                                       manager is
                                                                                                                                                               is
                                        not readily
                                        not readily available.
                                                    available.

                                        (30) Order:
                                        (30) Order: Any
                                                      Any direction
                                                          direction given
                                                                    given to
                                                                           to an AIC that
                                                                              an AIC  that directs
                                                                                           directs or forbids the
                                                                                                   or forbids the doing
                                                                                                                  doing of   some act
                                                                                                                          of some act over which the
                                                                                                                                      over which the AIC
                                                                                                                                                     AIC has  control.
                                                                                                                                                          has control.
                                        An order
                                        An        may be
                                            order may      written, verbal,
                                                        be written, verbal, or
                                                                            or gestured
                                                                               gestured communication      (including all
                                                                                          communication (including        Department of
                                                                                                                      all Department      Corrections rules;
                                                                                                                                       of Corrections        functional
                                                                                                                                                      rules; functional
                                        unit rules,
                                        unit rules, and
                                                    and procedures;  all federal,
                                                        procedures; all  federal, state,
                                                                                  state, and
                                                                                         and local
                                                                                             local laws;
                                                                                                   laws; conditions of leave;
                                                                                                         conditions of         and court-ordered
                                                                                                                       leave; and                 terms and
                                                                                                                                   court-ordered terms   and
                                        cconditions).
                                          onditions).

                                        (31) Oregon
                                        (31) Oregon Corrections
                                                    Corrections Enterprises
                                                                 Enterprises (OCE):
                                                                             (OCE): AA semi-independent
                                                                                       semi-independent state
                                                                                                          state agency
                                                                                                                agency established   under ORS
                                                                                                                         established under      421.344 that
                                                                                                                                           ORS 421.344  that is
                                                                                                                                                             is a
                                                                                                                                                                a
                                        non-Department of
                                        non-Department   of Corrections
                                                            Corrections agency
                                                                        agency or
                                                                                or division. For purposes
                                                                                   division. For          of this
                                                                                                 purposes of this rule
                                                                                                                  rule only, Oregon Corrections
                                                                                                                       only, Oregon Corrections Enterprises
                                                                                                                                                Enterprises shall
                                                                                                                                                            shall
                                        not be
                                        not    considered an
                                            be considered    external organization.
                                                          an external organization.

                                        (32) Physical
                                        (32) Physical Force:
                                                      Force: The
                                                             The use
                                                                  use of
                                                                       of hands, other parts
                                                                          hands, other        of the
                                                                                        parts of the body,
                                                                                                     body, objects,   instruments, chemical
                                                                                                             objects, instruments, chemical devices,
                                                                                                                                            devices, electronic
                                                                                                                                                     electronic devices,
                                                                                                                                                                devices,
                                          rearms, or
                                        firearms, or other
                                                     other physical
                                                           physical methods     used to
                                                                      methods used   to restrain,
                                                                                        restrain, subdue,
                                                                                                  subdue, control,
                                                                                                            control, or
                                                                                                                     or intimidate
                                                                                                                        intimidate another
                                                                                                                                   another person, or to
                                                                                                                                           person, or to compel
                                                                                                                                                         compel
                                        fi
                                        another person
                                        another         to act
                                                person to  act in
                                                               in aa particular way or
                                                                     particular way     to stop
                                                                                    or to  stop acting in aa particular
                                                                                                acting in    particular way.
                                                                                                                        way.

                                        (33) Physical
                                        (33) Physical Injury:
                                                       Injury: Impairment
                                                               Impairment ofof physical condition or
                                                                               physical condition    substantial pain.
                                                                                                  or substantial       An impairment
                                                                                                                 pain. An impairment of
                                                                                                                                      of physical condition can
                                                                                                                                         physical condition can
                                        include, but
                                        include,     is not
                                                 but is not limited to, an
                                                            limited to, an abrasion,
                                                                           abrasion, scrape,
                                                                                     scrape, scratch,
                                                                                             scratch, bruise, contusion, or
                                                                                                      bruise, contusion, or swelling.
                                                                                                                            swelling.

                                        (34) Possession:
                                        (34) Possession: To
                                                         To have
                                                            have physical
                                                                 physical possession of or
                                                                          possession of or otherwise
                                                                                           otherwise exercise
                                                                                                     exercise dominion
                                                                                                              dominion or control over
                                                                                                                       or control over property.
                                                                                                                                       property.

                                        (35) Public
                                        (35)  Public Safety
                                                     Safety Of  cer: Corrections
                                                            Officer:              of cers, emergency
                                                                      Corrections officers,             medical dispatchers,
                                                                                            emergency medical     dispatchers, emergency
                                                                                                                               emergency medical
                                                                                                                                           medical technicians,
                                                                                                                                                     technicians,
                                                               fi
                                                                                         fi
                                          re ghters, parole
                                        firefighters, parole and
                                                             and probation  of cers, police
                                                                  probation officers,        of cers, certi
                                                                                      police officers,        ed reserve
                                                                                                       certified         of cers, reserve
                                                                                                                 reserve officers,         of cers, telecommunicators,
                                                                                                                                   reserve officers, telecommunicators,
                                        fi
                                             fi
                                                                                    fi
                                                                                                    fi
                                                                                                               fi
                                                                                                                                fi
                                                                                                                                              fi
                                        and regulatory
                                        and  regulatory specialists.
                                                         specialists.

                                        (36) Restitution:
                                        (36)  Restitution: A
                                                           A monetary
                                                             monetary amount
                                                                        amount ordered
                                                                               ordered in
                                                                                        in accordance   with these
                                                                                           accordance with   these rules
                                                                                                                    rules (OAR
                                                                                                                          (OAR 291-105). Restitution funds
                                                                                                                               291-105). Restitution  funds will
                                                                                                                                                            will be
                                                                                                                                                                 be
                                        ccredited
                                          redited to
                                                  to the
                                                     the institution
                                                         institution or
                                                                     or program
                                                                        program suffering   duciary loss
                                                                                suffering fiduciary loss or
                                                                                                         or cost from the
                                                                                                            cost from the AIC
                                                                                                                           AIC misconduct,
                                                                                                                               misconduct, and
                                                                                                                                           and shall
                                                                                                                                               shall be the actual
                                                                                                                                                     be the actual
                                                                                               fi
                                        ccost
                                          ost incurred.
                                              incurred.

                                        (37) Security
                                        (37) Security Device:
                                                      Device: Any   xture, device,
                                                              Any fixture, device, or tool, the
                                                                                   or tool, the purpose of which
                                                                                                purpose of       is to
                                                                                                           which is to assist
                                                                                                                       assist with
                                                                                                                              with safety
                                                                                                                                   safety or
                                                                                                                                          or security.
                                                                                                                                             security.
                                                                          fi
                                        (38) Security
                                        (38) Security Threat
                                                      Threat Activity:
                                                             Activity: AIC
                                                                       AIC behavior that poses
                                                                           behavior that          signi cant threat
                                                                                         poses aa significant threat to
                                                                                                                     to the
                                                                                                                        the safe
                                                                                                                            safe and
                                                                                                                                 and secure
                                                                                                                                     secure operation of aa facility.
                                                                                                                                            operation of    facility.
                                                                                                          fi
                                        (39) Security
                                        (39) Security Threat
                                                      Threat Group
                                                             Group (STG): Any group
                                                                   (STG): Any group of
                                                                                    of two
                                                                                       two or
                                                                                           or more individuals who:
                                                                                              more individuals who:

                                        ((a)
                                          a) Have
                                             Have aa common
                                                     common name, identifying symbol,
                                                            name, identifying symbol, or
                                                                                      or characteristic, which serves
                                                                                         characteristic, which serves to
                                                                                                                      to distinguish
                                                                                                                         distinguish themselves
                                                                                                                                     themselves from
                                                                                                                                                from others;
                                                                                                                                                     others; and
                                                                                                                                                             and

                                        ((b)
                                          b) Have
                                             Have members,
                                                  members, af    liates, or
                                                             affiliates, or associates
                                                                            associates who individually or
                                                                                       who individually or collectively engage, or
                                                                                                           collectively engage, or have
                                                                                                                                   have engaged,
                                                                                                                                        engaged, in
                                                                                                                                                 in aa pattern
                                                                                                                                                       pattern of
                                                                                                                                                               of illicit
                                                                                                                                                                  illicit
                                                                    fi
                                        activity or
                                        activity or acts
                                                    acts of
                                                         of misconduct    that violate
                                                            misconduct that    violate Department
                                                                                       Department of
                                                                                                   of Corrections
                                                                                                      Corrections rules;
                                                                                                                   rules; and
                                                                                                                          and

                                        ((c)
                                          c) Have
                                             Have the
                                                  the potential
                                                      potential toto act
                                                                     act in
                                                                         in concert
                                                                            concert to
                                                                                    to present
                                                                                       present aa threat,
                                                                                                  threat, or
                                                                                                          or potential
                                                                                                             potential threat,
                                                                                                                       threat, to
                                                                                                                               to employees,
                                                                                                                                  employees, non-employee service
                                                                                                                                             non-employee service
                                        p  roviders, public,
                                         providers,          visitors, AICs,
                                                     public, visitors, AICs, or the secure
                                                                             or the secure and
                                                                                           and orderly
                                                                                                orderly operation
                                                                                                        operation of
                                                                                                                   of the
                                                                                                                       the institution.
                                                                                                                           institution.

                                        (40) Serious
                                        (40) Serious Physical
                                                      Physical Injury:
                                                               Injury: Injury
                                                                       Injury that
                                                                              that creates
                                                                                   creates aa substantial
                                                                                              substantial risk  of death,
                                                                                                           risk of death, causes
                                                                                                                          causes protracted
                                                                                                                                 protracted dis  gurement, impairment
                                                                                                                                            disfigurement, impairment
                                                                                                                                                   fi
                                        of health,
                                        of health, loss
                                                   loss or
                                                        or impairment
                                                           impairment ofof any
                                                                           any bodily organ function,
                                                                               bodily organ   function, or
                                                                                                        or death.
                                                                                                           death.


https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.onusioard/displayDivisionRules.action?selectedDivision=944                                                                                         3/28
                                                                                                                                                                            3/28
                                                                                                                    Declaration of
                                                                                                                    Declaration of Nofziger,
                                                                                                                                   Nofziger, Exhibit
                                                                                                                                             Exhibit 2,
                                                                                                                                                     2, Page
                                                                                                                                                        Page 3
                                                                                                                                                             3 of
                                                                                                                                                               of 30
                                                                                                                                                                  30
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11/12/21, 1:45 PM
11/12/21, 1:45 PM                                                         Oregon Secretary
                                                                          Oregon Secretary of
                                                                                           of State
                                                                                              State Administrative
                                                                                                    Administrative Rules
                                                                                                                   Rules
                                        (41) Sexual
                                        (41) Sexual Activity:
                                                     Activity: Sexual
                                                               Sexual contact   includes, but
                                                                       contact includes,       is not
                                                                                           but is     limited to:
                                                                                                  not limited to: contact
                                                                                                                  contact between
                                                                                                                           between thethe penis
                                                                                                                                           penis and  the vulva
                                                                                                                                                 and the  vulva or
                                                                                                                                                                or the
                                                                                                                                                                   the penis
                                                                                                                                                                       penis
                                        and the
                                        and  the anus,
                                                 anus, including
                                                        including penetration,
                                                                  penetration, however     slight; contact
                                                                                 however slight;   contact between
                                                                                                            between the
                                                                                                                     the mouth
                                                                                                                           mouth andand the
                                                                                                                                        the penis,  vulva, or
                                                                                                                                             penis, vulva, or anus;
                                                                                                                                                              anus;
                                        p enetration of
                                        penetration   of the
                                                         the anal or genital
                                                             anal or genital opening
                                                                             opening ofof another
                                                                                          another person,
                                                                                                    person, however    slight, by
                                                                                                             however slight,   by aa hand,   nger, object,
                                                                                                                                     hand, finger, object, or
                                                                                                                                                           or other
                                                                                                                                                              other




                                                                                                                                           fi
                                        instrument; any
                                        instrument;   any other  intentional touching,
                                                           other intentional  touching, either
                                                                                         either directly  or through
                                                                                                 directly or through the
                                                                                                                      the clothing,
                                                                                                                           clothing, of  the genitalia,
                                                                                                                                      of the genitalia, anus, groin, breast,
                                                                                                                                                        anus, groin, breast,
                                        inner thigh,
                                        inner  thigh, or
                                                      or buttocks
                                                         buttocks of  another person
                                                                   of another  person oror of
                                                                                           of oneself,  excluding contact
                                                                                              oneself, excluding  contact incidental
                                                                                                                           incidental to
                                                                                                                                       to aa physical altercation; and
                                                                                                                                             physical altercation;  and any
                                                                                                                                                                        any
                                        other intentional
                                        other  intentional touching
                                                            touching to
                                                                      to include
                                                                         include kissing  and fondling.
                                                                                  kissing and  fondling.

                                        (42) Sexual
                                        (42)  Sexual Harassment
                                                      Harassment: Unwelcome
                                                                    Unwelcome sexual
                                                                                 sexual advances, requests for
                                                                                        advances, requests for sexual
                                                                                                               sexual favors,
                                                                                                                      favors, or  verbal comments,
                                                                                                                              or verbal  comments, gestures,
                                                                                                                                                     gestures, or
                                                                                                                                                               or
                                        actions of
                                        actions  of aa derogatory
                                                       derogatory or  offensive sexual
                                                                   or offensive sexual nature
                                                                                       nature directed toward another,
                                                                                              directed toward           including, but
                                                                                                               another, including,  but not limited to,
                                                                                                                                        not limited to, demeaning
                                                                                                                                                        demeaning
                                        rreferences
                                          eferences toto gender,
                                                         gender, sexually
                                                                 sexually suggestive
                                                                          suggestive or
                                                                                     or derogatory  comments about
                                                                                        derogatory comments    about body
                                                                                                                     body oror clothing, or obscene
                                                                                                                               clothing, or obscene language   or
                                                                                                                                                     language or
                                        gestures.
                                        gestures.

                                        (43) Short
                                        (43) Short-Term   Transitional Leave:
                                                    Term Transitional  Leave: A
                                                                              A period
                                                                                period of
                                                                                        of leave
                                                                                           leave preceding  an established
                                                                                                 preceding an               release date
                                                                                                               established release       granted in
                                                                                                                                    date granted in accordance
                                                                                                                                                    accordance with
                                                                                                                                                               with
                                        O RS 421.168
                                        ORS  421.168 and    the Department's
                                                       and the  Department’s rule
                                                                               rule on
                                                                                    on Short-Term
                                                                                       Short-Term Transitional
                                                                                                    Transitional Leave
                                                                                                                 Leave and  Emergency Leaves
                                                                                                                       and Emergency    Leaves (OAR
                                                                                                                                               (OAR 291-063)   to
                                                                                                                                                      291-063) to
                                        AICs for
                                        AICs  for transitional
                                                  transitional opportunities that promote
                                                               opportunities that            successful reintegration
                                                                                  promote successful    reintegration into
                                                                                                                      into the
                                                                                                                           the community.
                                                                                                                                community.

                                        (44) Working
                                        (44) Working Day:
                                                     Day: Monday through Friday,
                                                          Monday through Friday, excluding
                                                                                 excluding Saturday,
                                                                                           Saturday, Sunday,
                                                                                                     Sunday, or
                                                                                                             or legal
                                                                                                                legal holidays.
                                                                                                                      holidays.

                                        (45) Working
                                        (45) Working File:
                                                      File: Those
                                                            Those documents
                                                                  documents maintained
                                                                               maintained in
                                                                                          in a Department of
                                                                                             a Department of Corrections
                                                                                                             Corrections facility,
                                                                                                                         facility, Community
                                                                                                                                   Community Corrections of ce,
                                                                                                                                             Corrections office,




                                                                                                                                                                           fi
                                        or functional
                                        or functional unit
                                                      unit for
                                                           for administrative, operational, or
                                                               administrative, operational, or case management purposes.
                                                                                               case management purposes.

                                        Statutory/Other Authority:
                                        Statutory/Other       Authority: ORS   ORS 179.040,
                                                                                      179.040, 421.068,
                                                                                               421.068, 421.180,
                                                                                                         421.180, 423.020,
                                                                                                                  423.020, 423.030
                                                                                                                           423.030 && 423.075
                                                                                                                                      423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other      Implemented: ORS      ORS 179.040,
                                                                                        179.040, 421.068,
                                                                                                  421.068, 421.180,
                                                                                                           421.180, 423.020,
                                                                                                                     423.020, 423.030,
                                                                                                                              423.030, 423.075
                                                                                                                                       423.075 &
                                                                                                                                               & 475.005
                                                                                                                                                 475.005
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC   25-2020, amend
                                                           amend filed   led 12/14/2020,
                                                                              12/14/2020, effective
                                                                                             effective 12/15/2020
                                                                                                       12/15/2020
                                                                  fi
                                        DOC 14-2018,
                                        DOC   14-2018, amend
                                                           amend filed   led 06/07/2018,
                                                                              06/07/2018, effective
                                                                                             effective 06/07/2018
                                                                                                       06/07/2018
                                                                  fi
                                        DOC 2-2018,
                                        DOC   2-2018, temporary
                                                        temporary amend   amend filed led 04/03/2018,
                                                                                          04/03/2018, effective
                                                                                                       effective 04/03/2018
                                                                                                                 04/03/2018 through  09/29/2018
                                                                                                                            through 09/29/2018
                                                                             fi
                                        DOC 24-2011,
                                        DOC   24-2011, f.  f. 12-2-11,
                                                              12-2-11, cert.cert. ef.
                                                                                  ef. 12-7-11
                                                                                      12-7-11
                                        DOC 14-2008,
                                        DOC   14-2008, f.  f. &
                                                              & cert.
                                                                cert. ef.ef. 6-2-08
                                                                             6-2-08
                                        DOC 9-2005,
                                        DOC   9-2005, f.f. 7-22-05,
                                                           7-22-05, cert. cert. ef.
                                                                                ef. 7-24-05
                                                                                    7-24-05
                                        DOC 6-2002,
                                        DOC   6-2002, f.f. 4-30-02,
                                                           4-30-02, cert. cert. ef.
                                                                                ef. 5-1-02
                                                                                    5-1-02
                                        DOC 16-2000,
                                        DOC   16-2000, f.  f. &
                                                              & cert.
                                                                cert. ef.ef. 6-19-00
                                                                             6-19-00
                                        DOC 28-1999(Temp),
                                        DOC   28-1999(Temp), f.       f. &
                                                                         & cert.
                                                                           cert. ef.  12-22-99 thru
                                                                                  ef. 12-22-99  thru 6-19-00
                                                                                                     6-19-00
                                        DOC 3-1999,
                                        DOC   3-1999, f.f. 2-25-99,
                                                           2-25-99, cert. cert. ef.
                                                                                ef. 3-1-99
                                                                                    3-1-99
                                        CD 16-1996,
                                        CD 16-1996, f. f. 11-13-96,
                                                          11-13-96, cert.  cert. ef.
                                                                                  ef. 11-15-96
                                                                                      11-15-96
                                        CD 9-1995,
                                        CD          f. 5-23-95,
                                            9-1995, f. 5-23-95, cert.         ef. 6-1-95
                                                                       cert. et   6-1-95
                                        CD 6-1993,
                                        CD          f. 3-10-93,
                                           6-1993, f.  3-10-93, cert.         ef. 4-1-93
                                                                       cert. ef.  4-1-93
                                        CD 8-1992,
                                        CD          f. 3-27-92,
                                           8-1992, f.  3-27-92, cert.         ef. 4-15-92
                                                                       cert. ef.  4-15-92
                                        CD 5-1989,
                                        CD          f. &
                                            5-1989, f. & cert.
                                                            cert. ef.    4-21-89
                                                                    ef. 4-21-89
                                        CD 38-1987,
                                        CD  38-1987, f.f. &
                                                          & ef.
                                                              ef. 10-2-87
                                                                  10-2-87
                                        CD 29-1986,
                                        CD  29-1986, f.f. &
                                                          & ef.
                                                              ef. 8-20-86
                                                                  8-20-86
                                        CD 6-1986(Temp),
                                        CD 6-1986(Temp), f.     f. 3-14-86,
                                                                   3-14-86, ef. ef. 4-15-86
                                                                                    4-15-86
                                        CD 30-1985,
                                        CD  30-1985, f.f. &
                                                          & ef.
                                                              ef. 8-16-85
                                                                  8-16-85
                                        CD 8-1985(Temp),
                                        CD  8-1985(Temp), f.    f. &
                                                                   & ef.
                                                                       ef. 6-19-85
                                                                           6-19-85
                                        CD 25-1982,
                                        CD  25-1982, f.f. &
                                                          & ef.
                                                              ef. 11-19-82
                                                                  11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f. f. &
                                                          & ef.
                                                              ef. 4-15-80
                                                                  4-15-80
                                        CD 19-1979(Temp),
                                        CD  19-1979(Temp), f.      f. &
                                                                      & ef.
                                                                         ef. 10-19-79
                                                                             10-19-79
                                        CD 7-1979,
                                        CD 7-1979, f.
                                                    f. &
                                                       & ef.ef. 3-14-79
                                                                3-14-79


                                        2 91-105-0013
                                        291-105-0013
                                        AIC Access
                                        AIC Access to
                                                   to the
                                                      the Rules
                                                          Rules of
                                                                of Prohibited
                                                                   Prohibited Conduct
                                                                              Conduct

                                        During the
                                        During  the admission    and orientation
                                                     admission and    orientation process,   AICs will
                                                                                    process, AICs  will be
                                                                                                        be provided   with the
                                                                                                            provided with   the Rules
                                                                                                                                 Rules of
                                                                                                                                        of Misconduct
                                                                                                                                           Misconduct (291-105-0015)
                                                                                                                                                         (291-105-0015) and  and
                                        Rights in
                                        Rights in Formal
                                                  Formal and
                                                           and Informal    Hearings (291-105-0056).
                                                                Informal Hearings     (291-105-0056). Spanish-speaking
                                                                                                          Spanish‑speaking AlCs
                                                                                                                              AICs will
                                                                                                                                    will receive
                                                                                                                                         receive copies
                                                                                                                                                   copies in
                                                                                                                                                          in Spanish;
                                                                                                                                                             Spanish; other
                                                                                                                                                                        other
                                        AICs with
                                        AICs  with aa language
                                                      language barrier    will receive
                                                                 barrier will  receive assistance
                                                                                       assistance from
                                                                                                   from an
                                                                                                         an individual
                                                                                                             individual who
                                                                                                                        who speaks
                                                                                                                              speaks their   language. AICs
                                                                                                                                       their language.   AICs with
                                                                                                                                                               with aa visual,
                                                                                                                                                                       visual,
                                        speech, or
                                        speech,  or hearing
                                                    hearing disability   shall be
                                                              disability shall  be provided
                                                                                   provided with
                                                                                             with assistance
                                                                                                  assistance appropriate
                                                                                                               appropriate toto the
                                                                                                                                the degree
                                                                                                                                    degree of of their
                                                                                                                                                 their disability.
                                                                                                                                                       disability. In
                                                                                                                                                                   In addition,
                                                                                                                                                                      addition,
                                        OAR 291-105
                                        OAR   291‑105 will
                                                         will be available for
                                                              be available for review   in the
                                                                                 review in the legal library and
                                                                                               legal library      general library
                                                                                                             and general  library of
                                                                                                                                   of each
                                                                                                                                      each facility.
                                                                                                                                            facility. Copies
                                                                                                                                                      Copies also
                                                                                                                                                              also may
                                                                                                                                                                     may be
                                                                                                                                                                          be
                                        o btained in
                                        obtained  in accordance
                                                      accordance with    the Department's
                                                                   with the   Department’s rules
                                                                                              rules on  Release of
                                                                                                    on Release   of Public
                                                                                                                    Public Records
                                                                                                                           Records (OAR      291-037), or
                                                                                                                                      (OAR 291-037),     or from
                                                                                                                                                            from thethe library
                                                                                                                                                                        library
                                        ccoordinator
                                          oordinator upon
                                                       upon request
                                                             request at  the AIC's
                                                                      at the  AIC’s expense
                                                                                     expense in
                                                                                              in accordance
                                                                                                 accordance with    the Department's
                                                                                                               with the Department's rulesrules on
                                                                                                                                                on Legal
                                                                                                                                                    Legal Affairs
                                                                                                                                                          Affairs (OAR
                                                                                                                                                                    (OAR 291-
                                                                                                                                                                           291-
                                        139).
                                        139).

                                        Statutory/Other Authority:
                                        Statutory/Other    Authority: ORS
                                                                      ORS 179.040,
                                                                             179.040, 421.068,
                                                                                      421.068, 421.180,
                                                                                                421.180, 423.020,
                                                                                                         423.020, 423.030
                                                                                                                  423.030 &
                                                                                                                          & 423.075
                                                                                                                            423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other   Implemented: ORS ORS 179.040,
                                                                                179.040, 421.068,
                                                                                         421.068, 421.180,
                                                                                                  421.180, 423.020,
                                                                                                           423.020, 423.030
                                                                                                                    423.030 &
                                                                                                                            & 423.075
                                                                                                                              423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC  25-2020, amend      led 12/14/2020,
                                                        amend filed  12/14/2020, effective
                                                                                    effective 12/15/2020
                                                                                              12/15/2020
                                                                  fi
                                        DOC 24-2011,
                                        DOC  24-2011, f.f. 12-2-11,
                                                           12-2-11, cert. ef. 12-7-11
                                                                    cert. et  12-7-11
                                        DOC 6-2002,
                                        DOC  6-2002, f.
                                                     f. 4-30-02,
                                                        4-30-02, cert.
                                                                  cert. ef.
                                                                        ef. 5-1-02
                                                                            5-1-02


https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.onusioard/displayDivisionRules.action?selectedDivision=944                                                                                                4/28
                                                                                                                                                                                   4/28
                                                                                                                Declaration of
                                                                                                                Declaration of Nofziger,
                                                                                                                               Nofziger, Exhibit
                                                                                                                                         Exhibit 2,
                                                                                                                                                 2, Page
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                                                                         Oregon Secretary of
                                                                                          of State
                                                                                             State Administrative
                                                                                                   Administrative Rules
                                                                                                                  Rules
                                        CD 16-1996,
                                        CD 16-1996, f.f. 11-13-96,
                                                         11-13-96, cert.
                                                                      cert. ef.
                                                                             ef. 11-15-96
                                                                                 11-15-96
                                        CD 9-1995,
                                        CD         f. 5-23-95,
                                           9-1995, f. 5-23-95, cert.     ef. 6-1-95
                                                                   cert. et  6-1-95
                                        CD 6-1993,
                                        CD         f. 3-10-93,
                                           6-1993, f. 3-10-93, cert.     ef. 4-1-93
                                                                   cert. ef. 4-1-93
                                        CD 8-1992,
                                        CD         f. 3-27-92,
                                           8-1992, f. 3-27-92, cert.     ef. 4-15-92
                                                                   cert. ef. 4-15-92
                                        CD 5-1989,
                                        CD         f. &
                                           5-1989, f. & cert.
                                                          cert. ef. 4-21-89
                                                                ef. 4-21-89
                                        CD 29-1986,
                                        CD 29-1986, f.f. &
                                                         & ef.
                                                           ef. 8-20-86
                                                               8-20-86
                                        CD 6-1986(Temp),
                                        CD 6-1986(Temp), f.  f. 3-14-86,   ef. 4-15-86
                                                                3-14-86, ef.   4-15-86


                                        2 91-105-0015
                                        291-105-0015
                                        Rules of
                                        Rules of Misconduct
                                                 Misconduct

                                        (1) Violations
                                        (1) Violations Involving
                                                       Involving Property
                                                                 Property

                                        ((a)
                                          a) 1.01
                                             1.01 Arson:
                                                  Arson: An
                                                         An AIC
                                                            AIC commits
                                                                commits arson
                                                                        arson when that AIC
                                                                              when that AIC starts
                                                                                            starts an
                                                                                                   an unauthorized   re or
                                                                                                      unauthorized fire or causes
                                                                                                                           causes an explosion.
                                                                                                                                  an explosion.




                                                                                                                            fi
                                        ((b)
                                          b) 1.05 Property I:
                                             1.05 Property I: An
                                                              An AIC
                                                                  AIC commits
                                                                      commits Property
                                                                               Property II when that AIC,
                                                                                           when that AIC, except
                                                                                                          except as
                                                                                                                 as authorized
                                                                                                                    authorized by  an employee,
                                                                                                                                by an  employee, destroys,  abuses,
                                                                                                                                                  destroys, abuses,
                                        alters, damages,
                                        alters, damages, defaces,   misuses, tampers
                                                          defaces, misuses,  tampers with,  or wastes
                                                                                     with, or         materials or
                                                                                               wastes materials or property,
                                                                                                                   property, or
                                                                                                                             or fails
                                                                                                                                fails to
                                                                                                                                      to properly
                                                                                                                                         properly protect
                                                                                                                                                  protect or
                                                                                                                                                          or produce
                                                                                                                                                             produce
                                        issued property
                                        issued           in a
                                                property in    timely manner;
                                                             a timely          and:
                                                                      manner; and:

                                        ((A)
                                          A) 1.05.01
                                             1.05.01 The
                                                     The State-owned
                                                         State-owned or
                                                                     or employee-owned
                                                                        employee-owned property involved exceeds
                                                                                       property involved exceeds $100 in value;
                                                                                                                 $100 in        or
                                                                                                                         value; or

                                        ((B)
                                          B) 1.05.02 The misconduct
                                             1.05.02 The            involves the
                                                         misconduct involves the functioning
                                                                                 functioning of
                                                                                             of aa security
                                                                                                   security device;
                                                                                                            device; or
                                                                                                                    or

                                        ((C)
                                          C) 1.05.03
                                             1.05.03 The
                                                     The misconduct
                                                         misconduct involves
                                                                    involves aa threat
                                                                                threat to
                                                                                       to the
                                                                                          the safety,
                                                                                              safety, security,
                                                                                                      security, or
                                                                                                                or orderly
                                                                                                                   orderly operation
                                                                                                                           operation of
                                                                                                                                     of aa facility;
                                                                                                                                           facility; or
                                                                                                                                                     or

                                        (D) 1.05.04
                                        (D) 1.05.04 The
                                                    The misconduct
                                                        misconduct includes
                                                                   includes possession
                                                                            possession of an unauthorized
                                                                                       of an unauthorized or
                                                                                                          or altered
                                                                                                             altered blade, such as
                                                                                                                     blade, such as aa razor
                                                                                                                                       razor blade or pencil
                                                                                                                                             blade or pencil
                                        sharpener.
                                        sharpener.

                                        ((c)
                                          c) 1.06
                                             1.06 Property
                                                  Property IIII (minor violation): An
                                                                (minor violation): An AIC
                                                                                        AIC commits  Property II
                                                                                            commits Property  II when  that AIC,
                                                                                                                 when that  AIC, except
                                                                                                                                 except as
                                                                                                                                        as authorized
                                                                                                                                           authorized by  an employee,
                                                                                                                                                       by an  employee,
                                        d  estroys, alters,
                                         destroys,  alters, abuses,
                                                            abuses, damages,
                                                                     damages, defaces,
                                                                               defaces, misuses,   tampers with,
                                                                                          misuses, tampers with, or  wastes materials
                                                                                                                  or wastes           or property,
                                                                                                                            materials or property, or fails to
                                                                                                                                                   or fails to properly
                                                                                                                                                               properly
                                        p  rotect or
                                         protect  or produce    issued property
                                                     produce issued    property in
                                                                                 in aa timely
                                                                                       timely manner.
                                                                                              manner.

                                        ((d)
                                          d) 1.10 Contraband I:
                                             1.10 Contraband I: An
                                                                An AIC
                                                                   AIC commits
                                                                       commits Contraband
                                                                               Contraband II when
                                                                                             when that
                                                                                                  that AIC:
                                                                                                       AIC:

                                        ((A)
                                          A) 1.10.01
                                             1.10.01 Possesses
                                                     Possesses any
                                                               any intoxicant
                                                                   intoxicant or
                                                                              or is
                                                                                 is intoxicated;
                                                                                    intoxicated; or
                                                                                                 or

                                        ((B)
                                          B) 1.10.02 Possesses any
                                             1.10.02 Possesses any drug
                                                                   drug paraphernalia; or
                                                                        paraphernalia; or

                                        ((C)
                                          C) 1.10.03
                                             1.10.03 Has gone through
                                                     Has gone through any  authorized screening
                                                                       any authorized screening process   such as
                                                                                                 process such      urinalysis, breathalyzer,
                                                                                                                as urinalysis,               oral swabs,
                                                                                                                               breathalyzer, oral swabs, etc.
                                                                                                                                                         etc. and
                                                                                                                                                              and has
                                                                                                                                                                  has
                                        b een found
                                         been  found to
                                                     to have
                                                        have any
                                                             any controlled
                                                                 controlled substance
                                                                            substance or
                                                                                      or intoxicant
                                                                                         intoxicant in
                                                                                                    in urine,
                                                                                                       urine, blood, or other
                                                                                                              blood, or other body
                                                                                                                               body parts; or
                                                                                                                                    parts; or

                                        (D) 1.10.04
                                        (D) 1.10.04 Fails
                                                    Fails to
                                                          to provide or refuses
                                                             provide or         to submit
                                                                        refuses to submit an
                                                                                          an acceptable
                                                                                             acceptable sample
                                                                                                        sample for
                                                                                                               for testing
                                                                                                                   testing or
                                                                                                                           or submits
                                                                                                                              submits an
                                                                                                                                      an unacceptable
                                                                                                                                         unacceptable sample
                                                                                                                                                      sample for
                                                                                                                                                             for
                                        testing; or
                                        testing; or

                                        ((E)
                                          E) 1.10.05 Alters, substitutes,
                                             1.10.05 Alters, substitutes, contaminates, or destroys
                                                                          contaminates, or destroys aa urine
                                                                                                       urine sample;
                                                                                                             sample; or
                                                                                                                     or

                                        ((F)
                                          F) 1.10.06 Possesses money
                                             1.10.06 Possesses money in
                                                                     in the
                                                                        the amount
                                                                            amount of
                                                                                   of $10
                                                                                      $10 or
                                                                                          or more (this excludes
                                                                                             more (this excludes trust
                                                                                                                 trust account
                                                                                                                       account funds);
                                                                                                                               funds); or
                                                                                                                                       or

                                        ((G)
                                          G) 1.10.07 Possesses illegitimately
                                             1.10.07 Possesses illegitimately obtained
                                                                              obtained property
                                                                                       property or trust account
                                                                                                or trust account funds
                                                                                                                 funds valuing
                                                                                                                       valuing $100
                                                                                                                               $100 or more.
                                                                                                                                    or more.

                                        ((e)
                                          e) 1.11
                                             1.11 Contraband
                                                  Contraband II:   An AIC
                                                               II: An AIC commits    Contraband II
                                                                          commits Contraband      II when  that AIC
                                                                                                     when that  AIC possesses
                                                                                                                     possesses contraband,   including that
                                                                                                                                 contraband, including   that listed  in
                                                                                                                                                               listed in
                                        Contraband II and
                                        Contraband      and Contraband    III, that
                                                             Contraband III,   that creates
                                                                                    creates a threat to
                                                                                            a threat to the
                                                                                                        the safety,
                                                                                                            safety, security,
                                                                                                                    security, or
                                                                                                                              or orderly
                                                                                                                                 orderly operation
                                                                                                                                         operation of
                                                                                                                                                   of aa facility,
                                                                                                                                                         facility, including
                                                                                                                                                                   including
                                        b  ut not
                                         but  not limited
                                                  limited to:
                                                          to:

                                        ((A)
                                          A) 1.11.01
                                             1.11.01 Tobacco
                                                     Tobacco or
                                                             or smoking
                                                                smoking paraphernalia,   unauthorized medication,
                                                                          paraphernalia, unauthorized medication, items
                                                                                                                  items of
                                                                                                                        of barter,
                                                                                                                           barter, checks,
                                                                                                                                   checks, money
                                                                                                                                           money under
                                                                                                                                                 under $10, or
                                                                                                                                                       $10, or
                                        unauthorized sexually
                                        unauthorized   sexually explicit
                                                                explicit material;
                                                                         material; or
                                                                                   or

                                        ((B)
                                          B) 1.11.02 Items that
                                             1.11.02 Items that were
                                                                were obtained
                                                                     obtained by threats of
                                                                              by threats of or actual theft,
                                                                                            or actual        forgery, or
                                                                                                      theft, forgery, or coercion.
                                                                                                                         coercion.

                                        (f) 1.12
                                        (f)       Contraband III
                                            1.12 Contraband    III (minor violation): An
                                                                   (minor violation): An AIC
                                                                                         AIC commits    Contraband III
                                                                                               commits Contraband        when that
                                                                                                                     III when that AIC
                                                                                                                                   AIC possesses
                                                                                                                                       possesses contraband,   including
                                                                                                                                                  contraband, including
                                        that listed
                                        that         in Contraband
                                              listed in Contraband II and   Contraband II,
                                                                       and Contraband    II, or
                                                                                             or un-cancelled
                                                                                                un-cancelled stamps,
                                                                                                             stamps, expired
                                                                                                                     expired self-medication,
                                                                                                                              self-medication, legal material belonging
                                                                                                                                               legal material belonging
                                        to another
                                        to  another AIC,
                                                      AIC, or
                                                           or property  in excess
                                                              property in  excess of
                                                                                  of that
                                                                                     that authorized.
                                                                                          authorized.

                                        ((g)
                                          g) 1.15 Drug Possession:
                                             1.15 Drug Possession: An
                                                                   An AIC
                                                                      AIC commits Drug Possession
                                                                          commits Drug Possession when
                                                                                                  when that
                                                                                                       that AIC
                                                                                                            AIC possesses
                                                                                                                possesses aa controlled substance.
                                                                                                                             controlled substance.

                                        ((h)
                                          h) 1.20
                                             1.20 Possession
                                                  Possession of
                                                             of Body  Modi cation Paraphernalia:
                                                                Body Modification   Paraphernalia: An
                                                                                                   An AIC
                                                                                                      AIC commits  Possession of
                                                                                                          commits Possession  of Body   Modi cation
                                                                                                                                 Body Modification
                                                                             fi
                                                                                                                                                    fi
                                        Paraphernalia when
                                        Paraphernalia   when that
                                                              that AIC
                                                                    AIC possesses items capable
                                                                        possesses items capable of
                                                                                                of being used in
                                                                                                   being used in body
                                                                                                                 body modi  cation, including
                                                                                                                      modification, including but not limited
                                                                                                                                              but not limited to,
                                                                                                                                                              to,
                                                                                                                                 fi
                                        motors, needles,
                                        motors,            and ink.
                                                  needles, and ink.

                                        ((i)
                                          i) 1.25
                                             1.25 Unauthorized
                                                  Unauthorized Use
                                                                Use of Information Systems
                                                                    of Information Systems I: An AIC
                                                                                           I: An AIC commits
                                                                                                     commits Unauthorized
                                                                                                              Unauthorized UseUse of
                                                                                                                                  of Information Systems II when
                                                                                                                                     Information Systems    when
                                        that AIC
                                        that   AIC operates
                                                   operates or
                                                            or uses
                                                               uses any
                                                                    any information
                                                                        information system
                                                                                    system equipment
                                                                                           equipment (including
                                                                                                       (including terminals,
                                                                                                                  terminals, personal
                                                                                                                             personal computers,  tablet
                                                                                                                                       computers, tablet



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                                                                                                              Declaration of
                                                                                                              Declaration of Nofziger,
                                                                                                                             Nofziger, Exhibit
                                                                                                                                       Exhibit 2,
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                                                                         Oregon Secretary of
                                                                                          of State
                                                                                             State Administrative
                                                                                                   Administrative Rules
                                                                                                                  Rules
                                        ccomputers,
                                          omputers, minicomputers,
                                                    minicomputers, work   stations, controllers,
                                                                     work stations, controllers, printers,
                                                                                                 printers, copiers, fax machines,
                                                                                                           copiers, fax machines, or
                                                                                                                                  or phones) if the
                                                                                                                                     phones) if the usage
                                                                                                                                                    usage exceeds
                                                                                                                                                          exceeds
                                        the conditions
                                        the conditions of
                                                       of use
                                                          use or
                                                              or access
                                                                 access granted
                                                                        granted by the Director,
                                                                                by the Director, functional
                                                                                                  functional unit
                                                                                                             unit manager, or designee
                                                                                                                  manager, or           in the
                                                                                                                              designee in  the following
                                                                                                                                               following manner:
                                                                                                                                                         manner:

                                        ((A)
                                          A) 1.25.01
                                             1.25.01 To
                                                     To send,
                                                        send, receive,
                                                              receive, or read messages
                                                                       or read messages or
                                                                                        or e-mails,
                                                                                           e-mails, access
                                                                                                    access the
                                                                                                           the Internet,
                                                                                                               Internet, or access any
                                                                                                                         or access     employee-only programs
                                                                                                                                   any employee-only programs or
                                                                                                                                                              or
                                        ccomputer
                                          omputer systems;
                                                   systems; or
                                                             or

                                        ((B)
                                          B) 1.25.02 To conduct
                                             1.25.02 To         illegitimate business
                                                        conduct illegitimate          activity; or
                                                                             business activity; or

                                        ((C)
                                          C) 1.25.03
                                             1.25.03 To
                                                     To do
                                                        do unauthorized
                                                           unauthorized legal
                                                                        legal work.
                                                                              work.

                                        ((j)
                                          j) 1.26
                                             1.26 Unauthorized
                                                  Unauthorized Use
                                                                 Use of Information Systems
                                                                     of Information  Systems II:
                                                                                               II: An
                                                                                                   An AIC
                                                                                                      AIC commits   Unauthorized Use
                                                                                                          commits Unauthorized       Use of
                                                                                                                                         of Information   Systems II
                                                                                                                                            Information Systems   II when
                                                                                                                                                                     when
                                        that AIC
                                        that   AIC operates
                                                   operates or
                                                             or uses
                                                                uses any
                                                                     any information
                                                                         information system
                                                                                       system equipment
                                                                                               equipment (including
                                                                                                            (including terminals,
                                                                                                                        terminals, personal
                                                                                                                                   personal computers,    tablet
                                                                                                                                             computers, tablet
                                        ccomputers,
                                           omputers, minicomputers,
                                                      minicomputers, work    stations, controllers,
                                                                       work stations,  controllers, printers,
                                                                                                    printers, copiers,  fax machines,
                                                                                                               copiers, fax machines, or
                                                                                                                                       or phones)  if the
                                                                                                                                          phones) if  the usage
                                                                                                                                                          usage exceeds
                                                                                                                                                                exceeds
                                        the conditions
                                        the   conditions of
                                                         of use
                                                            use or
                                                                or access
                                                                   access granted
                                                                          granted by  the Director,
                                                                                   by the Director, functional
                                                                                                      functional unit
                                                                                                                 unit manager,  or designee
                                                                                                                      manager, or             in the
                                                                                                                                    designee in  the following
                                                                                                                                                     following manner:
                                                                                                                                                               manner:

                                        ((A)
                                          A) 1.26.01
                                             1.26.01 To
                                                     To prepare
                                                        prepare aa letter
                                                                   letter or
                                                                          or other unauthorized document;
                                                                             other unauthorized document; or
                                                                                                          or

                                        ((B)
                                          B) 1.26.02 To make
                                             1.26.02 To make copies, view video,
                                                             copies, view video, or listen to
                                                                                 or listen to audio   les for
                                                                                              audio files for personal use; or
                                                                                                              personal use; or




                                                                                                     fi
                                        ((C)
                                          C) 1.26.03
                                             1.26.03 To
                                                     To use
                                                        use the
                                                            the phone, Video Interactive
                                                                phone, Video             Phone system,
                                                                             Interactive Phone system, or
                                                                                                       or any incentive level
                                                                                                          any incentive level electronic device in
                                                                                                                              electronic device in excess
                                                                                                                                                   excess of,
                                                                                                                                                          of, or
                                                                                                                                                              or
                                        o utside, the
                                        outside,  the parameters
                                                      parameters permitted  under the
                                                                  permitted under  the Department's
                                                                                       Department’s rules.
                                                                                                    rules.

                                        (2) Violations
                                        (2) Violations Against
                                                       Against Persons
                                                               Persons

                                        ((a)
                                          a) 2.01 Staff Assault
                                             2.01Staff  Assault I: An AIC
                                                                I: An AIC commits
                                                                          commits Staff
                                                                                  Staff Assault
                                                                                        Assault II when
                                                                                                   when that
                                                                                                        that AIC:
                                                                                                             AIC:

                                        ((A)
                                          A) 2.01.01 Causes physical
                                             2.01.01Causes            injury to
                                                             physical injury to or
                                                                                or commits
                                                                                   commits aa physical
                                                                                              physical attack
                                                                                                       attack on
                                                                                                              on an employee, public
                                                                                                                 an employee, public safety of cer, or
                                                                                                                                     safety officer,    non-employee
                                                                                                                                                     or non-employee




                                                                                                                                                 fi
                                        service provider;
                                        service            or
                                                 provider; or

                                        ((B)
                                          B) 2.01.02 Causes bodily
                                             2.01.02 Causes          uids (human
                                                            bodily fluids        or animal)
                                                                          (human or animal) to
                                                                                            to come
                                                                                               come in
                                                                                                    in contact with an
                                                                                                       contact with an employee,
                                                                                                                       employee, public safety of
                                                                                                                                 public safety     cer, or
                                                                                                                                               officer, or non-
                                                                                                                                                           non-
                                                                    fl
                                                                                                                                                        fi
                                        employee service
                                        employee   service provider; or
                                                           provider; or

                                        ((C)
                                          C) 2.01.03
                                             2.01.03 Commits
                                                       Commits aa physical attack on
                                                                  physical attack on an
                                                                                     an employee,
                                                                                        employee, visitor,
                                                                                                  visitor, public
                                                                                                           public safety of cer, or
                                                                                                                  safety officer,    non-employee service
                                                                                                                                  or non-employee service provider
                                                                                                                                                          provider




                                                                                                                            fi
                                        and uses
                                        and   uses aa dangerous  or deadly
                                                      dangerous or         weapon; or
                                                                    deadly weapon;   or

                                        (D) 2.01.04
                                        (D) 2.01.04 Harms
                                                    Harms or endangers the
                                                          or endangers the well-being
                                                                           well-being of an animal
                                                                                      of an        in the
                                                                                            animal in the care and custody
                                                                                                          care and custody of
                                                                                                                           of DOC
                                                                                                                              DOC or used to
                                                                                                                                  or used to conduct
                                                                                                                                             conduct DOC
                                                                                                                                                     DOC
                                        affairs; or
                                        affairs; or

                                        ((E)
                                          E) 2.01.05 Refuses to
                                             2.01.05 Refuses  to stop
                                                                 stop any assaultive behavior
                                                                      any assaultive          after being
                                                                                     behavior after       ordered to
                                                                                                    being ordered  to do so, which
                                                                                                                      do so,       necessitates an
                                                                                                                             which necessitates    employee to
                                                                                                                                                an employee to use
                                                                                                                                                               use
                                        p hysical force
                                         physical force to
                                                        to stop
                                                           stop the
                                                                the behavior and which
                                                                    behavior and  which results in employee
                                                                                        results in           injury.
                                                                                                   employee injury

                                        ((b)
                                          b) 2.02 Staff Assault
                                             2.02 Staff Assault II: An AIC
                                                                II: An AIC commits  Staff Assault
                                                                           commits Staff   Assault II
                                                                                                   II when  that AIC
                                                                                                      when that  AIC commits
                                                                                                                     commits aa physical attack on
                                                                                                                                physical attack on an
                                                                                                                                                   an employee,
                                                                                                                                                      employee, public
                                                                                                                                                                public
                                        safety officer,
                                        safety  of cer, non-employee
                                                         non-employee service
                                                                         service provider,
                                                                                 provider, or animal in
                                                                                           or animal  in the
                                                                                                         the care and custody
                                                                                                             care and custody of DOC.
                                                                                                                              of DOC.
                                                     fi
                                        ((c)
                                          c) 2.03
                                             2.03 Assault
                                                  Assault of
                                                           of aa Member
                                                                 Member ofof the Public: An
                                                                             the Public: An AIC
                                                                                            AIC commits
                                                                                                 commits Assault
                                                                                                          Assault of
                                                                                                                   of aa Member of the
                                                                                                                         Member of the Public
                                                                                                                                       Public when that AIC
                                                                                                                                              when that AIC commits
                                                                                                                                                             commits aa
                                        p  hysical attack,
                                         physical  attack, endangers
                                                           endangers the
                                                                       the well-being
                                                                            well-being of,
                                                                                       of, or causes bodily
                                                                                           or causes          uids (human
                                                                                                     bodily fluids (human or
                                                                                                                           or animal)
                                                                                                                              animal) to
                                                                                                                                      to come in contact
                                                                                                                                         come in         with any
                                                                                                                                                 contact with any
                                                                                                          fl
                                        p  erson or
                                         person   or animal who is
                                                     animal who   is not
                                                                     not an
                                                                         an employee,
                                                                            employee, aa non-employee
                                                                                         non-employee service
                                                                                                        service provider,  AIC in
                                                                                                                 provider, AIC in the
                                                                                                                                  the care
                                                                                                                                      care and
                                                                                                                                           and custody of DOC,
                                                                                                                                               custody of DOC, or
                                                                                                                                                                or an
                                                                                                                                                                   an
                                        animal in
                                        animal   in the
                                                    the care  and custody
                                                        care and   custody of  DOC.
                                                                            of DOC.

                                        ((d)
                                          d) 2.05 AIC Assault
                                             2.05 AIC Assault I:
                                                              I: An
                                                                 An AIC
                                                                    AIC commits
                                                                        commits AIC
                                                                                AIC Assault
                                                                                    Assault II when that AIC:
                                                                                               when that AIC:

                                        ((A)
                                          A) 2.05.01 Causes serious
                                             2.05.01Causes   serious physical injury to
                                                                     physical injury to another
                                                                                        another AIC
                                                                                                AIC or
                                                                                                    or causes injury to
                                                                                                       causes injury to another
                                                                                                                        another AIC
                                                                                                                                AIC that
                                                                                                                                    that requires
                                                                                                                                         requires transporting
                                                                                                                                                  transporting the
                                                                                                                                                               the
                                        AIC to
                                        AIC   to an
                                                 an outside agency for
                                                    outside agency for medical
                                                                       medical care;
                                                                                care; or
                                                                                      or

                                        ((B)
                                          B) 2.05.02 Causes physical
                                             2.05.02 Causes          injury to
                                                            physical injury to another
                                                                               another AIC
                                                                                       AIC and
                                                                                           and uses
                                                                                               uses aa dangerous
                                                                                                       dangerous or
                                                                                                                 or deadly
                                                                                                                    deadly weapon;
                                                                                                                           weapon; or
                                                                                                                                   or

                                        ((C)
                                          C) 2.05.03
                                             2.05.03 Commits
                                                     Commits aa unilateral
                                                                unilateral attack
                                                                             attack in
                                                                                    in a
                                                                                       a location or under
                                                                                         location or under circumstances that create
                                                                                                           circumstances that create aa threat
                                                                                                                                        threat to
                                                                                                                                               to the
                                                                                                                                                  the safety,
                                                                                                                                                      safety, security,
                                                                                                                                                              security,
                                        or orderly
                                        or  orderly operation
                                                    operation of
                                                              of a facility; or
                                                                 a facility; or

                                        (D) 2.05.04
                                        (D) 2.05.04 Refuses
                                                     Refuses to
                                                              to stop
                                                                 stop assaultive
                                                                      assaultive behavior after being
                                                                                 behavior after       ordered to
                                                                                                being ordered to do so which
                                                                                                                 do so       necessitates an
                                                                                                                       which necessitates    employee to
                                                                                                                                          an employee to use
                                                                                                                                                         use
                                        p hysical force
                                        physical  force to
                                                        to stop
                                                           stop the
                                                                the assaultive
                                                                    assaultive behavior; or
                                                                               behavior; or

                                        ((E)
                                          E) 2.05.05 Causes bodily
                                             2.05.05 Causes          uids (human
                                                            bodily fluids        or animal)
                                                                          (human or animal) to
                                                                                            to come
                                                                                               come in
                                                                                                    in contact with another
                                                                                                       contact with another AIC.
                                                                                                                            AIC.
                                                                   fl
                                        ((e)
                                          e) 2.06
                                             2.06 AIC
                                                  AIC Assault
                                                      Assault II: An AIC
                                                              II: An AIC commits AIC Assault
                                                                         commits AIC Assault II
                                                                                             II when that AIC:
                                                                                                when that AIC:

                                        ((A)
                                          A) 2.06.01 Commits a
                                             2.06.01Commits    unilateral attack
                                                             a unilateral attack or
                                                                                 or is
                                                                                    is involved
                                                                                       involved in
                                                                                                in aa mutual   ght that
                                                                                                      mutual fight that causes
                                                                                                                        causes physical injury to
                                                                                                                               physical injury to another AIC; or
                                                                                                                                                  another AIC; or
                                                                                                                fi
                                        ((B)
                                          B) 2.06.02
                                             2.06.02 Is involved in
                                                     Is involved in aa mutual   ght in
                                                                       mutual fight in aa location
                                                                                          location or
                                                                                                   or under
                                                                                                      under circumstances
                                                                                                            circumstances that
                                                                                                                          that create
                                                                                                                               create aa threat to the
                                                                                                                                         threat to the safety,
                                                                                                                                                       safety, security,
                                                                                                                                                               security,
                                                                             fi
                                        or orderly
                                        or  orderly operation
                                                    operation of
                                                               of a  facility.
                                                                  a facility.

                                        (f) 2.07
                                        (f)      AIC Assault
                                            2.07 AIC Assault III:
                                                             III: An
                                                                  An AIC
                                                                     AIC commits
                                                                          commits AIC
                                                                                  AIC Assault
                                                                                      Assault III
                                                                                              III when
                                                                                                  when that
                                                                                                       that AIC
                                                                                                            AIC commits
                                                                                                                commits aa unilateral
                                                                                                                           unilateral attack
                                                                                                                                      attack or
                                                                                                                                             or is
                                                                                                                                                is involved
                                                                                                                                                   involved in
                                                                                                                                                            in aa
                                        mutual fight
                                        mutual    ght with
                                                      with another
                                                           another AIC.
                                                                     AIC.
                                                fi
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                        6/28
                                                                                                                                                                            6/28
                                                                                                               Declaration of
                                                                                                               Declaration of Nofziger,
                                                                                                                              Nofziger, Exhibit
                                                                                                                                        Exhibit 2,
                                                                                                                                                2, Page
                                                                                                                                                   Page 6
                                                                                                                                                        6 of
                                                                                                                                                          of 30
                                                                                                                                                             30
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11/12/21, 1:45 PM
11/12/21, 1:45 PM                                                        Oregon Secretary
                                                                         Oregon Secretary of
                                                                                          of State
                                                                                             State Administrative
                                                                                                   Administrative Rules
                                                                                                                  Rules
                                        ((g)
                                          g) 2.10 Disrespect I:
                                             2.10 Disrespect     An AIC
                                                              I: An AIC commits   Disrespect II when
                                                                         commits Disrespect          that AIC
                                                                                                when that AIC directs
                                                                                                              directs hostile, sexual, abusive,
                                                                                                                      hostile, sexual,           or threatening
                                                                                                                                       abusive, or  threatening
                                        llanguage
                                          anguage or
                                                   or gestures
                                                      gestures (verbal   or written)
                                                                 (verbal or written) toward
                                                                                     toward or
                                                                                            or about
                                                                                                about another
                                                                                                      another person  that involves
                                                                                                              person that  involves racial,
                                                                                                                                    racial, religious, or sexual
                                                                                                                                            religious, or sexual
                                        h  arassment or
                                        harassment    or aa physical threat to
                                                            physical threat to the
                                                                               the other
                                                                                   other person.
                                                                                         person.

                                        ((h)
                                          h) 2.11
                                             2.11 Disrespect
                                                  Disrespect II:
                                                             II: An
                                                                 An AIC
                                                                    AIC commits
                                                                          commits Disrespect
                                                                                   Disrespect II
                                                                                              II when
                                                                                                 when that
                                                                                                        that AIC
                                                                                                              AIC directs
                                                                                                                  directs hostile, sexual, abusive,
                                                                                                                          hostile, sexual, abusive, or
                                                                                                                                                    or threatening
                                                                                                                                                       threatening
                                        llanguage
                                          anguage or
                                                   or gestures
                                                      gestures (verbal   or written)
                                                                (verbal or  written) toward
                                                                                     toward or
                                                                                            or about
                                                                                               about another
                                                                                                       another person,   in a
                                                                                                                person, in  a manner  or circumstances
                                                                                                                              manner or                   that create
                                                                                                                                         circumstances that    create aa
                                        threat to
                                        threat  to the
                                                   the safety,
                                                       safety, security,
                                                               security, or
                                                                         or orderly operation of
                                                                            orderly operation of aa facility.
                                                                                                    facility.

                                        ((i)
                                          i) 2.12
                                             2.12 Disrespect
                                                  Disrespect III
                                                             III (minor  violation): An
                                                                 (minor violation):  An AIC
                                                                                        AIC commits  Disrespect III
                                                                                            commits Disrespect  III when
                                                                                                                    when that
                                                                                                                         that AIC
                                                                                                                              AIC directs
                                                                                                                                  directs hostile,
                                                                                                                                          hostile, sexual,
                                                                                                                                                   sexual, abusive,
                                                                                                                                                           abusive, or
                                                                                                                                                                    or
                                        threatening language
                                        threatening    language oror gestures
                                                                     gestures (verbal
                                                                              (verbal or
                                                                                      or written)
                                                                                         written) toward
                                                                                                  toward or about another
                                                                                                         or about   another person.
                                                                                                                            person.

                                        ((j)
                                          j) 2.15
                                             2.15 Extortion
                                                  Extortion I:
                                                            I: An
                                                               An AIC
                                                                  AIC commits
                                                                       commits Extortion
                                                                                Extortion II when
                                                                                             when that
                                                                                                   that AIC
                                                                                                        AIC compels or induces
                                                                                                            compels or induces any
                                                                                                                               any person,
                                                                                                                                   person, who is not
                                                                                                                                           who is not an
                                                                                                                                                      an AIC,
                                                                                                                                                         AIC, to
                                                                                                                                                              to act
                                                                                                                                                                 act
                                        or refrain
                                        or   refrain from
                                                     from acting,
                                                          acting, by threats, force,
                                                                  by threats, force, or
                                                                                     or intimidation.
                                                                                        intimidation.

                                        (k) 2.16
                                        (k) 2.16 Extortion
                                                 Extortion II:
                                                           II: An
                                                               An AIC
                                                                  AIC commits Extortion II
                                                                      commits Extortion II when
                                                                                           when that
                                                                                                that AIC:
                                                                                                     AIC:

                                        ((A)
                                          A) 2.16.01 Compels or
                                             2.16.01Compels  or induces
                                                                induces another AIC to
                                                                        another AIC to act
                                                                                       act or refrain from
                                                                                           or refrain from acting
                                                                                                           acting by threats, force,
                                                                                                                  by threats, force, or intimidation; or
                                                                                                                                     or intimidation; or

                                        ((B)
                                          B) 2.16.02 Compels or
                                             2.16.02 Compels or induces
                                                                induces an employee to
                                                                        an employee to act,
                                                                                       act, to
                                                                                            to refrain
                                                                                               refrain from
                                                                                                       from acting,
                                                                                                            acting, or to refrain
                                                                                                                    or to         from performing
                                                                                                                          refrain from performing aa job
                                                                                                                                                     job duty
                                                                                                                                                         duty
                                        through use
                                        through   use of
                                                      of demands.
                                                         demands.

                                        ((I)
                                          l) 2.20
                                             2.20 Sexual
                                                  Sexual Assault/Abuse:
                                                          Assault/Abuse: An
                                                                          An AIC
                                                                             AIC commits
                                                                                  commits Sexual
                                                                                          Sexual Assault/Abuse
                                                                                                  Assault/Abuse when
                                                                                                                  when that
                                                                                                                        that AIC
                                                                                                                             AIC engages
                                                                                                                                 engages inin sexual
                                                                                                                                              sexual activity
                                                                                                                                                     activity and
                                                                                                                                                              and the
                                                                                                                                                                  the
                                        victim does
                                        victim   does not
                                                       not consent, is unable
                                                           consent, is unable to
                                                                              to consent or refuse
                                                                                 consent or refuse consent,
                                                                                                   consent, or
                                                                                                            or is
                                                                                                               is coerced into such
                                                                                                                  coerced into such activity
                                                                                                                                    activity by expressed or
                                                                                                                                             by expressed   or implied
                                                                                                                                                               implied
                                        threats of
                                        threats   of violence.
                                                     violence.

                                        ((m)
                                          m) 2.25
                                             2.25 Sexual
                                                  Sexual Harassment
                                                         Harassment: An
                                                                     An AIC
                                                                        AIC commits
                                                                            commits Sexual
                                                                                    Sexual Harassment
                                                                                           Harassment when
                                                                                                      when that
                                                                                                           that AIC:
                                                                                                                AIC:

                                        ((A)
                                          A) 2.25.01 Makes repeated
                                             2.25.01Makes           and unwelcomed
                                                           repeated and unwelcomed sexual
                                                                                   sexual advances
                                                                                          advances or
                                                                                                   or requests for sexual
                                                                                                      requests for sexual favors,
                                                                                                                          favors, or
                                                                                                                                  or

                                        ((B)
                                          B) 2.25.02 Makes repeated
                                             2.25.02 Makes           and unwelcomed
                                                            repeated and unwelcomed verbal
                                                                                       verbal comments, gestures, or
                                                                                              comments, gestures, or actions
                                                                                                                     actions of
                                                                                                                             of aa derogatory
                                                                                                                                   derogatory or offensive sexual
                                                                                                                                              or offensive sexual
                                        nature, directed
                                        nature,  directed toward
                                                          toward or
                                                                 or about
                                                                    about another,
                                                                          another, including
                                                                                   including demeaning
                                                                                             demeaning references  to gender;
                                                                                                       references to  gender; or
                                                                                                                              or

                                        ((C)
                                          C) 2.25.03
                                             2.25.03 Makes repeated and
                                                     Makes repeated      unwelcomed sexually
                                                                     and unwelcomed sexually suggestive
                                                                                             suggestive or
                                                                                                        or derogatory comments about
                                                                                                           derogatory comments about body or clothing,
                                                                                                                                     body or clothing, or
                                                                                                                                                       or
                                        o bscene language
                                         obscene           or gestures.
                                                  language or gestures.

                                        ((n)
                                          n) 2.30
                                             2.30 Non-Assaultive
                                                  Non-Assaultive Sexual
                                                                   Sexual Activity:
                                                                          Activity: An
                                                                                    An AIC
                                                                                       AIC commits   Non‑Assaultive Sexual
                                                                                            commits Non-Assaultive   Sexual Activity
                                                                                                                            Activity when  that AIC
                                                                                                                                     when that   AIC solicits
                                                                                                                                                     solicits or
                                                                                                                                                              or
                                        engages in
                                        engages   in sexual
                                                     sexual activity
                                                            activity and
                                                                     and the
                                                                         the sexual
                                                                             sexual activity
                                                                                    activity is
                                                                                             is conducted
                                                                                                conducted without
                                                                                                          without violence, threat of
                                                                                                                  violence, threat of violence,
                                                                                                                                      violence, coercion, or use
                                                                                                                                                coercion, or  use of
                                                                                                                                                                  of aa
                                        weapon.
                                        weapon.

                                        ((o)
                                          o) 2.40
                                             2.40 Hostage
                                                   Hostage Taking:
                                                            Taking: An
                                                                    An AIC
                                                                       AIC commits Hostage Taking
                                                                           commits Hostage Taking when
                                                                                                  when that
                                                                                                       that AIC
                                                                                                            AIC seizes,
                                                                                                                seizes, holds,
                                                                                                                        holds, or
                                                                                                                               or otherwise signi cantly deprives
                                                                                                                                  otherwise significantly deprives




                                                                                                                                                               fi
                                        the liberty
                                        the   liberty of
                                                      of another
                                                         another person.
                                                                 person.

                                        ((p)
                                          p) 2.45
                                             2.45 Body  Modi cation: An
                                                  Body Modification:  An AIC
                                                                          AIC commits
                                                                               commits body     modi cation when
                                                                                         body modification         that AIC
                                                                                                            when that   AIC alters
                                                                                                                            alters or
                                                                                                                                   or allows any person
                                                                                                                                      allows any        to be
                                                                                                                                                 person to be altered
                                                                                                                                                              altered
                                                             fi
                                                                                                     fi
                                        b y tattooing,
                                         by  tattooing, piercing,
                                                        piercing, puncturing, scarring, etc.,
                                                                  puncturing, scarring, etc., including
                                                                                              including modifying
                                                                                                        modifying or
                                                                                                                  or perpetuating  any previous
                                                                                                                     perpetuating any            modi cation.
                                                                                                                                        previous modification.



                                                                                                                                                          fi
                                        (3) Violations
                                        (3) Violations Involving
                                                       Involving Fraud
                                                                 Fraud or
                                                                       or Deception
                                                                          Deception

                                        ((a)
                                          a) 3.01 False Information
                                             3.01False  Information toto Employees
                                                                         Employees I:   An AIC
                                                                                     I: An AIC commits  False Information
                                                                                                commits False   Information to to Employees
                                                                                                                                  Employees II when
                                                                                                                                               when that
                                                                                                                                                     that AIC
                                                                                                                                                          AIC presents  or
                                                                                                                                                              presents or
                                        ccauses
                                          auses the
                                                 the presentation
                                                      presentation of  false or
                                                                    of false    misleading information
                                                                             or misleading  information to
                                                                                                        to an   employee or
                                                                                                           an employee         non-employee service
                                                                                                                            or non-employee    service provider that
                                                                                                                                                       provider that
                                        ccreates
                                          reates aa threat
                                                    threat to
                                                           to the
                                                              the safety,
                                                                  safety, security,
                                                                          security, or
                                                                                    or orderly
                                                                                       orderly operation of aa facility.
                                                                                               operation of    facility. False
                                                                                                                         False or
                                                                                                                               or misleading information shall
                                                                                                                                  misleading information  shall include
                                                                                                                                                                include
                                        gestures, verbal,
                                        gestures,   verbal, or written communications.
                                                            or written  communications.

                                        ((b)
                                          b) 3.02 False Information
                                             3.02 False Information to
                                                                     to Employees
                                                                        Employees IIII (minor
                                                                                       (minor violation):
                                                                                               violation): An
                                                                                                           An AIC
                                                                                                              AIC commits
                                                                                                                  commits False
                                                                                                                           False Information  to Employees
                                                                                                                                  Information to Employees II
                                                                                                                                                           II when
                                                                                                                                                              when
                                        that AIC
                                        that  AIC presents
                                                   presents or  causes the
                                                             or causes the presentation
                                                                           presentation ofof false
                                                                                             false and
                                                                                                   and misleading
                                                                                                       misleading information
                                                                                                                   information to
                                                                                                                                to an
                                                                                                                                   an employee
                                                                                                                                      employee or
                                                                                                                                                or non-employee
                                                                                                                                                   non-employee
                                        service provider.
                                        service             False or
                                                  provider. False or misleading information includes
                                                                     misleading information    includes gestures,
                                                                                                        gestures, verbal,
                                                                                                                  verbal, or
                                                                                                                          or written
                                                                                                                             written communications.
                                                                                                                                     communications.

                                        ((c)
                                          c) 3.05
                                             3.05 Forgery:
                                                  Forgery: An
                                                           An AIC
                                                              AIC commits Forgery when
                                                                  commits Forgery      that AIC
                                                                                  when that AIC falsely
                                                                                                falsely makes, completes, alters,
                                                                                                        makes, completes, alters, or
                                                                                                                                  or presents
                                                                                                                                     presents aa written
                                                                                                                                                 written
                                        instrument.
                                        instrument.

                                        ((d)
                                          d) 3.10 Gambling: An
                                             3.10 Gambling: An AIC
                                                               AIC commits
                                                                   commits Gambling
                                                                           Gambling when   that AIC
                                                                                      when that AIC wagers
                                                                                                     wagers anything of value
                                                                                                            anything of value in
                                                                                                                              in games
                                                                                                                                 games of
                                                                                                                                       of chance,
                                                                                                                                          chance, possesses
                                                                                                                                                  possesses
                                        p araphernalia associated
                                         paraphernalia associated with gambling, or
                                                                  with gambling, or possesses the proceeds
                                                                                    possesses the          of gambling
                                                                                                  proceeds of gambling activity.
                                                                                                                       activity.

                                        ((e)
                                          e) 3.15
                                             3.15 Fraud:
                                                  Fraud: An
                                                         An AIC
                                                            AIC commits
                                                                commits fraud
                                                                         fraud when
                                                                               when that
                                                                                    that AIC
                                                                                         AIC deceives
                                                                                             deceives another
                                                                                                      another person or business
                                                                                                              person or          in order
                                                                                                                        business in       to obtain
                                                                                                                                    order to obtain money,
                                                                                                                                                    money,
                                        p  roperty, or
                                         property,  or something
                                                       something of
                                                                 of value.
                                                                    value.

                                        (4) Violations
                                        (4) Violations Against
                                                       Against the
                                                               the Orderly
                                                                   Orderly Operation
                                                                           Operation of the Department
                                                                                     of the Department or
                                                                                                       or aa Facility:
                                                                                                             Facility:

                                        ((a)
                                          a) 4.01
                                             4.01 Disobedience
                                                  Disobedience of   of an
                                                                       an Order
                                                                          Order I:
                                                                                I: An
                                                                                   An AIC
                                                                                      AIC commits     Disobedience of
                                                                                          commits Disobedience      of an
                                                                                                                       an Order
                                                                                                                          Order II when
                                                                                                                                   when that
                                                                                                                                         that AIC
                                                                                                                                              AIC overtly   refuses to
                                                                                                                                                   overtly refuses  to
                                        p romptly or
                                         promptly  or in
                                                      in aa timely
                                                            timely manner
                                                                     manner comply
                                                                             comply with
                                                                                      with aa valid
                                                                                              valid order,
                                                                                                    order, which
                                                                                                           which creates
                                                                                                                 creates aa threat
                                                                                                                            threat to
                                                                                                                                   to the
                                                                                                                                      the safety,
                                                                                                                                          safety, security,
                                                                                                                                                  security, or
                                                                                                                                                            or orderly
                                                                                                                                                               orderly
                                        operation of
                                        operation   of aa facility.
                                                          facility.

                                        ((b)
                                          b) 4.02
                                             4.02 Disobedience
                                                  Disobedience of
                                                                of an  Order II:
                                                                   an Order   II: An
                                                                                  An AIC
                                                                                     AIC commits
                                                                                         commits Disobedience
                                                                                                   Disobedience of    an Order
                                                                                                                   of an        II when
                                                                                                                         Order II  when that
                                                                                                                                          that AIC
                                                                                                                                               AIC fails
                                                                                                                                                   fails to
                                                                                                                                                         to comply with aa
                                                                                                                                                            comply with
                                        valid order,
                                        valid  order, which
                                                      which creates
                                                            creates aa threat
                                                                       threat to
                                                                              to the
                                                                                  the safety,
                                                                                      safety, security,
                                                                                              security, or
                                                                                                        or orderly
                                                                                                           orderly operation of aa facility.
                                                                                                                   operation of    facility.

https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                         7/28
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                                                                                                              Declaration of
                                                                                                              Declaration of Nofziger,
                                                                                                                             Nofziger, Exhibit
                                                                                                                                       Exhibit 2,
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                                                                             Oregon Secretary of
                                                                                              of State
                                                                                                 State Administrative
                                                                                                       Administrative Rules
                                                                                                                      Rules
                                        ((c)
                                          c) 4.03
                                             4.03 Disobedience
                                                  Disobedience of of an
                                                                     an Order
                                                                        Order III
                                                                              III (minor violation): An
                                                                                  (minor violation): An AIC
                                                                                                        AIC commits Disobedience of
                                                                                                            commits Disobedience of an
                                                                                                                                    an Order
                                                                                                                                       Order III
                                                                                                                                             III when that AIC
                                                                                                                                                 when that AIC fails
                                                                                                                                                               fails
                                        to comply
                                        to   comply with
                                                    with aa valid
                                                            valid order.
                                                                  order.

                                        ((d)
                                          d) 4.04
                                             4.04 Leave
                                                  Leave Violation:
                                                        Violation: An
                                                                   An AIC
                                                                      AIC commits
                                                                          commits aa Leave
                                                                                     Leave Violation
                                                                                           Violation when
                                                                                                     when that
                                                                                                          that AIC:
                                                                                                               AIC:

                                        ((A)
                                          A) 4.04.01
                                             4.04.01 Refuses
                                                     Refuses or
                                                             or fails
                                                                fails to
                                                                      to follow
                                                                         follow aa valid
                                                                                   valid order
                                                                                         order or
                                                                                               or condition of Short-Term
                                                                                                  condition of Short-Term Transitional
                                                                                                                          Transitional Leave.
                                                                                                                                       Leave.

                                        ((B)
                                          B) 4.04.02
                                             4.04.02 Refuses
                                                     Refuses or
                                                             or fails
                                                                fails to
                                                                      to follow
                                                                         follow aa valid
                                                                                   valid order
                                                                                         order or
                                                                                               or condition of Non-Prison
                                                                                                  condition of Non-Prison Leave.
                                                                                                                          Leave.

                                        ((e)
                                          e) 4.05
                                             4.05 Disturbance:
                                                  Disturbance: An
                                                                An AIC
                                                                   AIC commits
                                                                        commits aa Disturbance
                                                                                    Disturbance when
                                                                                                  when that
                                                                                                        that AIC
                                                                                                             AIC advocates,
                                                                                                                 advocates, incites,
                                                                                                                                incites, creates,
                                                                                                                                          creates, engages
                                                                                                                                                   engages in,
                                                                                                                                                             in, maintains,
                                                                                                                                                                 maintains, or
                                                                                                                                                                            or
                                        p  romotes a
                                         promotes     situation characterized
                                                    a situation characterized by  unruly, noisy,
                                                                              by unruly,  noisy, or violent conduct,
                                                                                                 or violent conduct, or
                                                                                                                      or unauthorized
                                                                                                                          unauthorized group
                                                                                                                                           group activity,
                                                                                                                                                  activity, which
                                                                                                                                                            which disrupts
                                                                                                                                                                   disrupts
                                        the orderly
                                        the   orderly administration
                                                      administration of or poses
                                                                     of or poses aa direct threat to
                                                                                    direct threat to the
                                                                                                     the security
                                                                                                         security of
                                                                                                                  of aa facility,
                                                                                                                        facility, facility
                                                                                                                                  facility programs,
                                                                                                                                           programs, or  the safety
                                                                                                                                                      or the  safety of
                                                                                                                                                                     of an
                                                                                                                                                                        an
                                        employee or
                                        employee    or another
                                                       another person.
                                                                person.

                                        (f) 4.10
                                        (f) 4.10 Distribution
                                                 Distribution I: An AIC
                                                              I: An AIC commits Distribution II when
                                                                        commits Distribution    when that
                                                                                                     that AIC:
                                                                                                          AIC:

                                        ((A)
                                          A) 4.10.01
                                             4.10.01 Distributes
                                                     Distributes or
                                                                 or receives
                                                                    receives any
                                                                             any controlled substance, intoxicant,
                                                                                 controlled substance, intoxicant, drug
                                                                                                                   drug paraphernalia, or money
                                                                                                                        paraphernalia, or       in the
                                                                                                                                          money in the amount
                                                                                                                                                       amount of
                                                                                                                                                              of
                                        $ 10 or
                                         $10     more (not
                                              or more (not including
                                                           including funds
                                                                     funds maintained
                                                                           maintained by  DOC in
                                                                                       by DOC  in an
                                                                                                  an AIC
                                                                                                     AIC trust
                                                                                                          trust account);
                                                                                                                account); or
                                                                                                                          or

                                        ((B)
                                          B) 4.10.02
                                             4.10.02 Possesses
                                                     Possesses any
                                                               any controlled substance, intoxicant,
                                                                   controlled substance, intoxicant, drug paraphernalia, or
                                                                                                     drug paraphernalia, or money
                                                                                                                            money in
                                                                                                                                  in the
                                                                                                                                     the amount
                                                                                                                                         amount ofof $10 or more
                                                                                                                                                     $10 or more
                                        (not including
                                        (not  including funds
                                                        funds maintained
                                                              maintained by DOC in
                                                                         by DOC  in an
                                                                                    an AIC
                                                                                       AIC trust
                                                                                           trust account),
                                                                                                 account), which
                                                                                                           which have
                                                                                                                 have been
                                                                                                                      been packaged   for distribution.
                                                                                                                            packaged for  distribution.

                                        ((g)
                                          g) 4.11
                                             4.11 Distribution
                                                  Distribution II:
                                                               II: An
                                                                   An AIC
                                                                      AIC commits
                                                                          commits Distribution
                                                                                  Distribution II
                                                                                               II when that AIC:
                                                                                                  when that AIC:

                                        ((A)
                                          A) 4.11.01
                                             4.11.01 Distributes
                                                     Distributes or
                                                                 or receives
                                                                    receives contraband that creates
                                                                             contraband that creates a threat to
                                                                                                     a threat to the
                                                                                                                 the safety,
                                                                                                                     safety, security,
                                                                                                                             security, and
                                                                                                                                       and orderly
                                                                                                                                           orderly operation
                                                                                                                                                   operation of
                                                                                                                                                             of a
                                                                                                                                                                a
                                        facility; or
                                        facility; or

                                        ((B)
                                          B) 4.11.02
                                             4.11.02 Possesses
                                                     Possesses contraband
                                                               contraband that
                                                                            that has
                                                                                 has been
                                                                                       been packaged for distribution
                                                                                            packaged for              and that
                                                                                                         distribution and that creates
                                                                                                                               creates aa threat
                                                                                                                                          threat to
                                                                                                                                                 to the
                                                                                                                                                    the safety,
                                                                                                                                                        safety,
                                        security, and
                                        security, and orderly operation of
                                                      orderly operation of aa facility;
                                                                              facility; or
                                                                                        or

                                        ((C)
                                          C) 4.11.03
                                             4.11.03 Knowingly
                                                     Knowingly destroys
                                                               destroys evidence
                                                                        evidence to
                                                                                 to interfere
                                                                                    interfere with
                                                                                              with an employee’s ability
                                                                                                   an employee's ability to
                                                                                                                         to identify
                                                                                                                            identify the
                                                                                                                                     the contraband.
                                                                                                                                         contraband.

                                         ((h)
                                           h) 4.15
                                              4.15 Compromising
                                                   Compromising an    Employee: An
                                                                  an Employee:    An AIC
                                                                                     AIC commits
                                                                                         commits Compromising
                                                                                                  Compromising an an Employee
                                                                                                                     Employee when   that AIC
                                                                                                                               when that  AIC knowingly   engages an
                                                                                                                                              knowingly engages     an
                                         employee, public
                                        employee,           safety of
                                                     public safety     cer, non-employee
                                                                   officer, non-employee service
                                                                                          service provider, or any
                                                                                                  provider, or any person involved in
                                                                                                                   person involved in DOC
                                                                                                                                      DOC programs
                                                                                                                                           programs oror activities
                                                                                                                                                         activities in
                                                                                                                                                                    in
                                                                        fi
                                        aa personal
                                            personal relationship or business
                                                     relationship or           transaction, excluding
                                                                      business transaction, excluding AlCs
                                                                                                      AICs or visitors approved
                                                                                                           or visitors approved under
                                                                                                                                under DOC
                                                                                                                                       DOC visiting
                                                                                                                                            visiting rules.
                                                                                                                                                     rules.

                                        ((i)
                                          i) 4.20
                                             4.20 Escape
                                                  Escape I: An AIC
                                                         I: An AIC commits Escape II when
                                                                   commits Escape    when that
                                                                                          that AIC
                                                                                               AIC departs
                                                                                                   departs without
                                                                                                           without authorization
                                                                                                                   authorization from:
                                                                                                                                 from:

                                        ((A)
                                          A) 4.20.01
                                             4.20.01 Within
                                                     Within the
                                                            the security
                                                                security perimeter of aa facility;
                                                                         perimeter of    facility; or
                                                                                                   or

                                        ((B)
                                          B) 4.20.02
                                             4.20.02 The
                                                      The immediate
                                                           immediate control
                                                                      control of an employee
                                                                              of an          or public
                                                                                    employee or        safety of
                                                                                                public safety     cer while
                                                                                                              officer while in
                                                                                                                            in secure
                                                                                                                               secure physical
                                                                                                                                      physical custody and outside
                                                                                                                                               custody and outside aa
                                                                                                                      fi
                                        secure facility
                                        secure   facility perimeter; or
                                                          perimeter; or

                                        ((C)
                                          C) 4.20.03
                                             4.20.03 The
                                                     The immediate
                                                         immediate control of aa secure
                                                                   control of    secure cell
                                                                                        cell or
                                                                                             or secure
                                                                                                secure housing
                                                                                                       housing unit.
                                                                                                               unit.

                                        ((j)
                                          j) 4.21
                                             4.21 Escape
                                                  Escape II: An AIC
                                                         II: An AIC commits Escape II
                                                                    commits Escape II when
                                                                                      when that
                                                                                           that AIC
                                                                                                AIC departs
                                                                                                    departs without authorization from:
                                                                                                            without authorization from:

                                        ((A)
                                          A) 4.21.01
                                             4.21.01 The
                                                     The grounds
                                                         grounds of
                                                                 of a facility without
                                                                    a facility without aa secure
                                                                                          secure perimeter; or
                                                                                                 perimeter; or

                                        ((B)
                                          B) 4.21.02
                                             4.21.02 The
                                                     The direct supervision of
                                                         direct supervision of personnel
                                                                               personnel authorized to supervise
                                                                                         authorized to supervise AICs
                                                                                                                 AICs while
                                                                                                                      while outside
                                                                                                                            outside aa facility
                                                                                                                                       facility secure
                                                                                                                                                secure perimeter;
                                                                                                                                                       perimeter;
                                        or
                                        or

                                        ((C)
                                          C) 4.21.03
                                             4.21.03 Short-Term
                                                     Short-Term Transitional
                                                                Transitional Leave
                                                                             Leave or
                                                                                   or Non-Prison
                                                                                      Non-Prison Leave
                                                                                                 Leave and
                                                                                                       and aa warrant
                                                                                                              warrant or an order
                                                                                                                      or an       for arrest
                                                                                                                            order for arrest and
                                                                                                                                             and return
                                                                                                                                                 return of
                                                                                                                                                        of the
                                                                                                                                                           the
                                        AIC has
                                        AIC   has been issued.
                                                  been issued.

                                        (k) 4.25
                                        (k) 4.25 Possession
                                                 Possession of
                                                            of an
                                                               an Escape
                                                                  Escape Device:
                                                                          Device: An
                                                                                   An AIC
                                                                                       AIC commits    Possession of
                                                                                           commits Possession    of an
                                                                                                                    an Escape
                                                                                                                       Escape Device
                                                                                                                               Device when
                                                                                                                                       when that
                                                                                                                                              that AIC
                                                                                                                                                   AIC possesses   any
                                                                                                                                                       possesses any
                                        item specifically
                                        item  speci cally designed for, physically
                                                          designed for,            altered for,
                                                                        physically altered for, or readily capable
                                                                                                or readily         of being
                                                                                                           capable of       used to
                                                                                                                      being used to facilitate
                                                                                                                                    facilitate an
                                                                                                                                               an escape
                                                                                                                                                  escape from
                                                                                                                                                         from aa facility
                                                                                                                                                                 facility
                                                   fi
                                        or from
                                        or  from custody.
                                                 custody.

                                        ((I)
                                          l) 4.30
                                             4.30 Possession
                                                  Possession ofof aa Weapon:
                                                                     Weapon: An
                                                                             An AIC
                                                                                AIC commits   Possession of
                                                                                    commits Possession     of aa Weapon
                                                                                                                 Weapon when
                                                                                                                          when that
                                                                                                                                 that AIC
                                                                                                                                      AIC possesses  an instrument,
                                                                                                                                           possesses an instrument,
                                        article, or
                                        article,  or substance   speci cally designed
                                                     substance specifically           for, physically
                                                                             designed for, physically altered  for, or
                                                                                                      altered for,  or readily
                                                                                                                       readily capable of causing
                                                                                                                               capable of causing death
                                                                                                                                                  death or  serious
                                                                                                                                                         or serious
                                                                       fi
                                        p  hysical injury
                                         physical  injury to
                                                          to aa person or animal.
                                                                person or animal.

                                        ((m)
                                          m) 4.33
                                             4.33 Possession
                                                  Possession of
                                                             of an
                                                                an Electronic
                                                                   Electronic Device:
                                                                              Device: An
                                                                                      An AIC
                                                                                         AIC commits
                                                                                             commits Possession
                                                                                                      Possession of
                                                                                                                 of an Electronic Device
                                                                                                                    an Electronic Device when
                                                                                                                                         when that
                                                                                                                                              that AIC
                                                                                                                                                   AIC
                                        p ossesses an
                                         possesses an unauthorized
                                                      unauthorized electronic   communication device.
                                                                     electronic communication  device.

                                        ((n)
                                          n) 4.35
                                             4.35 Racketeering:
                                                  Racketeering: An
                                                                An AIC
                                                                    AIC commits    Racketeering when
                                                                        commits Racketeering          that AIC
                                                                                                when that  AIC engages
                                                                                                               engages in
                                                                                                                       in illicit
                                                                                                                          illicit activity
                                                                                                                                  activity that
                                                                                                                                           that is
                                                                                                                                                is carried
                                                                                                                                                   carried out for the
                                                                                                                                                           out for the
                                        p urpose of
                                         purpose  of personal
                                                     personal or   nancial gain
                                                              or financial gain through unlawful acts.
                                                                                through unlawful acts.
                                                                  fi
                                        ((o)
                                          o) 4.40
                                             4.40 Unauthorized
                                                  Unauthorized Area
                                                                 Area I:  An AIC
                                                                       I: An AIC commits    Unauthorized Area
                                                                                  commits Unauthorized       Area II when
                                                                                                                     when that
                                                                                                                            that AIC
                                                                                                                                  AIC fails
                                                                                                                                      fails to
                                                                                                                                            to be
                                                                                                                                               be present   in any
                                                                                                                                                   present in  any location
                                                                                                                                                                   location
                                        d  esignated by
                                         designated   by assignment,
                                                         assignment, programmed
                                                                      programmed activity,
                                                                                     activity, call out, or
                                                                                               call out,    employee or
                                                                                                         or employee        non-employee service
                                                                                                                        or non-employee      service provider
                                                                                                                                                       provider directive (or is
                                                                                                                                                                directive (or is
                                        in any
                                        in  any location
                                                location not
                                                         not designated
                                                              designated by   assignment, programmed
                                                                           by assignment,                   activity, call
                                                                                           programmed activity,            out, or
                                                                                                                      call out,    employee or
                                                                                                                                or employee       non-employee service
                                                                                                                                               or non-employee    service
                                        p rovider directive)
                                         provider             that creates
                                                   directive) that creates a  threat to
                                                                            a threat to the
                                                                                        the safety,
                                                                                            safety, security,
                                                                                                     security, or orderly operation
                                                                                                               or orderly   operation of
                                                                                                                                       of a  facility.
                                                                                                                                           a facility.


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                                                                                                                Declaration of
                                                                                                                Declaration of Nofziger,
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                                                                             Oregon Secretary of
                                                                                              of State
                                                                                                 State Administrative
                                                                                                       Administrative Rules
                                                                                                                      Rules
                                        ((p)
                                          p) 4.41
                                             4.41 Unauthorized
                                                  Unauthorized AreaArea II
                                                                        II (minor
                                                                           (minor violation):
                                                                                  violation): An
                                                                                              An AIC
                                                                                                 AIC commits
                                                                                                     commits Unauthorized
                                                                                                               Unauthorized AreaArea II
                                                                                                                                      II when
                                                                                                                                         when that
                                                                                                                                                that AIC
                                                                                                                                                     AIC fails
                                                                                                                                                         fails to
                                                                                                                                                               to be
                                                                                                                                                                  be present
                                                                                                                                                                     present
                                        in any
                                        in  any location
                                                location designated
                                                           designated by   assignment, programmed
                                                                       by assignment,                activity, call
                                                                                       programmed activity,    call out, or employee
                                                                                                                    out, or employee or or non-employee    service provider
                                                                                                                                           non-employee service     provider
                                        d irective (or
                                         directive (or is
                                                       is in
                                                          in any
                                                             any location  not designated
                                                                 location not              by assignment,
                                                                               designated by  assignment, programmed       activity, call
                                                                                                           programmed activity,      call out, or employee
                                                                                                                                          out, or employee oror non-
                                                                                                                                                                non-
                                        employee service
                                        employee    service provider   directive).
                                                              provider directive).

                                        ((q)
                                          q) 4.45
                                             4.45 Unauthorized
                                                  Unauthorized Organization
                                                                  Organization I:   An AIC
                                                                                 I: An  AIC commits
                                                                                            commits Unauthorized
                                                                                                      Unauthorized Organization
                                                                                                                      Organization II when
                                                                                                                                      when that
                                                                                                                                            that AIC
                                                                                                                                                 AIC is
                                                                                                                                                      is part of a
                                                                                                                                                         part of   group of
                                                                                                                                                                 a group of
                                        two or
                                        two   or more
                                                 more persons
                                                       persons (whether     formal or
                                                                 (whether formal       informal), who
                                                                                    or informal), who collectively,
                                                                                                       collectively, or in concert,
                                                                                                                     or in          create or
                                                                                                                           concert, create    actively promote,
                                                                                                                                           or actively            recruit,
                                                                                                                                                       promote, recruit,
                                        p articipate in,
                                         participate in, or is involved
                                                         or is involved in
                                                                        in security
                                                                           security threat
                                                                                     threat activity.
                                                                                            activity.

                                        (r) 4.46
                                        (r) 4.46 Unauthorized
                                                 Unauthorized Organization
                                                              Organization II:
                                                                           II: An
                                                                               An AIC
                                                                                  AIC commits
                                                                                      commits Unauthorized
                                                                                              Unauthorized Organization
                                                                                                           Organization II
                                                                                                                        II when
                                                                                                                           when that
                                                                                                                                that AIC:
                                                                                                                                     AIC:

                                        ((A)
                                          A) 4.46.01
                                             4.46.01 Supports,
                                                     Supports, displays,
                                                               displays, or
                                                                         or endorses
                                                                            endorses through
                                                                                        through verbal,
                                                                                                 verbal, visual,
                                                                                                         visual, or written acts
                                                                                                                 or written acts or
                                                                                                                                 or communication any club,
                                                                                                                                    communication any club,
                                        association, or
                                        association,     organization that
                                                      or organization that is
                                                                           is aa security
                                                                                 security threat
                                                                                          threat group;
                                                                                                 group; or
                                                                                                         or

                                        ((B)
                                          B) 4.46.02
                                             4.46.02 Engages
                                                     Engages in
                                                             in aa petition
                                                                   petition drive
                                                                            drive without speci c authorization
                                                                                  without specific               from the
                                                                                                   authorization from the functional
                                                                                                                          functional unit
                                                                                                                                     unit manager.
                                                                                                                                          manager.




                                                                                                  fi
                                        [[ED.
                                          ED. NOTE:
                                              NOTE: To
                                                    To view
                                                       view attachments
                                                            attachments referenced
                                                                        referenced in
                                                                                   in rule
                                                                                      rule text,
                                                                                           text, click
                                                                                                 click here
                                                                                                       here to
                                                                                                            to view
                                                                                                               view rule.]
                                                                                                                    rule.]

                                        Statutory/Other Authority:
                                        Statutory/Other         Authority: ORS   ORS 179.040,
                                                                                        179.040, 421.068,
                                                                                                 421.068, 421.180,
                                                                                                            421.180, 423.020,
                                                                                                                     423.020, 423.030
                                                                                                                              423.030 &
                                                                                                                                      & 423.075
                                                                                                                                        423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other        Implemented: ORS      ORS 179.040,
                                                                                           179.040, 421.068,
                                                                                                    421.068, 421.180,
                                                                                                              421.180, 423.020,
                                                                                                                       423.020, 423.030
                                                                                                                                423.030 &
                                                                                                                                        & 423.075
                                                                                                                                          423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC   25-2020, amend amend filed   led 12/14/2020,
                                                                                12/14/2020, effective
                                                                                               effective 12/15/2020
                                                                                                         12/15/2020
                                                                 fi
                                        DOC 24-2011,
                                        DOC   24-2011, f.    f. 12-2-11,
                                                                12-2-11, cert.cert. ef.
                                                                                     ef. 12-7-11
                                                                                         12-7-11
                                        DOC 9-2009,
                                        DOC   9-2009, f.  f. 6-24-09,
                                                             6-24-09, cert. cert. ef.
                                                                                  ef. 7-1-09
                                                                                      7-1-09
                                        DOC 9-2005,
                                        DOC   9-2005, f.  f. 7-22-05,
                                                             7-22-05, cert. cert. ef.
                                                                                  ef. 7-24-05
                                                                                      7-24-05
                                        DOC 6-2002,
                                        DOC   6-2002, f.  f. 4-30-02,
                                                             4-30-02, cert. cert. ef.
                                                                                  ef. 5-1-02
                                                                                      5-1-02
                                        DOC 16-2000,
                                        DOC   16-2000, f.    f. &
                                                                & cert.
                                                                  cert. ef.ef. 6-19-00
                                                                               6-19-00
                                        DOC 28-1999(Temp),
                                        DOC   28-1999(Temp), f.         f. &
                                                                           & cert.
                                                                             cert. ef.  12-22-99 thru
                                                                                    ef. 12-22-99  thru 6-19-00
                                                                                                       6-19-00
                                        DOC 3-1999,
                                        DOC   3-1999, f.  f. 2-25-99,
                                                             2-25-99, cert. cert. ef.
                                                                                  ef. 3-1-99
                                                                                      3-1-99
                                        CD 16-1996,
                                        CD 16-1996, f.   f. 11-13-96,
                                                            11-13-96, cert.  cert. ef.
                                                                                    ef. 11-15-96
                                                                                        11-15-96
                                        CD 9-1995,
                                        CD  9-1995, f.f. 5-23-95,
                                                         5-23-95, cert.         ef. 6-1-95
                                                                         cert. et   6-1-95
                                        CD 6-1993,
                                        CD 6-1993, f. f. 3-10-93,
                                                         3-10-93, cert.         ef. 4-1-93
                                                                         cert. ef.  4-1-93
                                        CD 8-1992,
                                        CD 8-1992, f. f. 3-27-92,
                                                         3-27-92, cert.         ef. 4-14-92
                                                                         cert. ef.  4-14-92
                                        CD 5-1989,
                                        CD  5-1989, f.f. &
                                                         & cert.
                                                              cert. ef.    4-21-89
                                                                      ef. 4-21-89
                                        CD 38-1987,
                                        CD  38-1987, f.  f. &
                                                            & ef.
                                                                ef. 10-2-87
                                                                    10-2-87
                                        CD 29-1986,
                                        CD  29-1986, f.  f. &
                                                            & ef.
                                                                ef. 8-20-86
                                                                    8-20-86
                                        CD 6-1986(Temp),
                                        CD 6-1986(Temp), f.       f. 3-14-86,
                                                                     3-14-86, ef. ef. 4-15-86
                                                                                      4-15-86
                                        CD 30-1985,
                                        CD  30-1985, f.  f. &
                                                            & ef.
                                                                ef. 8-16-85
                                                                    8-16-85
                                        CD 8-1985(Temp),
                                        CD  8-1985(Temp), f.      f. &
                                                                     & ef.
                                                                         ef. 6-19-85
                                                                             6-19-85
                                        CD 25-1982,
                                        CD  25-1982, f.  f. &
                                                            & ef.
                                                                ef. 11-19-82
                                                                    11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f.   f. &
                                                            & ef.
                                                                ef. 4-15-80,
                                                                    4-15-80, Renumbered
                                                                                 Renumbered from from 291-040-0050
                                                                                                       291-040-0050
                                        CD 19-1979(Temp),
                                        CD  19-1979(Temp), f.        f. &
                                                                        & ef.
                                                                           ef. 10-19-79,    Renumbered from
                                                                               10-19-79, Renumbered       from 291-040-0050
                                                                                                               291-040-0050
                                        CD 7-1979,
                                        CD 7-1979, f. f. &
                                                         & ef.ef. 3-14-79
                                                                  3-14-79
                                        CD 36,
                                        CD      f. 11-5-76,
                                            36, f. 11-5-76, ef.  ef. 11-15-76
                                                                      11-15-76
                                        CD 34(Temp),
                                        CD  34(Temp), f.  f. && ef.
                                                                 ef. 7-19-76
                                                                     7-19-76
                                        CD 33,
                                        CD      f. 6-16-76,
                                            33, f. 6-16-76, ef.  ef. 7-1-76
                                                                      7-1-76
                                        CD 12(Temp),
                                        CD  12(Temp), f.  f. && ef.
                                                                 ef. 10-20-72
                                                                     10-20-72 thru  thru 2-16-73
                                                                                          2-16-73
                                        CD 11(Temp),
                                        CD  11(Temp), f.  f. && ef.
                                                                 ef. 10-20-72
                                                                     10-20-72 thru  thru 2-16-73
                                                                                          2-16-73
                                        CD 8(Temp),
                                        CD  8(Temp), f.f. && ef.
                                                               ef. 10-20-72
                                                                   10-20-72 thru thru 2-16-73
                                                                                         2-16-73


                                        2 91-105-0021
                                        291-105-0021
                                        Procedures for
                                        Procedures for Handling
                                                       Handling Misconduct
                                                                Misconduct by AICs
                                                                           by AlCs

                                        (1) Corrective
                                        (1) Corrective Action:
                                                        Action: Employees
                                                                Employees shall
                                                                             shall be
                                                                                   be expected
                                                                                      expected toto use
                                                                                                     use less formal procedures
                                                                                                         less formal  procedures ifif the
                                                                                                                                      the act
                                                                                                                                          act or acts of
                                                                                                                                              or acts of misconduct
                                                                                                                                                         misconduct do   not
                                                                                                                                                                      do not
                                        cconstitute
                                          onstitute an
                                                    an immediate
                                                       immediate and
                                                                   and continued
                                                                       continued threat
                                                                                    threat to
                                                                                           to life,
                                                                                              life, health,
                                                                                                    health, facility
                                                                                                            facility security,
                                                                                                                     security, employee
                                                                                                                               employee authority,    or serious
                                                                                                                                          authority, or  serious property
                                                                                                                                                                 property
                                        d amage or
                                         damage  or destruction,  and in
                                                    destruction, and  in aa manner
                                                                            manner that
                                                                                    that promotes
                                                                                         promotes and and embraces
                                                                                                           embraces the
                                                                                                                      the Oregon   Accountability Model.
                                                                                                                          Oregon Accountability     Model. Less
                                                                                                                                                             Less formal
                                                                                                                                                                  formal
                                        ccorrective
                                          orrective action
                                                    action may
                                                           may include:
                                                                include: aa reprimand,
                                                                            reprimand, aa warning,
                                                                                          warning, counseling,
                                                                                                     counseling, aa conduct    order, or
                                                                                                                     conduct order,   or as
                                                                                                                                         as otherwise
                                                                                                                                            otherwise authorized
                                                                                                                                                       authorized byby the
                                                                                                                                                                       the
                                        functional unit
                                        functional  unit manager,  Of cer-in-Charge, or
                                                         manager, Officer-in-Charge,    or designee.
                                                                                           designee.
                                                                        fi
                                        ((a)
                                          a) Employees
                                             Employees issuing
                                                        issuing aa conduct
                                                                   conduct order shall promptly
                                                                           order shall promptly complete the conduct
                                                                                                complete the conduct order
                                                                                                                     order and forward it
                                                                                                                           and forward it to
                                                                                                                                          to the Of cer-in-
                                                                                                                                             the Officer-in-
                                                                                                                                                            fi
                                        Charge or
                                        Charge   or designee
                                                    designee for
                                                              for review.
                                                                   review.

                                        ((b)
                                          b) The
                                             The Of  cer-in-Charge or
                                                 Officer-in-Charge   or designee   shall review
                                                                        designee shall   review and
                                                                                                  and approve,
                                                                                                       approve, cancel,
                                                                                                                  cancel, or
                                                                                                                          or modify
                                                                                                                             modify the
                                                                                                                                    the conduct  order as
                                                                                                                                        conduct order    as soon
                                                                                                                                                            soon as
                                                                                                                                                                  as
                                                   fi
                                        p racticable or
                                         practicable     within four
                                                     or within  four hours of it
                                                                     hours of it being  issued. If
                                                                                 being issued.   If the  Of cer-in-Charge or
                                                                                                    the Officer-in-Charge    or designee
                                                                                                                                designee determines    that the
                                                                                                                                         determines that    the incident
                                                                                                                                                                incident
                                                                                                         fi
                                        warrants aa misconduct
                                        warrants     misconduct report   rather than
                                                                  report rather   than aa conduct
                                                                                          conduct order,
                                                                                                     order, the Of cer-in-Charge or
                                                                                                            the Officer-in-Charge   or designee
                                                                                                                                       designee will
                                                                                                                                                 will ensure
                                                                                                                                                      ensure the
                                                                                                                                                              the conduct
                                                                                                                                                                  conduct
                                                                                                                    fi
                                        order is
                                        order  is cancelled
                                                  cancelled and
                                                            and aa misconduct
                                                                   misconduct report     submitted. If
                                                                                report submitted.      If the Of cer-in-Charge or
                                                                                                          the Officer-in-Charge  or designee
                                                                                                                                    designee determines
                                                                                                                                              determines aa conduct
                                                                                                                                                              conduct order
                                                                                                                                                                      order
                                                                                                              fi
                                        is necessary
                                        is necessary toto immediately
                                                          immediately address
                                                                       address safety
                                                                                 safety and
                                                                                         and security
                                                                                             security concerns,     and aa misconduct
                                                                                                          concerns, and                report is
                                                                                                                           misconduct report  is warranted,
                                                                                                                                                 warranted, the
                                                                                                                                                              the misconduct
                                                                                                                                                                  misconduct
                                        report shall
                                        report        re ect the
                                                shall reflect the reason(s) for issuing
                                                                  reason(s) for issuing both
                                                                                          both aa conduct
                                                                                                  conduct order
                                                                                                             order and
                                                                                                                   and aa misconduct  report.
                                                                                                                          misconduct report.
                                                        fl
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                           9/28
                                                                                                                                                                               9/28
                                                                                                                   Declaration of
                                                                                                                   Declaration of Nofziger,
                                                                                                                                  Nofziger, Exhibit
                                                                                                                                            Exhibit 2,
                                                                                                                                                    2, Page
                                                                                                                                                       Page 9
                                                                                                                                                            9 of
                                                                                                                                                              of 30
                                                                                                                                                                 30
                     Case 6:21-cv-01606-SI                         Document 17                         Filed 11/29/21                    Page 18 of 68
11/12/21, 1:45 PM
11/12/21, 1:45 PM                                                            Oregon Secretary
                                                                             Oregon Secretary of
                                                                                              of State
                                                                                                 State Administrative
                                                                                                       Administrative Rules
                                                                                                                      Rules
                                        ((c)
                                          c) The
                                             The AIC
                                                 AIC shall
                                                      shall be noti ed a
                                                            be notified a conduct  order is
                                                                          conduct order  is being issued as
                                                                                            being issued as soon
                                                                                                            soon asas practicable. A copy
                                                                                                                      practicable. A copy of the conduct
                                                                                                                                          of the conduct order shall be
                                                                                                                                                         order shall be




                                                                   fi
                                        d  elivered to
                                         delivered  to the
                                                       the AIC
                                                           AIC as  soon as
                                                                as soon  as practicable or within
                                                                            practicable or within four
                                                                                                  four hours
                                                                                                       hours of  it being
                                                                                                              of it       approved, cancelled,
                                                                                                                    being approved,  cancelled, or
                                                                                                                                                or modi  ed.
                                                                                                                                                   modified.




                                                                                                                                                               fi
                                        (2) Misconduct
                                        (2) Misconduct Reports:
                                                       Reports:

                                        ((a)
                                          a) When
                                             When the
                                                  the behavior  justi es submission
                                                       behavior justifies submission ofof aa misconduct
                                                                                             misconduct report,   the employee
                                                                                                          report, the  employee shall
                                                                                                                                  shall legibly
                                                                                                                                        legibly print, sign, and
                                                                                                                                                print, sign,        le aa
                                                                                                                                                             and file




                                                                        fi
                                                                                                                                                                         fi
                                        misconduct report
                                        misconduct   report with
                                                            with an
                                                                  an immediate
                                                                     immediate supervisor
                                                                                  supervisor oror the Of cer‑in‑Charge, no
                                                                                                  the Officer-in-Charge,    no later
                                                                                                                               later than
                                                                                                                                     than 24
                                                                                                                                           24 hours
                                                                                                                                              hours after  suf cient
                                                                                                                                                     after sufficient




                                                                                                             fi
                                                                                                                                                                    fi
                                        evidence or
                                        evidence  or information
                                                     information is
                                                                  is gathered,
                                                                     gathered, discovered,
                                                                                discovered, oror observed
                                                                                                 observed to to support
                                                                                                                support aa rule
                                                                                                                           rule violation.
                                                                                                                                violation. Determination
                                                                                                                                           Determination of  of the
                                                                                                                                                                 the
                                        suf ciency of
                                        sufficiency    evidence shall
                                                    of evidence  shall be
                                                                       be aa matter
                                                                             matter of
                                                                                    of judgment
                                                                                       judgment forfor the
                                                                                                       the employee
                                                                                                            employee submitting
                                                                                                                       submitting the
                                                                                                                                    the report
                                                                                                                                        report and  the immediate
                                                                                                                                                and the  immediate




                                           fi
                                        supervisor reviewing
                                        supervisor  reviewing the
                                                              the report.
                                                                   report. The
                                                                             The misconduct
                                                                                 misconduct report
                                                                                               report will  re ect the
                                                                                                       will reflect the reason(s)
                                                                                                                        reason(s) for
                                                                                                                                   for delay of submission
                                                                                                                                       delay of submission if if submitted
                                                                                                                                                                 submitted




                                                                                                                   fl
                                        after the
                                        after the 24-hour
                                                  24-hour period.
                                                           period.

                                        ((b)
                                          b) The
                                             The reviewing     supervisor will
                                                  reviewing supervisor      will ensure
                                                                                 ensure the
                                                                                        the report
                                                                                            report isis accurate,
                                                                                                        accurate, appropriate,
                                                                                                                   appropriate, and
                                                                                                                                  and supported
                                                                                                                                      supported by     suf cient information.
                                                                                                                                                    by sufficient information. IfIf




                                                                                                                                                        fi
                                        not supported
                                        not   supported or     appropriate, the
                                                            or appropriate,  the reviewing
                                                                                  reviewing supervisor
                                                                                             supervisor will   refer the
                                                                                                          will refer the report   back to
                                                                                                                          report back   to the
                                                                                                                                           the author
                                                                                                                                                author for
                                                                                                                                                        for additional
                                                                                                                                                            additional
                                        investigation or
                                        investigation    or for
                                                             for less
                                                                 less formal
                                                                      formal action.
                                                                              action. The
                                                                                      The report
                                                                                          report will
                                                                                                   will have
                                                                                                        have aa printed, legible name
                                                                                                                printed, legible  name and
                                                                                                                                         and signature
                                                                                                                                              signature of
                                                                                                                                                         of the
                                                                                                                                                            the author
                                                                                                                                                                 author and
                                                                                                                                                                          and
                                        reviewing supervisor.
                                        reviewing     supervisor. The
                                                                    The reviewing
                                                                         reviewing supervisor
                                                                                    supervisor or
                                                                                                or designee    shall be
                                                                                                    designee shall   be responsible   for providing
                                                                                                                        responsible for   providing thethe AIC
                                                                                                                                                           AIC with
                                                                                                                                                                with aa legible
                                                                                                                                                                        legible
                                        ccopy
                                          opy of   the misconduct
                                               of the   misconduct report,
                                                                      report, Rules
                                                                              Rules of
                                                                                     of Misconduct
                                                                                        Misconduct (291-105-0015),
                                                                                                      (291-105-0015), and and the
                                                                                                                              the notice    of hearing
                                                                                                                                    notice of  hearing and
                                                                                                                                                        and rights
                                                                                                                                                             rights within
                                                                                                                                                                    within 24
                                                                                                                                                                            24
                                        hours of
                                        hours   of the    ling of
                                                    the filing of the
                                                                  the report,
                                                                       report, unless
                                                                               unless the
                                                                                      the AIC
                                                                                          AIC is
                                                                                               is unavailable
                                                                                                  unavailable toto be served. If
                                                                                                                   be served.  If the
                                                                                                                                  the report
                                                                                                                                      report isis not
                                                                                                                                                  not served
                                                                                                                                                      served to
                                                                                                                                                              to the
                                                                                                                                                                 the AIC
                                                                                                                                                                     AIC within   24
                                                                                                                                                                           within 24
                                                       fi
                                        h ours, the
                                        hours,   the reviewing
                                                      reviewing supervisor
                                                                   supervisor or
                                                                               or designee  shall notify
                                                                                   designee shall         the Hearings
                                                                                                  notify the   Hearings Unit
                                                                                                                          Unit of  the reason
                                                                                                                               of the  reason for
                                                                                                                                                for delay, which will
                                                                                                                                                    delay, which  will be  made
                                                                                                                                                                       be made
                                        p art of
                                         part     the record.
                                               of the  record.

                                         ((c)
                                           c) The
                                              The AIC
                                                  AIC will
                                                      will be allowed 24
                                                           be allowed 24 hours,  after being
                                                                         hours, after         served the
                                                                                        being served the misconduct
                                                                                                         misconduct report,
                                                                                                                    report, before
                                                                                                                            before aa hearing
                                                                                                                                      hearing is
                                                                                                                                              is conducted to prepare
                                                                                                                                                 conducted to prepare
                                        aa defense  unless the
                                            defense unless  the AIC
                                                                 AIC waives
                                                                     waives this
                                                                            this right.
                                                                                 right.

                                        ((d)
                                          d) The
                                             The misconduct    report shall
                                                 misconduct report    shall be submitted to
                                                                            be submitted to the
                                                                                            the Hearings
                                                                                                Hearings Unit
                                                                                                         Unit on
                                                                                                              on an
                                                                                                                 an approved
                                                                                                                    approved Department
                                                                                                                             Department of of Corrections
                                                                                                                                              Corrections form
                                                                                                                                                          form and
                                                                                                                                                               and
                                        shall be
                                        shall  be as speci c and
                                                  as specific and comprehensive
                                                                  comprehensive asas possible. Upon receipt
                                                                                     possible. Upon         of the
                                                                                                    receipt of the misconduct report, the
                                                                                                                   misconduct report,     Hearings Unit
                                                                                                                                      the Hearings Unit shall
                                                                                                                                                        shall note
                                                                                                                                                              note
                                                            fi
                                        the date
                                        the   date received
                                                   received on  the form.
                                                             on the form.

                                        ((A)
                                          A) The
                                             The misconduct    report shall
                                                 misconduct report      shall include
                                                                              include aa description
                                                                                         description of any unusual
                                                                                                     of any unusual relevant
                                                                                                                      relevant AIC
                                                                                                                                 AIC behavior   and information
                                                                                                                                      behavior and   information regarding
                                                                                                                                                                  regarding
                                        how the
                                        how   the employee
                                                  employee became       aware of
                                                              became aware      of the
                                                                                   the behavior.  The report
                                                                                        behavior. The report shall
                                                                                                              shall identify
                                                                                                                    identify all
                                                                                                                              all discovered  information related
                                                                                                                                  discovered information    related to
                                                                                                                                                                    to the
                                                                                                                                                                       the
                                        incident (including
                                        incident              video, memos,
                                                  (including video,   memos, etc.).    The misconduct
                                                                                etc.). The              report must
                                                                                           misconduct report   must contain     suf cient and
                                                                                                                      contain sufficient   and complete
                                                                                                                                               complete facts
                                                                                                                                                          facts to
                                                                                                                                                                to support
                                                                                                                                                                   support the
                                                                                                                                                                           the




                                                                                                                                    fi
                                        alleged rule
                                        alleged  rule violation(s),
                                                       violation(s), including
                                                                     including aa description  of what
                                                                                  description of        the restitution
                                                                                                  what the               is for
                                                                                                            restitution is  for and  the amount
                                                                                                                                and the  amount ofof restitution
                                                                                                                                                     restitution to
                                                                                                                                                                 to be
                                                                                                                                                                    be
                                        o rdered, if
                                         ordered,  if applicable.
                                                      applicable. The
                                                                  The misconduct
                                                                       misconduct report
                                                                                      report must
                                                                                             must contain  suf cient information
                                                                                                   contain sufficient
                                                                                                                  fi
                                                                                                                       information to to allow
                                                                                                                                         allow the
                                                                                                                                               the AIC
                                                                                                                                                   AIC to
                                                                                                                                                        to prepare
                                                                                                                                                           prepare aa defense.
                                                                                                                                                                      defense.

                                        ((B)
                                          B) Attempt
                                             Attempt or
                                                      or Conspiracy:
                                                         Conspiracy: If
                                                                      If an AIC attempts
                                                                         an AIC attempts to to commit
                                                                                               commit or enters into
                                                                                                      or enters into a
                                                                                                                     a conspiracy to commit
                                                                                                                       conspiracy to commit an act of
                                                                                                                                            an act of prohibited
                                                                                                                                                      prohibited
                                        cconduct,
                                          onduct, it
                                                  it shall
                                                     shall be considered the
                                                           be considered      same as
                                                                          the same     if the
                                                                                    as if the AIC
                                                                                              AIC had
                                                                                                  had completed
                                                                                                      completed or   accomplished the
                                                                                                                  or accomplished  the prohibited act.
                                                                                                                                       prohibited act.

                                        ((e)
                                          e) The
                                             The misconduct
                                                 misconduct report
                                                            report must speci cally allege
                                                                   must specifically        all the
                                                                                     allege all the rule
                                                                                                    rule violations the AIC
                                                                                                         violations the AIC is
                                                                                                                            is alleged
                                                                                                                               alleged to
                                                                                                                                       to have
                                                                                                                                          have violated
                                                                                                                                               violated and
                                                                                                                                                        and
                                                                                       fi
                                        d  emonstrate conduct
                                         demonstrate  conduct constituting an attempt
                                                              constituting an attempt oror conspiracy.
                                                                                           conspiracy.

                                        (f) Reports
                                        (f) Reports from
                                                    from all employee and
                                                         all employee and non-employee service provider
                                                                          non-employee service provider witnesses shall also
                                                                                                        witnesses shall also be submitted.
                                                                                                                             be submitted.

                                        ((g)
                                          g) When
                                             When the
                                                    the alleged
                                                        alleged misconduct   occurs while
                                                                misconduct occurs   while the
                                                                                          the AIC
                                                                                              AIC is
                                                                                                  is in
                                                                                                     in the
                                                                                                        the temporary
                                                                                                            temporary physical custody of
                                                                                                                      physical custody of aa jurisdiction
                                                                                                                                             jurisdiction other than
                                                                                                                                                          other than
                                        the Department
                                        the   Department of of Corrections,
                                                               Corrections, employees
                                                                            employees from
                                                                                      from that
                                                                                            that jurisdiction
                                                                                                 jurisdiction may
                                                                                                              may provide
                                                                                                                  provide aa written
                                                                                                                             written description  of the
                                                                                                                                     description of  the misconduct
                                                                                                                                                         misconduct
                                        to the
                                        to   the Of  cer-in-Charge:
                                                 Officer-in-Charge:
                                                  fi
                                        ((A)
                                          A) On
                                             On review
                                                 review of such written
                                                        of such written information,
                                                                        information, the Of cer-in-Charge at
                                                                                     the Officer-in-Charge  at the
                                                                                                               the facility
                                                                                                                   facility receiving
                                                                                                                            receiving the
                                                                                                                                       the AIC
                                                                                                                                           AIC back  into the
                                                                                                                                               back into  the physical
                                                                                                                                                              physical
                                                                                                 fi
                                        ccustody
                                          ustody of
                                                  of the
                                                     the Department
                                                         Department may
                                                                      may determine   that the
                                                                           determine that  the described action violates
                                                                                               described action violates aa rule
                                                                                                                            rule or rules of
                                                                                                                                 or rules of prohibited conduct and
                                                                                                                                             prohibited conduct  and
                                        d irect that
                                         direct that an employee submit
                                                     an employee  submit aa conduct
                                                                            conduct order,
                                                                                    order, misconduct  report, or
                                                                                            misconduct report, or both.
                                                                                                                  both.

                                        ((B)
                                          B) The
                                             The written
                                                 written description
                                                         description provided  by the
                                                                      provided by the temporary
                                                                                      temporary custody
                                                                                                  custody jurisdiction
                                                                                                          jurisdiction shall
                                                                                                                       shall accompany
                                                                                                                             accompany the
                                                                                                                                        the misconduct
                                                                                                                                            misconduct report.
                                                                                                                                                       report. A
                                                                                                                                                               A
                                        misconduct report
                                        misconduct    report shall
                                                             shall not
                                                                   not be submitted absent
                                                                       be submitted absent aa written
                                                                                              written description of the
                                                                                                      description of the allegation
                                                                                                                         allegation from
                                                                                                                                    from the
                                                                                                                                         the temporary
                                                                                                                                             temporary physical
                                                                                                                                                       physical
                                        ccustody
                                          ustody jurisdiction.
                                                 jurisdiction.

                                        ((C)
                                          C) If
                                             If it
                                                it is
                                                   is determined
                                                      determined that
                                                                 that the
                                                                      the other
                                                                          other jurisdiction
                                                                                 jurisdiction maintained the AIC
                                                                                              maintained the  AIC in
                                                                                                                  in aa similarly
                                                                                                                        similarly restrictive status, the
                                                                                                                                  restrictive status, the AIC
                                                                                                                                                          AIC shall
                                                                                                                                                              shall receive
                                                                                                                                                                    receive
                                        ccredit
                                          redit for
                                                  for the
                                                      the number  of days
                                                          number of       held in
                                                                     days held in segregation
                                                                                  segregation type
                                                                                               type status
                                                                                                    status by the other
                                                                                                           by the other jurisdiction.
                                                                                                                          jurisdiction.

                                        (3) Placement
                                        (3) Placement onon Disciplinary
                                                           Disciplinary Segregation
                                                                         Segregation Status:
                                                                                      Status: An An AIC
                                                                                                     AIC charged
                                                                                                          charged with
                                                                                                                   with committing
                                                                                                                        committing aa rule
                                                                                                                                       rule violation
                                                                                                                                            violation may
                                                                                                                                                       may be
                                                                                                                                                            be placed   on
                                                                                                                                                                placed on
                                        d isciplinary segregation
                                        disciplinary  segregation status
                                                                   status pending  resolution of
                                                                          pending resolution     of the
                                                                                                    the charge   through aa formal
                                                                                                         charge through     formal hearing.
                                                                                                                                   hearing. This
                                                                                                                                             This action
                                                                                                                                                  action will
                                                                                                                                                          will be taken when
                                                                                                                                                               be taken  when
                                        the functional
                                        the  functional unit
                                                        unit manager
                                                             manager oror designee
                                                                          designee or
                                                                                    or the  Of cer‑in-Charge determines
                                                                                       the Officer-in-Charge      determines that
                                                                                                                               that the
                                                                                                                                    the alleged rule violation
                                                                                                                                        alleged rule  violation or
                                                                                                                                                                 or violations
                                                                                                                                                                    violations
                                                                                                  fi
                                        are of
                                        are     such seriousness
                                             of such seriousness that
                                                                  that the
                                                                       the security
                                                                           security of
                                                                                    of aa facility
                                                                                          facility is
                                                                                                   is at
                                                                                                      at risk
                                                                                                         risk and
                                                                                                              and requires
                                                                                                                  requires immediate
                                                                                                                           immediate removal
                                                                                                                                       removal ofof the
                                                                                                                                                    the AIC
                                                                                                                                                        AIC from
                                                                                                                                                             from the
                                                                                                                                                                    the
                                        general population,
                                        general               or determines
                                                  population, or             that the
                                                                 determines that  the AIC
                                                                                       AIC is
                                                                                            is aa threat
                                                                                                  threat to
                                                                                                          to the
                                                                                                             the community,
                                                                                                                 community, oror determines   that the
                                                                                                                                 determines that   the AIC
                                                                                                                                                       AIC is
                                                                                                                                                            is likely to
                                                                                                                                                               likely to
                                        escape or
                                        escape      abscond.
                                                 or abscond.

                                        ((a)
                                          a) If
                                             If disciplinary segregation status
                                                disciplinary segregation status is
                                                                                is ordered,
                                                                                   ordered, the Of cer‑in‑Charge must
                                                                                            the Officer-in-Charge must document specifying the
                                                                                                                       document specifying the reason(s)
                                                                                                                                               reason(s) why
                                                                                                                                                         why
                                                                                                        fi
                                        immediate disciplinary
                                        immediate      disciplinary segregation
                                                                    segregation of
                                                                                of the
                                                                                   the AIC
                                                                                       AIC was
                                                                                           was deemed
                                                                                                deemed necessary.
                                                                                                         necessary.

                                        ((b)
                                          b) A
                                             A completed    copy of
                                               completed copy      of the
                                                                      the Department
                                                                          Department of of Corrections
                                                                                            Corrections misconduct
                                                                                                            misconduct report
                                                                                                                         report will
                                                                                                                                will be forwarded to
                                                                                                                                     be forwarded  to the
                                                                                                                                                      the functional
                                                                                                                                                          functional unit
                                                                                                                                                                      unit
                                        m  anager or
                                         manager     or designee
                                                        designee who    will review
                                                                  who will   review the
                                                                                     the AIC's
                                                                                         AIC’s pre    ‑hearing disciplinary
                                                                                                 pre-hearing                 segregation placement
                                                                                                                disciplinary segregation             within 72
                                                                                                                                          placement within  72 hours
                                                                                                                                                                hours ofof the
                                                                                                                                                                           the
                                        AIC’s placement
                                        AIC's   placement on on disciplinary   segregation status.
                                                                 disciplinary segregation     status. If
                                                                                                       If approved,
                                                                                                          approved, the
                                                                                                                    the functional
                                                                                                                         functional unit
                                                                                                                                    unit manager  or designee
                                                                                                                                         manager or  designee will  initial the
                                                                                                                                                               will initial the
                                        report. If
                                        report.   If the
                                                     the AIC
                                                         AIC is
                                                             is temporarily
                                                                temporarily con     ned in
                                                                               confined  in aa local jail while
                                                                                               local jail while on Short‑Term Transitional
                                                                                                                on Short-Term   Transitional Leave,
                                                                                                                                             Leave, Non-Prison
                                                                                                                                                    Non-Prison Leave,
                                                                                                                                                                 Leave, or
                                                                                                                                                                         or
                                                                                  fi
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                               10/28
                                                                                                                                                                                   10/28
                                                                                                                  Declaration of
                                                                                                                  Declaration of Nofziger,
                                                                                                                                 Nofziger, Exhibit
                                                                                                                                           Exhibit 2,
                                                                                                                                                   2, Page
                                                                                                                                                      Page 10 of 30
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                                                                            Oregon Secretary of
                                                                                             of State
                                                                                                State Administrative
                                                                                                      Administrative Rules
                                                                                                                     Rules
                                        Emergency Leave,
                                        Emergency    Leave, the
                                                            the functional
                                                                functional unit
                                                                           unit manager  or designee
                                                                                manager or  designee will
                                                                                                      will be noti ed for
                                                                                                           be notified for review
                                                                                                                           review of the AIC's
                                                                                                                                  of the AIC’s status,
                                                                                                                                               status, within
                                                                                                                                                       within 72
                                                                                                                                                              72 hours
                                                                                                                                                                 hours




                                                                                                                           fi
                                        of the
                                        of the AIC's
                                               AIC’s con  nement or
                                                     confinement   or as
                                                                      as soon
                                                                         soon as
                                                                              as practicable after the
                                                                                 practicable after the AIC's
                                                                                                       AIC’s con   nement.
                                                                                                             confinement.




                                                          fi
                                                                                                                     fi
                                        (4) Scheduling
                                        (4) Scheduling aa Hearing:
                                                          Hearing:

                                        ((a)
                                          a) An
                                             An AIC
                                                AIC charged
                                                    charged with
                                                            with aa rule
                                                                    rule violation
                                                                         violation through
                                                                                   through aa misconduct
                                                                                              misconduct report shall be
                                                                                                         report shall    scheduled for
                                                                                                                      be scheduled for aa hearing
                                                                                                                                          hearing as soon as
                                                                                                                                                  as soon as
                                        p racticable.
                                         practicable.

                                        ((b)
                                          b) If
                                             If the
                                                the AIC
                                                    AIC is
                                                         is transferred
                                                            transferred to
                                                                         to another
                                                                            another facility
                                                                                    facility before the hearing
                                                                                             before the         is complete,
                                                                                                        hearing is           the misconduct
                                                                                                                   complete, the misconduct report shall be
                                                                                                                                            report shall    forwarded
                                                                                                                                                         be forwarded
                                        to the
                                        to  the other   facility for
                                                  other facility for processing.
                                                                     processing.

                                        (5) Initiating
                                        (5) Initiating a Hearing: A
                                                       a Hearing: A hearing
                                                                    hearing will
                                                                            will be
                                                                                 be considered initiated when
                                                                                    considered initiated when the
                                                                                                              the misconduct
                                                                                                                  misconduct report has been
                                                                                                                             report has      received by
                                                                                                                                        been received by the
                                                                                                                                                         the
                                        Hearings Unit,
                                        Hearings    Unit, numbered,
                                                          numbered, and  scheduled.
                                                                     and scheduled.

                                        ((a)
                                          a) A
                                             A hearing shall be
                                               hearing shall be initiated
                                                                initiated and
                                                                          and conducted
                                                                              conducted within    ten calendar
                                                                                          within ten   calendar days if the
                                                                                                                days if the AIC
                                                                                                                            AIC is
                                                                                                                                is placed
                                                                                                                                   placed on
                                                                                                                                          on disciplinary segregation
                                                                                                                                             disciplinary segregation
                                        status pending
                                        status  pending aa formal
                                                           formal hearing.
                                                                    hearing. For signi cant delays,
                                                                             For significant         the reasons
                                                                                             delays, the         for the
                                                                                                         reasons for the delay
                                                                                                                          delay shall
                                                                                                                                shall be made part
                                                                                                                                      be made part of  the hearing
                                                                                                                                                    of the hearing




                                                                                      fi
                                        record.
                                        record.

                                        ((b)
                                          b) All
                                             All other
                                                 other hearings
                                                       hearings shall
                                                                 shall be initiated and
                                                                       be initiated and conducted
                                                                                        conducted as
                                                                                                   as soon
                                                                                                      soon as
                                                                                                           as practicable.
                                                                                                              practicable. For signi cant delays,
                                                                                                                           For significant delays, reasons for longer
                                                                                                                                                   reasons for longer




                                                                                                                                            fi
                                        timeframes shall
                                        timeframes     shall be made part
                                                             be made  part of
                                                                            of the
                                                                               the hearing record.
                                                                                   hearing record.

                                        ((c)
                                          c) When
                                             When an
                                                   an AIC
                                                      AIC charged
                                                          charged with  violating any
                                                                  with violating       level II rule,
                                                                                  any level           Escape II,
                                                                                                rule, Escape II, Short-Term
                                                                                                                 Short-Term Transitional
                                                                                                                              Transitional Leave,
                                                                                                                                           Leave, or Non-Prison Leave
                                                                                                                                                  or Non-Prison Leave is
                                                                                                                                                                      is
                                        rreleased
                                          eleased from
                                                  from custody
                                                        custody prior
                                                                prior to
                                                                      to aa hearing
                                                                            hearing being
                                                                                    being held,
                                                                                          held, aa hearing  will be
                                                                                                    hearing will     initiated as
                                                                                                                  be initiated as soon
                                                                                                                                  soon as
                                                                                                                                       as practicable upon return
                                                                                                                                          practicable upon        to DOC
                                                                                                                                                           return to DOC
                                        ccustody.
                                          ustody.

                                        ((d)
                                          d) The
                                             The hearing may be
                                                 hearing may be postponed
                                                                postponed oror continued
                                                                               continued for
                                                                                         for aa reasonable
                                                                                                reasonable period for good
                                                                                                           period for good cause
                                                                                                                           cause as
                                                                                                                                  as provided in OAR
                                                                                                                                     provided in OAR
                                        2  91‑105‑0064. The
                                         291-105-0064.   The reason(s) for the
                                                             reason(s) for the postponement
                                                                               postponement or    continuance shall
                                                                                               or continuance shall be
                                                                                                                    be made  part of
                                                                                                                       made part  of the
                                                                                                                                     the record.
                                                                                                                                         record.

                                        Statutory/Other Authority:
                                        Statutory/Other       Authority: ORS   ORS 179.040,
                                                                                      179.040, 421.068,
                                                                                               421.068, 421.180,
                                                                                                        421.180, 423.020,
                                                                                                                 423.020, 423.030
                                                                                                                          423.030 &
                                                                                                                                  & 423.075
                                                                                                                                    423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other      Implemented: ORS      ORS 179.040,
                                                                                        179.040, 421.068,
                                                                                                  421.068, 421.180,
                                                                                                           421.180, 423.020,
                                                                                                                    423.020, 423.030
                                                                                                                             423.030 &
                                                                                                                                     & 423.075
                                                                                                                                       423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC   25-2020, amend
                                                           amend filed   led 12/14/2020,
                                                                              12/14/2020, effective
                                                                                            effective 12/15/2020
                                                                                                      12/15/2020
                                                                    fi
                                        DOC 24-2011,
                                        DOC   24-2011, f.  f. 12-2-11,
                                                              12-2-11, cert.cert. ef.
                                                                                  ef. 12-7-11
                                                                                      12-7-11
                                        DOC 14-2008,
                                        DOC   14-2008, f.  f. &
                                                              & cert.
                                                                cert. ef.ef. 6-2-08
                                                                             6-2-08
                                        DOC 9-2005,
                                        DOC   9-2005, f.f. 7-22-05,
                                                           7-22-05, cert. cert. ef.
                                                                                ef. 7-24-05
                                                                                    7-24-05
                                        DOC 6-2002,
                                        DOC   6-2002, f.f. 4-30-02,
                                                           4-30-02, cert. cert. ef.
                                                                                ef. 5-1-02
                                                                                    5-1-02
                                        DOC 16-2000,
                                        DOC   16-2000, f.  f. &
                                                              & cert.
                                                                cert. ef.ef. 6-19-00
                                                                             6-19-00
                                        DOC 28-1999(Temp),
                                        DOC   28-1999(Temp), f.       f. &
                                                                         & cert.
                                                                           cert. ef.  12-22-99 thru
                                                                                  ef. 12-22-99  thru 6-19-00
                                                                                                     6-19-00
                                        DOC 3-1999,
                                        DOC   3-1999, f.f. 2-25-99,
                                                           2-25-99, cert. cert. ef.
                                                                                ef. 3-1-99
                                                                                    3-1-99
                                        CD 16-1996,
                                        CD 16-1996, f. f. 11-13-96,
                                                          11-13-96, cert.  cert. ef.
                                                                                  ef. 11-15-96
                                                                                      11-15-96
                                        CD 9-1995,
                                        CD          f. 5-23-95,
                                            9-1995, f. 5-23-95, cert.         ef. 6-1-95
                                                                       cert. et   6-1-95
                                        CD 8-1992,
                                        CD          f. 3-27-92,
                                           8-1992, f.  3-27-92, cert.         ef. 4-15-92
                                                                       cert. ef.  4-15-92
                                        CD 5-1989,
                                        CD          f. &
                                            5-1989, f. & cert.
                                                            cert. ef.    4-21-89
                                                                    ef. 4-21-89
                                        CD 38-1987,
                                        CD  38-1987, f.f. &
                                                          & ef.
                                                              ef. 10-2-87
                                                                  10-2-87
                                        CD 29-1986,
                                        CD  29-1986, f.f. &
                                                          & ef.
                                                              ef. 8-20-86
                                                                  8-20-86
                                        CD 6-1986(Temp),
                                        CD 6-1986(Temp), f.     f. 3-14-86,
                                                                   3-14-86, ef. ef. 4-15-86
                                                                                    4-15-86
                                        CD 30-1985,
                                        CD  30-1985, f.f. &
                                                          & ef.
                                                              ef. 8-16-85
                                                                  8-16-85
                                        CD 8-1985(Temp),
                                        CD  8-1985(Temp), f.    f. &
                                                                   & ef.
                                                                       ef. 6-19-85
                                                                           6-19-85
                                        CD 25-1982,
                                        CD  25-1982, f.f. &
                                                          & ef.
                                                              ef. 11-19-82
                                                                  11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f. f. &
                                                          & ef.
                                                              ef. 4-15-80
                                                                  4-15-80
                                        CD 19-1979(Temp),
                                        CD  19-1979(Temp), f.      f. &
                                                                      & ef.
                                                                         ef. 10-19-79
                                                                             10-19-79


                                        2 91-105-0026
                                        291-105-0026
                                        Hearings Of
                                        Hearings     cers Responsibilities
                                                 Officers Responsibilities
                                                     fi
                                        (1) Unless
                                        (1) Unless waived
                                                    waived byby the AIC, a
                                                                the AIC,     formal hearing
                                                                           a formal          shall be
                                                                                     hearing shall    conducted by
                                                                                                   be conducted    by the    Hearings Officer
                                                                                                                       the Hearings   Of cer on   all misconduct
                                                                                                                                               on all misconduct reports
                                                                                                                                                                   reports
                                                                                                                                       fi
                                        ccharging
                                          harging aa major
                                                     major rule
                                                            rule violation(s),  and included
                                                                 violation(s), and  included minor   violation(s), and
                                                                                              minor violation(s),   and on
                                                                                                                         on all
                                                                                                                             all misconduct reports charging
                                                                                                                                 misconduct reports   charging aa minor
                                                                                                                                                                  minor rule
                                                                                                                                                                        rule
                                        violation(s) for
                                        violation(s)  for which
                                                          which an
                                                                 an AIC
                                                                    AIC requests
                                                                          requests a  formal hearing.
                                                                                    a formal           Requests for
                                                                                              hearing. Requests    for aa formal
                                                                                                                          formal hearing  for aa misconduct
                                                                                                                                  hearing for    misconduct report   charging a
                                                                                                                                                             report charging  a
                                        minor rule
                                        minor  rule violation(s)
                                                     violation(s) should
                                                                  should be    submitted to
                                                                           be submitted   to the adjudicator in
                                                                                             the adjudicator   in writing
                                                                                                                  writing inin advance
                                                                                                                               advance of
                                                                                                                                       of the
                                                                                                                                          the informal
                                                                                                                                               informal hearing
                                                                                                                                                         hearing or
                                                                                                                                                                  or made
                                                                                                                                                                     made
                                        verbally prior
                                        verbally        to the
                                                 prior to  the start
                                                               start of
                                                                      of the
                                                                         the informal
                                                                              informal hearing
                                                                                        hearing at
                                                                                                at the
                                                                                                   the latest.
                                                                                                       latest.

                                        (2) Prior
                                        (2) Prior to
                                                   to the
                                                      the formal
                                                          formal hearing,  the Hearings
                                                                  hearing, the            Of cer shall
                                                                                Hearings Officer   shall review
                                                                                                         review the
                                                                                                                the misconduct
                                                                                                                    misconduct report  alleging major
                                                                                                                               report alleging  major rule
                                                                                                                                                      rule violation(s). If
                                                                                                                                                           violation(s). If
                                                                                            fi
                                        there is
                                        there  is no
                                                  no prima  facie case
                                                      prima facie      for aa major
                                                                  case for    major rule
                                                                                    rule violation, the Hearings
                                                                                         violation, the           Of cer may
                                                                                                         Hearings Officer may dismiss the major
                                                                                                                              dismiss the  major violation(s)
                                                                                                                                                 violation(s) and
                                                                                                                                                              and refer
                                                                                                                                                                  refer
                                                                                                                      fi
                                        the minor
                                        the minor violations
                                                    violations back
                                                                back to
                                                                     to the
                                                                        the adjudicator
                                                                             adjudicator for
                                                                                          for an
                                                                                              an informal
                                                                                                 informal hearing.  The Hearings
                                                                                                           hearing. The          Of cer may
                                                                                                                        Hearings Officer      substitute minor
                                                                                                                                          may substitute  minor
                                                                                                                                       fi
                                        violations as
                                        violations   as lesser-included
                                                        lesser-included violations.
                                                                         violations.

                                        (3) The
                                        (3) The Hearings Of cer shall
                                                Hearings Officer shall not
                                                                       not have
                                                                           have been
                                                                                been aa witness  to the
                                                                                         witness to the event
                                                                                                        event or alleged conduct
                                                                                                              or alleged         that gives
                                                                                                                         conduct that gives rise
                                                                                                                                            rise to
                                                                                                                                                 to the
                                                                                                                                                    the misconduct
                                                                                                                                                        misconduct
                                                               fi
                                        report or
                                        report    have participated
                                               or have              in the
                                                       participated in the case
                                                                           case as
                                                                                as aa charging
                                                                                      charging or
                                                                                               or investigating of cer.
                                                                                                  investigating officer.
                                                                                                                            fi
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https://secure.sos.state.or.usioard/displayDivisionRules.action?selectedDivision=944                                                                                          11/28
                                                                                                                                                                              11/28
                                                                                                             Declaration of
                                                                                                             Declaration of Nofziger,
                                                                                                                            Nofziger, Exhibit
                                                                                                                                      Exhibit 2,
                                                                                                                                              2, Page
                                                                                                                                                 Page 11
                                                                                                                                                      11 of
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                                                                              Oregon Secretary of
                                                                                               of State
                                                                                                  State Administrative
                                                                                                        Administrative Rules
                                                                                                                       Rules
                                        (4) The
                                        (4) The Hearings  Of cer will
                                                Hearings Officer       conduct the
                                                                  will conduct  the hearing
                                                                                    hearing and
                                                                                            and shall
                                                                                                shall decide,
                                                                                                      decide, based  upon the
                                                                                                               based upon  the evidence,
                                                                                                                               evidence, whether    the AIC
                                                                                                                                          whether the   AIC has
                                                                                                                                                             has




                                                              fi
                                        violated the
                                        violated the rule(s) as charged
                                                     rule(s) as charged in
                                                                         in the
                                                                            the misconduct report. The
                                                                                misconduct report. The Hearings    Of cer may
                                                                                                         Hearings Officer may not
                                                                                                                               not add  or change
                                                                                                                                   add or  change the   violation(s) in
                                                                                                                                                    the violation(s) in




                                                                                                                          fi
                                        the misconduct
                                        the misconduct report.   The Hearings
                                                         report. The            Of cer may
                                                                     Hearings Officer        nd for
                                                                                       may find for aa lesser-included
                                                                                                       lesser-included violation
                                                                                                                       violation or
                                                                                                                                 or refer for less
                                                                                                                                    refer for      formal disciplinary
                                                                                                                                              less formal  disciplinary




                                                                                       fi
                                                                                                      fi
                                        action.
                                        action.

                                        (5) The
                                        (5) The Hearings   Of cer may
                                                Hearings Officer    may dismiss  any alleged
                                                                         dismiss any         rule violation
                                                                                     alleged rule violation at
                                                                                                            at any
                                                                                                               any stage
                                                                                                                   stage of  the proceedings,
                                                                                                                          of the              with or
                                                                                                                                 proceedings, with or without
                                                                                                                                                      without




                                                              fi
                                        p rejudice, stating
                                        prejudice,  stating in
                                                            in writing
                                                               writing the
                                                                       the reason
                                                                           reason for
                                                                                  for the
                                                                                      the dismissal. Any alleged
                                                                                          dismissal. Any  alleged rule
                                                                                                                  rule violation
                                                                                                                       violation dismissed
                                                                                                                                  dismissed without
                                                                                                                                            without prejudice
                                                                                                                                                    prejudice or
                                                                                                                                                              or due to
                                                                                                                                                                 due to
                                        insuf cient evidence
                                        insufficient            may be
                                                     evidence may    be resubmitted  in another
                                                                        resubmitted in  another misconduct
                                                                                                 misconduct report    utilizing the
                                                                                                              report utilizing  the same
                                                                                                                                    same process as provided
                                                                                                                                         process as          in OAR
                                                                                                                                                    provided in OAR




                                             fi
                                        2 91-105-0021(2).
                                        291-105-0021(2).

                                        (6) The
                                        (6) The Hearings   Of cer or
                                                Hearings Officer     other employees
                                                                  or other   employees as as requested  by the
                                                                                             requested by  the Hearings  Of cer shall
                                                                                                               Hearings Officer shall report
                                                                                                                                      report disciplinary actions which
                                                                                                                                             disciplinary actions which




                                                              fi
                                                                                                                               fi
                                        involve security
                                        involve  security threat
                                                          threat activity
                                                                 activity to
                                                                          to the
                                                                             the facility's Of cer-in-Charge or
                                                                                 facility's Officer-in-Charge     security threat
                                                                                                               or security threat manager and aa Suspected
                                                                                                                                  manager and    Suspected Security
                                                                                                                                                             Security




                                                                                                 fi
                                        Threat Intelligence
                                        Threat               Report (SSTIR)
                                                Intelligence Report  (SSTIR) shall
                                                                              shall be
                                                                                    be completed.
                                                                                        completed.

                                        (7) Behavioral
                                        (7) Behavioral Health
                                                        Health Services
                                                               Services will
                                                                         will be noti ed when
                                                                              be notified when anan AIC
                                                                                                     AIC receives
                                                                                                          receives aa misconduct
                                                                                                                      misconduct report
                                                                                                                                  report or is placed
                                                                                                                                         or is placed inin disciplinary
                                                                                                                                                           disciplinary




                                                                                            fi
                                        segregation if
                                        segregation  if that
                                                        that AIC
                                                             AIC has
                                                                 has aa mental
                                                                        mental health  concern or
                                                                               health concern       intellectual disability
                                                                                                 or intellectual disability that
                                                                                                                            that makes
                                                                                                                                 makes the  AIC eligible
                                                                                                                                       the AIC    eligible to
                                                                                                                                                           to receive
                                                                                                                                                              receive
                                        services (coded
                                        services (coded as   MH2, M
                                                          as MH2, MH3,   DD2, or
                                                                     H3, DD2,   or DD3)
                                                                                   DD3) or  if that
                                                                                         or if that AIC
                                                                                                    AIC has
                                                                                                         has engaged
                                                                                                             engaged inin self-harm
                                                                                                                          self-harm activity
                                                                                                                                    activity or
                                                                                                                                             or aa suicide
                                                                                                                                                   suicide attempt.
                                                                                                                                                            attempt.

                                        ((a)
                                          a) Behavioral
                                             Behavioral Health
                                                        Health Services
                                                               Services will
                                                                        will then
                                                                             then determine whether an
                                                                                  determine whether an evaluation
                                                                                                       evaluation shall
                                                                                                                  shall be submitted to
                                                                                                                        be submitted to the
                                                                                                                                        the Hearings
                                                                                                                                            Hearings Unit
                                                                                                                                                     Unit in
                                                                                                                                                          in the
                                                                                                                                                             the
                                        institution housing
                                        institution         the AIC.
                                                    housing the AIC.

                                        ((b)
                                          b) If
                                             If an
                                                an evaluation
                                                   evaluation is
                                                              is to
                                                                 to be provided, Behavioral
                                                                    be provided,  Behavioral Health
                                                                                             Health Services
                                                                                                      Services will submit the
                                                                                                               will submit the evaluation
                                                                                                                               evaluation to
                                                                                                                                          to the
                                                                                                                                             the Hearings
                                                                                                                                                 Hearings Unit
                                                                                                                                                           Unit within
                                                                                                                                                                within
                                        two working
                                        two    working days  of receiving
                                                        days of            noti cation or
                                                                 receiving notification or submit
                                                                                           submit aa postponement    request to
                                                                                                     postponement request    to complete  the evaluation.
                                                                                                                                complete the  evaluation. Behavioral
                                                                                                                                                          Behavioral
                                                                                  fi
                                        Health Services
                                        Health    Services will
                                                           will include
                                                                include the
                                                                        the timeline
                                                                            timeline for
                                                                                      for submission
                                                                                          submission of  the postponed
                                                                                                      of the postponed evaluation.
                                                                                                                        evaluation.

                                        ((c)
                                          c) The
                                             The Hearings  Of cer will
                                                  Hearings Officer will postpone the hearing,
                                                                        postpone the hearing, as
                                                                                              as requested,
                                                                                                 requested, to
                                                                                                            to ensure
                                                                                                               ensure that
                                                                                                                      that such
                                                                                                                           such an
                                                                                                                                an evaluation is considered
                                                                                                                                   evaluation is            in the
                                                                                                                                                 considered in the
                                                             fi
                                        ccase
                                          ase at
                                               at issue.
                                                  issue.

                                        ((d)
                                          d) The
                                             The evaluation shall address
                                                 evaluation shall address the
                                                                          the following
                                                                              following questions:
                                                                                        questions:

                                        ((A)
                                          A) Did
                                             Did this
                                                 this AIC's
                                                      AIC’s actions
                                                            actions constitute an act
                                                                    constitute an act of self-harm?
                                                                                      of self-harm?

                                        ((B)
                                          B) Does
                                             Does this
                                                  this AIC
                                                       AIC have
                                                           have aa Serious
                                                                   Serious Mental
                                                                           Mental Illness? and
                                                                                  Illness? and

                                        ((C)
                                          C) Does
                                             Does the
                                                  the AIC
                                                      AIC have signi cant functional
                                                          have significant functional impairments?
                                                                                      impairments?
                                                                         fi
                                        (8) If
                                        (8) If an
                                               an evaluation
                                                  evaluation is
                                                             is not
                                                                not provided
                                                                    provided by Behavioral Health
                                                                             by Behavioral Health Services
                                                                                                  Services prior
                                                                                                            prior to
                                                                                                                  to the AIC’s hearing,
                                                                                                                     the AIC's          the Hearings
                                                                                                                               hearing, the          Of cer may
                                                                                                                                            Hearings Officer may




                                                                                                                                                              fi
                                        request an
                                        request   an evaluation
                                                     evaluation be  completed on
                                                                 be completed on the
                                                                                 the AIC
                                                                                     AIC prior
                                                                                         prior to
                                                                                               to disposition
                                                                                                  disposition of
                                                                                                              of the
                                                                                                                 the hearing.
                                                                                                                      hearing.

                                        Statutory/Other Authority:
                                        Statutory/Other       Authority: ORS  ORS 179.040,
                                                                                     179.040, 421.068,
                                                                                              421.068, 421.180,
                                                                                                       421.180, 423.020,
                                                                                                                423.020, 423.030
                                                                                                                         423.030 &
                                                                                                                                 & 423.075
                                                                                                                                   423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other      Implemented: ORS     ORS 179.040,
                                                                                       179.040, 421.068,
                                                                                                421.068, 421.180,
                                                                                                         421.180, 423.020,
                                                                                                                  423.020, 423.030
                                                                                                                           423.030 &
                                                                                                                                   & 423.075
                                                                                                                                     423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC   25-2020, amend
                                                           amend filed  led 12/14/2020,
                                                                             12/14/2020, effective
                                                                                           effective 12/15/2020
                                                                                                     12/15/2020
                                                                   fi
                                        DOC 24-2011,
                                        DOC   24-2011, f.  f. 12-2-11,
                                                              12-2-11, cert.
                                                                           cert. ef.
                                                                                 ef. 12-7-11
                                                                                     12-7-11
                                        DOC 14-2008,
                                        DOC   14-2008, f.  f. &
                                                              & cert.   ef. 6-2-08
                                                                cert. ef.   6-2-08
                                        DOC 9-2005,
                                        DOC   9-2005, f.f. 7-22-05,
                                                           7-22-05, cert.cert. ef.
                                                                               ef. 7-24-05
                                                                                   7-24-05
                                        DOC 6-2002,
                                        DOC   6-2002, f.f. 4-30-02,
                                                           4-30-02, cert.cert. ef.
                                                                               ef. 5-1-02
                                                                                   5-1-02
                                        DOC 16-2000,
                                        DOC   16-2000, f.  f. &
                                                              & cert.   ef. 6-19-00
                                                                cert. ef.   6-19-00
                                        DOC 3-1999,
                                        DOC   3-1999, f.f. 2-25-99,
                                                           2-25-99, cert.cert. ef.
                                                                               ef. 3-1-99
                                                                                   3-1-99
                                        CD 16-1996,
                                        CD 16-1996, f. f. 11-13-96,
                                                          11-13-96, cert. cert. ef.
                                                                                 ef. 11-15-96
                                                                                     11-15-96
                                        CD 9-1995,
                                        CD          f. 5-23-95,
                                            9-1995, f. 5-23-95, cert.        ef. 6-1-95
                                                                       cert. et  6-1-95
                                        CD 6-1993,
                                        CD          f. 3-10-93,
                                           6-1993, f.  3-10-93, cert.        ef. 4-1-93
                                                                       cert. ef. 4-1-93
                                        CD 8-1992,
                                        CD          f. 3-27-92,
                                           8-1992, f.  3-27-92, cert.        ef. 4-15-92
                                                                       cert. ef. 4-15-92
                                        CD 5-1989,
                                        CD          f. &
                                            5-1989, f. & cert.
                                                            cert. ef.   4-21-89
                                                                    ef. 4-21-89
                                        CD 29-1987,
                                        CD  29-1987, f.f. &
                                                          & ef.
                                                              ef. 8-20-86
                                                                  8-20-86
                                        CD 6-1986(Temp),
                                        CD 6-1986(Temp), f.     f. 3-14-86,
                                                                   3-14-86, ef.ef. 4-15-86
                                                                                   4-15-86
                                        CD 30-1985,
                                        CD  30-1985, f.f. &
                                                          & ef.
                                                              ef. 8-16-85
                                                                  8-16-85
                                        CD 8-1985(Temp),
                                        CD  8-1985(Temp), f.    f. &
                                                                   & ef.
                                                                      ef. 6-19-85
                                                                          6-19-85
                                        CD 25-1982,
                                        CD  25-1982, f.f. &
                                                          & ef.
                                                              ef. 11-19-82
                                                                  11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f. f. &
                                                          & ef.
                                                              ef. 4-15-80
                                                                  4-15-80
                                        CD 19-1979(Temp),
                                        CD  19-1979(Temp), f.      f. &
                                                                      & ef.
                                                                        ef. 10-19-79
                                                                            10-19-79


                                        2 91-105-0028
                                        291-105-0028
                                        Conduct of
                                        Conduct of Formal
                                                   Formal Hearings
                                                          Hearings

                                        (1) Unless
                                        (1) Unless waived
                                                   waived byby the  AIC, a
                                                               the AIC,    formal hearing
                                                                         a formal          shall be
                                                                                  hearing shall     conducted by
                                                                                                 be conducted   by the Hearings Officer
                                                                                                                   the Hearings  Of cer on  all misconduct
                                                                                                                                         on all misconduct reports
                                                                                                                                                            reports
                                                                                                                                      fi
                                        ccharging
                                          harging any
                                                  any major   rule violation
                                                       major rule  violation (and
                                                                             (and any
                                                                                  any included
                                                                                       included minor
                                                                                                 minor violation),
                                                                                                       violation), on
                                                                                                                   on all
                                                                                                                      all misconduct
                                                                                                                          misconduct reports
                                                                                                                                      reports charging
                                                                                                                                              charging aa minor
                                                                                                                                                          minor rule
                                                                                                                                                                rule
                                        violation(s) for
                                        violation(s) for which
                                                         which an
                                                                an AIC
                                                                   AIC requests
                                                                        requests a  formal hearing,
                                                                                  a formal           and on
                                                                                            hearing, and on all
                                                                                                            all misconduct
                                                                                                                misconduct reports
                                                                                                                             reports referred
                                                                                                                                     referred by the adjudicator
                                                                                                                                              by the adjudicator for
                                                                                                                                                                  for aa
                                        formal hearing
                                        formal           in accordance
                                                hearing in               with OAR
                                                            accordance with   OAR 291-105-0041(6).
                                                                                    291-105-0041(6).

https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.usioard/displayDivisionRules.action?selectedDivision=944                                                                                       12/28
                                                                                                                                                                           12/28
                                                                                                                 Declaration of
                                                                                                                 Declaration of Nofziger,
                                                                                                                                Nofziger, Exhibit
                                                                                                                                          Exhibit 2,
                                                                                                                                                  2, Page
                                                                                                                                                     Page 12 of 30
                                                                                                                                                          12 of 30
                     Case 6:21-cv-01606-SI                                         Document 17                         Filed 11/29/21                             Page 21 of 68
11/12/21, 1:45 PM
11/12/21, 1:45 PM                                                                     Oregon Secretary
                                                                                      Oregon Secretary of
                                                                                                       of State
                                                                                                          State Administrative
                                                                                                                Administrative Rules
                                                                                                                               Rules
                                        (2) The
                                        (2) The findings
                                                  ndings must
                                                         must be
                                                              be on the merits.
                                                                 on the merits. Technical
                                                                                Technical and
                                                                                          and clerical  errors in
                                                                                               clerical errors in the
                                                                                                                  the writing or processing
                                                                                                                      writing or            of the
                                                                                                                                 processing of the misconduct
                                                                                                                                                   misconduct report
                                                                                                                                                              report




                                                    fi
                                        should not
                                        should  not be grounds for
                                                    be grounds for dismissal,
                                                                   dismissal, unless
                                                                              unless there
                                                                                     there is
                                                                                           is substantial
                                                                                              substantial prejudice  to the
                                                                                                          prejudice to  the AIC.
                                                                                                                            AIC.

                                        (3) Standard
                                        (3) Standard of
                                                     of Proof:
                                                        Proof: Rule
                                                               Rule violation(s) shall be
                                                                    violation(s) shall    found upon
                                                                                       be found upon proof
                                                                                                     proof by
                                                                                                            by aa preponderance  of the
                                                                                                                  preponderance of  the evidence.
                                                                                                                                        evidence. The
                                                                                                                                                  The term
                                                                                                                                                      term
                                        "preponderance
                                        "preponderance ofof the
                                                            the evidence"
                                                                evidence" means    the greater
                                                                           means the   greater weight
                                                                                               weight of
                                                                                                      of evidence,
                                                                                                         evidence, not
                                                                                                                    not necessarily
                                                                                                                        necessarily established
                                                                                                                                    established by the amount
                                                                                                                                                by the amount of
                                                                                                                                                              of
                                        evidence or
                                        evidence    number of
                                                 or number   of witnesses,
                                                                witnesses, but  by that
                                                                            but by that evidence that has
                                                                                        evidence that has the
                                                                                                          the most
                                                                                                              most convincing   force.
                                                                                                                     convincing force.

                                        (4) The
                                        (4) The Hearings
                                                Hearings Of    cer shall
                                                          Officer  shall consider such evidence
                                                                         consider such          as would
                                                                                       evidence as would be
                                                                                                         be considered
                                                                                                            considered by
                                                                                                                       by aa reasonable
                                                                                                                             reasonable person
                                                                                                                                        person in
                                                                                                                                               in the
                                                                                                                                                  the conduct of
                                                                                                                                                      conduct of




                                                                              fi
                                        their serious
                                        their serious affairs.
                                                      affairs.

                                        (5) Once
                                        (5) Once the
                                                  the formal
                                                      formal hearing
                                                               hearing has
                                                                       has begun,  if the
                                                                           begun, if  the Hearings
                                                                                          Hearings Officer
                                                                                                   Of cer determines
                                                                                                           determines that
                                                                                                                       that the
                                                                                                                            the violations
                                                                                                                                 violations are
                                                                                                                                            are not supported by
                                                                                                                                                not supported  by the
                                                                                                                                                                  the




                                                                                                                                fi
                                        facts as
                                        facts as written
                                                 written in
                                                          in the
                                                             the misconduct
                                                                 misconduct report,
                                                                             report, the
                                                                                       the Hearings
                                                                                           Hearings Officer
                                                                                                    Of cer may
                                                                                                            may substitute
                                                                                                                substitute aa lesser included violation
                                                                                                                              lesser included violation or
                                                                                                                                                        or refer
                                                                                                                                                           refer back to
                                                                                                                                                                 back to




                                                                                                                                     fi
                                        the author
                                        the author for
                                                    for less  formalized discipline.
                                                        less formalized  discipline.

                                        (6) At
                                        (6) At the
                                               the hearing, the AIC
                                                   hearing, the AIC will
                                                                    will be allowed to
                                                                         be allowed to exercise
                                                                                       exercise rights as allowed
                                                                                                rights as allowed in
                                                                                                                  in OAR
                                                                                                                     OAR 291‑105‑0056.
                                                                                                                         291-105-0056.

                                        (7) The
                                        (7) The Hearings
                                                Hearings Of  cer may
                                                         Officer may pose
                                                                     pose questions
                                                                          questions during the hearing.
                                                                                    during the hearing.



                                                                              fi
                                        (8) An
                                        (8) An investigation
                                                investigation shall
                                                                 shall be  conducted in
                                                                        be conducted    in aa formal
                                                                                              formal hearing    upon the
                                                                                                      hearing upon    the AIC's
                                                                                                                          AIC’s request
                                                                                                                                request if
                                                                                                                                         if the
                                                                                                                                            the information
                                                                                                                                                  information sought,
                                                                                                                                                                sought, when
                                                                                                                                                                        when
                                        viewed in
                                        viewed    in a
                                                     a light
                                                       light most   favorable to
                                                             most favorable   to the
                                                                                   the AIC,
                                                                                       AIC, and
                                                                                              and with   all reasonable
                                                                                                    with all reasonable inferences
                                                                                                                         inferences drawn
                                                                                                                                     drawn in in the
                                                                                                                                                 the favor
                                                                                                                                                      favor of the AIC,
                                                                                                                                                            of the AIC, would
                                                                                                                                                                        would
                                        constitute
                                        constitute aa defense
                                                        defense to to the
                                                                      the charge
                                                                          charge or   substantially mitigate
                                                                                   or substantially              the violation.
                                                                                                       mitigate the  violation. The
                                                                                                                                The information
                                                                                                                                    information sought
                                                                                                                                                     sought must
                                                                                                                                                            must be   within the
                                                                                                                                                                   be within the
                                        ability of
                                        ability of the   facility to
                                                    the facility  to procure. If aa request
                                                                     procure. If    request forfor investigation
                                                                                                   investigation is
                                                                                                                  is denied, the reason(s)
                                                                                                                     denied, the reason(s) for
                                                                                                                                             for denial  shall be
                                                                                                                                                  denial shall be made
                                                                                                                                                                  made aa part of
                                                                                                                                                                          part of
                                        the record.
                                        the record.

                                        (9) Testimony
                                        (9) Testimony of
                                                      of Witnesses:
                                                         Witnesses:

                                        (a) The Hearings
                                        (a) The Hearings Officer
                                                         Of cer shall
                                                                 shall direct
                                                                       direct the scheduling and
                                                                              the scheduling and taking of testimony
                                                                                                 taking of testimony of
                                                                                                                      of witnesses at the
                                                                                                                         witnesses at the hearing.
                                                                                                                                           hearing. Witnesses
                                                                                                                                                    Witnesses may
                                                                                                                                                              may
                                                                             fi
                                        include AICs,
                                        include AICs, employees,
                                                      employees, or  other persons.
                                                                  or other           Testimony may
                                                                           persons. Testimony  may be  taken in
                                                                                                    be taken  in person,
                                                                                                                 person, by telephone, or
                                                                                                                         by telephone,  or by
                                                                                                                                           by written report or
                                                                                                                                              written report or
                                        statement.
                                        statement.

                                        (b) The
                                        (b) The AIC
                                                 AIC may
                                                      may request      that the
                                                            request that     the Hearings
                                                                                 Hearings Officer
                                                                                            Of cer schedule
                                                                                                     schedule witnesses
                                                                                                                witnesses toto present   testimony at
                                                                                                                                present testimony     at the
                                                                                                                                                         the hearing.   The request
                                                                                                                                                             hearing. The    request
                                                                                                                 fi
                                        should be
                                        should      submitted to
                                                 be submitted     to the
                                                                      the Hearings
                                                                          Hearings Of     cer in
                                                                                     Officer  in writing
                                                                                                 writing in
                                                                                                          in advance
                                                                                                             advance of   the hearing
                                                                                                                       of the  hearing and
                                                                                                                                        and include
                                                                                                                                             include aa list
                                                                                                                                                        list of
                                                                                                                                                             of all
                                                                                                                                                                all persons  the AIC
                                                                                                                                                                    persons the   AIC
                                                                                                  fi
                                        requests be
                                        requests   be called   to testify,
                                                       called to   testify, and
                                                                            and the
                                                                                the questions
                                                                                    questions sought
                                                                                                 sought toto be
                                                                                                             be posed
                                                                                                                posed toto each
                                                                                                                           each person.   Requests for
                                                                                                                                 person. Requests     for witnesses    must
                                                                                                                                                          witnesses must
                                        minimally be
                                        minimally   be made
                                                        made to to the
                                                                    the Hearings
                                                                        Hearings Officer
                                                                                   Of cer atat the
                                                                                               the time
                                                                                                    time of  the hearing.
                                                                                                          of the hearing. The
                                                                                                                           The AIC
                                                                                                                                 AIC must
                                                                                                                                     must provide     suf cient evidence
                                                                                                                                            provide sufficient    evidence for
                                                                                                                                                                             for the
                                                                                                                                                                                 the
                                                                                             fi
                                                                                                                                                                                      fi
                                        Hearings Of
                                        Hearings        cer to
                                                   Officer   to conclude     that the
                                                                 conclude that    the results
                                                                                      results of
                                                                                               of the
                                                                                                  the testimony
                                                                                                       testimony provided
                                                                                                                   provided by by witnesses
                                                                                                                                  witnesses will
                                                                                                                                              will either
                                                                                                                                                   either constitute
                                                                                                                                                           constitute a a defense  to
                                                                                                                                                                          defense to
                                                         fi
                                        the alleged
                                        the  alleged violation(s)
                                                     violation(s) or or substantially
                                                                         substantially lessen   the severity
                                                                                        lessen the   severity of
                                                                                                               of the
                                                                                                                  the violation(s).
                                                                                                                      violation(s). The
                                                                                                                                    The Hearings
                                                                                                                                         Hearings Of      cer shall
                                                                                                                                                     Officer  shall arrange
                                                                                                                                                                     arrange for
                                                                                                                                                                              for the
                                                                                                                                                                                  the




                                                                                                                                                                                 fi
                                        taking of
                                        taking  of testimony
                                                   testimony fromfrom such
                                                                        such witnesses
                                                                              witnesses asas properly   requested by
                                                                                             properly requested     by the  AIC, subject
                                                                                                                        the AIC,  subject to
                                                                                                                                           to the
                                                                                                                                              the exclusions
                                                                                                                                                   exclusions and
                                                                                                                                                                and restrictions
                                                                                                                                                                     restrictions
                                        provided
                                        provided inin these
                                                      these rules.    Requests for
                                                              rules. Requests    for witnesses
                                                                                     witnesses made
                                                                                                  made oror received
                                                                                                            received after
                                                                                                                       after aa hearing
                                                                                                                                hearing is
                                                                                                                                        is decided   will not
                                                                                                                                           decided will   not be  considered.
                                                                                                                                                              be considered.

                                        (c) The AIC
                                        (c) The AIC shall
                                                    shall not
                                                          not directly
                                                              directly pose
                                                                       pose questions to any
                                                                            questions to any witness.
                                                                                             witness.

                                        (d) The
                                        (d) The Hearings
                                                Hearings Officer
                                                         Of cer may  limit testimony
                                                                 may limit testimony when it is
                                                                                     when it is cumulative
                                                                                                cumulative or irrelevant.
                                                                                                           or irrelevant.
                                                                             fi
                                        (e) The Hearings
                                        (e) The Hearings Officer
                                                          Of cer may
                                                                   may exclude
                                                                        exclude aa specific
                                                                                   speci c witness
                                                                                               witness upon
                                                                                                        upon finding
                                                                                                                nding that
                                                                                                                      that the
                                                                                                                           the witness'
                                                                                                                               witness' testimony,       together with
                                                                                                                                          testimony, together      with all
                                                                                                                                                                        all
                                                                             fi
                                                                                                            fi
                                                                                                                                          fi
                                        reasonable inferences
                                        reasonable  inferences toto be drawn from
                                                                    be drawn   from that
                                                                                      that testimony,
                                                                                            testimony, would
                                                                                                         would not
                                                                                                                 not constitute
                                                                                                                     constitute aa defense
                                                                                                                                   defense toto the
                                                                                                                                                the charge,
                                                                                                                                                      charge, would   not
                                                                                                                                                               would not
                                        substantially mitigate
                                        substantially           the violation,
                                                      mitigate the   violation, or
                                                                                or would
                                                                                   would notnot assist
                                                                                                 assist the
                                                                                                        the Hearings
                                                                                                             Hearings Officer
                                                                                                                       Of cer in
                                                                                                                              in the
                                                                                                                                  the resolution
                                                                                                                                      resolution of of the
                                                                                                                                                        the disciplinary action.
                                                                                                                                                            disciplinary action.
                                                                                                                                                       fi
                                        The Hearings
                                        The  Hearings Officer
                                                       Of cer may    exclude aa specific
                                                               may exclude      speci c witness
                                                                                          witness upon
                                                                                                     upon finding
                                                                                                             nding that the appearance
                                                                                                                   that the appearance of  of the
                                                                                                                                              the witness
                                                                                                                                                   witness at   the hearing
                                                                                                                                                             at the hearing
                                                                   fi
                                                                                                       fi
                                                                                                                                     fi
                                        would present
                                        would  present an  immediate undue
                                                        an immediate    undue risk   to the
                                                                                risk to the safe,
                                                                                              safe, secure,
                                                                                                    secure, or  orderly operation
                                                                                                             or orderly operation ofof the
                                                                                                                                       the facility,
                                                                                                                                            facility, specifically
                                                                                                                                                      speci cally including
                                                                                                                                                                   including the
                                                                                                                                                                             the
                                                                                                                                                                                           fi
                                        safety and
                                        safety and security
                                                   security of  employees and
                                                             of employees         AICs. If
                                                                             and AICs.   If aa witness
                                                                                               witness is
                                                                                                        is excluded,
                                                                                                           excluded, the
                                                                                                                     the reason(s)  shall be
                                                                                                                         reason(s) shall      made aa part
                                                                                                                                           be made       part of the record.
                                                                                                                                                              of the record.

                                        (f) The
                                        (f) The Hearings
                                                Hearings Officer
                                                         Of cer may
                                                                 may call witnesses to
                                                                     call witnesses to testify
                                                                                       testify as
                                                                                               as deemed necessary.
                                                                                                  deemed necessary.
                                                                        fi
                                        (g) Persons requested
                                        (g) Persons requested as
                                                              as witnesses,
                                                                 witnesses, other
                                                                            other than
                                                                                  than employees,
                                                                                       employees, may
                                                                                                  may refuse
                                                                                                      refuse to
                                                                                                             to testify.
                                                                                                                testify.

                                        (h) All
                                        (h) All questions
                                                questions that may assist
                                                          that may         in eliciting
                                                                    assist in eliciting evidence
                                                                                        evidence that
                                                                                                 that would
                                                                                                      would constitute
                                                                                                            constitute aa defense
                                                                                                                          defense to
                                                                                                                                  to the
                                                                                                                                     the alleged
                                                                                                                                         alleged rule
                                                                                                                                                 rule violation(s)
                                                                                                                                                      violation(s) or
                                                                                                                                                                   or
                                        substantially mitigate
                                        substantially           the violation(s)
                                                       mitigate the violation(s) shall
                                                                                  shall be
                                                                                        be posed. The reason
                                                                                           posed. The reason for
                                                                                                             for not
                                                                                                                 not posing
                                                                                                                     posing aa question will be
                                                                                                                               question will be made  part of
                                                                                                                                                made part  of the
                                                                                                                                                              the
                                        record.
                                        record.

                                        (i) Confidential
                                        (i) Con dential Informants:
                                                         Informants:
                                               fi
                                        (A) When
                                        (A) When confidential
                                                 con dential informant
                                                              informant testimony
                                                                         testimony isis submitted
                                                                                        submitted to
                                                                                                  to the
                                                                                                     the Hearings
                                                                                                          Hearings Officer,
                                                                                                                   Of cer, the
                                                                                                                            the identity
                                                                                                                                identity of the informant
                                                                                                                                         of the informant and the
                                                                                                                                                          and the
                                                              fi
                                                                                                                                                             fi
                                        verbatim statement
                                        verbatim statement of
                                                           of the
                                                               the informant
                                                                   informant shall
                                                                              shall be submitted to
                                                                                    be submitted  to the
                                                                                                     the Hearings
                                                                                                         Hearings Officer
                                                                                                                   Of cer in
                                                                                                                          in writing
                                                                                                                              writing using
                                                                                                                                      using an
                                                                                                                                             an approved
                                                                                                                                                approved
                                                                                                                                                            fi
                                        Department of
                                        Department     Corrections form
                                                    of Corrections   form but shall remain
                                                                          but shall remain confidential
                                                                                           con dential inin accordance
                                                                                                            accordance with  OAR 291-105-0036(3).
                                                                                                                       with OAR    291-105-0036(3).
                                                                                                                           fi
                                        (B) Information
                                        (B) Information must
                                                          must be  submitted supporting
                                                               be submitted   supporting the
                                                                                         the informant
                                                                                             informant isis aa person who can
                                                                                                               person who     be believed
                                                                                                                          can be  believed or that the
                                                                                                                                           or that the information
                                                                                                                                                       information
                                        provided  is believable
                                        provided is             in order
                                                     believable in order for
                                                                         for the
                                                                             the Hearings
                                                                                 Hearings Of   cer to
                                                                                          Officer  to rely on the
                                                                                                      rely on  the testimony
                                                                                                                   testimony of
                                                                                                                             of the
                                                                                                                                the con  dential informant.
                                                                                                                                    confidential informant.
                                                                                                                      fi
                                                                                                                                                                       fi
                                        (10) Documents
                                        (10) Documents and
                                                       and Physical
                                                           Physical Evidence:
                                                                    Evidence:

                                        (a) An AIC
                                        (a) An AIC participating
                                                   participating in
                                                                 in aa formal
                                                                       formal disciplinary
                                                                               disciplinary hearing
                                                                                            hearing may
                                                                                                    may present
                                                                                                         present documents
                                                                                                                  documents andand physical
                                                                                                                                   physical evidence    during the
                                                                                                                                            evidence during    the
                                        hearing, subject
                                        hearing, subject to
                                                         to the
                                                            the exclusions
                                                                exclusions and
                                                                             and restrictions
                                                                                  restrictions provided in these
                                                                                               provided in these rules.
                                                                                                                  rules. Any
                                                                                                                         Any evidence submitted by
                                                                                                                             evidence submitted    by the
                                                                                                                                                       the AIC
                                                                                                                                                           AIC will
                                                                                                                                                                will be
                                                                                                                                                                     be
                                        added to
                                        added  to the
                                                  the record
                                                      record and
                                                             and will   not be
                                                                  will not  be returned
                                                                               returned or
                                                                                         or photocopied   for the
                                                                                            photocopied for   the AIC
                                                                                                                  AIC by
                                                                                                                      by the  Hearings Of
                                                                                                                          the Hearings      cer. In
                                                                                                                                       Officer.  In instances
                                                                                                                                                    instances where
                                                                                                                                                               where the
                                                                                                                                                                       the
                                                                                                                                                                            fi
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                                               13/28
                                                                                                                                                                                                   13/28
                                                                                                                                               Declaration of
                                                                                                                                               Declaration of Nofziger,
                                                                                                                                                              Nofziger, Exhibit
                                                                                                                                                                        Exhibit 2,
                                                                                                                                                                                2, Page
                                                                                                                                                                                   Page 13 of 30
                                                                                                                                                                                        13 of 30
                     Case 6:21-cv-01606-SI                                        Document 17                                       Filed 11/29/21                        Page 22 of 68
11/12/21, 1:45 PM
11/12/21, 1:45 PM                                                                           Oregon Secretary
                                                                                            Oregon Secretary of
                                                                                                             of State
                                                                                                                State Administrative
                                                                                                                      Administrative Rules
                                                                                                                                     Rules
                                        AIC does
                                        AIC does not
                                                 not have   the ability
                                                     have the           to procure
                                                                ability to         the evidence
                                                                           procure the          (for example,
                                                                                       evidence (for          obtaining surveillance
                                                                                                     example, obtaining surveillance video
                                                                                                                                     video footage),
                                                                                                                                           footage), the
                                                                                                                                                     the Hearings
                                                                                                                                                         Hearings
                                        Of cer may
                                        Officer may assist.
                                                    assist.




                                           fi
                                        (b) Any
                                        (b) Any person
                                                person who  is knowledgeable
                                                        who is knowledgeable of  any rule
                                                                              of any      violation charged
                                                                                     rule violation         in the
                                                                                                    charged in the misconduct
                                                                                                                   misconduct report(s) may submit
                                                                                                                              report(s) may submit documents
                                                                                                                                                   documents
                                        and physical
                                        and           evidence in
                                             physical evidence in advance
                                                                  advance of
                                                                          of or
                                                                             or during
                                                                                during the
                                                                                       the hearing.
                                                                                           hearing.

                                        (c) The Hearings
                                        (c) The Hearings Of   cer may
                                                          Officer may exclude
                                                                        exclude documents
                                                                                  documents and and physical
                                                                                                     physical evidence   upon finding
                                                                                                               evidence upon    nding that
                                                                                                                                      that such
                                                                                                                                           such evidence
                                                                                                                                                evidence would  not assist
                                                                                                                                                          would not assist




                                                                       fi
                                                                                                                                                                fi
                                        the Hearings
                                        the  Hearings Officer
                                                      Of cer in
                                                              in the
                                                                 the resolution
                                                                     resolution of of the
                                                                                      the disciplinary   action or
                                                                                           disciplinary action  or that
                                                                                                                   that such
                                                                                                                        such evidence  would present
                                                                                                                             evidence would   present an
                                                                                                                                                      an undue
                                                                                                                                                         undue risk
                                                                                                                                                               risk to
                                                                                                                                                                    to the
                                                                                                                                                                       the




                                                             fi
                                        safe, secure,
                                        safe, secure, or
                                                      or orderly
                                                         orderly operation
                                                                 operation ofof aa facility,
                                                                                   facility, specifically
                                                                                             speci cally including
                                                                                                          including the safety and
                                                                                                                    the safety and security
                                                                                                                                   security of
                                                                                                                                            of employees  and AICs.
                                                                                                                                               employees and  AICs. The
                                                                                                                                                                    The




                                                                                                                                    fi
                                        reason(s) for exclusion
                                        reason(s) for exclusion shall
                                                                 shall be made aa part
                                                                       be made            of the
                                                                                    part of  the record.
                                                                                                 record.

                                        (d) The
                                        (d) The Hearings
                                                Hearings Officer
                                                          Of cer shall
                                                                  shall classify
                                                                         classify documents   and physical
                                                                                  documents and            evidence as
                                                                                                  physical evidence   as con  dential upon
                                                                                                                         confidential   upon finding
                                                                                                                                               nding that
                                                                                                                                                      that disclosure
                                                                                                                                                           disclosure




                                                                        fi
                                                                                                                                                                     fi
                                                                                                                                                                                          fi
                                        would present
                                        would  present an  undue risk
                                                        an undue   risk to
                                                                        to the
                                                                           the safe,
                                                                               safe, secure,
                                                                                     secure, or
                                                                                             or orderly operation of
                                                                                                orderly operation     any facility,
                                                                                                                   of any facility, specifically
                                                                                                                                    speci cally including
                                                                                                                                                 including the
                                                                                                                                                           the safety
                                                                                                                                                               safety and
                                                                                                                                                                       and




                                                                                                                                                                                     fi
                                        security of
                                        security  of employees and AICs,
                                                     employees and   AICs, or  that disclosure
                                                                            or that             would interfere
                                                                                    disclosure would  interfere with
                                                                                                                with an
                                                                                                                      an ongoing    of cial investigation.
                                                                                                                         ongoing official   investigation. The
                                                                                                                                                           The reason(s)
                                                                                                                                                                reason(s)




                                                                                                                                                                                fi
                                        for classifying
                                        for classifying documents
                                                        documents andand physical
                                                                          physical evidence  as confidential
                                                                                   evidence as  con dential shall
                                                                                                             shall be
                                                                                                                   be made
                                                                                                                      made aa part
                                                                                                                              part ofof the
                                                                                                                                        the record. Documents and
                                                                                                                                            record. Documents    and




                                                                                                                                         fi
                                        physical  evidence classi
                                        physical evidence          ed as
                                                           classified  as confidential
                                                                          con dential by  the Hearings
                                                                                       by the Hearings Officer
                                                                                                        Of cer shall
                                                                                                                shall not
                                                                                                                      not be  shown or
                                                                                                                           be shown    or otherwise
                                                                                                                                          otherwise provided    to the
                                                                                                                                                      provided to  the AIC.
                                                                                                                                                                       AIC.




                                                                                  fi
                                                                                                      fi
                                                                                                                                               fi
                                        (e) The Hearings
                                        (e) The Hearings Officer
                                                          Of cer may
                                                                  may show
                                                                      show toto the
                                                                                the AIC
                                                                                    AIC or
                                                                                        or read
                                                                                           read into
                                                                                                 into the
                                                                                                      the record
                                                                                                          record any evidence submitted.
                                                                                                                 any evidence submitted. However,
                                                                                                                                          However, the
                                                                                                                                                   the Hearings
                                                                                                                                                       Hearings

                                                                       fi
                                        Of cer will
                                        Officer will not
                                                     not provide copies of
                                                         provide copies of the
                                                                           the evidence
                                                                               evidence to
                                                                                         to the
                                                                                            the AIC.
                                                                                                AIC. AICs
                                                                                                     AICs may
                                                                                                           may request
                                                                                                               request and
                                                                                                                        and obtain
                                                                                                                            obtain copies of nonexempt
                                                                                                                                   copies of           records in
                                                                                                                                             nonexempt records in
                                           fi
                                        accordance with
                                        accordance        the Department's
                                                     with the Department’s rule
                                                                             rule on Release of
                                                                                  on Release     Public Records
                                                                                              of Public Records (OAR
                                                                                                                 (OAR 291-037).
                                                                                                                       291-037).

                                        (11) The
                                        (11) The Hearings
                                                 Hearings Officer
                                                          Of cer shall
                                                                  shall determine
                                                                        determine whether any rule
                                                                                  whether any rule violations
                                                                                                   violations occurred.
                                                                                                              occurred.
                                                                             fi
                                        (a) The Hearings
                                        (a) The Hearings Officer
                                                          Of cer may
                                                                  may postpone   the rendering
                                                                      postpone the   rendering of
                                                                                               of aa decision for aa reasonable
                                                                                                     decision for    reasonable period     of time,
                                                                                                                                    period of time, not
                                                                                                                                                    not to
                                                                                                                                                        to exceed  seven
                                                                                                                                                           exceed seven
                                                                       fi
                                        working days,
                                        working        for the
                                                 days, for the purpose
                                                               purpose of reviewing the
                                                                       of reviewing  the evidence
                                                                                         evidence toto determine
                                                                                                       determine ifif there
                                                                                                                      there is
                                                                                                                            is aa violation(s).
                                                                                                                                  violation(s). The
                                                                                                                                                The decision will be
                                                                                                                                                    decision will be based
                                                                                                                                                                     based
                                        solely upon
                                        solely upon information
                                                    information obtained
                                                                 obtained in
                                                                           in the
                                                                              the hearings
                                                                                  hearings process,  including employee
                                                                                           process, including               reports, the
                                                                                                               employee reports,       the statements
                                                                                                                                           statements of   the AIC
                                                                                                                                                        of the AIC
                                        charged,
                                        charged, and
                                                 and evidence   derived from
                                                      evidence derived  from witnesses  and documents.
                                                                              witnesses and  documents.

                                        (b) Attempt
                                        (b) Attempt and
                                                     and Conspiracy:
                                                         Conspiracy: AnAn AIC
                                                                          AIC who
                                                                              who attempts
                                                                                  attempts or
                                                                                            or conspires
                                                                                               conspires to
                                                                                                         to commit
                                                                                                            commit aa rule
                                                                                                                        rule violation
                                                                                                                             violation shall
                                                                                                                                       shall be found in
                                                                                                                                             be found  in violation
                                                                                                                                                          violation of
                                                                                                                                                                    of
                                        the rule
                                        the rule and
                                                 and shall
                                                     shall be subject to
                                                           be subject to appropriate
                                                                         appropriate sanctions
                                                                                     sanctions on
                                                                                               on the same basis
                                                                                                  the same        as if
                                                                                                            basis as if the
                                                                                                                        the AIC
                                                                                                                            AIC had
                                                                                                                                 had committed
                                                                                                                                     committed thethe rule  violation.
                                                                                                                                                      rule violation.

                                        (12) At
                                        (12) At the
                                                the formal
                                                    formal hearing
                                                           hearing the Hearings Of
                                                                   the Hearings     cer shall
                                                                                Officer shall decide:
                                                                                              decide:
                                                                                                                          fi
                                        (a) No Violation:
                                        (a) No Violation: The
                                                          The Hearings
                                                              Hearings Officer
                                                                         Of cer may    nd that
                                                                                 may find  that the
                                                                                                the AIC
                                                                                                    AIC did
                                                                                                        did not
                                                                                                            not commit the violation(s)
                                                                                                                commit the  violation(s) charged,
                                                                                                                                         charged, in
                                                                                                                                                  in which
                                                                                                                                                     which case
                                                                                                                                                            case the
                                                                                                                                                                 the
                                                                                                 fi
                                                                                                                               fi
                                        AIC may
                                        AIC  may be restored to
                                                 be restored  to similar
                                                                 similar status
                                                                         status and
                                                                                and privileges  as before
                                                                                    privileges as  before being charged, as
                                                                                                          being charged, as allowed
                                                                                                                            allowed by  other rules,
                                                                                                                                     by other rules, policies, etc.
                                                                                                                                                     policies, etc.

                                        (b) Violation:
                                        (b) Violation: The
                                                       The Hearings
                                                            Hearings Officer
                                                                     Of cer may    nd that
                                                                             may find that the
                                                                                           the AIC
                                                                                               AIC committed the violation(s)
                                                                                                   committed the violation(s) charged, in which
                                                                                                                              charged, in which case, the Hearings
                                                                                                                                                case, the Hearings
                                                                                            fi
                                                                                                                fi
                                        Of cer will
                                        Officer will so
                                                     so inform
                                                        inform the
                                                               the AIC.
                                                                   AIC.
                                           fi
                                        (c) Dismissal: The
                                        (c) Dismissal: The Hearings
                                                           Hearings Officer
                                                                    Of cer may
                                                                            may dismiss the alleged
                                                                                dismiss the alleged rule
                                                                                                    rule violation(s) if:
                                                                                                         violation(s) if:
                                                                                            fi
                                        (A) There
                                        (A) There is
                                                  is insufficient
                                                     insuf cient evidence  to support
                                                                  evidence to support the
                                                                                      the alleged
                                                                                          alleged violation(s);
                                                                                                  violation(s); or
                                                                                                                or
                                                                  fi
                                        (B) Corrective
                                        (B) Corrective action
                                                       action using
                                                               using less formalized procedures
                                                                     less formalized             would be
                                                                                      procedures would be more appropriate. The
                                                                                                          more appropriate. The Hearings
                                                                                                                                Hearings Officer
                                                                                                                                         Of cer may
                                                                                                                                                 may refer
                                                                                                                                                     refer back
                                                                                                                                                           back

                                                                                                                                                                                               fi
                                        to the
                                        to the author
                                               author for
                                                      for less
                                                          less formalized
                                                               formalized discipline;  or
                                                                           discipline; or

                                        (C) The
                                        (C) The AIC
                                                AIC is
                                                    is released
                                                       released from
                                                                from custody.
                                                                     custody.

                                        (d) Violation
                                        (d) Violation Not
                                                      Not Responsible:
                                                          Responsible: An
                                                                       An AIC
                                                                          AIC is
                                                                              is deemed
                                                                                 deemed not to be
                                                                                        not to    responsible for
                                                                                               be responsible for their
                                                                                                                  their actions.
                                                                                                                        actions.

                                        (e) Violation of
                                        (e) Violation    Leave: When
                                                      of Leave:  When conduct
                                                                      conduct constitutes
                                                                               constitutes aa violation
                                                                                              violation of
                                                                                                        of the
                                                                                                           the AIC's
                                                                                                               AIC’s condition(s) of Short-Term
                                                                                                                     condition(s) of Short-Term Transitional
                                                                                                                                                 Transitional Leave
                                                                                                                                                              Leave or
                                                                                                                                                                    or
                                        Non-Prison Leave,
                                        Non-Prison   Leave, the
                                                             the Hearings
                                                                 Hearings Officer
                                                                          Of cer may
                                                                                  may also
                                                                                       also recommend    retraction of
                                                                                            recommend retraction     of earned time, statutory
                                                                                                                        earned time,  statutory good
                                                                                                                                                good time,
                                                                                                                                                     time, or extra
                                                                                                                                                           or extra
                                                                                                           fi
                                        good time
                                        good  time credits  in accordance
                                                    credits in            with the
                                                               accordance with the rule on Prison
                                                                                   rule on Prison Term
                                                                                                   Term Modification
                                                                                                         Modi cation (OAR
                                                                                                                       (OAR 291-097).
                                                                                                                             291‑097).
                                                                                                                                                    fi
                                        (13) If
                                        (13) If no
                                                no violation
                                                   violation is
                                                             is found
                                                                found or
                                                                       or all
                                                                          all of
                                                                              of the
                                                                                 the alleged
                                                                                     alleged rule
                                                                                              rule violation(s)
                                                                                                   violation(s) are
                                                                                                                are dismissed
                                                                                                                    dismissed onon the
                                                                                                                                   the misconduct    report(s), the
                                                                                                                                         misconduct report(s),  the report(s)
                                                                                                                                                                    report(s)
                                        shall not
                                        shall not be
                                                  be placed   in the
                                                      placed in  the AIC's
                                                                     AIC’s institution
                                                                           institution file
                                                                                          le but may be
                                                                                             but may      retained for
                                                                                                      be retained  for statistical
                                                                                                                       statistical or litigation purposes
                                                                                                                                   or litigation          in the
                                                                                                                                                 purposes in the Hearings
                                                                                                                                                                  Hearings
                                                                                                                     fi
                                        records.
                                        records.

                                        (14) Upon
                                        (14) Upon the
                                                  the finding
                                                        nding of violation(s) by
                                                              of violation(s)    the Hearings
                                                                              by the Hearings Of  cer, the
                                                                                              Officer, the Hearings
                                                                                                           Hearings Officer:
                                                                                                                    Of cer:
                                                        fi
                                                                                                                                          fi
                                                                                                                                                           fi
                                        (a) Shall determine
                                        (a) Shall           the location
                                                  determine the location of
                                                                         of the
                                                                            the violation(s)
                                                                                violation(s) on
                                                                                             on the
                                                                                                the major or minor
                                                                                                    major or       grids (Exhibits
                                                                                                             minor grids (Exhibits 1
                                                                                                                                   1 and
                                                                                                                                     and 2).
                                                                                                                                         2).

                                        (b) Shall
                                        (b) Shall determine  the AIC's
                                                  determine the  AIC’s prior
                                                                       prior misconduct
                                                                             misconduct history
                                                                                          history as
                                                                                                  as recorded on the
                                                                                                     recorded on  the Disciplinary
                                                                                                                      Disciplinary Misconduct  System. Evidence
                                                                                                                                    Misconduct System. Evidence of
                                                                                                                                                                of
                                        the AIC's
                                        the  AIC’s prior
                                                   prior misconduct
                                                         misconduct history  shall be
                                                                     history shall be placed in the
                                                                                      placed in the record
                                                                                                    record either
                                                                                                           either orally or in
                                                                                                                  orally or in writing.
                                                                                                                               writing.

                                        (d) Shall
                                        (d) Shall impose
                                                  impose appropriate
                                                         appropriate sanctions
                                                                     sanctions in
                                                                               in accordance with the
                                                                                  accordance with the major or minor
                                                                                                      major or minor grids
                                                                                                                     grids (Exhibits 1 and
                                                                                                                           (Exhibits 1 and 2).
                                                                                                                                           2).

                                        (e) Determine if
                                        (e) Determine  if aa deviation (upward or
                                                             deviation (upward  or downward)   is appropriate.
                                                                                    downward) is  appropriate. The
                                                                                                               The Hearings
                                                                                                                   Hearings Officer
                                                                                                                            Of cer shall
                                                                                                                                    shall document in writing
                                                                                                                                          document in writing the
                                                                                                                                                              the
                                                                                                                                                                           fi
                                        substantial reasons
                                        substantial reasons forfor the
                                                                   the deviation in accordance
                                                                       deviation in accordance with
                                                                                               with OAR   291-105-0072.
                                                                                                     OAR 291-105-0072.

                                        (f) Determine
                                        (f) Determine if
                                                      if consecutive sanctions are
                                                         consecutive sanctions     appropriate for
                                                                               are appropriate for separate
                                                                                                   separate rule
                                                                                                            rule violations
                                                                                                                 violations arising
                                                                                                                            arising from
                                                                                                                                    from aa single
                                                                                                                                            single misconduct
                                                                                                                                                   misconduct
                                        report. The
                                        report. The Hearings
                                                    Hearings Of   cer must
                                                              Officer must document  in writing
                                                                           document in  writing the
                                                                                                the substantial
                                                                                                    substantial reasons  for consecutive
                                                                                                                reasons for               sanctions, in
                                                                                                                             consecutive sanctions,  in accordance
                                                                                                                                                        accordance
                                                                                       fi
                                        with OAR
                                        with OAR 291-105-0066(4)(b).
                                                  291-105-0066(4)(b).

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                                                                                                                                                                                                    14/28
                                                                                                                                               Declaration of
                                                                                                                                               Declaration of Nofziger,
                                                                                                                                                              Nofziger, Exhibit
                                                                                                                                                                        Exhibit 2,
                                                                                                                                                                                2, Page
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                                                                                  Oregon Secretary of
                                                                                                   of State
                                                                                                      State Administrative
                                                                                                            Administrative Rules
                                                                                                                           Rules
                                        (15) The
                                        (15) The Hearings
                                                 Hearings Officer
                                                          Of cer may
                                                                  may also
                                                                      also consider imposing the
                                                                           consider imposing the additional sanctions that
                                                                                                 additional sanctions that are
                                                                                                                           are available.
                                                                                                                               available. (OAR
                                                                                                                                          (OAR 291-105-0069).
                                                                                                                                               291‑105‑0069).




                                                                  fi
                                        (16) The
                                        (16) The Hearings
                                                 Hearings Officer
                                                          Of cer may
                                                                  may suspend
                                                                      suspend imposition
                                                                               imposition of
                                                                                          of any or all
                                                                                             any or all of the imposed
                                                                                                        of the imposed disciplinary sanctions, informing
                                                                                                                       disciplinary sanctions, informing the
                                                                                                                                                         the AIC
                                                                                                                                                             AIC




                                                                  fi
                                        of expected
                                        of expected conduct to avoid
                                                    conduct to       imposition and
                                                               avoid imposition and the
                                                                                    the length
                                                                                        length of
                                                                                               of time  for which
                                                                                                  time for        the sanction
                                                                                                            which the sanction will
                                                                                                                               will be suspended.
                                                                                                                                    be suspended.

                                        (17) The
                                        (17) The Hearings
                                                 Hearings Officer
                                                          Of cer may
                                                                  may impose
                                                                       impose any
                                                                              any or all sanctions
                                                                                  or all sanctions previously suspended after
                                                                                                   previously suspended after finding
                                                                                                                                nding that
                                                                                                                                      that the
                                                                                                                                           the AIC
                                                                                                                                               AIC has
                                                                                                                                                   has failed
                                                                                                                                                       failed to
                                                                                                                                                              to




                                                                  fi
                                                                                                                                             fi
                                        comply with the
                                        comply with the conditions of the
                                                        conditions of the suspension.
                                                                          suspension.

                                        (18) At
                                        (18) At the
                                                the conclusion if the
                                                    conclusion if the hearing, the AIC
                                                                      hearing, the AIC shall
                                                                                       shall be informed of
                                                                                             be informed of the
                                                                                                            the rule
                                                                                                                rule violations
                                                                                                                     violations the
                                                                                                                                the Hearings
                                                                                                                                    Hearings Officer
                                                                                                                                             Of cer found
                                                                                                                                                     found the
                                                                                                                                                           the AIC
                                                                                                                                                               AIC




                                                                                                                                                       fi
                                        committed   and any
                                        committed and   any sanctions
                                                            sanctions imposed.
                                                                       imposed.

                                        (19) A
                                        (19) A verbatim
                                               verbatim record
                                                        record of
                                                               of the
                                                                  the hearing shall be
                                                                      hearing shall    made. A
                                                                                    be made. A written
                                                                                               written record will be
                                                                                                       record will    made of
                                                                                                                   be made of the
                                                                                                                              the decision and the
                                                                                                                                  decision and the supporting
                                                                                                                                                   supporting
                                        reasons.
                                        reasons.

                                        [ED. NOTE: To
                                        [ED. NOTE: To view
                                                      view attachments
                                                           attachments referenced in rule
                                                                       referenced in rule text,
                                                                                          text, click
                                                                                                click here
                                                                                                      here to
                                                                                                           to view
                                                                                                              view rule.]
                                                                                                                   rule.]

                                        Statutory/Other Authority:
                                        Statutory/Other       Authority: ORS         179.040, 421.068,
                                                                              ORS 179.040,      421.068, 421.180,
                                                                                                          421.180, 423.020,
                                                                                                                   423.020, 423.030
                                                                                                                            423.030 &
                                                                                                                                    & 423.075
                                                                                                                                      423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other      Implemented: ORS            179.040, 421.068,
                                                                                 ORS 179.040,      421.068, 421.180,
                                                                                                            421.180, 423.020,
                                                                                                                     423.020, 423.030
                                                                                                                              423.030 &
                                                                                                                                      & 423.075
                                                                                                                                        423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC                amend filed
                                              25-2020, amend            led 12/14/2020,
                                                                             12/14/2020, effective      12/15/2020
                                                                                              effective 12/15/2020
                                                                       fi
                                        DOC 24-2011,
                                        DOC   24-2011, f.  f. 12-2-11,
                                                              12-2-11, cert.      ef. 12-7-11
                                                                           cert. ef.  12-7-11
                                        DOC 14-2008,
                                        DOC   14-2008, f.  f. &
                                                              & cert.
                                                                cert. ef.
                                                                        ef. 6-2-08
                                                                            6-2-08
                                        DOC 9-2005,
                                        DOC   9-2005, f.f. 7-22-05,
                                                           7-22-05, cert.cert. ef.  7-24-05
                                                                                ef. 7-24-05
                                        DOC 6-2002,
                                        DOC   6-2002, f.f. 4-30-02,
                                                           4-30-02, cert.cert. ef.  5-1-02
                                                                                ef. 5-1-02
                                        DOC 19-2001(Temp),
                                        DOC   19-2001(Temp), f.      f. &
                                                                        & cert.
                                                                          cert. ef.  12-3-01 thru
                                                                                 ef. 12-3-01   thru 6-1-02
                                                                                                     6-1-02
                                        DOC 16-2000,
                                        DOC   16-2000, f.  f. &
                                                              & cert.
                                                                cert. ef.
                                                                        ef. 6-19-00
                                                                            6-19-00
                                        DOC 28-1999(Temp),
                                        DOC   28-1999(Temp), f.      f. &
                                                                        & cert.
                                                                          cert. ef.
                                                                                 ef. 12-22-99    thru 6-19-00
                                                                                     12-22-99 thru    6-19-00
                                        DOC 3-1999,
                                        DOC   3-1999, f.f. 2-25-99,
                                                           2-25-99, cert.cert. ef.  3-1-99
                                                                                ef. 3-1-99
                                        CD 16-1996,
                                        CD 16-1996, f. f. 11-13-96,
                                                          11-13-96, cert. cert. ef.
                                                                                 ef. 11-15-96
                                                                                     11-15-96
                                        CD 9-1995,
                                        CD          f. 5-23-95,
                                            9-1995, f. 5-23-95, cert. cert. ef.
                                                                             ef. 6-1-95
                                                                                 6-1-95
                                        CD 6-1993,
                                        CD 6-1993, f.
                                                    f. 3-10-93,
                                                       3-10-93, cert. cert. ef.  4-1-93
                                                                             ef. 4-1-93
                                        CD 8-1992,
                                        CD          f. 3-27-92,
                                           8-1992, f.  3-27-92, cert. cert. ef.  4-15-92
                                                                             ef. 4-15-92
                                        CD 5-1989,
                                        CD          f. &
                                           5-1989, f.  & cert.     ef. 4-21-89
                                                            cert. ef.   4-21-89
                                        CD 38-1987,
                                        CD 38-1987, f. f. &
                                                          & cert.
                                                              cert. ef.
                                                                    ef. 10-2-87
                                                                         10-2-87
                                        CD 29-1986,
                                        CD 29-1986, f. f. cert.   ef. 8-20-86
                                                          cert. ef.   8-20-86
                                        CD 6-1986(Temp),
                                        CD 6-1986(Temp), f.     f. 3-14-86,    cert. ef.
                                                                   3-14-86, cert.      ef. 4-15-86
                                                                                           4-15-86
                                        CD 30-1985,
                                        CD 30-1985, f. f. &
                                                          & cert.
                                                              cert. ef.
                                                                    ef. 8-16-85
                                                                         8-16-85
                                        CD 8-1985(Temp),
                                        CD 8-1985(Temp), f.     f. &
                                                                   & cert.
                                                                      cert. ef.  6-19-85
                                                                             ef. 6-19-85
                                        CD 25-1982,
                                        CD 25-1982, f. f. &
                                                          & cert.
                                                              cert. ef.
                                                                    ef. 11-19-82
                                                                         11-19-82
                                        Formerly Exhibit
                                        Formerly  Exhibit 2     to OAR
                                                              2 to  OAR 291-105-026
                                                                            291-105-026


                                        291-105-0031
                                        291-105-0031
                                        Processing of
                                        Processing of the
                                                      the Formal
                                                          Formal Record
                                                                 Record

                                        (1) Within
                                        (1) Within ten
                                                   ten working
                                                       working days   following the
                                                                days following   the conclusion
                                                                                     conclusion of
                                                                                                 of the
                                                                                                    the hearing,
                                                                                                        hearing, the
                                                                                                                 the Hearings
                                                                                                                     Hearings Officer
                                                                                                                              Of cer shall
                                                                                                                                      shall prepare
                                                                                                                                            prepare and
                                                                                                                                                     and deliver to the
                                                                                                                                                         deliver to the
                                                                                                                                        fi
                                        functional unit
                                        functional unit manager   or designee
                                                         manager or  designee aa preliminary
                                                                                 preliminary order
                                                                                              order containing  the Hearings
                                                                                                     containing the Hearings Officer's
                                                                                                                             Of cer's finding
                                                                                                                                        nding of
                                                                                                                                               of fact
                                                                                                                                                  fact and
                                                                                                                                                       and
                                                                                                                                   fi
                                                                                                                                                  fi
                                        conclusions  of law
                                        conclusions of      and recommendations
                                                        law and recommendations for  for review.
                                                                                         review.

                                        (2) The
                                        (2) The Hearings
                                                Hearings Of  cer may
                                                         Officer may issue
                                                                      issue an
                                                                            an amended
                                                                               amended order
                                                                                         order for
                                                                                               for restitution
                                                                                                   restitution purposes.
                                                                                                                purposes. In  all such
                                                                                                                           In all such instances,
                                                                                                                                        instances, the
                                                                                                                                                   the Hearings
                                                                                                                                                        Hearings Officer
                                                                                                                                                                 Of cer
                                                             fi
                                                                                                                                                                   fi
                                        shall convene
                                        shall         or reconvene
                                              convene or reconvene aa hearing  with the
                                                                      hearing with  the AIC
                                                                                        AIC regarding  the restitution
                                                                                            regarding the  restitution issue(s),
                                                                                                                        issue(s), in
                                                                                                                                   in accordance
                                                                                                                                      accordance with   the provision
                                                                                                                                                  with the            of
                                                                                                                                                            provision of
                                        OAR 291-105-0028
                                        OAR                  and 291-105-0056.
                                              291-105-0028 and   291-105-0056. In In such
                                                                                     such cases the AIC
                                                                                          cases the AIC shall
                                                                                                         shall be
                                                                                                               be provided
                                                                                                                  provided aa Notice
                                                                                                                               Notice ofof Hearing
                                                                                                                                           Hearing in
                                                                                                                                                    in accordance
                                                                                                                                                       accordance with
                                                                                                                                                                   with
                                        OAR 291-105-0056(3),
                                        OAR   291-105-0056(3), aa brief written description
                                                                  brief written             of what
                                                                                description of       the restitution
                                                                                               what the              is for,
                                                                                                         restitution is for, and
                                                                                                                             and the
                                                                                                                                  the amount
                                                                                                                                       amount of
                                                                                                                                               of restitution
                                                                                                                                                  restitution to
                                                                                                                                                              to be
                                                                                                                                                                 be
                                        ordered.
                                        ordered.

                                        (3) Upon
                                        (3) Upon receipt
                                                  receipt of the preliminary
                                                          of the preliminary order,
                                                                             order, the
                                                                                    the functional
                                                                                        functional unit
                                                                                                   unit manager
                                                                                                        manager or
                                                                                                                 or designee shall note
                                                                                                                    designee shall      the date
                                                                                                                                   note the      received on
                                                                                                                                            date received on the
                                                                                                                                                             the
                                        order. Within
                                        order. Within five
                                                         ve working
                                                            working days
                                                                    days after receipt of
                                                                         after receipt of the
                                                                                          the preliminary order, the
                                                                                              preliminary order, the functional
                                                                                                                     functional unit
                                                                                                                                unit manager
                                                                                                                                     manager or
                                                                                                                                              or designee shall do
                                                                                                                                                 designee shall do
                                                       fi
                                        one of
                                        one     the following:
                                             of the following:

                                        (a) Approve and
                                        (a) Approve and sign
                                                        sign the
                                                             the preliminary order without
                                                                 preliminary order without amendment, upon which
                                                                                           amendment, upon       the preliminary
                                                                                                           which the preliminary order
                                                                                                                                 order becomes the Final
                                                                                                                                       becomes the Final
                                        Order; or
                                        Order; or

                                        (b) Issue
                                        (b)       an amended
                                            Issue an amended order   dismissing the
                                                               order dismissing  the misconduct
                                                                                     misconduct report(s)
                                                                                                 report(s) or changing the
                                                                                                           or changing the disciplinary
                                                                                                                           disciplinary sanction(s)
                                                                                                                                        sanction(s) (or
                                                                                                                                                    (or their
                                                                                                                                                        their
                                        imposition) in
                                        imposition)  in the
                                                        the preliminary
                                                            preliminary order, for one
                                                                        order, for one or
                                                                                       or more
                                                                                          more of
                                                                                               of the
                                                                                                  the reasons  speci ed in
                                                                                                      reasons specified in OAR  291‑105‑0031(5), upon
                                                                                                                           OAR 291-105-0031(5),     upon which
                                                                                                                                                          which the
                                                                                                                                                                the
                                                                                                                        fi
                                        amended order
                                        amended    order becomes   the Final
                                                          becomes the  Final Order; or
                                                                             Order; or

                                        (c) Order the
                                        (c) Order the Hearings  Of cer to
                                                      Hearings Officer  to reopen
                                                                           reopen the
                                                                                  the hearing
                                                                                      hearing to
                                                                                              to receive and consider
                                                                                                 receive and consider additional
                                                                                                                      additional evidence
                                                                                                                                 evidence not
                                                                                                                                           not submitted
                                                                                                                                               submitted in
                                                                                                                                                         in the
                                                                                                                                                            the
                                                                             fi
                                        original hearing,
                                        original hearing, and to issue
                                                          and to issue an
                                                                       an amended  preliminary order
                                                                          amended preliminary  order after
                                                                                                     after consideration of the
                                                                                                           consideration of the additional
                                                                                                                                additional evidence.
                                                                                                                                           evidence.




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                                                                                                              Declaration of
                                                                                                              Declaration of Nofziger,
                                                                                                                             Nofziger, Exhibit
                                                                                                                                       Exhibit 2,
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                                                                                                                 Rules
                                        (4) If
                                        (4) If the
                                               the functional
                                                   functional unit
                                                              unit manager
                                                                   manager or
                                                                           or designee fails to
                                                                              designee fails to act
                                                                                                act on the preliminary
                                                                                                    on the             order within
                                                                                                           preliminary order within seven
                                                                                                                                    seven working
                                                                                                                                          working days
                                                                                                                                                  days following
                                                                                                                                                       following
                                        its receipt,
                                        its          the preliminary
                                            receipt, the             order shall
                                                         preliminary order shall become the Final
                                                                                 become the  Final Order.
                                                                                                    Order.

                                        (5) Grounds
                                        (5) Grounds for
                                                     for Issuance
                                                         Issuance of Amended Orders:
                                                                  of Amended   Orders: The
                                                                                       The functional
                                                                                           functional unit
                                                                                                      unit manager
                                                                                                           manager or
                                                                                                                   or designee may issue
                                                                                                                      designee may issue an
                                                                                                                                         an amended order for
                                                                                                                                            amended order for
                                        one or
                                        one     more of
                                             or more    the following
                                                     of the following reasons:
                                                                      reasons:

                                        (a) The evidence
                                        (a) The          in the
                                                evidence in the record
                                                                 record is
                                                                         is insufficient
                                                                            insuf cient to to support
                                                                                              support the
                                                                                                      the violation(s)
                                                                                                          violation(s) found,
                                                                                                                       found, in
                                                                                                                              in which
                                                                                                                                 which case  the functional
                                                                                                                                        case the functional unit
                                                                                                                                                            unit manager
                                                                                                                                                                 manager




                                                                                fi
                                        or designee
                                        or  designee may
                                                     may find
                                                           nd aa violation
                                                                 violation of
                                                                            of aa lesser
                                                                                  lesser included
                                                                                         included violation
                                                                                                  violation or order the
                                                                                                            or order  the dismissal
                                                                                                                          dismissal of
                                                                                                                                    of the
                                                                                                                                       the misconduct
                                                                                                                                           misconduct report(s);
                                                                                                                                                        report(s);




                                                           fi
                                        (b) The
                                        (b) The sanction(s)
                                                 sanction(s) imposed
                                                             imposed by  the Hearings
                                                                      by the Hearings Officer
                                                                                      Of cer was
                                                                                              was not
                                                                                                  not within
                                                                                                      within the
                                                                                                             the range of sanction(s)
                                                                                                                 range of sanction(s) in
                                                                                                                                      in the
                                                                                                                                         the correct
                                                                                                                                             correct box
                                                                                                                                                     box on
                                                                                                                                                         on the
                                                                                                                                                            the




                                                                                              fi
                                        grid, in
                                        grid, in which
                                                 which case
                                                       case the
                                                             the functional
                                                                 functional unit
                                                                            unit manager or designee
                                                                                 manager or designee may impose appropriate
                                                                                                     may impose               sanction(s) from
                                                                                                                  appropriate sanction(s)  from the
                                                                                                                                                the correct
                                                                                                                                                     correct grid
                                                                                                                                                             grid
                                        box;
                                        box;

                                        (c) The deviation
                                        (c) The deviation ordered
                                                          ordered by  the Hearings
                                                                   by the Hearings Officer
                                                                                   Of cer was
                                                                                           was not  supported by
                                                                                               not supported  by written substantial reasons,
                                                                                                                 written substantial reasons, in
                                                                                                                                              in which
                                                                                                                                                 which case the
                                                                                                                                                       case the




                                                                                        fi
                                        functional unit
                                        functional unit manager  or designee
                                                        manager or  designee may
                                                                              may impose
                                                                                  impose the
                                                                                          the appropriate sanctions without
                                                                                              appropriate sanctions without the
                                                                                                                             the deviation
                                                                                                                                 deviation or order the
                                                                                                                                           or order the deviation
                                                                                                                                                        deviation
                                        upon written
                                        upon  written substantial
                                                      substantial reasons  found by
                                                                  reasons found     the functional
                                                                                 by the functional unit
                                                                                                   unit manager
                                                                                                        manager or
                                                                                                                or designee;
                                                                                                                   designee;

                                        (d) The
                                        (d) The deviation
                                                deviation ordered
                                                          ordered by the Hearings
                                                                  by the Hearings Officer
                                                                                   Of cer included
                                                                                          included aa segregation
                                                                                                      segregation sanction
                                                                                                                  sanction in
                                                                                                                           in excess
                                                                                                                              excess of 50%, in
                                                                                                                                     of 50%, in which
                                                                                                                                                which case the
                                                                                                                                                      case the




                                                                                         fi
                                        functional unit
                                        functional unit manager or designee
                                                        manager or designee shall
                                                                            shall impose
                                                                                  impose aa sanction
                                                                                            sanction that
                                                                                                     that does
                                                                                                          does not
                                                                                                               not exceed
                                                                                                                   exceed 50%;
                                                                                                                          50%;

                                        (e) The consecutive
                                        (e) The consecutive segregation
                                                            segregation sanctions
                                                                        sanctions imposed
                                                                                  imposed by  the Hearings
                                                                                           by the Hearings Officer
                                                                                                             Of cer for
                                                                                                                    for multiple
                                                                                                                        multiple rule
                                                                                                                                 rule violations
                                                                                                                                      violations from
                                                                                                                                                 from the
                                                                                                                                                      the same
                                                                                                                                                          same




                                                                                                                             fi
                                        misconduct report
                                        misconduct          were not
                                                     report were not supported
                                                                     supported by
                                                                               by written
                                                                                  written reasons,  in which
                                                                                          reasons, in        case the
                                                                                                       which case the functional
                                                                                                                      functional unit
                                                                                                                                 unit manager
                                                                                                                                      manager oror designee
                                                                                                                                                   designee may
                                                                                                                                                            may
                                        impose the
                                        impose  the segregation
                                                    segregation sanctions
                                                                sanctions served
                                                                          served concurrently
                                                                                 concurrently or
                                                                                               or order the segregation
                                                                                                  order the segregation sanctions
                                                                                                                         sanctions served
                                                                                                                                   served consecutively   upon
                                                                                                                                           consecutively upon
                                        written reasons;
                                        written  reasons;

                                        (f) To
                                        (f) To order
                                               order aa deviation
                                                        deviation not
                                                                  not ordered
                                                                      ordered by the Hearings
                                                                              by the Hearings Officer
                                                                                              Of cer upon
                                                                                                      upon written substantial reasons
                                                                                                           written substantial reasons found
                                                                                                                                       found by the functional
                                                                                                                                             by the functional




                                                                                                         fi
                                        unit manager
                                        unit  manager oror designee;
                                                           designee;

                                        (g) To impose
                                        (g) To impose mandatory
                                                      mandatory consecutive sanction(s) not
                                                                consecutive sanction(s)     imposed by
                                                                                        not imposed by the
                                                                                                       the Hearings
                                                                                                           Hearings Of  cer for
                                                                                                                    Officer for multiple rule violations
                                                                                                                                multiple rule            from
                                                                                                                                              violations from




                                                                                                                                            fi
                                        two or
                                        two  or more
                                                more misconduct reports;
                                                     misconduct reports;

                                        (h) To
                                        (h) To impose
                                               impose consecutive sanctions not
                                                      consecutive sanctions not imposed
                                                                                imposed by the Hearings
                                                                                        by the Hearings Officer
                                                                                                        Of cer for
                                                                                                                for multiple
                                                                                                                    multiple rule
                                                                                                                             rule violations
                                                                                                                                  violations from
                                                                                                                                             from the
                                                                                                                                                  the same
                                                                                                                                                      same




                                                                                                                        fi
                                        misconduct report,
                                        misconduct          upon written
                                                    report, upon written reasons;
                                                                         reasons;

                                        (i) To
                                        (i) To suspend
                                               suspend imposition
                                                       imposition of
                                                                   of any
                                                                      any or all sanction(s)
                                                                          or all sanction(s) imposed
                                                                                             imposed by the Hearings
                                                                                                     by the Hearings Of  cer, informing
                                                                                                                     Officer, informing the
                                                                                                                                        the AIC
                                                                                                                                            AIC of
                                                                                                                                                of expected
                                                                                                                                                   expected



                                                                                                                                       fi
                                        conduct
                                        conduct toto avoid
                                                     avoid imposition
                                                           imposition of
                                                                      of the
                                                                         the sanction(s);
                                                                             sanction(s);

                                        (j) To
                                        (j) To impose
                                               impose any
                                                      any or
                                                          or all
                                                             all sanctions
                                                                 sanctions ordered
                                                                           ordered suspended
                                                                                    suspended by    the Hearings
                                                                                                 by the Hearings Officer.
                                                                                                                 Of cer. The
                                                                                                                          The reasons for imposing
                                                                                                                              reasons for imposing the
                                                                                                                                                   the previously
                                                                                                                                                       previously
                                                                                                                                  fi
                                        suspended sanctions
                                        suspended   sanctions shall
                                                               shall be
                                                                     be explained in writing
                                                                        explained in writing in
                                                                                             in the
                                                                                                the order.
                                                                                                     order.

                                        (k) To
                                        (k) To amend
                                               amend sanction(s)
                                                      sanction(s) imposed
                                                                  imposed or  to impose
                                                                           or to impose sanction(s)
                                                                                         sanction(s) not
                                                                                                     not imposed
                                                                                                         imposed by
                                                                                                                 by the
                                                                                                                    the Hearings
                                                                                                                        Hearings Of  cer, within
                                                                                                                                 Officer,        the range
                                                                                                                                          within the range of
                                                                                                                                                           of

                                                                                                                                                      fi
                                        sanctions listed
                                        sanctions        in the
                                                  listed in the appropriate
                                                                appropriate grid
                                                                            grid box  and OAR
                                                                                  box and OAR 291-105-0066(2),   OAR 291-105-0069
                                                                                               291-105-0066(2), OAR    291-105-0069 or    OAR 291-105-0071.
                                                                                                                                      or OAR   291-105-0071.

                                        (6) Within
                                        (6) Within seven
                                                   seven working
                                                         working days after the
                                                                 days after the Final
                                                                                Final Order
                                                                                      Order is
                                                                                            is signed
                                                                                               signed by the functional
                                                                                                      by the functional unit
                                                                                                                        unit manager
                                                                                                                               manager oror designee or after
                                                                                                                                            designee or after aa
                                        preliminary
                                        preliminary order becomes the
                                                    order becomes  the Final
                                                                       Final Order
                                                                             Order under
                                                                                   under OAR
                                                                                          OAR 291‑105‑0031(3)      and (4),
                                                                                                 291-105-0031(3) and   (4), aa copy
                                                                                                                               copy of
                                                                                                                                    of the
                                                                                                                                       the Final
                                                                                                                                           Final Order  shall be
                                                                                                                                                 Order shall     sent
                                                                                                                                                              be sent
                                        to the
                                        to the AIC.
                                               AIC.

                                        (7) Clerical
                                        (7) Clerical errors
                                                     errors on
                                                            on the
                                                               the written
                                                                   written Finding
                                                                            Finding of Fact, Conclusion,
                                                                                    of Fact, Conclusion, and
                                                                                                         and Order
                                                                                                             Order may
                                                                                                                   may be recti ed by
                                                                                                                       be rectified    correcting that
                                                                                                                                    by correcting that document to
                                                                                                                                                       document to
                                                                                                                                                 fi
                                        accurately reflect
                                        accurately  re ect the
                                                            the results
                                                                results of
                                                                        of the
                                                                           the hearing, without actually
                                                                               hearing, without actually reconvening the hearing.
                                                                                                         reconvening the          The AIC
                                                                                                                         hearing. The AIC shall
                                                                                                                                          shall be noti ed in
                                                                                                                                                be notified in
                                                      fl
                                                                                                                                                            fi
                                        writing of
                                        writing of such
                                                   such corrections.
                                                         corrections.

                                        (8) The
                                        (8) The record
                                                record of  the hearing
                                                        of the hearing and
                                                                        and all
                                                                              all supporting
                                                                                  supporting documents
                                                                                              documents shall
                                                                                                            shall be  maintained in
                                                                                                                  be maintained  in the
                                                                                                                                    the Hearings
                                                                                                                                        Hearings Unit's
                                                                                                                                                  Unit’s records
                                                                                                                                                         records as
                                                                                                                                                                 as per
                                                                                                                                                                    per
                                        retention schedules.
                                        retention  schedules. AA copy
                                                                  copy of the misconduct
                                                                       of the  misconduct report(s)
                                                                                             report(s) and
                                                                                                        and the
                                                                                                             the Final
                                                                                                                 Final Order
                                                                                                                       Order (Findings
                                                                                                                              (Findings of
                                                                                                                                        of Fact,
                                                                                                                                           Fact, Conclusions,
                                                                                                                                                 Conclusions, and
                                                                                                                                                              and Order)
                                                                                                                                                                  Order)
                                        shall be
                                        shall be permanently
                                                 permanently retained     in the
                                                                retained in  the AIC's
                                                                                  AIC’s institution
                                                                                        institution file,
                                                                                                      le, except  in those
                                                                                                          except in  those instances
                                                                                                                           instances where
                                                                                                                                      where all major charges
                                                                                                                                            all major          have been
                                                                                                                                                      charges have  been
                                                                                                    fi
                                        reduced to
                                        reduced   to minor  violations or
                                                     minor violations  or dismissed
                                                                           dismissed by   the Hearings
                                                                                      by the  Hearings Of     cer.
                                                                                                          Officer.
                                                                                                              fi
                                        Statutory/Other Authority:
                                        Statutory/Other       Authority: ORS        179.040, 421.068,
                                                                            ORS 179.040,     421.068, 421.180,
                                                                                                      421.180, 423.020,
                                                                                                               423.020, 423.030
                                                                                                                        423.030 &
                                                                                                                                & 423.075
                                                                                                                                  423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other      Implemented: ORS          179.040, 421.068,
                                                                                ORS 179.040,   421.068, 421.180,
                                                                                                        421.180, 423.020,
                                                                                                                 423.020, 423.030
                                                                                                                          423.030 &
                                                                                                                                  & 423.075
                                                                                                                                    423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC                amend filed
                                              25-2020, amend           led 12/14/2020,
                                                                           12/14/2020, effective    12/15/2020
                                                                                          effective 12/15/2020
                                                                fi
                                        DOC 24-2011,
                                        DOC   24-2011, f.  f. 12-2-11,
                                                              12-2-11, cert.    ef. 12-7-11
                                                                         cert. ef.  12-7-11
                                        DOC 9-2005,
                                        DOC   9-2005, f.f. 7-22-05,
                                                           7-22-05, cert.
                                                                        cert. ef. 7-24-05
                                                                              ef. 7-24-05
                                        DOC 6-2002,
                                        DOC   6-2002, f.f. 4-30-02,
                                                           4-30-02, cert.
                                                                        cert. ef. 5-1-02
                                                                              ef. 5-1-02
                                        DOC 3-1999,
                                        DOC   3-1999, f.f. 2-25-99,
                                                           2-25-99, cert.
                                                                        cert. ef. 3-1-99
                                                                              ef. 3-1-99
                                        CD 16-1996,
                                        CD 16-1996, f. f. 11-13-96,
                                                          11-13-96, cert.cert. ef.
                                                                                ef. 11-15-96
                                                                                    11-15-96
                                        CD 9-1995,
                                        CD          f. 5-23-95,
                                            9-1995, f. 5-23-95, cert. cert. ef.
                                                                            ef. 6-1-95
                                                                                6-1-95
                                        CD 6-1993,
                                        CD 6-1993, f.
                                                    f. 3-10-93,
                                                       3-10-93, cert. cert. ef. 4-1-93
                                                                            ef. 4-1-93
                                        CD 8-1992,
                                        CD          f. 3-27-92,
                                           8-1992, f.  3-27-92, cert. cert. ef. 4-15-92
                                                                            ef. 4-15-92
                                        CD 5-1989,
                                        CD          f. &
                                           5-1989, f.  & cert.     ef. 4-21-89
                                                            cert. ef.  4-21-89
                                        CD 29-1986,
                                        CD 29-1986, f. f. &
                                                          & ef.
                                                              ef. 8-20-86
                                                                  8-20-86
                                        CD 6-1986(Temp),
                                        CD 6-1986(Temp), f.     f. 3-14-86,   ef. 4-15-86
                                                                   3-14-86, ef.   4-15-86

https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                       16/28
                                                                                                                                                                           16/28
                                                                                                                   Declaration of
                                                                                                                   Declaration of Nofziger,
                                                                                                                                  Nofziger, Exhibit
                                                                                                                                            Exhibit 2,
                                                                                                                                                    2, Page
                                                                                                                                                       Page 16 of 30
                                                                                                                                                            16 of 30
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11/12/21, 1:45 PM                                                       Oregon Secretary
                                                                        Oregon Secretary of
                                                                                         of State
                                                                                            State Administrative
                                                                                                  Administrative Rules
                                                                                                                 Rules
                                        CD 30-1985,
                                        CD          f. &
                                           30-1985, f. & ef.
                                                         ef. 8-16-85
                                                             8-16-85
                                        CD 8-1985(Temp),
                                        CD 8-1985(Temp), f.f. &
                                                              & ef.
                                                                 ef. 6-19-85
                                                                     6-19-85
                                        CD 25-1982,
                                        CD          f. &
                                           25-1982, f. & ef.
                                                         ef. 11-19-82
                                                             11-19-82
                                        CD 13-1980,
                                        CD          f. &
                                           13-1980, f. & ef.
                                                         ef. 4-15-80
                                                             4-15-80
                                        CD 19-1979(Temp),
                                        CD 19-1979(Temp), f.  f. &
                                                                 & ef.
                                                                   ef. 10-19-79
                                                                       10-19-79


                                        291-105-0036
                                        291-105-0036
                                        Preparation of
                                        Preparation of the
                                                       the Formal
                                                           Formal Record
                                                                  Record

                                        (1) The
                                        (1) The record
                                                record of the formal
                                                       of the formal hearing
                                                                     hearing shall
                                                                             shall include:
                                                                                   include:

                                        (a) The misconduct
                                        (a) The            report(s);
                                                misconduct report(s);

                                        (b) The
                                        (b) The Notice
                                                Notice of
                                                       of Hearing/Rights;
                                                          Hearing/Rights;

                                        (c) Supporting material;
                                        (c) Supporting material;

                                        (d) The
                                        (d) The Final
                                                Final Order
                                                      Order (Findings
                                                            (Findings of Fact, Conclusions,
                                                                      of Fact, Conclusions, and
                                                                                            and Order) issued by
                                                                                                Order) issued    the Hearings
                                                                                                              by the Hearings Officer
                                                                                                                              Of cer and
                                                                                                                                      and the
                                                                                                                                          the functional
                                                                                                                                              functional unit
                                                                                                                                                         unit




                                                                                                                                      fi
                                        manager or
                                        manager   or designee.
                                                     designee.

                                        (2) A
                                        (2) A recording
                                              recording of  the hearing
                                                         of the hearing shall
                                                                        shall not
                                                                              not be
                                                                                  be aa part
                                                                                        part of the record;
                                                                                             of the record; however,   it shall
                                                                                                             however, it  shall be prepared and
                                                                                                                                be prepared and provided  to the
                                                                                                                                                 provided to the
                                        Inspector General,
                                        Inspector            Attorney General,
                                                   General, Attorney  General, oror their
                                                                                    their designees
                                                                                          designees or   to the
                                                                                                      or to the court, upon request.
                                                                                                                court, upon  request. AA copy of the
                                                                                                                                         copy of the recording
                                                                                                                                                     recording of
                                                                                                                                                               of the
                                                                                                                                                                  the
                                        hearing shall
                                        hearing  shall not
                                                       not be
                                                           be provided
                                                              provided directly  to the
                                                                        directly to the AIC
                                                                                         AIC by  the Hearings
                                                                                             by the  Hearings Office.
                                                                                                               Of ce.




                                                                                                                  fi
                                        (3) Information
                                        (3) Information received
                                                         received that
                                                                  that is
                                                                       is determined
                                                                          determined to
                                                                                     to be con dential shall
                                                                                        be confidential shall be
                                                                                                              be clearly labeled "confidential"
                                                                                                                 clearly labeled “con dential” and
                                                                                                                                                and shall
                                                                                                                                                    shall not
                                                                                                                                                          not be
                                                                                                                                                              be




                                                                                                 fi
                                                                                                                                           fi
                                        shared with
                                        shared  with or
                                                     or provided
                                                        provided to
                                                                 to AICs.
                                                                    AICs.

                                        (a) Con dential information
                                        (a) Confidential information may
                                                                     may be summarized for
                                                                         be summarized  for the
                                                                                             the AIC
                                                                                                 AIC at
                                                                                                     at the
                                                                                                        the time
                                                                                                             time of
                                                                                                                  of the
                                                                                                                     the hearing, without releasing
                                                                                                                         hearing, without releasing the
                                                                                                                                                    the
                                                 fi
                                        con  dential information
                                        confidential information verbatim
                                                                 verbatim or the name
                                                                          or the name of
                                                                                      of aa con  dential informant.
                                                                                            confidential informant.
                                            fi
                                                                                                      fi
                                        (b) Confidential
                                        (b) Con dential information
                                                          information may
                                                                      may be  shared with
                                                                           be shared with the
                                                                                          the functional
                                                                                              functional unit
                                                                                                          unit manager
                                                                                                               manager oror designee. Con dential information
                                                                                                                            designee. Confidential   information may
                                                                                                                                                                 may
                                                 fi
                                                                                                                                                fi
                                        also be
                                        also     shared with
                                              be shared with Department
                                                              Department employees,
                                                                           employees, the
                                                                                      the Attorney
                                                                                          Attorney General,   or the
                                                                                                     General, or the courts
                                                                                                                     courts with  approval of
                                                                                                                             with approval  of the
                                                                                                                                               the Inspector  General
                                                                                                                                                   Inspector General
                                        or the
                                        or  the Assistant
                                                Assistant Inspector
                                                          Inspector General(s).
                                                                    General(s). Employee
                                                                                Employee requests
                                                                                          requests for
                                                                                                    for con  dential information
                                                                                                        confidential information shall
                                                                                                                                  shall be
                                                                                                                                        be approved
                                                                                                                                           approved by    the
                                                                                                                                                       by the
                                                                                                             fi
                                        functional unit
                                        functional  unit manager
                                                         manager prior  to being
                                                                  prior to       forwarded to
                                                                           being forwarded to the
                                                                                              the Inspector
                                                                                                  Inspector General
                                                                                                             General or   the Assistant
                                                                                                                       or the Assistant Inspector
                                                                                                                                        Inspector General(s).
                                                                                                                                                   General(s).

                                        (c) Such con
                                        (c) Such      dential information
                                                 confidential information shall
                                                                          shall be archived in
                                                                                be archived in a secure area
                                                                                               a secure area as
                                                                                                             as determined
                                                                                                                determined by the Inspector
                                                                                                                           by the           General or
                                                                                                                                  Inspector General or Assistant
                                                                                                                                                       Assistant
                                                      fi
                                        Inspector General(s).
                                        Inspector  General(s).

                                        Statutory/Other Authority:
                                        Statutory/Other      Authority: ORS        179.040, 421.068,
                                                                            ORS 179.040,     421.068, 421.180,
                                                                                                       421.180, 423.020,
                                                                                                                423.020, 423.030
                                                                                                                         423.030 &
                                                                                                                                 & 423.075
                                                                                                                                   423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other     Implemented: ORS          179.040, 421.068,
                                                                               ORS 179.040,    421.068, 421.180,
                                                                                                         421.180, 421.185,
                                                                                                                  421.185, 421.190,
                                                                                                                           421.190, 423.020,
                                                                                                                                    423.020, 423.030
                                                                                                                                             423.030 &
                                                                                                                                                     & 423.075
                                                                                                                                                       423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC               amend filed
                                             25-2020, amend           led 12/14/2020,
                                                                           12/14/2020, effective     12/15/2020
                                                                                           effective 12/15/2020
                                                                fi
                                        DOC 24-2011,
                                        DOC  24-2011, f.  f. 12-2-11,
                                                             12-2-11, cert.    ef. 12-7-11
                                                                         cert. ef. 12-7-11
                                        DOC 9-2005,
                                        DOC  9-2005, f.f. 7-22-05,
                                                          7-22-05, cert.cert. ef. 7-24-05
                                                                              ef. 7-24-05
                                        DOC 6-2002,
                                        DOC  6-2002, f.f. 4-30-02,
                                                          4-30-02, cert.cert. ef. 5-1-02
                                                                              ef. 5-1-02
                                        CD 16-1996,
                                        CD 16-1996, f.f. 11-13-96,
                                                         11-13-96, cert. cert. ef.
                                                                               ef. 11-15-96
                                                                                   11-15-96
                                        CD 8-1992,
                                        CD         f. 3-27-92,
                                           8-1992, f. 3-27-92, cert. cert. ef. 4-15-92
                                                                           ef. 4-15-92
                                        CD 5-1989,
                                        CD         f. &
                                           5-1989, f. & cert.     ef. 4-21-89
                                                           cert. ef.  4-21-89
                                        CD 11-1988,
                                        CD 11-1988, f.f. &cert.
                                                         & cert. et ef. 8-19-88
                                                                        8-19-88
                                        CD 38-1987,
                                        CD 38-1987, f.f. &
                                                         & cert.
                                                             cert. ef.
                                                                    ef. 10-2-87
                                                                        10-2-87
                                        CD 32-1987(Temp),
                                        CD 32-1987(Temp), f.     f. &
                                                                    & cert. ef. 8-5-87
                                                                      cert. ef. 8-5-87
                                        CD 29-1986,
                                        CD 29-1986, f.f. &
                                                         & cert.
                                                             cert. cert.
                                                                    cert. ef.
                                                                          ef. 8-20-86
                                                                              8-20-86
                                        CD 6-1986(Temp),
                                        CD 6-1986(Temp), f.    f. 3-14-86,    cert. ef.
                                                                  3-14-86, cert.    ef. 4-15-86
                                                                                        4-15-86
                                        CD 30-1985,
                                        CD 30-1985, f.f. &
                                                         & cert.
                                                             cert. ef.
                                                                    ef. 8-16-85
                                                                        8-16-85
                                        CD 25-1982,
                                        CD 25-1982, f.f. &
                                                         & cert.
                                                             cert. ef.
                                                                    ef. 11-19-82
                                                                        11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f.f. &
                                                         & cert.
                                                             cert. ef.
                                                                    ef. 4-15-80
                                                                        4-15-80
                                        CD 19-1979(Temp),
                                        CD 19-1979(Temp), f.     f. &
                                                                    & cert. ef. 10-19-79
                                                                      cert. ef. 10-19-79


                                        291-105-0041
                                        291-105-0041
                                        Adjudicator Responsibilities
                                        Adjudicator Responsibilities

                                        (1) An
                                        (1) An adjudicator
                                               adjudicator shall
                                                           shall be appointed by
                                                                 be appointed    the functional
                                                                              by the functional unit
                                                                                                unit manager in each
                                                                                                     manager in each Department
                                                                                                                     Department of
                                                                                                                                of Corrections
                                                                                                                                   Corrections facility.
                                                                                                                                               facility.

                                        (2) The
                                        (2) The adjudicator
                                                adjudicator will
                                                              will receive all minor
                                                                   receive all minor misconduct
                                                                                     misconduct reports,
                                                                                                 reports, once
                                                                                                          once they
                                                                                                               they have
                                                                                                                    have been entered into
                                                                                                                         been entered into the
                                                                                                                                           the disciplinary
                                                                                                                                               disciplinary system
                                                                                                                                                            system
                                        and assigned
                                        and  assigned aa case
                                                         case number.   The adjudicator
                                                              number. The                shall conduct
                                                                             adjudicator shall         an informal
                                                                                               conduct an informal hearing on minor
                                                                                                                   hearing on minor misconduct  reports in
                                                                                                                                    misconduct reports   in
                                        accordance with
                                        accordance  with OAR     291-105-0046.
                                                           OAR 291-105-0046.

                                        (3) The
                                        (3) The adjudicator
                                                adjudicator shall
                                                            shall not
                                                                  not have
                                                                      have been
                                                                           been aa witness
                                                                                   witness of or participated
                                                                                           of or              in the
                                                                                                 participated in the event
                                                                                                                     event in
                                                                                                                           in any
                                                                                                                              any manner.
                                                                                                                                  manner.


https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                    17/28
                                                                                                                                                                        17/28
                                                                                                           Declaration of
                                                                                                           Declaration of Nofziger,
                                                                                                                          Nofziger, Exhibit
                                                                                                                                    Exhibit 2,
                                                                                                                                            2, Page
                                                                                                                                               Page 17 of 30
                                                                                                                                                    17 of 30
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11/12/21, 1:45 PM                                                       Oregon Secretary
                                                                        Oregon Secretary of
                                                                                         of State
                                                                                            State Administrative
                                                                                                  Administrative Rules
                                                                                                                 Rules
                                        (4) The
                                        (4) The adjudicator
                                                adjudicator shall
                                                            shall conduct the informal
                                                                  conduct the informal hearing   and decide
                                                                                        hearing and  decide whether the AIC
                                                                                                            whether the AIC has
                                                                                                                            has violated the rule(s)
                                                                                                                                violated the         as charged.
                                                                                                                                             rule(s) as charged.
                                        The adjudicator
                                        The  adjudicator may not add
                                                         may not  add or
                                                                      or change  the violations
                                                                         change the  violations in
                                                                                                in the
                                                                                                   the misconduct report.
                                                                                                       misconduct report.

                                        (5) The
                                        (5) The adjudicator
                                                adjudicator may
                                                             may dismiss  the misconduct
                                                                  dismiss the              report(s) at
                                                                              misconduct report(s)   at any
                                                                                                        any stage
                                                                                                            stage of
                                                                                                                  of the
                                                                                                                     the proceedings, with or
                                                                                                                         proceedings, with  or without
                                                                                                                                                without prejudice,
                                                                                                                                                         prejudice,
                                        stating in
                                        stating in writing
                                                   writing the
                                                           the reason
                                                               reason for
                                                                      for the
                                                                          the dismissal. A new
                                                                              dismissal. A new misconduct
                                                                                               misconduct report
                                                                                                             report may
                                                                                                                    may be  resubmitted utilizing
                                                                                                                         be resubmitted   utilizing the same process
                                                                                                                                                    the same  process
                                        as provided
                                        as           in OAR
                                           provided in       291-105-0021(2) if
                                                        OAR 291-105-0021(2)     if dismissed without prejudice
                                                                                   dismissed without            or dismissed
                                                                                                      prejudice or            for insufficient
                                                                                                                   dismissed for  insuf cient evidence.
                                                                                                                                               evidence.




                                                                                                                                        fi
                                        (6) The
                                        (6) The adjudicator
                                                adjudicator may
                                                            may decline to conduct
                                                                decline to conduct an
                                                                                   an informal
                                                                                       informal hearing  and refer
                                                                                                 hearing and       the case
                                                                                                             refer the      to the
                                                                                                                       case to the Hearings
                                                                                                                                   Hearings Officer
                                                                                                                                            Of cer for
                                                                                                                                                    for aa formal
                                                                                                                                                           formal




                                                                                                                                                   fi
                                        hearing when
                                        hearing       the AIC's
                                                 when the AIC’s mental competency is
                                                                mental competency   is an
                                                                                       an issue.
                                                                                          issue.

                                        (7) Requests
                                        (7) Requests for
                                                     for aa formal
                                                            formal hearing
                                                                    hearing for
                                                                            for aa misconduct
                                                                                   misconduct report
                                                                                               report charging
                                                                                                      charging aa minor
                                                                                                                  minor rule
                                                                                                                        rule violation(s)
                                                                                                                             violation(s) should
                                                                                                                                           should be  submitted to
                                                                                                                                                   be submitted to the
                                                                                                                                                                   the
                                        adjudicator in
                                        adjudicator in writing
                                                       writing in
                                                                in advance
                                                                   advance of  the informal
                                                                            of the  informal hearing
                                                                                             hearing or
                                                                                                     or made
                                                                                                        made verbally  prior to
                                                                                                             verbally prior  to the
                                                                                                                                the start
                                                                                                                                     start of
                                                                                                                                           of the
                                                                                                                                              the informal
                                                                                                                                                  informal hearing
                                                                                                                                                           hearing at
                                                                                                                                                                   at
                                        the latest.
                                        the latest.

                                        Statutory/Other Authority:
                                        Statutory/Other       Authority: ORS         179.040, 421.068,
                                                                              ORS 179.040,    421.068, 421.180,
                                                                                                       421.180, 423.020,
                                                                                                                423.020, 423.030
                                                                                                                         423.030 &
                                                                                                                                 & 423.075
                                                                                                                                   423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other      Implemented: ORS           179.040, 421.068,
                                                                                 ORS 179.040,   421.068, 421.180,
                                                                                                         421.180, 423.020,
                                                                                                                  423.020, 423.030
                                                                                                                           423.030 &
                                                                                                                                   & 423.075
                                                                                                                                     423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC                amend filed
                                              25-2020, amend            led 12/14/2020,
                                                                             12/14/2020, effective   12/15/2020
                                                                                           effective 12/15/2020


                                                                fi
                                        DOC 24-2011,
                                        DOC   24-2011, f.  f. 12-2-11,
                                                              12-2-11, cert.     ef. 12-7-11
                                                                           cert. ef. 12-7-11
                                        DOC 14-2008,
                                        DOC   14-2008, f.  f. &
                                                              & cert.
                                                                cert. ef.
                                                                        ef. 6-2-08
                                                                            6-2-08
                                        DOC 9-2005,
                                        DOC   9-2005, f.f. 7-22-05,
                                                           7-22-05, cert.cert. ef. 7-24-05
                                                                               ef. 7-24-05
                                        DOC 6-2002,
                                        DOC   6-2002, f.f. 4-30-02,
                                                           4-30-02, cert.cert. ef. 5-1-02
                                                                               ef. 5-1-02
                                        DOC 16-2000,
                                        DOC   16-2000, f.  f. &
                                                              & cert.
                                                                cert. ef.
                                                                        ef. 6-19-00
                                                                            6-19-00
                                        CD 16-1996,
                                        CD 16-1996, f. f. 11-13-96,
                                                          11-13-96, cert. cert. ef.
                                                                                 ef. 11-15-96
                                                                                     11-15-96
                                        CD 9-1995,
                                        CD          f. 5-23-95,
                                            9-1995, f. 5-23-95, cert.  cert. ef.
                                                                             ef. 6-1-95
                                                                                 6-1-95
                                        CD 6-1993,
                                        CD 6-1993, f.
                                                    f. 3-10-93,
                                                       3-10-93, cert.  cert. ef. 4-1-93
                                                                             ef. 4-1-93
                                        CD 8-1992,
                                        CD          f. 3-27-92,
                                           8-1992, f.  3-27-92, cert.  cert. ef. 4-15-92
                                                                             ef. 4-15-92
                                        CD 5-1989,
                                        CD          f. &
                                           5-1989, f.  & cert.      ef. 4-21-89
                                                            cert. ef.   4-21-89
                                        CD 29-1986,
                                        CD 29-1986, f. f. &
                                                          & ef.
                                                              ef. 8-20-86
                                                                  8-20-86
                                        CD 6-1986(Temp),
                                        CD 6-1986(Temp), f.     f. 3-14-86,
                                                                   3-14-86, ef.ef. 4-15-86
                                                                                   4-15-86
                                        CD 30-1985,
                                        CD 30-1985, f. f. &
                                                          & ef.
                                                              ef. 8-16-85
                                                                  8-16-85
                                        CD 8-1985(Temp),
                                        CD 8-1985(Temp), f.     f. &
                                                                   & ef.
                                                                      ef. 6-19-85
                                                                          6-19-85
                                        CD 25-1982,
                                        CD 25-1982, f. f. &
                                                          & ef.
                                                              ef. 11-19-82
                                                                  11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f. f. &
                                                          & ef.
                                                              ef. 4-15-80
                                                                  4-15-80
                                        CD 19-1979(Temp),
                                        CD 19-1979(Temp), f.       f. &
                                                                      & ef.
                                                                        ef. 10-19-79
                                                                            10-19-79


                                        291-105-0046
                                        291-105-0046
                                        Conduct of
                                        Conduct of the
                                                   the Informal
                                                       Informal Hearings
                                                                Hearings

                                        (1) An
                                        (1) An informal
                                               informal hearing
                                                         hearing shall
                                                                  shall be
                                                                        be conducted
                                                                           conducted by the adjudicator
                                                                                     by the adjudicator on
                                                                                                         on all
                                                                                                            all misconduct  report(s) that
                                                                                                                misconduct report(s)  that do not charge
                                                                                                                                           do not charge aa major
                                                                                                                                                            major
                                        violation(s), unless
                                        violation(s), unless the
                                                             the AIC
                                                                 AIC requests
                                                                     requests aa formal
                                                                                 formal hearing
                                                                                        hearing in
                                                                                                in writing
                                                                                                   writing on
                                                                                                           on the
                                                                                                              the Notice
                                                                                                                  Notice of Hearing/Rights form
                                                                                                                         of Hearing/Rights   form or
                                                                                                                                                   or verbally prior to
                                                                                                                                                      verbally prior to
                                        the start
                                        the start of
                                                  of the
                                                     the informal
                                                         informal hearing.
                                                                   hearing.

                                        (2) Findings
                                        (2) Findings by the adjudicator
                                                     by the adjudicator must
                                                                         must be on the
                                                                              be on the merits.
                                                                                        merits. Technical
                                                                                                Technical and
                                                                                                          and clerical
                                                                                                              clerical errors
                                                                                                                       errors in
                                                                                                                              in the
                                                                                                                                 the writing
                                                                                                                                     writing or
                                                                                                                                             or processing of the
                                                                                                                                                processing of the
                                        misconduct report
                                        misconduct          shall not
                                                     report shall not be grounds for
                                                                      be grounds for dismissal.
                                                                                     dismissal.

                                        (3) The
                                        (3) The adjudicator
                                                adjudicator shall
                                                            shall consider such evidence
                                                                  consider such          as would
                                                                                evidence as would be
                                                                                                  be considered
                                                                                                     considered by
                                                                                                                by aa reasonable
                                                                                                                      reasonable person
                                                                                                                                 person in
                                                                                                                                        in the
                                                                                                                                           the conduct of their
                                                                                                                                               conduct of their
                                        serious affairs.
                                        serious affairs.

                                        (4) Standard
                                        (4) Standard of
                                                     of Proof:
                                                        Proof: Rule
                                                               Rule violation(s) shall be
                                                                    violation(s) shall    found upon
                                                                                       be found upon proof
                                                                                                     proof by
                                                                                                            by aa preponderance
                                                                                                                  preponderance ofof the
                                                                                                                                     the evidence.
                                                                                                                                         evidence. The
                                                                                                                                                   The term
                                                                                                                                                       term
                                        preponderance
                                        preponderance ofof the
                                                           the evidence  means the
                                                               evidence means    the greater
                                                                                     greater weight
                                                                                             weight of
                                                                                                    of evidence,
                                                                                                       evidence, not
                                                                                                                   not necessarily established by
                                                                                                                       necessarily established    the amount
                                                                                                                                               by the amount of
                                                                                                                                                             of
                                        evidence or
                                        evidence    number of
                                                 or number   of witnesses,
                                                                witnesses, but  by that
                                                                            but by that evidence that has
                                                                                        evidence that has the
                                                                                                          the most
                                                                                                              most convincing   force.
                                                                                                                     convincing force.

                                        (5) The
                                        (5) The AIC
                                                AIC shall
                                                    shall be given the
                                                          be given  the opportunity to provide
                                                                        opportunity to         testimony, to
                                                                                       provide testimony,  to submit
                                                                                                              submit evidence,
                                                                                                                     evidence, oror to
                                                                                                                                    to waive
                                                                                                                                       waive the
                                                                                                                                             the right
                                                                                                                                                 right to
                                                                                                                                                       to participate
                                                                                                                                                          participate
                                        in the
                                        in the hearing
                                               hearing as
                                                       as set
                                                          set forth
                                                              forth in
                                                                    in OAR 291‑105‑0056. AICs
                                                                       OAR 291-105-0056.   AICs shall
                                                                                                 shall not
                                                                                                       not be
                                                                                                           be permitted  to call
                                                                                                              permitted to  call witnesses
                                                                                                                                 witnesses in
                                                                                                                                           in an informal hearing.
                                                                                                                                              an informal  hearing.

                                        (6) Assistance
                                        (6) Assistance by
                                                       by an  employee, AIC,
                                                           an employee, AIC, or
                                                                             or other
                                                                                other person approved by
                                                                                      person approved  by the
                                                                                                          the adjudicator
                                                                                                              adjudicator will
                                                                                                                           will be utilized in
                                                                                                                                be utilized in cases where it
                                                                                                                                               cases where it is
                                                                                                                                                              is
                                        found that
                                        found  that assistance
                                                    assistance is
                                                               is necessary
                                                                  necessary based upon language
                                                                            based upon  language barriers or capacity
                                                                                                 barriers or          of the
                                                                                                             capacity of the AIC.
                                                                                                                             AIC.

                                        (7) The
                                        (7) The adjudicator
                                                adjudicator may
                                                            may pose
                                                                pose questions
                                                                     questions during the hearing.
                                                                               during the hearing.

                                        (8) Documents
                                        (8) Documents and
                                                      and Physical
                                                          Physical Evidence:
                                                                   Evidence:

                                        (a) An AIC
                                        (a) An AIC participating
                                                   participating in
                                                                 in an informal disciplinary
                                                                    an informal  disciplinary hearing
                                                                                              hearing may
                                                                                                      may present
                                                                                                            present documents and physical
                                                                                                                    documents and physical evidence during the
                                                                                                                                           evidence during the
                                        hearing, subject
                                        hearing, subject to
                                                         to the
                                                            the exclusions
                                                                exclusions and
                                                                            and restrictions
                                                                                restrictions provided  in these
                                                                                             provided in  these rules.
                                                                                                                rules.

                                        (b) Any
                                        (b) Any person
                                                person who  is knowledgeable
                                                        who is knowledgeable of  the rule
                                                                              of the rule violation(s)
                                                                                          violation(s) charged
                                                                                                       charged in
                                                                                                               in the
                                                                                                                  the misconduct report(s) may
                                                                                                                      misconduct report(s) may submit
                                                                                                                                               submit documents
                                                                                                                                                      documents
                                        and physical
                                        and           evidence in
                                             physical evidence in advance
                                                                  advance of
                                                                          of or
                                                                             or during
                                                                                during the
                                                                                       the hearing.
                                                                                           hearing.



https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                     18/28
                                                                                                                                                                         18/28
                                                                                                         Declaration of
                                                                                                         Declaration of Nofziger,
                                                                                                                        Nofziger, Exhibit
                                                                                                                                  Exhibit 2,
                                                                                                                                          2, Page
                                                                                                                                             Page 18
                                                                                                                                                  18 of
                                                                                                                                                     of 30
                                                                                                                                                        30
                     Case 6:21-cv-01606-SI                              Document 17             Filed 11/29/21                      Page 27 of 68
11/12/21, 1:45 PM
11/12/21, 1:45 PM                                                             Oregon Secretary
                                                                              Oregon Secretary of
                                                                                               of State
                                                                                                  State Administrative
                                                                                                        Administrative Rules
                                                                                                                       Rules
                                        (c) The adjudicator
                                        (c) The adjudicator may
                                                              may exclude
                                                                    exclude documents
                                                                             documents andand physical
                                                                                              physical evidence upon finding
                                                                                                       evidence upon   nding that
                                                                                                                             that such
                                                                                                                                  such evidence
                                                                                                                                       evidence would    not assist
                                                                                                                                                 would not   assist in
                                                                                                                                                                    in




                                                                                                                          fi
                                        the resolution
                                        the  resolution of the disciplinary
                                                        of the  disciplinary action
                                                                              action or
                                                                                     or that
                                                                                        that such
                                                                                             such evidence
                                                                                                  evidence would
                                                                                                            would present  an undue
                                                                                                                   present an undue risk
                                                                                                                                    risk to
                                                                                                                                         to the
                                                                                                                                            the safe,
                                                                                                                                                safe, secure,
                                                                                                                                                      secure, or
                                                                                                                                                              or orderly
                                                                                                                                                                 orderly
                                        operation of
                                        operation  of a facility, specifically
                                                      a facility, speci cally including
                                                                               including the
                                                                                         the safety
                                                                                             safety and security of
                                                                                                    and security of employees
                                                                                                                    employees and
                                                                                                                               and AICs.
                                                                                                                                   AICs. The
                                                                                                                                         The reason(s)  for exclusion
                                                                                                                                              reason(s) for exclusion




                                                                         fi
                                        shall be
                                        shall    made a
                                              be made   a part of the
                                                          part of  the record.
                                                                       record.

                                        (d) The
                                        (d) The adjudicator
                                                 adjudicator may   classify documents
                                                              may classify  documents andand physical
                                                                                              physical evidence  as confidential
                                                                                                       evidence as   con dential (and   not disclose
                                                                                                                                  (and not           such evidence
                                                                                                                                            disclose such evidence to  to the
                                                                                                                                                                          the




                                                                                                                               fi
                                        AIC) upon
                                        AIC)  upon finding
                                                      nding that
                                                            that disclosure
                                                                 disclosure would
                                                                             would present
                                                                                     present an  undue risk
                                                                                              an undue  risk to
                                                                                                             to the
                                                                                                                the safe,
                                                                                                                     safe, secure,
                                                                                                                           secure, or
                                                                                                                                   or orderly operation of
                                                                                                                                      orderly operation  of aa facility,
                                                                                                                                                               facility,




                                                         fi
                                        speci cally including
                                        specifically including the
                                                               the safety
                                                                    safety and
                                                                           and security
                                                                                 security of employees and
                                                                                          of employees        AICs or
                                                                                                         and AICs      that disclosure
                                                                                                                    or that disclosure would   interfere with
                                                                                                                                        would interfere  with anan ongoing
                                                                                                                                                                   ongoing




                                                    fi
                                        of cial investigation
                                        official investigation or
                                                               or criminal
                                                                  criminal prosecution.   The reason(s)
                                                                            prosecution. The   reason(s) for
                                                                                                          for classifying
                                                                                                              classifying documents
                                                                                                                           documents and
                                                                                                                                       and physical  evidence as
                                                                                                                                           physical evidence    as




                                          fi
                                        con   dential shall
                                        confidential  shall be
                                                            be made
                                                               made aa part
                                                                       part of
                                                                             of the
                                                                                the record.
                                                                                    record.




                                               fi
                                        (9) At
                                        (9) At the
                                               the informal
                                                   informal hearing the adjudicator
                                                            hearing the             shall decide:
                                                                        adjudicator shall decide:

                                        (a) No Violation:
                                        (a) No Violation: The
                                                          The adjudicator
                                                              adjudicator may
                                                                          may find
                                                                                nd that
                                                                                    that the
                                                                                         the AIC
                                                                                             AIC did
                                                                                                 did not
                                                                                                     not commit the violation
                                                                                                         commit the violation charged,
                                                                                                                              charged, in
                                                                                                                                       in which
                                                                                                                                          which case   the AIC
                                                                                                                                                  case the AIC may
                                                                                                                                                               may




                                                                                       fi
                                        be  restored to
                                        be restored  to the
                                                        the same
                                                            same status
                                                                 status and
                                                                        and privileges as before
                                                                            privileges as before being
                                                                                                 being charged as allowed
                                                                                                       charged as allowed by
                                                                                                                           by other
                                                                                                                              other rules,
                                                                                                                                    rules, policies, etc.
                                                                                                                                           policies, etc.

                                        (b) Violation:
                                        (b)  Violation: The
                                                        The adjudicator
                                                            adjudicator may   nd that
                                                                        may find that the
                                                                                      the AIC
                                                                                          AIC did
                                                                                              did commit the violation
                                                                                                  commit the violation charged,
                                                                                                                       charged, in
                                                                                                                                in which
                                                                                                                                   which case,
                                                                                                                                         case, the
                                                                                                                                               the adjudicator
                                                                                                                                                   adjudicator will
                                                                                                                                                               will




                                                                                  fi
                                        so inform
                                        so  inform the
                                                    the AIC.
                                                        AIC.

                                        (c) Dismissal: The
                                        (c) Dismissal: The adjudicator
                                                           adjudicator may
                                                                       may dismiss the alleged
                                                                           dismiss the alleged rule
                                                                                               rule violation(s)
                                                                                                    violation(s) without entering aa finding
                                                                                                                 without entering      nding if:
                                                                                                                                             if:




                                                                                                                                           fi
                                        (A) There
                                        (A) There is
                                                  is insufficient
                                                     insuf cient evidence  to support
                                                                  evidence to support the
                                                                                      the alleged
                                                                                          alleged violation(s);
                                                                                                  violation(s); or
                                                                                                                or
                                                              fi
                                        (B) Corrective
                                        (B) Corrective action
                                                       action using
                                                              using less formalized procedures
                                                                    less formalized            would be
                                                                                    procedures would be more appropriate; or
                                                                                                        more appropriate; or

                                        (C) The
                                        (C) The AIC
                                                AIC is
                                                    is released
                                                       released from
                                                                from custody.
                                                                     custody.

                                        (10) At
                                        (10) At the
                                                the conclusion of the
                                                    conclusion of the hearing the AIC
                                                                      hearing the AIC shall
                                                                                      shall be informed of
                                                                                            be informed of the   nding and
                                                                                                           the finding and any sanctions imposed.
                                                                                                                           any sanctions imposed.




                                                                                                                     fi
                                        (11) If
                                        (11) If the
                                                the AIC
                                                    AIC is
                                                        is found
                                                           found in
                                                                 in violation,
                                                                    violation, the
                                                                               the record
                                                                                   record of the decision
                                                                                          of the decision shall
                                                                                                          shall be retained in
                                                                                                                be retained in the
                                                                                                                               the Hearings
                                                                                                                                   Hearings Unit
                                                                                                                                            Unit records as per
                                                                                                                                                 records as per
                                        retention schedules.
                                        retention   schedules.

                                        (12) Upon
                                        (12) Upon finding
                                                    nding that
                                                          that aa violation
                                                                  violation occurred
                                                                            occurred as
                                                                                      as charged, the adjudicator
                                                                                         charged, the adjudicator shall
                                                                                                                  shall impose
                                                                                                                        impose sanctions
                                                                                                                               sanctions within the appropriate
                                                                                                                                         within the appropriate
                                                         fi
                                        range of
                                        range of the
                                                 the minor
                                                     minor disciplinary  grid (Exhibit
                                                           disciplinary grid  (Exhibit 2).
                                                                                       2).

                                        (13) The
                                        (13) The adjudicator
                                                 adjudicator may
                                                             may also
                                                                 also consider imposing the
                                                                      consider imposing the additional sanctions that
                                                                                            additional sanctions that are
                                                                                                                      are available
                                                                                                                          available per
                                                                                                                                    per OAR 291-105-0071.
                                                                                                                                        OAR 291-105-0071.

                                        (14) The
                                        (14) The adjudicator
                                                 adjudicator may
                                                             may suspend
                                                                  suspend imposition
                                                                           imposition of
                                                                                      of any or all
                                                                                         any or all of the ordered
                                                                                                    of the  ordered disciplinary sanctions, informing
                                                                                                                    disciplinary sanctions, informing the
                                                                                                                                                      the AIC
                                                                                                                                                          AIC of
                                                                                                                                                              of
                                        expected future
                                        expected  future conduct
                                                         conduct to
                                                                 to avoid
                                                                    avoid imposition
                                                                          imposition and
                                                                                     and the
                                                                                          the length
                                                                                              length of   time for
                                                                                                       of time for which
                                                                                                                   which the
                                                                                                                         the sanction
                                                                                                                             sanction will
                                                                                                                                      will be suspended.
                                                                                                                                           be suspended.

                                        (15) The
                                        (15) The adjudicator
                                                 adjudicator may
                                                              may impose
                                                                   impose any
                                                                            any or all sanctions
                                                                                or all sanctions previously suspended after
                                                                                                 previously suspended after finding
                                                                                                                              nding that
                                                                                                                                    that the
                                                                                                                                    fi
                                                                                                                                         the rule
                                                                                                                                             rule violation
                                                                                                                                                  violation in
                                                                                                                                                            in
                                        question
                                        question was
                                                 was also
                                                     also aa violation
                                                             violation of
                                                                       of the
                                                                          the conditions  of the
                                                                              conditions of  the suspension.
                                                                                                 suspension.

                                        (16) The
                                        (16) The adjudicator
                                                 adjudicator may
                                                             may give
                                                                  give a verbal warning
                                                                       a verbal warning and reprimand in
                                                                                        and reprimand in lieu of sanctions
                                                                                                         lieu of sanctions on
                                                                                                                           on the
                                                                                                                              the minor
                                                                                                                                  minor grid,
                                                                                                                                        grid, informing
                                                                                                                                              informing the
                                                                                                                                                        the AIC
                                                                                                                                                            AIC of
                                                                                                                                                                of
                                        expected future
                                        expected  future conduct.
                                                         conduct.

                                        (17) No
                                        (17) No verbatim
                                                verbatim recording
                                                         recording of
                                                                   of the
                                                                      the hearing
                                                                          hearing shall
                                                                                  shall be
                                                                                        be made.
                                                                                           made.

                                        [ED. NOTE: To
                                        [ED. NOTE: To view
                                                      view attachments
                                                           attachments referenced in rule
                                                                       referenced in rule text,
                                                                                          text, click
                                                                                                click here
                                                                                                      here to
                                                                                                           to view
                                                                                                              view rule.]
                                                                                                                   rule.]

                                        Statutory/Other Authority:
                                        Statutory/Other       Authority: ORS         179.040, 421.068,
                                                                              ORS 179.040,    421.068, 421.180,
                                                                                                       421.180, 423.020,
                                                                                                                423.020, 423.030
                                                                                                                         423.030 && 423.075
                                                                                                                                    423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other      Implemented: ORS           179.040, 421.068,
                                                                                 ORS 179.040,    421.068, 421.180,
                                                                                                          421.180, 421.185,
                                                                                                                   421.185, 421.190,
                                                                                                                            421.190, 423.020,
                                                                                                                                     423.020, 423.030
                                                                                                                                              423.030 &
                                                                                                                                                      & 423.075
                                                                                                                                                        423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC                amend filed
                                              25-2020, amend            led 12/14/2020,
                                                                             12/14/2020, effective   12/15/2020
                                                                                           effective 12/15/2020
                                                                   fi
                                        DOC 24-2011,
                                        DOC   24-2011, f.  f. 12-2-11,
                                                              12-2-11, cert.     ef. 12-7-11
                                                                           cert. ef. 12-7-11
                                        DOC 14-2008,
                                        DOC   14-2008, f.  f. &
                                                              & cert.
                                                                cert. ef.
                                                                        ef. 6-2-08
                                                                            6-2-08
                                        DOC 9-2005,
                                        DOC   9-2005, f.f. 7-22-05,
                                                           7-22-05, cert.cert. ef. 7-24-05
                                                                               ef. 7-24-05
                                        DOC 6-2002,
                                        DOC   6-2002, f.f. 4-30-02,
                                                           4-30-02, cert.cert. ef. 5-1-02
                                                                               ef. 5-1-02
                                        DOC 16-2000,
                                        DOC   16-2000, f.  f. &
                                                              & cert.
                                                                cert. ef.
                                                                        ef. 6-19-00
                                                                            6-19-00
                                        DOC 28-1999(Temp),
                                        DOC   28-1999(Temp), f.      f. &
                                                                        & cert.
                                                                          cert. ef.
                                                                                 ef. 12-22-99  thru 6-19-00
                                                                                     12-22-99 thru  6-19-00
                                        CD 16-1996,
                                        CD 16-1996, f. f. 11-13-96,
                                                          11-13-96, cert. cert. ef.
                                                                                 ef. 11-15-96
                                                                                     11-15-96
                                        CD 9-1995,
                                        CD          f. 5-23-95,
                                            9-1995, f. 5-23-95, cert. cert. ef.
                                                                             ef. 6-1-95
                                                                                 6-1-95
                                        CD 6-1993,
                                        CD 6-1993, f.
                                                    f. 3-10-93,
                                                       3-10-93, cert. cert. ef.  4-1-93
                                                                             ef. 4-1-93
                                        CD 8-1992,
                                        CD          f. 3-27-92,
                                           8-1992, f.  3-27-92, cert. cert. ef.  4-15-92
                                                                             ef. 4-15-92
                                        CD 30-1985,
                                        CD 30-1985, f. f. &
                                                          & ef.
                                                              ef. 8-16-85
                                                                  8-16-85
                                        CD 25-1982,
                                        CD 25-1982, f. f. &
                                                          & ef.
                                                              ef. 11-19-82
                                                                  11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f. f. &
                                                          & ef.
                                                              ef. 4-15-80
                                                                  4-15-80
                                        CD 19-1979(Temp),
                                        CD 19-1979(Temp), f.      f. &
                                                                     & ef.
                                                                        ef. 10-19-79
                                                                            10-19-79


                                        291-105-0056
                                        291-105-0056
                                        AIC Rights
                                        AIC Rights in
                                                   in Formal
                                                      Formal and Informal Hearings
                                                             and Informal Hearings

https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                            19/28
                                                                                                                                                                                19/28
                                                                                                            Declaration of
                                                                                                            Declaration of Nofziger,
                                                                                                                           Nofziger, Exhibit
                                                                                                                                     Exhibit 2,
                                                                                                                                             2, Page
                                                                                                                                                Page 19
                                                                                                                                                     19 of
                                                                                                                                                        of 30
                                                                                                                                                           30
                     Case 6:21-cv-01606-SI                              Document 17            Filed 11/29/21                   Page 28 of 68
11/12/21, 1:45 PM
11/12/21, 1:45 PM                                                          Oregon Secretary
                                                                           Oregon Secretary of
                                                                                            of State
                                                                                               State Administrative
                                                                                                     Administrative Rules
                                                                                                                    Rules
                                        (1) Hearing:
                                        (1) Hearing: The
                                                     The AIC
                                                         AIC shall
                                                             shall be entitled to
                                                                   be entitled to aa hearing
                                                                                     hearing whenever
                                                                                             whenever aa misconduct   report has
                                                                                                         misconduct report        been filed.
                                                                                                                              has been   led. An
                                                                                                                                              An AIC
                                                                                                                                                 AIC receiving
                                                                                                                                                     receiving aa




                                                                                                                                          fi
                                        minor misconduct
                                        minor misconduct report
                                                           report shall
                                                                  shall not
                                                                        not receive
                                                                            receive aa formal
                                                                                       formal hearing, unless specifically
                                                                                              hearing, unless speci cally requested.
                                                                                                                           requested.




                                                                                                                      fi
                                        (2) Waiver
                                        (2) Waiver of
                                                   of Hearing:
                                                      Hearing:

                                        (a) The AIC
                                        (a) The AIC may
                                                    may waive the right
                                                        waive the right to
                                                                        to aa hearing. Waiver of
                                                                              hearing. Waiver of the
                                                                                                 the right
                                                                                                     right must
                                                                                                           must be
                                                                                                                be made  in writing,
                                                                                                                   made in           verbally, or
                                                                                                                            writing, verbally, or through
                                                                                                                                                  through behavior
                                                                                                                                                          behavior
                                        and must
                                        and  must be documented on
                                                  be documented  on the
                                                                     the record.  An AIC's
                                                                         record. An  AIC’s refusal to attend
                                                                                           refusal to attend the
                                                                                                             the hearing will constitute
                                                                                                                 hearing will constitute aa waiver.
                                                                                                                                            waiver.

                                        (b) If
                                        (b) If the
                                               the AIC
                                                   AIC waives
                                                       waives the
                                                              the right
                                                                  right to
                                                                        to aa hearing,
                                                                              hearing, the
                                                                                       the case  will be
                                                                                            case will be reviewed
                                                                                                         reviewed on its merits
                                                                                                                  on its merits by the Hearings
                                                                                                                                by the Hearings Of  cer or
                                                                                                                                                Officer or adjudicator
                                                                                                                                                           adjudicator




                                                                                                                                                         fi
                                        in accordance
                                        in accordance with   the procedures
                                                        with the procedures outlined     in these
                                                                               outlined in  these rules.
                                                                                                  rules.

                                        (3) Notice
                                        (3) Notice of
                                                   of Hearing:
                                                      Hearing:

                                        (a) The AIC
                                        (a) The AIC shall
                                                    shall be given written
                                                          be given written notice
                                                                           notice of the hearing
                                                                                  of the hearing no
                                                                                                 no less than 24
                                                                                                    less than 24 hours
                                                                                                                 hours prior to the
                                                                                                                       prior to the hearing,
                                                                                                                                    hearing, unless
                                                                                                                                             unless the
                                                                                                                                                    the AIC
                                                                                                                                                        AIC
                                        consents  to holding
                                        consents to  holding the
                                                             the hearing
                                                                 hearing sooner.
                                                                         sooner.

                                        (b) The
                                        (b) The notice shall include
                                                notice shall include aa statement
                                                                        statement of
                                                                                  of the
                                                                                     the AIC's
                                                                                         AIC’s rights
                                                                                               rights with
                                                                                                      with respect to the
                                                                                                           respect to the hearing.
                                                                                                                          hearing.

                                        (4) Representation:
                                        (4) Representation:

                                        (a) In all
                                        (a) In all cases,
                                                   cases, the AIC shall
                                                          the AIC shall be entitled to:
                                                                        be entitled to:

                                        (A) Provide
                                        (A) Provide a
                                                    a defense through written
                                                      defense through         or oral
                                                                      written or oral testimony.
                                                                                      testimony.

                                        (B) Be
                                        (B) Be present at all
                                               present at all evidentiary stages of
                                                              evidentiary stages    the hearing
                                                                                 of the hearing process,  except when
                                                                                                 process, except when thethe Hearings
                                                                                                                              Hearings Of    cer or
                                                                                                                                         Officer or adjudicator   nds
                                                                                                                                                    adjudicator finds




                                                                                                                                               fi
                                                                                                                                                                        fi
                                        that to
                                        that to have
                                                have the
                                                     the charged
                                                         charged AIC
                                                                   AIC present
                                                                       present would
                                                                               would constitute    an immediate
                                                                                       constitute an  immediate threat
                                                                                                                 threat toto facility
                                                                                                                             facility security
                                                                                                                                      security or
                                                                                                                                               or the
                                                                                                                                                  the AIC's
                                                                                                                                                      AIC’s behavior
                                                                                                                                                            behavior
                                        during  the hearing
                                        during the  hearing warrants  exclusion. The
                                                            warrants exclusion.  The reason(s)  for the
                                                                                      reason(s) for the finding
                                                                                                          nding shall
                                                                                                                shall be
                                                                                                                      be part
                                                                                                                         part of  the record.
                                                                                                                               of the  record.




                                                                                                         fi
                                        (C) AICs
                                        (C) AICs shall
                                                 shall be excluded during
                                                       be excluded during the
                                                                          the testimony
                                                                              testimony ofof any witness whose
                                                                                             any witness         testimony must
                                                                                                         whose testimony   must be given in
                                                                                                                                be given in confidence.
                                                                                                                                            con dence. The
                                                                                                                                                        The




                                                                                                                                                              fi
                                        reasons for
                                        reasons  for the
                                                     the AIC's
                                                         AIC’s absence or exclusion
                                                               absence or           shall be
                                                                          exclusion shall    made part
                                                                                          be made       of the
                                                                                                   part of the record.
                                                                                                               record.

                                        (b) Assistance
                                        (b) Assistance by
                                                       by an   employee, AIC,
                                                            an employee, AIC, or
                                                                              or other  person approved
                                                                                 other person   approved by   the Hearings
                                                                                                          by the  Hearings Of   cer or
                                                                                                                           Officer  or adjudicator
                                                                                                                                       adjudicator will
                                                                                                                                                   will be ordered in
                                                                                                                                                        be ordered  in




                                                                                                                                fi
                                        cases
                                        cases where  it is
                                              where it  is found
                                                           found that
                                                                 that assistance
                                                                      assistance is
                                                                                 is necessary
                                                                                    necessary based   upon language
                                                                                               based upon   language barriers
                                                                                                                      barriers or
                                                                                                                               or capacity to prepare
                                                                                                                                  capacity to prepare aa defense,
                                                                                                                                                         defense, to
                                                                                                                                                                  to
                                        understand the
                                        understand  the charge,
                                                          charge, or
                                                                  or surrounding
                                                                     surrounding facts,
                                                                                  facts, and
                                                                                         and rights available to
                                                                                             rights available to the
                                                                                                                 the AIC.
                                                                                                                     AIC.

                                        (5) AICs
                                        (5) AICs shall
                                                 shall be allowed to
                                                       be allowed to submit
                                                                     submit evidence,
                                                                            evidence, except
                                                                                      except when  the Hearings
                                                                                             when the   Hearings Officer
                                                                                                                   Of cer or   adjudicator finds
                                                                                                                           or adjudicator    nds that to have
                                                                                                                                                 that to      the
                                                                                                                                                         have the


                                                                                                                           fi
                                                                                                                                                    fi
                                        evidence present
                                        evidence           would constitute
                                                  present would  constitute an immediate threat
                                                                            an immediate  threat to
                                                                                                 to a facility or
                                                                                                    a facility or not
                                                                                                                  not assist in the
                                                                                                                      assist in the resolution of the
                                                                                                                                    resolution of the hearing, as
                                                                                                                                                      hearing, as
                                        provided  in OAR
                                        provided in       291-105-0028 or
                                                     OAR 291-105-0028    or OAR  291-105-0046.
                                                                            OAR 291-105-0046.



                                        Statutory/Other Authority:
                                        Statutory/Other      Authority: ORS       179.040, 421.068,
                                                                             ORS 179.040,  421.068, 421.180,
                                                                                                     421.180, 423.020,
                                                                                                              423.020, 423.030
                                                                                                                       423.030 &
                                                                                                                               & 423.075
                                                                                                                                 423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other     Implemented: 421.180,421.180, 423.020,
                                                                                         423.020, 423.030,
                                                                                                  423.030, 423.075,
                                                                                                           423.075, ORS
                                                                                                                    ORS 179.040
                                                                                                                         179.040 &
                                                                                                                                 & 421.068
                                                                                                                                   421.068
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC               amend filed
                                              25-2020, amend           led 12/14/2020,
                                                                            12/14/2020, effective  12/15/2020
                                                                                         effective 12/15/2020
                                                                   fi
                                        DOC 14-2008,
                                        DOC   14-2008, f. f. &
                                                             & cert.
                                                               cert. ef.
                                                                       ef. 6-2-08
                                                                           6-2-08
                                        DOC 16-2000,
                                        DOC   16-2000, f. f. &
                                                             & cert.
                                                               cert. ef.
                                                                       ef. 6-19-00
                                                                           6-19-00
                                        CD 9-1995,
                                        CD          f. 5-23-95,
                                            9-1995, f. 5-23-95, cert. cert. ef.
                                                                            ef. 6-1-95
                                                                                6-1-95
                                        CD 8-1992,
                                        CD          f. 3-27-92,
                                           8-1992, f.  3-27-92, cert. cert. ef. 4-15-92
                                                                            ef. 4-15-92
                                        CD 5-1989,
                                        CD          f. &
                                           5-1989, f.  & cert.     ef. 4-21-89
                                                           cert. ef.   4-21-89
                                        CD 30-1985,
                                        CD 30-1985, f. f. &
                                                          & ef.
                                                             ef. 8-16-85
                                                                 8-16-85
                                        CD 8-1985(Temp),
                                        CD 8-1985(Temp), f.    f. &
                                                                  & ef.
                                                                     ef. 6-19-85
                                                                         6-19-85
                                        CD 25-1982,
                                        CD 25-1982, f. f. &
                                                          & ef.
                                                             ef. 11-19-82
                                                                 11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f. f. &
                                                          & ef.
                                                             ef. 4-15-80
                                                                 4-15-80
                                        CD 19-1979(Temp),
                                        CD 19-1979(Temp), f.      f. &
                                                                     & ef.
                                                                       ef. 10-19-79
                                                                           10-19-79


                                        291-105-0058
                                        291-105-0058
                                        Investigations in
                                        Investigations in Formal
                                                          Formal and
                                                                 and Informal
                                                                     Informal Hearings
                                                                              Hearings

                                        (1) The
                                        (1) The Hearings
                                                Hearings Of  cer or
                                                         Officer or adjudicator
                                                                    adjudicator may
                                                                                may order
                                                                                    order an investigation.
                                                                                          an investigation.
                                                              fi
                                        (2) The
                                        (2) The investigator
                                                investigator shall
                                                             shall not
                                                                   not have
                                                                       have been
                                                                            been aa witness
                                                                                    witness to
                                                                                            to the
                                                                                               the event
                                                                                                   event or have participated
                                                                                                         or have              in the
                                                                                                                 participated in the case
                                                                                                                                     case as
                                                                                                                                          as aa charging of cer.
                                                                                                                                                charging officer.
                                                                                                                                                                   fi
                                        (3) The
                                        (3) The Hearings
                                                Hearings Of   cer or
                                                          Officer or adjudicator
                                                                     adjudicator shall
                                                                                  shall disclose
                                                                                        disclose the
                                                                                                 the results of the
                                                                                                     results of the investigation
                                                                                                                    investigation to
                                                                                                                                  to the
                                                                                                                                     the AIC
                                                                                                                                         AIC unless
                                                                                                                                               unless disclosure
                                                                                                                                                        disclosure of
                                                                                                                                                                   of the
                                                                                                                                                                      the
                                                              fi
                                        investigative results
                                        investigative results would
                                                              would constitute
                                                                     constitute aa threat
                                                                                   threat to
                                                                                          to the
                                                                                             the safety,
                                                                                                 safety, security,
                                                                                                         security, or
                                                                                                                   or orderly
                                                                                                                      orderly operation of aa facility.
                                                                                                                              operation of    facility. The
                                                                                                                                                        The reason(s)  for
                                                                                                                                                             reason(s) for
                                        nondisclosure shall
                                        nondisclosure  shall be
                                                             be made
                                                                made aa part
                                                                        part of
                                                                             of the
                                                                                the record.  The Hearings
                                                                                     record. The  Hearings Officer
                                                                                                            Of cer or  adjudicator shall
                                                                                                                    or adjudicator shall not
                                                                                                                                         not provide     the AIC
                                                                                                                                               provide the   AIC with
                                                                                                                                                                 with
                                                                                                                 fi
                                        copies of supplemental
                                        copies of supplemental documents     that comprise
                                                                documents that                the case
                                                                                   comprise the        against the
                                                                                                  case against the AIC.
                                                                                                                    AIC.

                                        Statutory/Other Authority:
                                        Statutory/Other Authority: ORS 179.040, 421.068,
                                                                   ORS 179.040, 421.068, 421.180,
                                                                                         421.180, 423.020,
                                                                                                  423.020, 423.030
                                                                                                           423.030 &
                                                                                                                   & 423.075
                                                                                                                     423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other Implemented: ORS  179.040, 421.180,
                                                                     ORS 179.040, 421.180, 423.020,
                                                                                           423.020, 423.030
                                                                                                    423.030 && 423.075
                                                                                                               423.075
                                        History:
                                        History:

https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                         20/28
                                                                                                                                                                             20/28
                                                                                                              Declaration of
                                                                                                              Declaration of Nofziger,
                                                                                                                             Nofziger, Exhibit
                                                                                                                                       Exhibit 2,
                                                                                                                                               2, Page
                                                                                                                                                  Page 20 of 30
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11/12/21, 1:45 PM
11/12/21, 1:45 PM                                                         Oregon Secretary
                                                                          Oregon Secretary of
                                                                                           of State
                                                                                              State Administrative
                                                                                                    Administrative Rules
                                                                                                                   Rules
                                        DOC 25-2020,
                                        DOC               amend filed
                                             25-2020, amend          led 12/14/2020,
                                                                         12/14/2020, effective    12/15/2020
                                                                                        effective 12/15/2020




                                                                  fi
                                        DOC 9-2005,
                                        DOC  9-2005, f.f. 7-22-05,
                                                          7-22-05, cert.
                                                                       cert. ef. 7-24-05
                                                                             ef. 7-24-05
                                        CD 9-1995,
                                        CD         f. 5-23-95,
                                           9-1995, f. 5-23-95, cert.cert. ef.
                                                                          ef. 6-1-95
                                                                              6-1-95
                                        CD 8-1992,
                                        CD         f. 3-27-92,
                                           8-1992, f. 3-27-92, cert.cert. ef. 4-15-92
                                                                          ef. 4-15-92
                                        CD 5-1989,
                                        CD         f. &
                                           5-1989, f. & cert.    ef. 4-21-89
                                                          cert. ef.  4-21-89
                                        CD 38-1987,
                                        CD 38-1987, f.f. &
                                                         & cert.
                                                           cert. ef.
                                                                   ef. 10-2-87
                                                                       10-2-87
                                        CD 30-1985,
                                        CD 30-1985, f.f. &
                                                         & cert.
                                                           cert. ef.
                                                                   ef. 8-16-85
                                                                       8-16-85
                                        CD 8-1985(Temp),
                                        CD 8-1985(Temp), f.  f. &
                                                                & cert.
                                                                   cert. ef.  6-19-85
                                                                         ef. 6-19-85
                                        CD 25-1982,
                                        CD 25-1982, f.f. &
                                                         & cert.
                                                           cert. ef.
                                                                   ef. 11-19-82
                                                                       11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f.f. &
                                                         & cert.
                                                           cert. ef.
                                                                   ef. 4-15-80
                                                                       4-15-80
                                        CD 19-1979(Temp),
                                        CD 19-1979(Temp), f.    f. &
                                                                   & cert. ef. 10-19-79
                                                                     cert. ef. 10-19-79


                                        291-105-0064
                                        291-105-0064
                                        Postponements and
                                        Postponements and Continuances
                                                          Continuances of
                                                                       of Hearings
                                                                          Hearings

                                        (1) A
                                        (1) A hearing
                                              hearing may
                                                      may be postponed or
                                                          be postponed or continued by the
                                                                          continued by the Hearings
                                                                                           Hearings Of  cer or
                                                                                                    Officer or the
                                                                                                               the adjudicator
                                                                                                                   adjudicator for
                                                                                                                               for aa reasonable
                                                                                                                                      reasonable period
                                                                                                                                                 period of
                                                                                                                                                        of time
                                                                                                                                                           time




                                                                                                                      fi
                                        for good
                                        for good cause.
                                                 cause.

                                        (2) "Good
                                        (2) "Good cause" includes, but
                                                  cause" includes,     is not
                                                                   but is not limited
                                                                              limited to:
                                                                                      to:

                                        (a) Preparation of
                                        (a) Preparation of defense;
                                                           defense; or
                                                                    or

                                        (b) Illness
                                        (b)         or unavailability
                                            Illness or unavailability of the AIC
                                                                      of the AIC charged;
                                                                                 charged; or
                                                                                          or

                                        (c) Gathering of
                                        (c) Gathering of additional evidence (for
                                                         additional evidence  (for example,
                                                                                   example, calling
                                                                                            calling of witnesses, gathering
                                                                                                    of witnesses, gathering of
                                                                                                                            of witness statements, investigation,
                                                                                                                               witness statements, investigation,
                                        acquisition of
                                        acquisition of physical evidence); or
                                                       physical evidence); or

                                        (d) Avoiding
                                        (d) Avoiding interference
                                                     interference with
                                                                  with an
                                                                       an ongoing
                                                                          ongoing police investigation or
                                                                                  police investigation or pending prosecution; or
                                                                                                          pending prosecution; or

                                        (e) Determination of
                                        (e) Determination of appropriate
                                                             appropriate sanctions.
                                                                         sanctions.

                                        (3) The
                                        (3) The reason for the
                                                reason for the postponement in a
                                                               postponement in   formal hearing
                                                                               a formal         shall be
                                                                                        hearing shall    made part
                                                                                                      be made      of the
                                                                                                              part of the record.
                                                                                                                          record.

                                        (4) If
                                        (4) If an
                                               an AIC
                                                  AIC has
                                                      has been
                                                          been placed
                                                               placed on
                                                                       on disciplinary segregation status
                                                                          disciplinary segregation status pending
                                                                                                          pending aa hearing
                                                                                                                     hearing and
                                                                                                                             and aa continuance  or postponement
                                                                                                                                    continuance or  postponement is is
                                        ordered on
                                        ordered   on the
                                                     the motion
                                                         motion of
                                                                 of the
                                                                    the Hearings
                                                                        Hearings Officer,
                                                                                  Of cer, the
                                                                                          the Hearings
                                                                                              Hearings Of  cer shall
                                                                                                       Officer shall consider retention of
                                                                                                                     consider retention  of the
                                                                                                                                            the AIC
                                                                                                                                                AIC on
                                                                                                                                                    on disciplinary
                                                                                                                                                       disciplinary
                                                                                         fi
                                                                                                                 fi
                                        segregation status
                                        segregation   status and:
                                                             and:

                                        (a) Determine that
                                        (a) Determine  that the
                                                            the AIC
                                                                 AIC no
                                                                     no longer
                                                                        longer presents
                                                                               presents aa threat
                                                                                           threat to
                                                                                                   to security
                                                                                                      security and
                                                                                                               and recommend
                                                                                                                   recommend to  to the
                                                                                                                                    the functional
                                                                                                                                        functional unit
                                                                                                                                                    unit manager
                                                                                                                                                         manager or
                                                                                                                                                                  or
                                        designee of the
                                        designee of the facility
                                                        facility where
                                                                 where the
                                                                        the AIC
                                                                            AIC is
                                                                                is on
                                                                                   on disciplinary segregation status,
                                                                                      disciplinary segregation  status, that
                                                                                                                        that the
                                                                                                                             the AIC
                                                                                                                                 AIC be
                                                                                                                                      be released  from disciplinary
                                                                                                                                          released from  disciplinary
                                        segregation status
                                        segregation  status pending
                                                            pending conclusion
                                                                     conclusion of  the hearing;
                                                                                 of the hearing; or
                                                                                                 or

                                        (b) Determine
                                        (b) Determine that
                                                         that the
                                                              the rule
                                                                   rule violation(s)
                                                                        violation(s) alleged
                                                                                       alleged is
                                                                                               is so
                                                                                                  so serious
                                                                                                      serious that,
                                                                                                               that, if
                                                                                                                     if proven,  the AIC
                                                                                                                        proven, the  AIC would
                                                                                                                                          would present   an immediate
                                                                                                                                                 present an   immediate andand
                                        continuing   threat to
                                        continuing threat    to the
                                                                the safety,
                                                                     safety, security,
                                                                             security, or
                                                                                        or orderly
                                                                                           orderly operation
                                                                                                     operation ofof the
                                                                                                                    the facility.
                                                                                                                         facility. The
                                                                                                                                   The Hearings  Of cer will
                                                                                                                                       Hearings Officer        recommend to
                                                                                                                                                          will recommend    to the
                                                                                                                                                                               the
                                                                                                                                                  fi
                                        functional unit
                                        functional  unit manager
                                                          manager or or designee
                                                                        designee of
                                                                                  of the
                                                                                       the facility
                                                                                           facility where
                                                                                                    where thethe AIC
                                                                                                                 AIC is
                                                                                                                      is on
                                                                                                                         on disciplinary  segregation status
                                                                                                                            disciplinary segregation   status that
                                                                                                                                                                that the
                                                                                                                                                                     the AIC
                                                                                                                                                                         AIC be
                                                                                                                                                                              be
                                        retained on
                                        retained   on disciplinary
                                                      disciplinary segregation
                                                                    segregation status.
                                                                                  status. The
                                                                                            The written
                                                                                                 written approval
                                                                                                           approval ofof the
                                                                                                                         the functional
                                                                                                                              functional unit
                                                                                                                                          unit manager
                                                                                                                                               manager oror designee
                                                                                                                                                            designee ofof the
                                                                                                                                                                          the
                                        facility where
                                        facility where the
                                                        the AIC
                                                             AIC is
                                                                  is on
                                                                     on disciplinary
                                                                        disciplinary segregation
                                                                                       segregation status
                                                                                                      status shall
                                                                                                              shall be
                                                                                                                    be made
                                                                                                                        made aa part  of the
                                                                                                                                 part of the record. The AIC
                                                                                                                                             record. The  AIC may
                                                                                                                                                                may be  retained
                                                                                                                                                                     be retained
                                        on disciplinary
                                        on                segregation status
                                            disciplinary segregation    status for
                                                                                for aa period
                                                                                       period no
                                                                                               no longer    than allowed
                                                                                                   longer than   allowed for
                                                                                                                           for the
                                                                                                                                the alleged rule violation(s).
                                                                                                                                    alleged rule violation(s). In
                                                                                                                                                                In no
                                                                                                                                                                   no case shall an
                                                                                                                                                                      case shall an
                                        AIC be
                                        AIC      retained on
                                             be retained   on disciplinary
                                                              disciplinary segregation
                                                                             segregation status
                                                                                            status for
                                                                                                    for aa period in excess
                                                                                                           period in  excess of
                                                                                                                              of 180
                                                                                                                                 180 consecutive   days.
                                                                                                                                      consecutive days.

                                        (5) If
                                        (5) If an
                                               an AIC
                                                  AIC has
                                                       has been
                                                           been placed
                                                                 placed on
                                                                         on disciplinary  segregation status
                                                                            disciplinary segregation   status pending
                                                                                                               pending aa hearing
                                                                                                                          hearing and
                                                                                                                                   and aa continuance  or postponement
                                                                                                                                          continuance or  postponement is   is
                                        requested by
                                        requested        the AIC,
                                                     by the  AIC, the
                                                                  the Hearings
                                                                      Hearings Of    cer shall
                                                                                 Officer shall not
                                                                                               not consider  retention of
                                                                                                   consider retention   of the
                                                                                                                           the AIC
                                                                                                                               AIC on
                                                                                                                                    on disciplinary segregation status;
                                                                                                                                       disciplinary segregation   status; the
                                                                                                                                                                          the
                                                                                    fi
                                        AIC will
                                        AIC   will be
                                                   be retained  on disciplinary
                                                      retained on                segregation status.
                                                                   disciplinary segregation   status. The
                                                                                                      The AIC
                                                                                                          AIC will
                                                                                                               will be retained on
                                                                                                                    be retained  on disciplinary
                                                                                                                                    disciplinary segregation
                                                                                                                                                 segregation status
                                                                                                                                                               status for
                                                                                                                                                                      for aa
                                        period
                                        period nono longer
                                                    longer than
                                                            than allowed
                                                                  allowed for
                                                                           for the
                                                                               the alleged
                                                                                   alleged rule
                                                                                           rule violation(s).
                                                                                                violation(s). The
                                                                                                              The AIC
                                                                                                                  AIC may
                                                                                                                       may not
                                                                                                                             not be
                                                                                                                                 be retained  on disciplinary
                                                                                                                                    retained on               segregation
                                                                                                                                                 disciplinary segregation
                                        status under
                                        status  under this
                                                        this provision
                                                             provision for
                                                                       for more
                                                                           more than
                                                                                  than 180
                                                                                       180 days.
                                                                                            days.

                                        Statutory/Other Authority:
                                        Statutory/Other       Authority: ORS       179.040, 421.068,
                                                                             ORS 179.040,   421.068, 421.180,
                                                                                                     421.180, 423.020,
                                                                                                              423.020, 423.030
                                                                                                                       423.030 &
                                                                                                                               & 423.075
                                                                                                                                 423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other      Implemented: ORS         179.040, 421.068,
                                                                                ORS 179.040,  421.068, 421.180,
                                                                                                       421.180, 423.020,
                                                                                                                423.020, 423.030
                                                                                                                         423.030 &
                                                                                                                                 & 423.075
                                                                                                                                   423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC                amend filed
                                              25-2020, amend           led 12/14/2020,
                                                                            12/14/2020, effective  12/15/2020
                                                                                         effective 12/15/2020
                                                                  fi
                                        DOC 14-2008,
                                        DOC   14-2008, f.  f. &
                                                              & cert.
                                                                cert. ef.
                                                                       ef. 6-2-08
                                                                           6-2-08
                                        DOC 6-2002,
                                        DOC   6-2002, f.f. 4-30-02,
                                                           4-30-02, cert.
                                                                        cert. ef. 5-1-02
                                                                              ef. 5-1-02
                                        CD 9-1995,
                                        CD          f. 5-23-95,
                                            9-1995, f. 5-23-95, cert. cert. ef.
                                                                            ef. 6-1-95
                                                                                6-1-95
                                        CD 8-1992,
                                        CD          f. 3-27-92,
                                           8-1992, f.  3-27-92, cert. cert. ef. 4-15-92
                                                                            ef. 4-15-92
                                        CD 5-1989,
                                        CD          f. &
                                           5-1989, f.  & cert.     ef. 4-21-89
                                                            cert. ef.  4-21-89
                                        CD 38-1987,
                                        CD 38-1987, f. f. &
                                                          & ef.
                                                              ef. 10-2-87
                                                                  10-2-87
                                        CD 29-1986,
                                        CD 29-1986, f. f. &
                                                          & ef.
                                                              ef. 8-20-86
                                                                  8-20-86
                                        CD 30-1985,
                                        CD 30-1985, f. f. &
                                                          & ef.
                                                              ef. 8-16-85
                                                                  8-16-85
                                        CD 8-1985(Temp),
                                        CD 8-1985(Temp), f.     f. &
                                                                   & ef.
                                                                     ef. 6-19-85
                                                                         6-19-85
                                        CD 25-1982,
                                        CD 25-1982, f. f. &
                                                          & ef.
                                                              ef. 11-19-82
                                                                  11-19-82

https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.onusioard/displayDivisionRules.action?selectedDivision=944                                                                                                   21/28
                                                                                                                                                                                      21/28
                                                                                                               Declaration of
                                                                                                               Declaration of Nofziger,
                                                                                                                              Nofziger, Exhibit
                                                                                                                                        Exhibit 2,
                                                                                                                                                2, Page
                                                                                                                                                   Page 21 of 30
                                                                                                                                                        21 of 30
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11/12/21, 1:45 PM
11/12/21, 1:45 PM                                                                Oregon Secretary
                                                                                 Oregon Secretary of
                                                                                                  of State
                                                                                                     State Administrative
                                                                                                           Administrative Rules
                                                                                                                          Rules
                                        CD 13-1980,
                                        CD          f. &
                                           13-1980, f. & ef.
                                                         ef. 4-15-80
                                                             4-15-80
                                        CD 19-1979(Temp),
                                        CD 19-1979(Temp), f. f. &
                                                                & ef.
                                                                  ef. 10-19-79
                                                                      10-19-79


                                        291-105-0066
                                        291-105-0066
                                        Principles of
                                        Principles of Application
                                                      Application of
                                                                  of Disciplinary
                                                                     Disciplinary Sanctions
                                                                                  Sanctions

                                        (1) A
                                        (1) A single
                                              single act
                                                     act of misconduct may
                                                         of misconduct     violate more
                                                                       may violate more than
                                                                                        than one
                                                                                             one misconduct rule.
                                                                                                 misconduct rule.

                                        (2) Loss
                                        (2) Loss of
                                                 of Privilege:
                                                    Privilege: If
                                                                If the
                                                                   the AIC's
                                                                       AIC’s misconduct
                                                                             misconduct involves
                                                                                         involves the
                                                                                                  the abuse  or misuse
                                                                                                      abuse or          of aa specific
                                                                                                                misuse of     speci c privilege  (for example:
                                                                                                                                       privilege (for          recreation
                                                                                                                                                      example: recreation




                                                                                                                                  fi
                                        yard, canteen,
                                        yard, canteen, etc.),
                                                        etc.), the
                                                               the Hearings
                                                                    Hearings Officer
                                                                              Of cer or
                                                                                     or adjudicator
                                                                                        adjudicator may
                                                                                                    may order
                                                                                                         order aa loss
                                                                                                                  loss of that specific
                                                                                                                       of that  speci c privilege
                                                                                                                                         privilege and
                                                                                                                                                   and may  increase the
                                                                                                                                                        may increase the




                                                                                          fi
                                                                                                                                       fi
                                        loss of that
                                        loss of that specific
                                                     speci c privilege   sanction up
                                                              privilege sanction  up to
                                                                                     to twice
                                                                                        twice the
                                                                                              the amount
                                                                                                  amount listed  in the
                                                                                                          listed in the appropriate    grid box.
                                                                                                                        appropriate grid     box.




                                                          fi
                                        (3) If
                                        (3) If an
                                               an AIC
                                                  AIC receives
                                                       receives a
                                                                a conduct   order and
                                                                  conduct order   and aa misconduct
                                                                                         misconduct report that results
                                                                                                    report that results in
                                                                                                                        in aa recommended
                                                                                                                              recommended lossloss of
                                                                                                                                                   of privileges sanction,
                                                                                                                                                      privileges sanction,
                                        the AIC
                                        the  AIC will
                                                  will receive
                                                       receive credit for the
                                                               credit for the length of the
                                                                              length of the conduct
                                                                                            conduct order
                                                                                                    order toward
                                                                                                          toward the
                                                                                                                  the loss
                                                                                                                      loss ofof privilege
                                                                                                                                privilege sanction.
                                                                                                                                          sanction.

                                        (4) If
                                        (4) If an
                                               an AIC
                                                  AIC is
                                                      is placed  in disciplinary
                                                         placed in  disciplinary segregation
                                                                                 segregation pending
                                                                                             pending aa misconduct   report and
                                                                                                        misconduct report   and the
                                                                                                                                 the formal
                                                                                                                                     formal hearing
                                                                                                                                             hearing results
                                                                                                                                                     results in
                                                                                                                                                             in aa
                                        recommended disciplinary
                                        recommended                    segregation sanction,
                                                          disciplinary segregation  sanction, the
                                                                                              the AIC
                                                                                                  AIC will
                                                                                                      will receive
                                                                                                           receive credit for the
                                                                                                                   credit for the length of time
                                                                                                                                  length of time in
                                                                                                                                                 in disciplinary
                                                                                                                                                    disciplinary
                                        segregation awaiting
                                        segregation   awaiting the
                                                                 the hearing
                                                                     hearing toward
                                                                              toward the
                                                                                      the recommended
                                                                                          recommended disciplinary    segregation sanction.
                                                                                                         disciplinary segregation   sanction.

                                        (5) For
                                        (5) For rule
                                                rule violations
                                                     violations arising
                                                                arising from
                                                                        from separate
                                                                             separate misconduct
                                                                                      misconduct reports,
                                                                                                 reports, disciplinary segregation sanctions
                                                                                                          disciplinary segregation sanctions shall
                                                                                                                                             shall be served
                                                                                                                                                   be served
                                        consecutively,  up to
                                        consecutively, up   to 180
                                                               180 days.
                                                                   days.

                                        (6) For
                                        (6) For rule
                                                rule violations
                                                     violations arising
                                                                arising from
                                                                        from the same misconduct
                                                                             the same            report:
                                                                                      misconduct report:

                                        (a) Concurrent disciplinary
                                        (a) Concurrent  disciplinary segregation
                                                                     segregation sanctions
                                                                                 sanctions may
                                                                                           may be  imposed by
                                                                                                be imposed  by the
                                                                                                               the Hearings
                                                                                                                   Hearings Officer
                                                                                                                             Of cer or
                                                                                                                                    or functional
                                                                                                                                       functional unit
                                                                                                                                                   unit manager
                                                                                                                                                        manager or
                                                                                                                                                                or




                                                                                                                                            fi
                                        designee, up to
                                        designee, up to 180
                                                        180 days.  The AIC
                                                             days. The AIC shall
                                                                           shall be
                                                                                 be ordered to only
                                                                                    ordered to      serve the
                                                                                               only serve the sanction
                                                                                                              sanction for
                                                                                                                       for the
                                                                                                                           the most
                                                                                                                               most serious
                                                                                                                                    serious violation
                                                                                                                                            violation in
                                                                                                                                                      in the
                                                                                                                                                         the
                                        misconduct report.
                                        misconduct  report.

                                        (b) Consecutive
                                        (b) Consecutive sanctions
                                                        sanctions may
                                                                    may be    imposed by
                                                                         be imposed    by the
                                                                                          the Hearings
                                                                                              Hearings Officer
                                                                                                        Of cer oror functional
                                                                                                                    functional unit
                                                                                                                               unit manager
                                                                                                                                    manager or
                                                                                                                                             or designee. The reasons
                                                                                                                                                designee. The  reasons




                                                                                                             fi
                                        for consecutive
                                        for             sanctions shall
                                            consecutive sanctions   shall be
                                                                          be supported
                                                                              supported by
                                                                                         by written  substantial reasons
                                                                                             written substantial  reasons outlining
                                                                                                                          outlining the
                                                                                                                                    the factor(s)
                                                                                                                                        factor(s) supporting
                                                                                                                                                  supporting the
                                                                                                                                                             the
                                        consecutive sanctions. No
                                        consecutive sanctions.  No aspect
                                                                     aspect of  the misconduct
                                                                             of the misconduct that
                                                                                                 that serves
                                                                                                      serves as
                                                                                                             as aa necessary
                                                                                                                   necessary element  of misconduct
                                                                                                                             element of  misconduct may
                                                                                                                                                     may be  used as
                                                                                                                                                          be used  as an
                                                                                                                                                                      an
                                        aggravating factor
                                        aggravating factor if
                                                           if that
                                                              that factor
                                                                   factor is
                                                                           is also
                                                                              also used
                                                                                   used to
                                                                                        to impose
                                                                                           impose discipline.
                                                                                                   discipline.

                                        (7) The
                                        (7) The Department's
                                                Department's rule
                                                               rule on
                                                                    on Prohibited
                                                                       Prohibited Rules
                                                                                   Rules of
                                                                                         of Conduct
                                                                                            Conduct andand Processing
                                                                                                           Processing Disciplinary
                                                                                                                      Disciplinary Actions
                                                                                                                                   Actions for
                                                                                                                                           for Adults
                                                                                                                                                Adults in
                                                                                                                                                       in Custody
                                                                                                                                                          Custody
                                        contains
                                        contains two
                                                 two disciplinary  grids. One
                                                      disciplinary grids. One grid
                                                                              grid governs
                                                                                   governs disciplinary
                                                                                            disciplinary action
                                                                                                         action for
                                                                                                                for major
                                                                                                                    major violations
                                                                                                                          violations (Exhibit
                                                                                                                                     (Exhibit 1).
                                                                                                                                              1). The
                                                                                                                                                  The other
                                                                                                                                                      other grid
                                                                                                                                                            grid
                                        governs disciplinary
                                        governs               action for
                                                 disciplinary action for minor violations (Exhibit
                                                                         minor violations (Exhibit 2).
                                                                                                   2).

                                        (8) Each
                                        (8) Each of
                                                 of the
                                                    the disciplinary  grids shall
                                                         disciplinary grids  shall outline the available
                                                                                   outline the           sanctions within
                                                                                               available sanctions within each
                                                                                                                          each box,
                                                                                                                               box, which includes fines,
                                                                                                                                    which includes   nes, disciplinary
                                                                                                                                                          disciplinary




                                                                                                                                                           fi
                                        segregation time,
                                        segregation   time, and
                                                            and the
                                                                 the loss
                                                                     loss of
                                                                          of privileges.
                                                                             privileges.

                                        (9) There
                                        (9) There are
                                                   are additional
                                                       additional sanctions
                                                                  sanctions available
                                                                             available to
                                                                                       to the
                                                                                          the Hearings
                                                                                              Hearings Officers
                                                                                                       Of cers and
                                                                                                                and adjudicators
                                                                                                                    adjudicators for
                                                                                                                                   for major violation(s) and
                                                                                                                                       major violation(s)     minor
                                                                                                                                                          and minor
                                                                                                                  fi
                                        violations (OAR
                                        violations  (OAR 291-105-0069
                                                         291‑105‑0069 and and 291-105-0071).
                                                                               291-105-0071). These
                                                                                                These sanctions
                                                                                                       sanctions shall
                                                                                                                 shall be
                                                                                                                       be applied in proportion
                                                                                                                          applied in             to the
                                                                                                                                     proportion to  the violation,
                                                                                                                                                        violation, the
                                                                                                                                                                   the
                                        AIC’s prior
                                        AIC's  prior misconduct,
                                                     misconduct, and  institutional behavior.
                                                                  and institutional behavior.

                                        (10) Merged
                                        (10) Merged and
                                                     and Consecutive
                                                         Consecutive Sanctions:
                                                                        Sanctions: In
                                                                                    In the
                                                                                       the case
                                                                                           case of multiple rule
                                                                                                of multiple rule violations,
                                                                                                                 violations, aa Hearings
                                                                                                                                Hearings Officer
                                                                                                                                         Of cer or  adjudicator shall
                                                                                                                                                 or adjudicator   shall
                                                                                                                                                 fi
                                        impose any
                                        impose      sanctions for
                                                any sanctions  for only
                                                                   only the
                                                                        the single
                                                                             single most
                                                                                    most severe
                                                                                         severe or
                                                                                                 or most applicable rule
                                                                                                    most applicable  rule violation
                                                                                                                          violation found
                                                                                                                                    found as  charged in
                                                                                                                                           as charged  in a single
                                                                                                                                                          a single
                                        misconduct report,
                                        misconduct  report, except
                                                            except as  speci cally allowed
                                                                    as specifically allowed by  OAR 291-105-0066(5)(b).
                                                                                             by OAR  291-105-0066(5)(b). The  The applicable
                                                                                                                                  applicable sanction(s)
                                                                                                                                             sanction(s) for
                                                                                                                                                          for the
                                                                                                                                                              the
                                                                                     fi
                                        remaining rule
                                        remaining rule violations
                                                       violations shall
                                                                   shall be
                                                                         be deemed   to have
                                                                             deemed to  have merged
                                                                                             merged with   the sanction(s)
                                                                                                      with the sanction(s) imposed
                                                                                                                            imposed for
                                                                                                                                      for the
                                                                                                                                          the single
                                                                                                                                              single rule
                                                                                                                                                     rule violation,
                                                                                                                                                          violation,
                                        unless consecutive
                                        unless consecutive sanctions
                                                            sanctions are
                                                                       are imposed
                                                                            imposed as
                                                                                     as authorized
                                                                                        authorized in
                                                                                                    in OAR
                                                                                                       OAR 291-105-0066(5)(b).
                                                                                                             291-105-0066(5)(b).

                                        (11) The
                                        (11) The Hearings
                                                 Hearings Officer
                                                          Of cer may
                                                                  may consider input regarding
                                                                      consider input regarding appropriate
                                                                                                appropriate sanction(s)
                                                                                                            sanction(s) from
                                                                                                                        from stakeholders
                                                                                                                             stakeholders involved
                                                                                                                                          involved with
                                                                                                                                                   with the
                                                                                                                                                        the AIC
                                                                                                                                                            AIC
                                                                    fi
                                        (for example,
                                        (for example, Behavioral
                                                      Behavioral Health
                                                                 Health Services,
                                                                        Services, housing unit employees,
                                                                                  housing unit employees, counselor(s), Security Threat
                                                                                                          counselor(s), Security Threat Management,  etc.).
                                                                                                                                        Management, etc.).

                                        (12) Limitations
                                        (12) Limitations on the Length
                                                         on the Length of
                                                                       of Confinement
                                                                          Con nement in
                                                                                      in Disciplinary
                                                                                         Disciplinary Segregation
                                                                                                      Segregation for
                                                                                                                  for Rule
                                                                                                                      Rule Violations:
                                                                                                                           Violations:
                                                                                               fi
                                        (a) No AIC
                                        (a) No  AIC shall
                                                    shall be
                                                          be con   ned in
                                                             confined  in disciplinary  segregation for
                                                                          disciplinary segregation    for more  than 180
                                                                                                          more than        consecutive days.
                                                                                                                      180 consecutive          On the
                                                                                                                                         days. On  the 180th
                                                                                                                                                       180th consecutive
                                                                                                                                                              consecutive
                                                                         fi
                                        day  of con
                                        day of       nement in
                                                confinement   in disciplinary
                                                                 disciplinary segregation,
                                                                              segregation, anan AIC
                                                                                                AIC shall
                                                                                                     shall be reassigned and
                                                                                                           be reassigned   and ordered
                                                                                                                               ordered toto other
                                                                                                                                            other housing.  Once
                                                                                                                                                   housing. Once
                                                   fi
                                        reassigned and
                                        reassigned   and ordered   to other
                                                          ordered to        housing, the
                                                                      other housing,  the AIC
                                                                                            AIC shall
                                                                                                shall be  subject to
                                                                                                      be subject  to additional
                                                                                                                     additional con    nement in
                                                                                                                                  confinement  in disciplinary segregation
                                                                                                                                                  disciplinary segregation
                                                                                                                                  fi
                                        (up to
                                        (up to aa maximum
                                                  maximum ofof another
                                                               another 180
                                                                         180 days)
                                                                             days) as
                                                                                    as aa sanction
                                                                                          sanction for
                                                                                                   for aa new
                                                                                                          new rule
                                                                                                              rule violation(s).
                                                                                                                    violation(s).

                                        (b) Once
                                        (b) Once anan AIC
                                                      AIC has
                                                          has received   the maximum
                                                              received the   maximum sanction
                                                                                        sanction of
                                                                                                 of 180
                                                                                                    180 consecutive
                                                                                                        consecutive days, the Hearings
                                                                                                                    days, the  Hearings Officer
                                                                                                                                          Of cer is
                                                                                                                                                  is not
                                                                                                                                                     not required
                                                                                                                                                         required to
                                                                                                                                                                  to
                                                                                                                                                      fi
                                        impose any
                                        impose        additional disciplinary
                                                  any additional              segregation sanction.
                                                                 disciplinary segregation  sanction. The
                                                                                                     The Hearings
                                                                                                         Hearings Officer
                                                                                                                  Of cer isis also not required
                                                                                                                              also not required to
                                                                                                                                                 to order
                                                                                                                                                    order additional
                                                                                                                                                           additional
                                                                                                                        fi
                                        loss of privileges
                                        loss of privileges sanctions
                                                           sanctions to
                                                                      to an  AIC who
                                                                          an AIC who has  already received
                                                                                      has already          the maximum
                                                                                                  received the maximum 180
                                                                                                                         180 days    disciplinary segregation
                                                                                                                                days disciplinary segregation sanction,
                                                                                                                                                               sanction,
                                        if the
                                        if     Hearings Officer
                                           the Hearings  Of cer determines     that the
                                                                 determines that    the sanction
                                                                                        sanction would
                                                                                                 would not
                                                                                                       not be
                                                                                                           be meaningful  to the
                                                                                                              meaningful to   the AIC.
                                                                                                                                  AIC. Such
                                                                                                                                        Such action
                                                                                                                                             action shall
                                                                                                                                                     shall be
                                                                                                                                                           be made
                                                                                                                                                              made aa
                                                               fi
                                        part
                                        part of  the written
                                              of the written record
                                                             record of
                                                                     of the
                                                                        the hearing.
                                                                             hearing.

                                        (c) New violations
                                        (c) New  violations committed
                                                             committed while
                                                                         while assigned
                                                                                assigned to
                                                                                         to disciplinary  segregation: If
                                                                                            disciplinary segregation:   If an
                                                                                                                           an AIC
                                                                                                                              AIC is
                                                                                                                                  is ordered to serve
                                                                                                                                     ordered to serve an
                                                                                                                                                       an additional
                                                                                                                                                          additional
                                        disciplinary segregation sanction
                                        disciplinary segregation   sanction for
                                                                             for committing
                                                                                 committing aa new
                                                                                               new rule
                                                                                                     rule violation(s)
                                                                                                          violation(s) while
                                                                                                                       while assigned  to disciplinary
                                                                                                                              assigned to              segregation, the
                                                                                                                                          disciplinary segregation,  the
                                        additional disciplinary
                                        additional               segregation sanction
                                                    disciplinary segregation   sanction may
                                                                                        may be  served consecutively
                                                                                             be served   consecutively or   concurrent, to
                                                                                                                         or concurrent,  to any
                                                                                                                                            any prior
                                                                                                                                                prior disciplinary
                                                                                                                                                      disciplinary
                                        segregation sanction(s),
                                        segregation   sanction(s), up
                                                                   up to
                                                                      to aa maximum
                                                                            maximum ofof 180
                                                                                         180 days.
                                                                                             days.


https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.ocusioard/displayDivisionRules.action?selectedDivision=944                                                                                          22/28
                                                                                                                                                                             22/28
                                                                                                             Declaration of
                                                                                                             Declaration of Nofziger,
                                                                                                                            Nofziger, Exhibit
                                                                                                                                      Exhibit 2,
                                                                                                                                              2, Page
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11/12/21, 1:45 PM                                                               Oregon Secretary
                                                                                Oregon Secretary of
                                                                                                 of State
                                                                                                    State Administrative
                                                                                                          Administrative Rules
                                                                                                                         Rules
                                        (d) New
                                        (d) New violations
                                                violations committed
                                                             committed while
                                                                         while assigned
                                                                               assigned toto Intensive
                                                                                             Intensive Management    Unit (IMU)
                                                                                                       Management Unit    (IMU) Status
                                                                                                                                  Status or Behavioral Health
                                                                                                                                         or Behavioral  Health Unit
                                                                                                                                                                Unit
                                        (BHU) Status:
                                        (BHU)  Status: An
                                                        An AIC
                                                           AIC who
                                                                 who commits
                                                                      commits aa new
                                                                                 new rule
                                                                                      rule violation(s)
                                                                                           violation(s) while
                                                                                                        while assigned
                                                                                                              assigned to
                                                                                                                       to IMU   status or
                                                                                                                          IMU status      to the
                                                                                                                                       or to the BHU
                                                                                                                                                 BHU under
                                                                                                                                                      under OAR
                                                                                                                                                              OAR 291-
                                                                                                                                                                   291-
                                        048-280, shall
                                        048-280,   shall not
                                                         not be
                                                             be ordered  to serve
                                                                 ordered to serve aa disciplinary
                                                                                     disciplinary segregation
                                                                                                  segregation sanction
                                                                                                               sanction for
                                                                                                                        for the
                                                                                                                            the violation(s).
                                                                                                                                violation(s). The
                                                                                                                                              The AIC
                                                                                                                                                  AIC shall
                                                                                                                                                      shall be subject to
                                                                                                                                                            be subject to
                                        the range
                                        the range of
                                                   of additional  sanctions described
                                                      additional sanctions  described inin OAR
                                                                                           OAR 291-105-0069
                                                                                                 291-105-0069 &  & OAR
                                                                                                                   OAR 291-105-0071,      including but
                                                                                                                        291-105-0071, including         not limited
                                                                                                                                                    but not limited to
                                                                                                                                                                    to
                                          nes and
                                        fines and loss
                                                  loss of
                                                       of privileges.
                                                          privileges.




                                        fi
                                        (13) When
                                        (13) When an    AIC has
                                                     an AIC    has been
                                                                   been assigned
                                                                        assigned to to disciplinary segregation as
                                                                                       disciplinary segregation  as part  of a
                                                                                                                     part of a disciplinary  sanction that
                                                                                                                               disciplinary sanction   that is
                                                                                                                                                             is considered
                                                                                                                                                                considered aa
                                        Level II or
                                        Level    or Level II violation
                                                    Level II violation and
                                                                       and the
                                                                           the AIC
                                                                                AIC isis temporarily
                                                                                         temporarily transferred
                                                                                                      transferred to
                                                                                                                   to the
                                                                                                                      the custody
                                                                                                                          custody ofof a jurisdiction other
                                                                                                                                       a jurisdiction         than the
                                                                                                                                                       other than  the
                                        Department or
                                        Department        is released
                                                       or is           from prison,
                                                             released from   prison, the   AIC shall
                                                                                       the AIC  shall not
                                                                                                      not be
                                                                                                          be given
                                                                                                             given credit for time
                                                                                                                   credit for  time served
                                                                                                                                    served inin disciplinary  segregation while
                                                                                                                                                disciplinary segregation  while
                                        out of
                                        out of Department
                                                Department custody
                                                                custody unless
                                                                        unless it
                                                                                it is
                                                                                   is determined   that the
                                                                                      determined that   the other
                                                                                                             other jurisdiction
                                                                                                                   jurisdiction maintained
                                                                                                                                 maintained thethe AIC
                                                                                                                                                   AIC in
                                                                                                                                                        in a similarly
                                                                                                                                                           a similarly
                                        restrictive status,
                                        restrictive  status, in
                                                              in such
                                                                 such cases the AIC
                                                                      cases the  AIC shall
                                                                                       shall be credited with
                                                                                             be credited       the number
                                                                                                          with the number of of days
                                                                                                                                days held  in disciplinary
                                                                                                                                     held in  disciplinary segregation
                                                                                                                                                            segregation type
                                                                                                                                                                         type
                                        status.
                                        status.

                                        (a) If the
                                        (a) If the AIC
                                                   AIC is
                                                       is returned
                                                          returned toto the
                                                                        the Department's
                                                                              Department’s custody
                                                                                            custody within three years,
                                                                                                    within three  years, the
                                                                                                                         the case  will be
                                                                                                                              case will    reviewed by
                                                                                                                                        be reviewed      the functional
                                                                                                                                                      by the functional unit
                                                                                                                                                                        unit
                                        manager or
                                        manager    or designee
                                                      designee of   the institution
                                                                 of the   institution where
                                                                                      where the
                                                                                            the behavior occurred. The
                                                                                                behavior occurred.  The review
                                                                                                                         review will
                                                                                                                                  will consider the number
                                                                                                                                       consider the  number ofof days
                                                                                                                                                                 days
                                        already served
                                        already   served of
                                                          of the
                                                             the disciplinary    segregation sanction
                                                                 disciplinary segregation    sanction and
                                                                                                      and will
                                                                                                          will determine  if the
                                                                                                               determine if  the remaining
                                                                                                                                 remaining disciplinary   segregation
                                                                                                                                             disciplinary segregation
                                        sanction or
                                        sanction      any portion
                                                   or any  portion of
                                                                    of it
                                                                       it will
                                                                           will be served.
                                                                                be served.

                                        (b) If
                                        (b) If the
                                               the AIC
                                                   AIC is
                                                       is returned
                                                          returned to
                                                                   to the
                                                                      the Department's
                                                                          Department’s custody
                                                                                       custody after three years,
                                                                                               after three years, the
                                                                                                                  the remaining
                                                                                                                      remaining disciplinary
                                                                                                                                disciplinary segregation
                                                                                                                                             segregation sanction
                                                                                                                                                         sanction
                                        will be
                                        will be considered   served.
                                                 considered served.

                                        (14) In
                                        (14) In those
                                                those instances
                                                      instances where
                                                                where the
                                                                        the functional
                                                                            functional unit
                                                                                       unit manager or designee
                                                                                            manager or           under the
                                                                                                       designee under  the authority
                                                                                                                           authority of
                                                                                                                                     of OAR 291-011-0030(3),
                                                                                                                                        OAR 291-011-0030(3),
                                        determines  it is
                                        determines it  is appropriate,
                                                          appropriate, the
                                                                       the AIC
                                                                           AIC may
                                                                               may be
                                                                                    be released from disciplinary
                                                                                       released from disciplinary segregation.
                                                                                                                  segregation.

                                        (a) At that
                                        (a) At that point, the current
                                                    point, the current disciplinary segregation sanction
                                                                       disciplinary segregation  sanction will
                                                                                                          will be
                                                                                                               be deemed
                                                                                                                  deemed to to have
                                                                                                                               have been
                                                                                                                                    been completed  and the
                                                                                                                                         completed and    the
                                        remaining disciplinary
                                        remaining                segregation sanction
                                                    disciplinary segregation  sanction will
                                                                                       will not
                                                                                            not be served as
                                                                                                be served as loss
                                                                                                             loss of
                                                                                                                  of privileges while the
                                                                                                                     privileges while the AIC
                                                                                                                                          AIC resides in the
                                                                                                                                              resides in the general
                                                                                                                                                              general
                                        population.
                                        population.

                                        (b) Any
                                        (b) Any loss
                                                 loss of
                                                      of privileges  sanction ordered
                                                         privileges sanction           to be
                                                                               ordered to be served
                                                                                             served upon
                                                                                                    upon the
                                                                                                          the AIC's
                                                                                                              AIC’s release from disciplinary
                                                                                                                    release from disciplinary segregation,
                                                                                                                                              segregation, shall
                                                                                                                                                           shall begin
                                                                                                                                                                 begin
                                        at the
                                        at the time
                                               time the
                                                     the AIC
                                                          AIC is
                                                               is actually
                                                                  actually released from disciplinary
                                                                           released from disciplinary segregation.
                                                                                                      segregation.

                                        (c) Noti cation of
                                        (c) Notification of an early release
                                                            an early         from disciplinary
                                                                     release from disciplinary segregation
                                                                                               segregation will
                                                                                                             will be
                                                                                                                  be provided  to appropriate
                                                                                                                     provided to  appropriate sections
                                                                                                                                               sections for
                                                                                                                                                        for necessary
                                                                                                                                                            necessary
                                                fi
                                        action, including
                                        action, including the
                                                          the Hearings
                                                               Hearings Unit,
                                                                         Unit, where
                                                                               where the
                                                                                     the early
                                                                                          early release will be
                                                                                                release will    entered into
                                                                                                             be entered  into the
                                                                                                                              the disciplinary
                                                                                                                                  disciplinary system.
                                                                                                                                               system.

                                        (15) AICs
                                        (15) AICs who
                                                  who commit
                                                      commit aa rule
                                                                rule violation
                                                                     violation may
                                                                               may be
                                                                                   be subject
                                                                                      subject to
                                                                                              to classi  cation review
                                                                                                 classification review in
                                                                                                                       in accordance with the
                                                                                                                          accordance with the Department
                                                                                                                                              Department of
                                                                                                                                                         of
                                                                                                             fi
                                        Corrections rule
                                        Corrections      on Classification
                                                    rule on Classi cation (OAR
                                                                           (OAR 291-104).
                                                                                291‑104).
                                                                           fi
                                        Statutory/Other Authority:
                                        Statutory/Other       Authority: ORS         179.040, 421.068,
                                                                              ORS 179.040,      421.068, 421.180,
                                                                                                         421.180, 423.020,
                                                                                                                   423.020, 423.030
                                                                                                                            423.030 &
                                                                                                                                    & 423.075
                                                                                                                                      423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other      Implemented: ORS            179.040, 421.068,
                                                                                 ORS 179.040,     421.068, 421.180,
                                                                                                            421.180, 421.185,
                                                                                                                     421.185, 421.190,
                                                                                                                              421.190, 423.020,
                                                                                                                                       423.020, 423.030
                                                                                                                                                423.030 &
                                                                                                                                                        & 423.075
                                                                                                                                                          423.075
                                        History:
                                        History:
                                        DOC 13-2021,
                                        DOC                temporary amend
                                              13-2021, temporary           amend filed led 10/13/2021,   effective 10/13/2021
                                                                                           10/13/2021, effective   10/13/2021 through
                                                                                                                              through 04/10/2022
                                                                                                                                      04/10/2022
                                                                                       fi
                                        DOC 25-2020,
                                        DOC                amend filed
                                              25-2020, amend            led 12/14/2020,
                                                                             12/14/2020, effective     12/15/2020
                                                                                             effective 12/15/2020
                                                                     fi
                                        DOC 4-2018,
                                        DOC   4-2018, amend
                                                        amend filed   led 05/04/2018,
                                                                           05/04/2018, effective
                                                                                            effective 05/04/2018
                                                                                                      05/04/2018
                                                                fi
                                        DOC 1-2018,
                                        DOC             temporary amend
                                              1-2018, temporary          amend filed led 01/24/2018,
                                                                                         01/24/2018, effective
                                                                                                       effective 01/24/2018
                                                                                                                 01/24/2018 through
                                                                                                                             through 07/22/2018
                                                                                                                                     07/22/2018
                                                                                  fi
                                        DOC 24-2011,
                                        DOC   24-2011, f.  f. 12-2-11,
                                                              12-2-11, cert.     ef. 12-7-11
                                                                           cert. ef. 12-7-11
                                        DOC 14-2008,
                                        DOC   14-2008, f.  f. &
                                                              & cert.
                                                                cert. ef.
                                                                        ef. 6-2-08
                                                                            6-2-08
                                        DOC 9-2005,
                                        DOC   9-2005, f.f. 7-22-05,
                                                           7-22-05, cert.cert. ef. 7-24-05
                                                                               ef. 7-24-05
                                        DOC 6-2002,
                                        DOC   6-2002, f.f. 4-30-02,
                                                           4-30-02, cert.cert. ef. 5-1-02
                                                                               ef. 5-1-02
                                        DOC 3-1999,
                                        DOC   3-1999, f.f. 2-25-99,
                                                           2-25-99, cert.cert. ef. 3-1-99
                                                                               ef. 3-1-99
                                        CD 16-1996,
                                        CD 16-1996, f. f. 11-13-96,
                                                          11-13-96, cert. cert. ef.
                                                                                 ef. 11-15-96
                                                                                     11-15-96
                                        CD 9-1995,
                                        CD          f. 5-23-95,
                                            9-1995, f. 5-23-95, cert.  cert. ef.
                                                                             ef. 6-1-95
                                                                                 6-1-95
                                        CD 6-1993,
                                        CD 6-1993, f.
                                                    f. 3-10-93,
                                                       3-10-93, cert.  cert. ef. 4-1-93
                                                                             ef. 4-1-93
                                        CD 8-1992,
                                        CD          f. 3-27-92,
                                           8-1992, f.  3-27-92, cert.  cert. ef. 4-15-92
                                                                             ef. 4-15-92
                                        CD 29-1986,
                                        CD 29-1986, f. f. &
                                                          & ef.
                                                              ef. 8-20-86
                                                                  8-20-86
                                        CD 30-1985,
                                        CD 30-1985, f. f. &
                                                          & ef.
                                                              ef. 8-16-85
                                                                  8-16-85
                                        CD 8-1985(Temp),
                                        CD 8-1985(Temp), f.     f. &
                                                                   & ef.
                                                                      ef. 6-19-85
                                                                          6-19-85
                                        CD 25-1982,
                                        CD 25-1982, f. f. &
                                                          & ef.
                                                              ef. 11-19-82
                                                                  11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f. f. &
                                                          & ef.
                                                              ef. 4-15-80
                                                                  4-15-80
                                        CD 19-1979(Temp),
                                        CD 19-1979(Temp), f.       f. &
                                                                      & ef.
                                                                        ef. 10-19-79
                                                                            10-19-79


                                        291-105-0069
                                        291-105-0069
                                        Additional Sanctions
                                        Additional Sanctions for
                                                             for Major
                                                                 Major Violations
                                                                       Violations

                                        The additional
                                        The            sanctions available
                                            additional sanctions available to
                                                                           to the
                                                                              the Hearings
                                                                                  Hearings Officer
                                                                                           Of cer for
                                                                                                   for major
                                                                                                       major violations include, but
                                                                                                             violations include,     are not
                                                                                                                                 but are     limited to:
                                                                                                                                         not limited to:
                                                                                                    fi
                                        (1) Restitution:
                                        (1) Restitution: AICs
                                                         AICs shall
                                                                shall be
                                                                      be responsible   for making
                                                                         responsible for   making full
                                                                                                  full restitution
                                                                                                       restitution for
                                                                                                                    for any
                                                                                                                        any damage
                                                                                                                            damage or   loss of
                                                                                                                                     or loss of property.
                                                                                                                                                 property. In  addition, AICs
                                                                                                                                                            In addition, AICs
                                        shall be
                                        shall      nancially responsible
                                              be financially               for all
                                                             responsible for   all costs
                                                                                   costs associated with or
                                                                                         associated with      resulting from
                                                                                                           or resulting from the
                                                                                                                              the violation. These shall
                                                                                                                                  violation. These  shall include
                                                                                                                                                           include the
                                                                                                                                                                    the costs
                                                                                                                                                                        costs
                                                     fi
                                        of any
                                        of any drug  urinalysis testing
                                               drug urinalysis   testing and
                                                                         and other
                                                                              other costs
                                                                                     costs incurred
                                                                                           incurred by  the Department
                                                                                                    by the   Department of of Corrections  as aa result
                                                                                                                              Corrections as     result of
                                                                                                                                                        of the
                                                                                                                                                            the AIC's
                                                                                                                                                                AIC’s actions.
                                                                                                                                                                       actions.
                                        There is
                                        There  is no limit on
                                                  no limit on the
                                                              the amount
                                                                   amount ofof restitution
                                                                               restitution which
                                                                                           which can
                                                                                                  can be  imposed. There
                                                                                                       be imposed.   There must
                                                                                                                            must always
                                                                                                                                  always be
                                                                                                                                          be aa factual
                                                                                                                                                factual basis  in the
                                                                                                                                                        basis in  the record
                                                                                                                                                                      record
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                              23/28
                                                                                                                                                                                  23/28
                                                                                                             Declaration of
                                                                                                             Declaration of Nofziger,
                                                                                                                            Nofziger, Exhibit
                                                                                                                                      Exhibit 2,
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11/12/21, 1:45 PM                                                            Oregon Secretary
                                                                             Oregon Secretary of
                                                                                              of State
                                                                                                 State Administrative
                                                                                                       Administrative Rules
                                                                                                                      Rules
                                        to support
                                        to support the
                                                    the restitution
                                                        restitution amount.
                                                                    amount. The
                                                                            The Hearings
                                                                                Hearings Officer
                                                                                         Of cer may  recommend aa freeze
                                                                                                 may recommend    freeze on the AIC's
                                                                                                                         on the AIC’s trust
                                                                                                                                      trust account
                                                                                                                                            account for
                                                                                                                                                    for the
                                                                                                                                                        the sum
                                                                                                                                                            sum




                                                                                                 fi
                                        of the
                                        of the restitution
                                               restitution as
                                                           as per
                                                              per OAR 291-158.
                                                                  OAR 291-158.

                                        (2) Confiscation
                                        (2) Con scation of
                                                         of property
                                                            property or contraband: If
                                                                     or contraband:  If the
                                                                                        the property
                                                                                            property or
                                                                                                      or contraband
                                                                                                         contraband con    scated is
                                                                                                                      confiscated  is in
                                                                                                                                      in the
                                                                                                                                         the AIC's
                                                                                                                                             AIC’s trust
                                                                                                                                                   trust account,
                                                                                                                                                         account, the
                                                                                                                                                                  the




                                                fi
                                                                                                                             fi
                                        Hearings Of
                                        Hearings      cer may
                                                  Officer may recommend
                                                               recommend aa freeze
                                                                             freeze on
                                                                                    on the
                                                                                         the AIC's
                                                                                             AIC’s trust
                                                                                                   trust account
                                                                                                         account for
                                                                                                                 for the
                                                                                                                     the sum
                                                                                                                         sum of  the contraband,
                                                                                                                              of the  contraband, or   the balance
                                                                                                                                                    or the         of
                                                                                                                                                           balance of




                                                          fi
                                        the AIC's
                                        the AIC’s account,
                                                  account, whichever
                                                           whichever is
                                                                      is lower
                                                                         lower as
                                                                               as per
                                                                                  per OAR    291-158.
                                                                                      OAR 291-158.

                                        (3) Reduction
                                        (3) Reduction toto Basic Visiting Status
                                                           Basic Visiting Status (non-contact):
                                                                                 (non‑contact): For
                                                                                                For any
                                                                                                    any major  violation, basic
                                                                                                        major violation,        visiting status
                                                                                                                          basic visiting  status may
                                                                                                                                                 may be    imposed up
                                                                                                                                                       be imposed    up to
                                                                                                                                                                        to aa
                                        maximum of
                                        maximum     of 180
                                                       180 days  for any
                                                           days for  any one
                                                                         one violation.
                                                                             violation. Any
                                                                                        Any AIC
                                                                                            AIC found
                                                                                                 found in
                                                                                                       in violation
                                                                                                          violation of Distribution II or
                                                                                                                    of Distribution    or Possession
                                                                                                                                          Possession of of an
                                                                                                                                                           an Electronic
                                                                                                                                                              Electronic
                                        Device, including
                                        Device,  including attempt
                                                            attempt or
                                                                     or conspiracy, within the
                                                                        conspiracy, within the past two years
                                                                                               past two years may
                                                                                                               may be  restricted to
                                                                                                                    be restricted  to basic  visits for
                                                                                                                                      basic visits  for each
                                                                                                                                                        each violation
                                                                                                                                                              violation as
                                                                                                                                                                        as
                                        follows:
                                        follows:

                                        (a) First violation:
                                        (a) First violation: up
                                                             up to
                                                                to 1 year (365
                                                                   1 year (365 days)
                                                                               days)

                                        (b) Second
                                        (b) Second violation:
                                                   violation: up
                                                              up to
                                                                 to 2
                                                                    2 years
                                                                      years (730
                                                                            (730 days)
                                                                                 days)

                                        (c) Third or
                                        (c) Third    more violation(s):
                                                  or more violation(s): up
                                                                        up to
                                                                           to 4
                                                                              4 years
                                                                                years (1,460
                                                                                      (1,460 days)
                                                                                             days)

                                        (A) Basic
                                        (A) Basic visiting
                                                  visiting sanctions
                                                           sanctions shall
                                                                     shall be served upon
                                                                           be served upon return
                                                                                          return to
                                                                                                 to general
                                                                                                    general population housing.
                                                                                                            population housing.

                                        (B) Basic
                                        (B) Basic visiting
                                                  visiting sanctions
                                                           sanctions shall
                                                                     shall be served consecutively
                                                                           be served  consecutively up
                                                                                                    up to
                                                                                                       to 7
                                                                                                          7 years
                                                                                                            years (2,555
                                                                                                                  (2,555 days).
                                                                                                                         days). No
                                                                                                                                No AIC
                                                                                                                                   AIC shall
                                                                                                                                       shall serve
                                                                                                                                             serve more than 7
                                                                                                                                                   more than 7 years
                                                                                                                                                               years
                                        (2,555 days)
                                        (2,555 days) of
                                                      of consecutive
                                                         consecutive basic  visiting sanctions
                                                                      basic visiting sanctions at
                                                                                               at any
                                                                                                  any one
                                                                                                      one time.
                                                                                                          time.

                                        (C) Once
                                        (C) Once aa basic
                                                    basic visiting sanction starts,
                                                          visiting sanction starts, it
                                                                                    it runs
                                                                                       runs to
                                                                                            to conclusion regardless of
                                                                                               conclusion regardless of the
                                                                                                                        the AIC's
                                                                                                                            AIC’s housing or custody
                                                                                                                                  housing or custody status.
                                                                                                                                                     status.

                                        (4) Extra
                                        (4) Extra Work
                                                  Work Detail:
                                                       Detail: For
                                                               For aa major
                                                                      major violation,
                                                                            violation, the
                                                                                       the limit
                                                                                            limit on
                                                                                                  on extra
                                                                                                     extra work
                                                                                                           work detail is aa maximum
                                                                                                                detail is    maximum of 80 hours,
                                                                                                                                     of 80        to be
                                                                                                                                           hours, to    completed
                                                                                                                                                     be completed
                                        within 30
                                        within 30 days after the
                                                  days after the Final
                                                                 Final Order
                                                                       Order has
                                                                              has been   signed.
                                                                                   been signed.

                                        (5) Recommendation
                                        (5) Recommendation for
                                                           for no
                                                               no Favorable
                                                                  Favorable Future
                                                                            Future Consideration
                                                                                   Consideration of Parole Release
                                                                                                 of Parole Release Date.
                                                                                                                   Date.

                                        (6) Recommendation
                                        (6) Recommendation for
                                                           for an
                                                               an extension
                                                                  extension of
                                                                            of parole release date
                                                                               parole release      in accordance
                                                                                              date in            with the
                                                                                                      accordance with the rule on Prison
                                                                                                                          rule on Prison Term
                                                                                                                                         Term Modification
                                                                                                                                              Modi cation




                                                                                                                                                                 fi
                                        (OAR 291-097).
                                        (OAR  291-097).

                                        (7) Recommendation
                                        (7) Recommendation forfor reduction
                                                                  reduction in
                                                                            in earned
                                                                               earned time,
                                                                                      time, statutory
                                                                                            statutory good
                                                                                                      good time,
                                                                                                           time, or
                                                                                                                 or extra
                                                                                                                    extra good
                                                                                                                          good time
                                                                                                                               time credits
                                                                                                                                    credits in
                                                                                                                                            in accordance
                                                                                                                                               accordance with
                                                                                                                                                          with
                                        the rule
                                        the rule on
                                                 on Prison
                                                    Prison Term
                                                           Term Modification
                                                                Modi cation (OAR
                                                                               (OAR 291‑097).
                                                                                    291-097).
                                                                        fi
                                        (8) Other
                                        (8) Other sanctions
                                                  sanctions as
                                                            as deemed appropriate by
                                                               deemed appropriate    the Hearings
                                                                                  by the Hearings Officer
                                                                                                  Of cer and
                                                                                                          and approved
                                                                                                              approved by the functional
                                                                                                                       by the functional unit
                                                                                                                                         unit manager
                                                                                                                                              manager or
                                                                                                                                                      or
                                                                                                             fi
                                        designee.
                                        designee.

                                        Statutory/Other Authority:
                                        Statutory/Other       Authority: ORS         179.040, 421.068,
                                                                              ORS 179.040,    421.068, 421.180,
                                                                                                       421.180, 423.020,
                                                                                                                423.020, 423.030
                                                                                                                         423.030 &
                                                                                                                                 & 423.075
                                                                                                                                   423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other      Implemented: ORS           179.040, 421.068,
                                                                                 ORS 179.040,   421.068, 421.180,
                                                                                                         421.180, 421.185,
                                                                                                                  421.185, 421.190,
                                                                                                                           421.190, 423.020,
                                                                                                                                    423.020, 423.030
                                                                                                                                             423.030 &
                                                                                                                                                     & 423.075
                                                                                                                                                       423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC                amend filed
                                              25-2020, amend            led 12/14/2020,
                                                                             12/14/2020, effective   12/15/2020
                                                                                           effective 12/15/2020
                                                                 fi
                                        DOC 24-2011,
                                        DOC   24-2011, f.  f. 12-2-11,
                                                              12-2-11, cert.     ef. 12-7-11
                                                                           cert. ef. 12-7-11
                                        DOC 14-2008,
                                        DOC   14-2008, f.  f. &
                                                              & cert.
                                                                cert. ef.
                                                                        ef. 6-2-08
                                                                            6-2-08
                                        DOC 9-2005,
                                        DOC   9-2005, f.f. 7-22-05,
                                                           7-22-05, cert.cert. ef. 7-24-05
                                                                               ef. 7-24-05
                                        DOC 6-2002,
                                        DOC   6-2002, f.f. 4-30-02,
                                                           4-30-02, cert.cert. ef. 5-1-02
                                                                               ef. 5-1-02
                                        DOC 3-1999,
                                        DOC   3-1999, f.f. 2-25-99,
                                                           2-25-99, cert.cert. ef. 3-1-99
                                                                               ef. 3-1-99
                                        CD 16-1996,
                                        CD 16-1996, f. f. 11-13-96,
                                                          11-13-96, cert. cert. ef.
                                                                                 ef. 11-15-96
                                                                                     11-15-96
                                        CD 9-1995,
                                        CD          f. 5-23-95,
                                            9-1995, f. 5-23-95, cert.  cert. ef.
                                                                             ef. 6-1-95
                                                                                 6-1-95
                                        CD 6-1993,
                                        CD 6-1993, f.
                                                    f. 3-10-93,
                                                       3-10-93, cert.  cert. ef. 4-1-93
                                                                             ef. 4-1-93
                                        CD 8-1992,
                                        CD          f. 3-27-92,
                                           8-1992, f.  3-27-92, cert.  cert. ef. 4-15-92
                                                                             ef. 4-15-92
                                        CD 38-1987,
                                        CD 38-1987, f. f. &
                                                          & ef.
                                                              ef. 10-2-87
                                                                  10-2-87
                                        CD 29-1986,
                                        CD 29-1986, f. f. &
                                                          & ef.
                                                              ef. 8-20-86
                                                                  8-20-86
                                        CD 30-1985,
                                        CD 30-1985, f. f. &
                                                          & ef.
                                                              ef. 8-16-85
                                                                  8-16-85
                                        CD 8-1985(Temp),
                                        CD 8-1985(Temp), f.     f. &
                                                                   & ef.
                                                                      ef. 6-19-85
                                                                          6-19-85
                                        CD 25-1982,
                                        CD 25-1982, f. f. &
                                                          & ef.
                                                              ef. 11-19-82
                                                                  11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f. f. &
                                                          & ef.
                                                              ef. 4-15-80
                                                                  4-15-80
                                        CD 19-1979(Temp),
                                        CD 19-1979(Temp), f.       f. &
                                                                      & ef.
                                                                        ef. 10-19-79
                                                                            10-19-79


                                        291-105-0071
                                        291-105-0071
                                        Additional Sanctions
                                        Additional Sanctions for
                                                             for Minor
                                                                 Minor Violations
                                                                       Violations

                                        The additional
                                        The            sanctions available
                                            additional sanctions available to
                                                                           to the
                                                                              the Hearings
                                                                                  Hearings Officer
                                                                                           Of cer or
                                                                                                   or adjudicator
                                                                                                      adjudicator for
                                                                                                                  for minor violations include,
                                                                                                                      minor violations include, but are not
                                                                                                                                                but are not limited
                                                                                                                                                            limited
                                                                                                      fi
                                        to:
                                        to:

                                        (1) Restitution:
                                        (1) Restitution: AICs
                                                         AICs shall
                                                               shall be
                                                                     be responsible   for making
                                                                        responsible for   making full
                                                                                                  full restitution
                                                                                                       restitution for
                                                                                                                   for any
                                                                                                                       any damage
                                                                                                                           damage or    loss of
                                                                                                                                    or loss  of property.
                                                                                                                                                property. In addition, AICs
                                                                                                                                                          In addition, AICs
                                        shall be
                                        shall      nancially responsible
                                              be financially              for all
                                                             responsible for  all costs
                                                                                  costs with
                                                                                        with or resulting from
                                                                                             or resulting  from the
                                                                                                                 the misconduct.
                                                                                                                     misconduct. There
                                                                                                                                  There isis no
                                                                                                                                             no limit on the
                                                                                                                                                limit on the amount
                                                                                                                                                             amount of
                                                                                                                                                                     of
                                                     fi
                                        restitution which
                                        restitution which can
                                                           can be  ordered. There
                                                                be ordered.  There must
                                                                                     must always
                                                                                           always be
                                                                                                   be aa documented    factual basis
                                                                                                         documented factual          in the
                                                                                                                               basis in the record
                                                                                                                                            record to
                                                                                                                                                    to support
                                                                                                                                                       support the
                                                                                                                                                                the
                                        restitution amount.
                                        restitution amount.

https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                            24/28
                                                                                                                                                                                24/28
                                                                                                            Declaration of
                                                                                                            Declaration of Nofziger,
                                                                                                                           Nofziger, Exhibit
                                                                                                                                     Exhibit 2,
                                                                                                                                             2, Page
                                                                                                                                                Page 24 of 30
                                                                                                                                                     24 of 30
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11/12/21, 1:45 PM                                                         Oregon Secretary
                                                                          Oregon Secretary of
                                                                                           of State
                                                                                              State Administrative
                                                                                                    Administrative Rules
                                                                                                                   Rules
                                        (2) Confiscation
                                        (2) Con scation of
                                                         of property
                                                            property or contraband.
                                                                     or contraband.




                                                fi
                                        (3) Reduction
                                        (3) Reduction to
                                                      to basic visiting status
                                                         basic visiting status (non‑contact): For a
                                                                               (non-contact): For a minor violation, basic
                                                                                                    minor violation,       visiting status
                                                                                                                     basic visiting status may
                                                                                                                                           may be imposed up
                                                                                                                                               be imposed up to
                                                                                                                                                             to a
                                                                                                                                                                a
                                        maximum of
                                        maximum   of 28
                                                     28 days for any
                                                        days for  any one
                                                                      one violation.
                                                                           violation.

                                        (4) Extra
                                        (4) Extra work
                                                  work detail: For aa minor
                                                       detail: For          violation, the
                                                                      minor violation, the limit on extra
                                                                                           limit on extra work
                                                                                                          work detail
                                                                                                               detail is
                                                                                                                      is aa maximum of 40
                                                                                                                            maximum of 40 hours,
                                                                                                                                          hours, to
                                                                                                                                                 to be
                                                                                                                                                    be completed
                                                                                                                                                       completed
                                        within 30
                                        within 30 days  after the
                                                   days after the hearing.
                                                                  hearing.

                                        (5) Other
                                        (5) Other sanctions
                                                  sanctions as
                                                            as deemed appropriate by
                                                               deemed appropriate    the Hearings
                                                                                  by the Hearings Officer
                                                                                                  Of cer or
                                                                                                          or adjudicator
                                                                                                             adjudicator and
                                                                                                                         and approved
                                                                                                                             approved by the functional
                                                                                                                                      by the functional unit
                                                                                                                                                        unit




                                                                                                           fi
                                        manager or
                                        manager  or designee.
                                                    designee.

                                        Statutory/Other Authority:
                                        Statutory/Other        Authority: ORS         179.040, 421.068,
                                                                               ORS 179.040,    421.068, 421.180,
                                                                                                        421.180, 423.020,
                                                                                                                 423.020, 423.030
                                                                                                                          423.030 &
                                                                                                                                  & 423.075
                                                                                                                                    423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other       Implemented: ORS           179.040, 421.068,
                                                                                  ORS 179.040,   421.068, 421.180,
                                                                                                          421.180, 423.020,
                                                                                                                   423.020, 423.030
                                                                                                                            423.030 &
                                                                                                                                    & 423.075
                                                                                                                                      423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC   25-2020, amendamend filed  led 12/14/2020,
                                                                              12/14/2020, effective   12/15/2020
                                                                                            effective 12/15/2020




                                                                  fi
                                        DOC 14-2008,
                                        DOC   14-2008, f.   f. &
                                                               & cert.
                                                                 cert. ef.
                                                                         ef. 6-2-08
                                                                             6-2-08
                                        DOC 6-2002,
                                        DOC   6-2002, f. f. 4-30-02,
                                                            4-30-02, cert.cert. ef. 5-1-02
                                                                                ef. 5-1-02
                                        CD 16-1996,
                                        CD 16-1996, f.  f. 11-13-96,
                                                           11-13-96, cert. cert. ef.
                                                                                  ef. 11-15-96
                                                                                      11-15-96
                                        CD 9-1995,
                                        CD           f. 5-23-95,
                                            9-1995, f.  5-23-95, cert.  cert. ef.
                                                                              ef. 6-1-95
                                                                                  6-1-95
                                        CD 6-1993,
                                        CD 6-1993, f.f. 3-10-93,
                                                        3-10-93, cert.  cert. ef. 4-1-93
                                                                              ef. 4-1-93
                                        CD 8-1992,
                                        CD 8-1992, f.f. 3-27-92,
                                                        3-27-92, cert.  cert. ef. 4-15-92
                                                                              ef. 4-15-92
                                        Reverted to
                                        Reverted  to CD
                                                     CD 25-1982,
                                                             25-1982, f.   f. &
                                                                              & ef.
                                                                                ef. 11-19-82
                                                                                    11-19-82
                                        CD 8-1985(Temp),
                                        CD 8-1985(Temp), f.      f. &
                                                                    & ef.
                                                                       ef. 6-19-85
                                                                           6-19-85
                                        CD 25-1982,
                                        CD 25-1982, f.  f. &
                                                           & ef.
                                                               ef. 11-19-82
                                                                   11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f.  f. &
                                                           & ef.
                                                               ef. 4-15-80
                                                                   4-15-80
                                        CD 19-1979(Temp),
                                        CD 19-1979(Temp), f.        f. &
                                                                       & ef.
                                                                         ef. 10-19-79
                                                                             10-19-79


                                        291-105-0072
                                        291-105-0072
                                        Deviation Sanctions
                                        Deviation Sanctions for
                                                            for Major
                                                                Major Violations
                                                                      Violations

                                        (1) Once
                                        (1) Once the
                                                 the level
                                                     level of
                                                           of discipline has been
                                                              discipline has       determined, according
                                                                             been determined,   according to
                                                                                                           to the
                                                                                                              the disciplinary
                                                                                                                  disciplinary grid,
                                                                                                                               grid, the
                                                                                                                                     the Hearings
                                                                                                                                          Hearings Officer
                                                                                                                                                    Of cer oror




                                                                                                                                                      fi
                                        functional unit
                                        functional unit manager
                                                        manager oror designee
                                                                     designee may
                                                                               may deviate,  either upward
                                                                                    deviate, either upward oror downward
                                                                                                                downward on on major   violations in
                                                                                                                               major violations   in formal
                                                                                                                                                     formal hearings.
                                                                                                                                                             hearings.
                                        This deviation,
                                        This            under no
                                             deviation, under  no circumstances,
                                                                  circumstances, may   exceed 50%
                                                                                   may exceed   50% of  the segregation
                                                                                                     of the segregation sanction
                                                                                                                         sanction in
                                                                                                                                   in the
                                                                                                                                      the appropriate
                                                                                                                                          appropriate box    on the
                                                                                                                                                         box on the grid.
                                                                                                                                                                    grid.
                                        All deviated
                                        All deviated sanctions
                                                     sanctions shall
                                                                shall be supported by
                                                                      be supported     written "substantial
                                                                                    by written  "substantial reasons"  outlining the
                                                                                                             reasons" outlining  the mitigating
                                                                                                                                      mitigating or
                                                                                                                                                  or aggravating  factors
                                                                                                                                                     aggravating factors
                                        which support
                                        which  support the
                                                        the deviation. All deviations
                                                            deviation. All            shall be
                                                                           deviations shall    subject to
                                                                                            be subject to review
                                                                                                          review by  the functional
                                                                                                                 by the  functional unit
                                                                                                                                     unit manager
                                                                                                                                          manager or or designee.
                                                                                                                                                        designee.

                                        (2) There
                                        (2) There may
                                                  may be  only one
                                                       be only one deviation ordered for
                                                                   deviation ordered   for each
                                                                                           each sanction
                                                                                                sanction imposed.
                                                                                                         imposed. The
                                                                                                                  The Hearings
                                                                                                                      Hearings Officer
                                                                                                                               Of cer and  functional unit
                                                                                                                                       and functional unit



                                                                                                                                       fi
                                        manager or
                                        manager   or designee
                                                     designee may  not both
                                                              may not       order aa separate
                                                                       both order    separate deviation
                                                                                              deviation for
                                                                                                        for one sanction.
                                                                                                            one sanction.

                                        (3) Deviations
                                        (3) Deviations may only be
                                                       may only    ordered for
                                                                be ordered for major
                                                                               major violations.
                                                                                     violations.

                                        (4) Substantial
                                        (4) Substantial reasons will be
                                                        reasons will    separated into
                                                                     be separated into mitigating
                                                                                       mitigating and
                                                                                                  and aggravating
                                                                                                      aggravating factors.
                                                                                                                  factors.

                                         (5) The
                                        (5)  The following
                                                 following list
                                                           list of mitigating and
                                                                of mitigating and aggravating
                                                                                  aggravating factors
                                                                                              factors may
                                                                                                      may be considered when
                                                                                                          be considered  when determining
                                                                                                                                determining substantial
                                                                                                                                             substantial reasons
                                                                                                                                                         reasons for
                                                                                                                                                                 for
                                        aa deviation. Other factors
                                           deviation. Other  factors not
                                                                     not listed
                                                                         listed may also constitute
                                                                                may also constitute substantial
                                                                                                    substantial reasons
                                                                                                                reasons for
                                                                                                                        for mitigation
                                                                                                                            mitigation or aggravation.
                                                                                                                                       or aggravation.

                                        (a) Mitigating factors:
                                        (a) Mitigating factors:

                                        (A) The
                                        (A) The AIC
                                                AIC acted
                                                    acted under
                                                          under duress
                                                                duress or
                                                                       or compulsion (not sufficient
                                                                          compulsion (not suf cient as
                                                                                                     as aa complete
                                                                                                           complete defense).
                                                                                                                    defense).
                                                                                                  fi
                                        (B) The
                                        (B) The AIC's
                                                AIC’s mental capacity was
                                                      mental capacity was diminished (excluding diminished
                                                                          diminished (excluding diminished capacity due to
                                                                                                           capacity due to voluntary drug or
                                                                                                                           voluntary drug or alcohol
                                                                                                                                             alcohol abuse).
                                                                                                                                                     abuse).

                                        (C) The
                                        (C) The misconduct
                                                misconduct was
                                                           was principally accomplished by
                                                               principally accomplished    another and
                                                                                        by another and the
                                                                                                       the AIC
                                                                                                           AIC exhibited
                                                                                                               exhibited extreme
                                                                                                                         extreme caution or concern
                                                                                                                                 caution or         for the
                                                                                                                                            concern for the
                                        victim.
                                        victim.

                                        (D) The
                                        (D) The victim
                                                victim (if
                                                       (if any)
                                                           any) was
                                                                was an
                                                                    an aggressor or participant
                                                                       aggressor or             in the
                                                                                    participant in the behavior associated with
                                                                                                       behavior associated with the
                                                                                                                                the misconduct.
                                                                                                                                    misconduct.

                                        (E) The AIC
                                        (E) The AIC played
                                                    played aa minor
                                                              minor or
                                                                    or passive
                                                                       passive role in the
                                                                               role in the misconduct.
                                                                                           misconduct.

                                        (F) The
                                        (F) The AIC
                                                AIC cooperated
                                                    cooperated with
                                                               with the
                                                                    the Department
                                                                        Department with
                                                                                   with respect to the
                                                                                        respect to the current
                                                                                                       current misconduct
                                                                                                               misconduct or any other
                                                                                                                          or any other misconduct
                                                                                                                                       misconduct by the
                                                                                                                                                  by the
                                        AIC or
                                        AIC     other AICs.
                                             or other AICs.

                                        (G) The degree
                                        (G) The degree of harm or
                                                       of harm or loss
                                                                  loss attributed to the
                                                                       attributed to the current
                                                                                         current misconduct
                                                                                                 misconduct was signi cantly less
                                                                                                            was significantly less than
                                                                                                                                   than typical
                                                                                                                                        typical for
                                                                                                                                                for such
                                                                                                                                                    such
                                                                                                                           fi
                                        misconduct.
                                        misconduct.

                                        (b) Aggravating
                                        (b) Aggravating factors:
                                                        factors:

                                        (A) Threat
                                        (A) Threat of
                                                   of or actual violence
                                                      or actual violence toward
                                                                         toward a
                                                                                a witness or victim.
                                                                                  witness or victim.

                                        (B) Persistent
                                        (B) Persistent involvement
                                                       involvement in
                                                                   in similar
                                                                      similar misconduct
                                                                              misconduct or
                                                                                         or repetitive
                                                                                            repetitive assaults.
                                                                                                       assaults.

                                        (C) Use
                                        (C) Use of
                                                of aa weapon
                                                      weapon in
                                                             in the
                                                                the commission
                                                                    commission of the misconduct.
                                                                               of the misconduct.

https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                    25/28
                                                                                                                                                                        25/28
                                                                                                          Declaration of
                                                                                                          Declaration of Nofziger,
                                                                                                                         Nofziger, Exhibit
                                                                                                                                   Exhibit 2,
                                                                                                                                           2, Page
                                                                                                                                              Page 25 of 30
                                                                                                                                                   25 of 30
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11/12/21, 1:45 PM                                                           Oregon Secretary
                                                                            Oregon Secretary of
                                                                                             of State
                                                                                                State Administrative
                                                                                                      Administrative Rules
                                                                                                                     Rules
                                        (D) Deliberate
                                        (D) Deliberate cruelty to victim.
                                                       cruelty to victim.

                                        (E) The AIC
                                        (E) The AIC knew,
                                                    knew, or  had reason
                                                           or had reason to
                                                                         to know,
                                                                            know, of the victim's
                                                                                  of the victim's particular vulnerability, such
                                                                                                  particular vulnerability, such as, the age,
                                                                                                                                 as, the age, disability,
                                                                                                                                              disability, or
                                                                                                                                                          or ill
                                                                                                                                                             ill health
                                                                                                                                                                 health of
                                                                                                                                                                        of
                                        victim, which
                                        victim, which increased
                                                      increased the
                                                                the harm
                                                                     harm or
                                                                          or threat
                                                                             threat of
                                                                                    of harm
                                                                                       harm caused
                                                                                             caused by  the misconduct.
                                                                                                    by the  misconduct.

                                        (F) The
                                        (F) The misconduct
                                                misconduct involved
                                                           involved multiple
                                                                    multiple victims
                                                                             victims or
                                                                                     or incidents.
                                                                                        incidents.

                                        (G) The misconduct
                                        (G) The            was part
                                                misconduct was part of an organized
                                                                    of an           operation.
                                                                          organized operation.

                                        (H) The
                                        (H) The misconduct
                                                misconduct resulted in aa permanent
                                                           resulted in              injury to
                                                                          permanent injury to the
                                                                                              the victim.
                                                                                                  victim.

                                        (I) The
                                        (I) The degree of harm
                                                degree of      or loss
                                                          harm or loss attributed
                                                                       attributed to
                                                                                  to the
                                                                                     the current violation was
                                                                                         current violation was significantly
                                                                                                               signi cantly greater
                                                                                                                             greater than
                                                                                                                                     than typical
                                                                                                                                          typical for
                                                                                                                                                  for such
                                                                                                                                                      such




                                                                                                                       fi
                                        misconduct.
                                        misconduct.

                                        (J) The misconduct
                                        (J) The            was motivated
                                                misconduct was motivated entirely,
                                                                         entirely, or in part,
                                                                                   or in part, by the race,
                                                                                               by the       sex, color,
                                                                                                      race, sex,        religion, ethnicity,
                                                                                                                 color, religion, ethnicity, or
                                                                                                                                             or national origin of
                                                                                                                                                national origin    the
                                                                                                                                                                of the
                                        victim.
                                        victim.

                                        (K) The
                                        (K) The timing
                                                timing and
                                                       and location  of the
                                                            location of the misconduct  directly threatened
                                                                            misconduct directly  threatened the
                                                                                                            the safety,
                                                                                                                safety, security,
                                                                                                                        security, or orderly operation
                                                                                                                                  or orderly           of the
                                                                                                                                             operation of the facility
                                                                                                                                                              facility
                                        signi cantly more
                                        significantly more than
                                                           than typical
                                                                typical for
                                                                         for such
                                                                             such misconduct.
                                                                                  misconduct.
                                             fi
                                        (c) No aspect
                                        (c) No  aspect of
                                                       of the
                                                          the misconduct
                                                               misconduct that
                                                                          that serves
                                                                               serves as
                                                                                       as aa necessary
                                                                                             necessary element
                                                                                                       element of
                                                                                                               of misconduct may be
                                                                                                                  misconduct may    used as
                                                                                                                                 be used as an
                                                                                                                                            an aggravating
                                                                                                                                               aggravating factor
                                                                                                                                                           factor
                                        if that
                                        if      aspect is
                                           that aspect is also
                                                          also used
                                                               used to
                                                                    to impose
                                                                       impose discipline.
                                                                              discipline.

                                        Statutory/Other Authority:
                                        Statutory/Other      Authority: ORS     179.040, 421.180,
                                                                        ORS 179.040,     421.180, 423.020,
                                                                                                  423.020, 423.030
                                                                                                           423.030 &
                                                                                                                   & 423.075
                                                                                                                     423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other      Implemented: ORS      179.040, 421.180,
                                                                            ORS 179.040,   421.180, 423.020,
                                                                                                    423.020, 423.030
                                                                                                             423.030 &
                                                                                                                     & 423.075
                                                                                                                       423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC                amend filed
                                              25-2020, amend       led 12/14/2020,
                                                                       12/14/2020, effective    12/15/2020
                                                                                      effective 12/15/2020
                                                                    fi
                                        DOC 9-2005,
                                        DOC   9-2005, f.f. 7-22-05,
                                                           7-22-05, cert.
                                                                    cert. ef. 7-24-05
                                                                          ef. 7-24-05
                                        DOC 6-2002,
                                        DOC   6-2002, f.f. 4-30-02,
                                                           4-30-02, cert.
                                                                    cert. ef. 5-1-02
                                                                          ef. 5-1-02
                                        CD 16-1996,
                                        CD 16-1996, f. f. 11-13-96,  cert. ef.
                                                          11-13-96, cert.   ef. 11-15-96
                                                                                11-15-96
                                        CD 9-1995,
                                        CD          f. 5-23-95,
                                            9-1995, f. 5-23-95, cert.
                                                                  cert. ef.
                                                                        ef. 6-1-95
                                                                            6-1-95
                                        CD 8-1992,
                                        CD          f. 3-27-92,
                                           8-1992, f.  3-27-92, cert.
                                                                  cert. ef. 4-15-92
                                                                        ef. 4-15-92


                                        291-105-0081
                                        291-105-0081
                                        Adjustments to
                                        Adjustments to Final
                                                       Final Orders
                                                             Orders

                                        (1) Adjustments
                                        (1) Adjustments to
                                                        to Final
                                                           Final Orders
                                                                 Orders shall
                                                                        shall be initiated by
                                                                              be initiated     an employee
                                                                                           by an  employee andand documented  using the
                                                                                                                   documented using     Adjustment to
                                                                                                                                    the Adjustment to Final
                                                                                                                                                      Final Order
                                                                                                                                                            Order
                                        form. Adjustments
                                        form. Adjustments to
                                                           to Final
                                                              Final Orders
                                                                    Orders must
                                                                           must pertain   to aa specific
                                                                                 pertain to     speci c disciplinary  case.
                                                                                                         disciplinary case.
                                                                                                      fi
                                        (2) In
                                        (2) In recommending     adjustments to
                                               recommending adjustments       to Final
                                                                                 Final Orders, the designated
                                                                                       Orders, the             institution committee
                                                                                                   designated institution  committee will
                                                                                                                                      will consider
                                                                                                                                           consider each   individual
                                                                                                                                                     each individual
                                        AIC’s particular
                                        AIC's  particular circumstances
                                                          circumstances andand significant
                                                                               signi cant positive
                                                                                           positive behavior
                                                                                                    behavior change.  Recommendations will
                                                                                                             change. Recommendations      will be
                                                                                                                                               be made
                                                                                                                                                  made by   the
                                                                                                                                                         by the
                                                                                     fi
                                        designated   institution committee
                                        designated institution   committee to to the
                                                                                 the functional
                                                                                     functional unit
                                                                                                unit manager
                                                                                                     manager or
                                                                                                              or designee  to make
                                                                                                                 designee to  make adjustments
                                                                                                                                    adjustments toto the
                                                                                                                                                     the Final
                                                                                                                                                         Final Orders
                                                                                                                                                               Orders
                                        regarding fines,
                                        regarding    nes, basic visiting, earned
                                                          basic visiting, earned time,
                                                                                  time, statutory
                                                                                        statutory good
                                                                                                  good time,
                                                                                                       time, or
                                                                                                             or extra good time
                                                                                                                extra good  time credits.
                                                                                                                                 credits.
                                                   fi
                                        (a) Generally, the
                                        (a) Generally, the AIC
                                                           AIC should
                                                                should have
                                                                        have served/completed
                                                                             served/completed atat least
                                                                                                   least 50%
                                                                                                         50% of  the sanction
                                                                                                              of the sanction imposed
                                                                                                                              imposed and
                                                                                                                                       and demonstrated
                                                                                                                                           demonstrated aa
                                        signi cant positive
                                        significant positive behavior
                                                             behavior change
                                                                        change before
                                                                               before an adjustment to
                                                                                      an adjustment   to that
                                                                                                         that sanction
                                                                                                              sanction would
                                                                                                                        would be  considered. If
                                                                                                                               be considered. If the
                                                                                                                                                 the recommendation
                                                                                                                                                     recommendation
                                             fi
                                        for the
                                        for     adjustment would
                                            the adjustment   would be   more than
                                                                     be more than 50%,
                                                                                   50%, the
                                                                                        the recommendation
                                                                                            recommendation to  to the
                                                                                                                  the functional
                                                                                                                      functional unit
                                                                                                                                 unit manager
                                                                                                                                      manager oror designee shall
                                                                                                                                                   designee shall
                                        include factors
                                        include factors that
                                                         that justify
                                                              justify more
                                                                      more than
                                                                           than aa 50%
                                                                                   50% adjustment.
                                                                                       adjustment.

                                        (b) Generally,
                                        (b) Generally, aa restoration
                                                          restoration of
                                                                       of earned  time, statutory
                                                                          earned time,  statutory good
                                                                                                   good time,
                                                                                                         time, or
                                                                                                               or extra
                                                                                                                  extra good
                                                                                                                        good time
                                                                                                                             time credits  should not
                                                                                                                                   credits should not cause an AIC's
                                                                                                                                                      cause an AIC’s
                                        release date
                                        release      to move
                                                date to   move within   60 days
                                                                 within 60       of the
                                                                            days of the date  of adjustment.
                                                                                        date of              If the
                                                                                                 adjustment. If the restoration
                                                                                                                    restoration of
                                                                                                                                of earned  time, statutory
                                                                                                                                   earned time,  statutory good
                                                                                                                                                           good time,
                                                                                                                                                                time, or
                                                                                                                                                                      or
                                        extra good
                                        extra good time
                                                   time credits
                                                           credits should
                                                                   should cause  an AIC's
                                                                           cause an  AIC’s release  date to
                                                                                            release date to move
                                                                                                            move within   60 days
                                                                                                                   within 60 days of
                                                                                                                                  of the
                                                                                                                                     the date of adjustment,
                                                                                                                                         date of adjustment, the
                                                                                                                                                             the
                                        recommendation for
                                        recommendation       for restoration
                                                                 restoration must   also go
                                                                             must also   go through
                                                                                            through the
                                                                                                     the Department's
                                                                                                         Department’s Release
                                                                                                                         Release Services
                                                                                                                                 Services Manager,
                                                                                                                                           Manager, who
                                                                                                                                                     who must
                                                                                                                                                          must also
                                                                                                                                                               also
                                        approve the
                                        approve  the restoration
                                                     restoration of of retracted
                                                                       retracted time.
                                                                                 time.

                                        (3) The
                                        (3) The functional
                                                 functional unit
                                                            unit manager
                                                                 manager or
                                                                         or designee will approve,
                                                                            designee will approve, deny, or amend
                                                                                                   deny, or amend the
                                                                                                                  the recommendations
                                                                                                                      recommendations of
                                                                                                                                      of the
                                                                                                                                         the designated
                                                                                                                                             designated
                                        institution committee.
                                        institution committee.

                                        (4) Copies
                                        (4) Copies of the approved
                                                   of the approved Adjustment
                                                                    Adjustment to
                                                                                to Final
                                                                                   Final Order
                                                                                         Order will
                                                                                               will be
                                                                                                    be provided  to appropriate
                                                                                                       provided to  appropriate sections
                                                                                                                                 sections for
                                                                                                                                          for necessary
                                                                                                                                              necessary action,
                                                                                                                                                        action,
                                        including the
                                        including the Hearings
                                                       Hearings section,
                                                                section, where
                                                                         where the
                                                                               the amendment
                                                                                   amendment will
                                                                                               will be entered into
                                                                                                    be entered  into the
                                                                                                                     the disciplinary system.
                                                                                                                         disciplinary system.

                                        Statutory/Other Authority:
                                        Statutory/Other    Authority: ORS      179.040, 421.068,
                                                                         ORS 179.040,     421.068, 421.180,
                                                                                                   421.180, 423.020,
                                                                                                            423.020, 423.030
                                                                                                                     423.030 &
                                                                                                                             & 423.075
                                                                                                                               423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other   Implemented: ORS         179.040, 421.068,
                                                                           ORS 179.040,     421.068, 421.180,
                                                                                                     421.180, 423.020,
                                                                                                               423.020, 423.030
                                                                                                                        423.030 &
                                                                                                                                & 423.075
                                                                                                                                  423.075
                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC             amend filed
                                             25-2020, amend        led 12/14/2020,
                                                                        12/14/2020, effective    12/15/2020
                                                                                       effective 12/15/2020
                                                                    fi
                                        DOC 4-2018,
                                        DOC  4-2018, amend
                                                     amend filedled 05/04/2018,
                                                                      05/04/2018, effective
                                                                                      effective 05/04/2018
                                                                                                05/04/2018
                                                               fi
                                        DOC 1-2018,
                                        DOC          temporary amend
                                             1-2018, temporary      amend filed led 01/24/2018,
                                                                                    01/24/2018, effective
                                                                                                 effective 01/24/2018
                                                                                                           01/24/2018 through
                                                                                                                      through 07/22/2018
                                                                                                                              07/22/2018
                                                                              fi
                                        DOC 24-2011,
                                        DOC  24-2011, f.f. 12-2-11,
                                                           12-2-11, cert.   ef. 12-7-11
                                                                      cert. ef. 12-7-11
                                        DOC 14-2008,
                                        DOC  14-2008, f.f. &
                                                           & cert.
                                                             cert. ef.
                                                                   ef. 6-2-08
                                                                       6-2-08
                                        DOC 9-2005,
                                        DOC          f. 7-22-05,
                                             9-2005, f. 7-22-05, cert.
                                                                    cert. ef. 7-24-05
                                                                          ef. 7-24-05

https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                       26/28
                                                                                                                                                                           26/28
                                                                                                           Declaration of
                                                                                                           Declaration of Nofziger,
                                                                                                                          Nofziger, Exhibit
                                                                                                                                    Exhibit 2,
                                                                                                                                            2, Page
                                                                                                                                               Page 26 of 30
                                                                                                                                                    26 of 30
                     Case 6:21-cv-01606-SI                          Document 17                      Filed 11/29/21           Page 35 of 68
11/12/21, 1:45 PM
11/12/21, 1:45 PM                                                            Oregon Secretary
                                                                             Oregon Secretary of
                                                                                              of State
                                                                                                 State Administrative
                                                                                                       Administrative Rules
                                                                                                                      Rules
                                        291-105-0085
                                        291-105-0085
                                        Administrative Review
                                        Administrative Review

                                        (1) An
                                        (1) An AIC
                                               AIC may
                                                    may direct
                                                          direct concerns  or issues
                                                                 concerns or  issues regarding
                                                                                     regarding aa hearing
                                                                                                  hearing to
                                                                                                           to the
                                                                                                              the functional
                                                                                                                  functional unit
                                                                                                                             unit manager
                                                                                                                                  manager or
                                                                                                                                           or designee  as soon
                                                                                                                                              designee as  soon as
                                                                                                                                                                as
                                        possible
                                        possible after   the conclusion
                                                  after the  conclusion of the hearing.
                                                                        of the  hearing. Upon
                                                                                         Upon receipt  of the
                                                                                               receipt of the Preliminary
                                                                                                               Preliminary Order,
                                                                                                                           Order, the
                                                                                                                                   the functional
                                                                                                                                       functional unit
                                                                                                                                                  unit manager  or
                                                                                                                                                       manager or
                                        designee   will: approve
                                        designee will:   approve the
                                                                  the order,
                                                                      order, amend
                                                                             amend the
                                                                                     the order,
                                                                                         order, dismiss
                                                                                                dismiss the
                                                                                                        the order,  or reopen
                                                                                                             order, or reopen to
                                                                                                                              to consider new evidence
                                                                                                                                 consider new  evidence not
                                                                                                                                                         not submitted
                                                                                                                                                             submitted
                                        in the
                                        in the original
                                               original hearing.
                                                         hearing.

                                        (2) Disciplinary
                                        (2) Disciplinary actions subject to
                                                         actions subject to review
                                                                            review by the Inspector
                                                                                   by the           General or
                                                                                          Inspector General or designee
                                                                                                               designee are:
                                                                                                                        are:

                                        (a) Level II or
                                        (a) Level    or Level
                                                        Level II
                                                              II rule violations; or
                                                                 rule violations; or

                                        (b) Recommendations
                                        (b) Recommendations for
                                                              for extension
                                                                  extension of
                                                                            of the
                                                                               the AIC's
                                                                                   AIC’s parole release date,
                                                                                         parole release       retraction of
                                                                                                        date, retraction    earned time,
                                                                                                                         of earned time, statutory
                                                                                                                                         statutory good
                                                                                                                                                   good time,
                                                                                                                                                        time, or
                                                                                                                                                              or
                                        extra good
                                        extra good time
                                                   time credits;
                                                        credits; or
                                                                 or

                                        (c) Deviations from
                                        (c) Deviations from the
                                                            the disciplinary segregation sanction
                                                                disciplinary segregation sanction listed
                                                                                                  listed on the grid;
                                                                                                         on the grid; or
                                                                                                                      or

                                        (d) Any
                                        (d) Any case
                                                case deemed appropriate by
                                                     deemed appropriate    the Inspector
                                                                        by the Inspector General
                                                                                         General or
                                                                                                 or designee.
                                                                                                    designee.

                                        (3) Petitions
                                        (3) Petitions for
                                                      for administrative  review must
                                                          administrative review  must be    led by
                                                                                       be filed     the AIC
                                                                                                by the  AIC and
                                                                                                             and received
                                                                                                                 received by the Inspector
                                                                                                                          by the           General within
                                                                                                                                 Inspector General  within 60
                                                                                                                                                            60




                                                                                                fi
                                        calendar
                                        calendar days   after the
                                                   days after the preliminary order becomes
                                                                  preliminary order            the Final
                                                                                     becomes the     Final Order under OAR
                                                                                                           Order under OAR 291‑105‑0031.    Filing a
                                                                                                                             291-105-0031. Filing  a petition for
                                                                                                                                                     petition for
                                        administrative review
                                        administrative   review shall
                                                                shall not stay the
                                                                      not stay the imposition
                                                                                   imposition of
                                                                                               of aa sanction.
                                                                                                     sanction.

                                        (4) An
                                        (4) An AIC
                                               AIC shall
                                                    shall request
                                                          request an
                                                                  an administrative
                                                                     administrative review   by completing
                                                                                      review by             the Department
                                                                                                completing the   Department approved
                                                                                                                             approved Petition
                                                                                                                                      Petition for
                                                                                                                                               for Administrative
                                                                                                                                                   Administrative
                                        Review form
                                        Review   form and
                                                      and submitting
                                                            submitting it
                                                                       it to
                                                                          to the
                                                                             the Inspector General. Petition
                                                                                 Inspector General. Petition for
                                                                                                             for Administrative
                                                                                                                 Administrative Review
                                                                                                                                Review forms
                                                                                                                                       forms shall
                                                                                                                                             shall minimally
                                                                                                                                                   minimally state
                                                                                                                                                             state
                                        the following:
                                        the following:

                                        (a) The date
                                        (a) The      the hearing
                                                date the hearing was
                                                                 was completed and the
                                                                     completed and the case number (for
                                                                                       case number (for example, 1503 EOCI
                                                                                                        example, 1503 EOCI 0001
                                                                                                                           0001 EOCI
                                                                                                                                EOCI 01).
                                                                                                                                     01).

                                        (b) The
                                        (b) The rule violation(s) which
                                                rule violation(s)       the AIC
                                                                  which the AIC was
                                                                                was found
                                                                                    found in
                                                                                          in violation
                                                                                             violation or
                                                                                                       or sanction(s)
                                                                                                          sanction(s) which
                                                                                                                      which meets the review
                                                                                                                            meets the review criteria
                                                                                                                                             criteria listed in (2)
                                                                                                                                                      listed in (2)
                                        above.
                                        above.

                                        (c) Suf cient information
                                        (c) Sufficient information to
                                                                   to show
                                                                      show why there was
                                                                           why there     not substantial
                                                                                     was not   substantial compliance
                                                                                                           compliance with
                                                                                                                      with the
                                                                                                                           the OAR  291-105, that
                                                                                                                               OAR 291-105,  that the
                                                                                                                                                  the finding
                                                                                                                                                        nding was
                                                                                                                                                              was
                                               fi
                                                                                                                                                              fi
                                        not based
                                        not         upon aa preponderance
                                             based upon                   of the
                                                            preponderance of the evidence,
                                                                                 evidence, or
                                                                                           or that
                                                                                              that the
                                                                                                   the sanction(s)
                                                                                                       sanction(s) imposed
                                                                                                                   imposed was
                                                                                                                           was not
                                                                                                                               not in
                                                                                                                                   in accordance
                                                                                                                                      accordance with
                                                                                                                                                 with provisions
                                                                                                                                                      provisions
                                        set forth
                                        set  forth in
                                                   in OAR
                                                      OAR 291-105.
                                                           291-105.

                                        (d) An
                                        (d) An AIC
                                               AIC who
                                                    who attempts
                                                         attempts toto file
                                                                         le for
                                                                            for an  administrative review
                                                                                an administrative  review by   use of
                                                                                                            by use of any
                                                                                                                       any written
                                                                                                                           written communication
                                                                                                                                   communication other    than the
                                                                                                                                                   other than   the
                                                                        fi
                                        approved Petition
                                        approved   Petition for
                                                            for Administrative
                                                                Administrative Review
                                                                                    Review form
                                                                                            form shall
                                                                                                 shall have
                                                                                                       have the
                                                                                                             the communication
                                                                                                                 communication returned     with instructions
                                                                                                                                  returned with  instructions that
                                                                                                                                                               that the
                                                                                                                                                                    the AIC
                                                                                                                                                                        AIC
                                        resubmit the
                                        resubmit  the request
                                                      request onon the
                                                                   the proper    form. The
                                                                        proper form.    The AIC
                                                                                             AIC will
                                                                                                 will have  14 days
                                                                                                      have 14        from the
                                                                                                               days from  the date the communication
                                                                                                                              date the communication is is returned
                                                                                                                                                           returned or
                                                                                                                                                                     or 60
                                                                                                                                                                        60
                                        calendar
                                        calendar days  after the
                                                 days after  the Final
                                                                 Final Order
                                                                         Order isis signed,
                                                                                    signed, whichever  is longer,
                                                                                            whichever is  longer, to
                                                                                                                  to make  the request
                                                                                                                     make the  request on the approved
                                                                                                                                       on the approved form.
                                                                                                                                                         form.

                                        (e) Duplicate petitions
                                        (e) Duplicate           for the
                                                      petitions for the same
                                                                        same case will not
                                                                             case will not be considered or
                                                                                           be considered    responded to.
                                                                                                         or responded to.

                                        (f) A
                                        (f) A separate
                                              separate Petition
                                                       Petition for
                                                                for Administrative
                                                                    Administrative Review
                                                                                   Review must
                                                                                          must be   led for
                                                                                               be filed for each
                                                                                                            each case
                                                                                                                 case number for which
                                                                                                                      number for which an administrative review
                                                                                                                                       an administrative review
                                                                                                         fi
                                        is requested.
                                        is requested.

                                        (5) Upon
                                        (5) Upon receipt
                                                 receipt of the Petition
                                                         of the Petition for
                                                                         for Administrative
                                                                             Administrative Review,
                                                                                            Review, the
                                                                                                    the Inspector
                                                                                                        Inspector General
                                                                                                                  General or
                                                                                                                          or designee shall review
                                                                                                                             designee shall        the case
                                                                                                                                            review the      to
                                                                                                                                                       case to
                                        determine:
                                        determine:

                                        (a) Was there
                                        (a) Was there substantial
                                                      substantial compliance
                                                                  compliance with
                                                                             with OAR 291-105?
                                                                                  OAR 291-105?

                                        (b) Was
                                        (b) Was the
                                                the finding
                                                      nding based upon aa preponderance
                                                            based upon                  of evidence?
                                                                          preponderance of evidence? and
                                                                                                     and
                                                     fi
                                        (c) Was the
                                        (c) Was the sanction
                                                    sanction imposed
                                                             imposed in
                                                                     in accordance
                                                                        accordance with
                                                                                   with the
                                                                                        the provisions
                                                                                            provisions set
                                                                                                       set forth
                                                                                                           forth in
                                                                                                                 in OAR 291-105?
                                                                                                                    OAR 291-105?

                                        (6) If
                                        (6) If the
                                               the Inspector
                                                    Inspector General
                                                               General or
                                                                        or designee
                                                                           designee determines     there was
                                                                                      determines there       substantial compliance
                                                                                                         was substantial              with OAR
                                                                                                                         compliance with   OAR 291-105,  the finding
                                                                                                                                                291-105, the   nding
                                                                                                                                                                   fi
                                        was based
                                        was   based onon aa preponderance
                                                            preponderance of   evidence, and
                                                                            of evidence,  and the
                                                                                               the sanction(s)
                                                                                                   sanction(s) imposed
                                                                                                               imposed were   in accordance
                                                                                                                        were in             with the
                                                                                                                                 accordance with the provisions set
                                                                                                                                                     provisions set
                                        forth in
                                        forth   in OAR
                                                   OAR 291-105,    the AIC
                                                        291-105, the   AIC will
                                                                            will be informed. The
                                                                                 be informed.  The Inspector  General or
                                                                                                    Inspector General  or designee
                                                                                                                          designee may  order the
                                                                                                                                    may order the case
                                                                                                                                                  case reopened  to
                                                                                                                                                       reopened to
                                        address technical
                                        address    technical and
                                                              and clerical
                                                                  clerical errors
                                                                           errors that
                                                                                  that do  not substantially
                                                                                        do not substantially prejudice the AIC.
                                                                                                             prejudice the AIC.

                                        (7) If
                                        (7) If the
                                               the Inspector
                                                   Inspector General
                                                              General or or designee
                                                                            designee determines     there was
                                                                                      determines there         not substantial
                                                                                                          was not  substantial compliance
                                                                                                                               compliance with
                                                                                                                                          with OAR
                                                                                                                                               OAR 291-105,   the
                                                                                                                                                     291-105, the
                                          nding was
                                        finding  was not
                                                      not based
                                                          based onon aa preponderance
                                                                        preponderance of     the evidence,
                                                                                          of the evidence, or
                                                                                                           or the
                                                                                                              the sanction(s)
                                                                                                                  sanction(s) imposed
                                                                                                                              imposed were not in
                                                                                                                                      were not  in accordance
                                                                                                                                                   accordance with
                                                                                                                                                              with
                                        fi
                                        provisions   set forth
                                        provisions set   forth in
                                                               in OAR
                                                                  OAR 291-105,      the case
                                                                         291-105, the         shall be
                                                                                         case shall    reopened to
                                                                                                    be reopened  to address
                                                                                                                    address non-compliance.  The order
                                                                                                                             non-compliance. The  order may
                                                                                                                                                        may be
                                                                                                                                                            be
                                        dismissed
                                        dismissed or    vacated, in
                                                     or vacated, in whole
                                                                    whole or    in part,
                                                                             or in part, by the Inspector
                                                                                         by the           General or
                                                                                                Inspector General   or designee.
                                                                                                                       designee.

                                        (8) Upon
                                        (8) Upon receipt
                                                 receipt of the order
                                                         of the order to
                                                                      to reopen
                                                                         reopen aa case,  the Hearings
                                                                                    case, the Hearings Of    cer shall
                                                                                                         Officer shall reopen
                                                                                                                       reopen and
                                                                                                                              and complete  the case
                                                                                                                                  complete the       and notify
                                                                                                                                                case and notify the
                                                                                                                                                                the
                                                                                                              fi
                                        Inspector General
                                        Inspector          or designee
                                                  General or            of completion
                                                              designee of  completion within
                                                                                        within 10
                                                                                               10 business
                                                                                                   business days.  If completing
                                                                                                             days. If            the case
                                                                                                                      completing the case takes
                                                                                                                                          takes longer
                                                                                                                                                longer than
                                                                                                                                                       than 10
                                                                                                                                                            10
                                        business
                                        business days, the reason
                                                 days, the        for delay
                                                           reason for delay shall
                                                                             shall be made part
                                                                                   be made   part of the record.
                                                                                                  of the record.

                                        (9) Upon
                                        (9) Upon completing
                                                 completing the
                                                              the case, the Hearings
                                                                  case, the Hearings Officer
                                                                                     Of cer shall
                                                                                             shall prepare and issue
                                                                                                   prepare and issue an
                                                                                                                     an updated
                                                                                                                        updated preliminary
                                                                                                                                preliminary order
                                                                                                                                            order containing the
                                                                                                                                                  containing the
                                                                                           fi
                                        Hearings Of
                                        Hearings     cer’s finding
                                                 Officer's   nding of
                                                                   of fact
                                                                      fact and
                                                                           and conclusion(s) of law
                                                                               conclusion(s) of law per
                                                                                                    per OAR 291-105-0031.
                                                                                                        OAR 291-105-0031.
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                                                                                                                                                       27 of 30
                     Case 6:21-cv-01606-SI                            Document 17              Filed 11/29/21                  Page 36 of 68
11/12/21, 1:45 PM
11/12/21, 1:45 PM                                                        Oregon Secretary
                                                                         Oregon Secretary of
                                                                                          of State
                                                                                             State Administrative
                                                                                                   Administrative Rules
                                                                                                                  Rules
                                        (10) The
                                        (10) The Inspector
                                                 Inspector General
                                                            General or
                                                                    or designee   shall provide
                                                                       designee shall           the AIC
                                                                                        provide the AIC with
                                                                                                        with aa written
                                                                                                                written response
                                                                                                                         response toto the
                                                                                                                                       the Petition
                                                                                                                                           Petition for
                                                                                                                                                    for Administrative
                                                                                                                                                        Administrative
                                        Review within
                                        Review  within 60
                                                       60 days  from the
                                                           days from the date
                                                                         date it
                                                                              it is
                                                                                 is received. Documentation submitted
                                                                                    received. Documentation    submitted toto the
                                                                                                                              the Inspector  General shall
                                                                                                                                  Inspector General    shall not
                                                                                                                                                             not be
                                                                                                                                                                 be
                                        returned to
                                        returned  to the
                                                     the AIC.
                                                         AIC. Requests
                                                              Requests for
                                                                       for updates
                                                                           updates during    the 60-day
                                                                                      during the 60-day period
                                                                                                        period will
                                                                                                                will not
                                                                                                                     not receive
                                                                                                                         receive aa response.
                                                                                                                                    response.

                                        (11) Petitions
                                        (11) Petitions that
                                                       that are
                                                            are outside
                                                                outside the
                                                                        the criteria
                                                                            criteria listed
                                                                                     listed in
                                                                                            in OAR
                                                                                               OAR 291-105-0085 shall be
                                                                                                   291-105-0085 shall be returned.
                                                                                                                         returned.

                                        (12) Cases
                                        (12) Cases that
                                                   that are
                                                        are not
                                                            not eligible
                                                                eligible for
                                                                          for review
                                                                              review by  the Inspector
                                                                                      by the            General or
                                                                                             Inspector General   or designee
                                                                                                                    designee are
                                                                                                                              are subject
                                                                                                                                  subject to
                                                                                                                                          to review
                                                                                                                                             review by the functional
                                                                                                                                                    by the functional
                                        unit manager
                                        unit          or designee,
                                             manager or             if requested
                                                         designee, if  requested byby the
                                                                                      the AIC.
                                                                                          AIC. If
                                                                                               If the
                                                                                                  the functional
                                                                                                      functional unit
                                                                                                                 unit manager
                                                                                                                      manager or
                                                                                                                               or designee
                                                                                                                                  designee determines   the case
                                                                                                                                             determines the case was
                                                                                                                                                                 was
                                        not incompliance
                                        not incompliance with
                                                          with OAR    291-105, the
                                                               OAR 291-105,      the Inspector
                                                                                     Inspector General
                                                                                                 General or
                                                                                                          or designee will be
                                                                                                             designee will be contacted  to request
                                                                                                                              contacted to  request the
                                                                                                                                                    the case
                                                                                                                                                        case be
                                                                                                                                                             be
                                        reopened.
                                        reopened.

                                        Statutory/Other Authority:
                                        Statutory/Other      Authority: ORS         179.040, 421.068,
                                                                             ORS 179.040,    421.068, 421.180,
                                                                                                       421.180, 423.020,
                                                                                                                423.020, 423.030
                                                                                                                           423.030 &
                                                                                                                                   & 423.075
                                                                                                                                     423.075
                                        Statutes/Other Implemented:
                                        Statutes/Other     Implemented: ORS           179.040, 421.068,
                                                                                ORS 179.040,   421.068, 421.180,
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                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC               amend filed
                                             25-2020, amend            led 12/14/2020,
                                                                            12/14/2020, effective    12/15/2020
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                                        DOC 14-2008,
                                        DOC  14-2008, f.  f. &
                                                             & cert.
                                                               cert. ef.
                                                                       ef. 6-2-08
                                                                           6-2-08
                                        Renumbered from
                                        Renumbered    from 291-105-0073,
                                                               291-105-0073, DOC     DOC 9-2005,  f. 7-22-05,
                                                                                          9-2005, f. 7-22-05, cert.
                                                                                                              cert. et
                                                                                                                    ef. 7-24-05
                                                                                                                        7-24-05
                                        DOC 6-2002,
                                        DOC  6-2002, f.f. 4-30-02,
                                                          4-30-02, cert.cert. ef. 5-1-02
                                                                              ef. 5-1-02
                                        DOC 3-1999,
                                        DOC  3-1999, f.f. 2-25-99,
                                                          2-25-99, cert.cert. ef. 3-1-99
                                                                              ef. 3-1-99
                                        CD 16-1996,
                                        CD 16-1996, f.f. 11-13-96,
                                                         11-13-96, cert. cert. ef.
                                                                                ef. 11-15-96
                                                                                    11-15-96
                                        CD 8-1992,
                                        CD         f. 3-27-92,
                                           8-1992, f. 3-27-92, cert.  cert. ef. 4-15-92
                                                                            ef. 4-15-92
                                        CD 5-1989,
                                        CD         f. &
                                           5-1989, f. & cert.      ef. 4-21-89
                                                           cert. ef.   4-21-89
                                        CD 38-1987,
                                        CD 38-1987, f.f. &
                                                         & ef.
                                                             ef. 10-2-87
                                                                 10-2-87
                                        CD 32-1987(Temp),
                                        CD 32-1987(Temp), f.      f. &
                                                                     & ef.
                                                                       ef. 8-5-87
                                                                           8-5-87
                                        CD 29-1986,
                                        CD 29-1986, f.f. &
                                                         & ef.
                                                             ef. 8-20-86
                                                                 8-20-86
                                        CD 6-1986(Temp),
                                        CD 6-1986(Temp), f.    f. 3-14-86,
                                                                  3-14-86, ef.ef. 4-15-86
                                                                                  4-15-86
                                        CD 30-1985,
                                        CD 30-1985, f.f. &
                                                         & ef.
                                                             ef. 8-16-85
                                                                 8-16-85
                                        CD 8-1985(Temp),
                                        CD 8-1985(Temp), f.    f. &
                                                                  & ef.
                                                                     ef. 6-19-85
                                                                         6-19-85
                                        CD 25-1982,
                                        CD 25-1982, f.f. &
                                                         & ef.
                                                             ef. 11-19-82
                                                                 11-19-82
                                        CD 13-1980,
                                        CD 13-1980, f.f. &
                                                         & ef.
                                                             ef. 4-15-80
                                                                 4-15-80
                                        CD 19-1979(Temp),
                                        CD 19-1979(Temp), f.      f. &
                                                                     & ef.
                                                                       ef. 10-19-79
                                                                           10-19-79


                                        291-105-0100
                                        291-105-0100
                                        Vacating or
                                        Vacating or Withdrawing
                                                    Withdrawing the
                                                                the Final
                                                                    Final Order in the
                                                                          Order in the Interest
                                                                                       Interest of
                                                                                                of Justice
                                                                                                   Justice

                                        The Inspector
                                        The                General, Assistant
                                             Inspector General,      Assistant Director
                                                                               Director for
                                                                                        for Operations,
                                                                                            Operations, or
                                                                                                        or their
                                                                                                           their designees
                                                                                                                 designees may,
                                                                                                                             may, in
                                                                                                                                  in the
                                                                                                                                     the interest
                                                                                                                                         interest of
                                                                                                                                                  of justice,
                                                                                                                                                     justice, vacate
                                                                                                                                                              vacate all
                                                                                                                                                                     all or
                                                                                                                                                                         or
                                        part
                                        part of
                                              of aa final
                                                      nal disciplinary
                                                          disciplinary order
                                                                       order or withdraw the
                                                                             or withdraw  the order and direct
                                                                                              order and        that aa disciplinary
                                                                                                        direct that    disciplinary hearing
                                                                                                                                    hearing be  reopened for
                                                                                                                                             be reopened    for
                                                 fi
                                        consideration
                                        consideration of      new evidence.
                                                           of new  evidence.

                                        Statutory/Other Authority:
                                        Statutory/Other    Authority: ORS      179.040, 421.068,
                                                                         ORS 179.040,    421.068, 421.180,
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                                        History:
                                        History:
                                        DOC 25-2020,
                                        DOC             amend filed
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                                                                        12/14/2020, effective   12/15/2020
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                                        DOC 24-2011,
                                        DOC  24-2011, f.f. 12-2-11,
                                                           12-2-11, cert.   ef. 12-7-11
                                                                      cert. ef. 12-7-11
                                        DOC 11-2011(Temp),
                                        DOC  11-2011(Temp), f.  f. &
                                                                   & cert. ef. 6-10-11
                                                                     cert. et  6-10-11 thru
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                                        DOC 14-2008,
                                        DOC  14-2008, f.f. &
                                                           & cert.
                                                             cert. ef.
                                                                   ef. 6-2-08
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                                        DOC 9-2005,
                                        DOC          f. 7-22-05,
                                             9-2005, f. 7-22-05, cert.
                                                                    cert. ef. 7-24-05
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                                        DOC 3-1999,
                                        DOC          f. 2-25-99,
                                             3-1999, f. 2-25-99, cert.
                                                                    cert. ef. 3-1-99
                                                                          ef. 3-1-99




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                                      System Requirements
                                      System Requirements Privacy
                                                          Privacy Policy
                                                                  Policy Accessibility
                                                                         Accessibility Policy
                                                                                       Policy Oregon
                                                                                              Oregon Veterans
                                                                                                     Veterans Oregon.gov
                                                                                                              Oregon.gov

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                                                                                      • reference.archives@oregon.gov




https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944
https://secure.sos.state.or.us/oard/displayDivisionRules.action?selectedDivision=944                                                                                          28/28
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                                                                                                            Declaration of
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                       Exhibit 11
                       Exhibit
                   MAJOR VIOLATION GRID
                   MAJOR VIOLATION GRID

       #
       #                            Rule
                                    Rule
      2.05
      2.05   AIC Assault
             AIC Assault I   I
      1.01
      1.01   Arson
             Arson
      2.03
      2.03   Assault of
             Assault      the Member
                      of the       Member of of the
                                                the Public
                                                     Public
      4.15
      4.15   Compromising an
             Compromising          an Employee
                                      Employee
      4.05
      4.05   Disturbance
             Disturbance
II    4.10
      4.10   Distribution II
             Distribution
      1.15
      1.15   Drug Possession
             Drug  Possession                                 DSU: 120
                                                              DSU:  120 days
                                                                        days max
                                                                             max
      4.20
      4.20   Escape II
             Escape                                           LOP: 28
                                                              LOP:  28 days
                                                                       days max
                                                                            max
      2.15
      2.15   Extortion II
             Extortion                                        Fine: $200
                                                              Fine: $200 max
                                                                         max
      2.40
      2.40   Hostage Taking
             Hostage    Taking
      4.33
      4.33   Possession of
             Possession      of an   Electronic Device
                                  an Electronic   Device
      4.25
      4.25   Possession of
             Possession      of an   Escape Device
                                  an Escape   Device
      4.30
      4.30   Possession of
             Possession      of aa Weapon
                                    Weapon
      4.35
      4.35   Racketeering
             Racketeering
      2.20
      2.20   Sexual Assault/Abuse
             Sexual  Assault/Abuse
      2.01
      2.01   Staff Assault
             Staff Assault II
      4.45
      4.45   Unauthorized Organization
             Unauthorized         Organization II
      2.06
      2.06   AIC Assault
             AIC Assault II  II
      1.10
      1.10   Contraband II
             Contraband
      4.11
      4.11   Distribution II
             Distribution      II                             DSU: 60
                                                              DSU:  60 days max
                                                                       days max
II
II    4.21
      4.21   Escape II
             Escape  II                                       LOP: 28
                                                              LOP:  28 days
                                                                       days max
                                                                            max
      2.16
      2.16   Extortion II
             Extortion   II                                   Fine: $100
                                                              Fine: $100 max
                                                                         max
      4.04
      4.04   Leave Violation
             Leave  Violation
      2.25
      2.25   Sexual Harassment
             Sexual  Harassment
      2.02
      2.02   Staff Assault
             Staff Assault IIII
      2.07
      2.07   AIC Assault
             AIC Assault III III
      4.01
      4.01   Disobedience of
             Disobedience         of an
                                     an Order
                                        Order II
      2.10
      2.10   Disrespect II
             Disrespect                                       DSU: 28
                                                              DSU:  28 days max
                                                                       days max
III
III   2.30
      2.30   Non-Assaultive Sexual
             Non-Assaultive         Sexual Activity
                                            Activity          LOP: 28
                                                              LOP:  28 days max
                                                                       days max
      1.05
      1.05   Property II
             Property                                         Fine: $75
                                                              Fine: $75 max
                                                                        max
      4.40
      4.40   Unauthorized Area
             Unauthorized         Area II
      4.46
      4.46   Unauthorized Organization
             Unauthorized         Organization II II
      1.25
      1.25   Unauthorized Use
             Unauthorized         Use of  Info Systems
                                       of Info Systems II
      2.45
      2.45   Body Modification
             Body  Modification
      1.11
      1.11   Contraband II
             Contraband        II
      4.02
      4.02   Disobedience of
             Disobedience         of an
                                     an Order  II
                                        Order II              DSU: 14
                                                              DSU:  14 days max
                                                                       days max
      2.11
      2.11   Disrespect II
             Disrespect     II                                LOP: 14
                                                              LOP:  14 days
                                                                       days max
                                                                            max
IV
IV    3.01
      3.01   False Information
             False Information to     to Employees
                                          Employees II        Fine: $50
                                                              Fine: $50 max
                                                                        max
      3.05
      3.05   Forgery
             Forgery
      3.15
      3.15   Fraud
             Fraud
      3.10
      3.10   Gambling
             Gambling
      1.20
      1.20   Possession of
             Possession           Body Modification
                            of Body                    Par.
                                        Modification Par.
      1.26
      1.26   Unauthorized Use
             Unauthorized         Use of  Info Systems
                                       of Info Systems IIII




                                                                Page 30 of 46
                                                                                                                  291-105 Exhibit 1:
                                                                                                                  291-105 Exhibit 1: Dec
                                                                                                                                     Dec 2020
                                                                                                                                         2020
                                                                                      Declaration of
                                                                                      Declaration of Nofziger,
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                           Exhibit 2
                           Exhibit 2
                        MINOR VIOLATION
                        MINOR VIOLATION GRID
                                        GRID

       #
       #    Rule
            Rule
     4.03
     4.03   Disobedience III
            Disobedience    III                       LOP:10 days
                                                      LOP:10       max
                                                              days max
V
V    2.12
     2.12   Disrespect III
            Disrespect  III                           Fine: $25
                                                      Fine:     max
                                                            $25 max
     1.06
     1.06   Property II
            Property II

     1.12 Contraband
     1.12             III
          Contraband III                              LOP:
                                                      LOP: 77 days max
                                                              days max
VI
VI   3.02 False Information
     3.02 False Information to
                            to Employees
                                   Employees IIII     Fine: $15
                                                      Fine:     max
                                                            $15 max
     4.41 Unauthorized
     4.41 Unauthorized Area
                         Area IIII




                                                                                             291-105 Exhibit 2:
                                                                                             291-105 Exhibit 2: Dec
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                                                                    Declaration of
                                                                    Declaration of Nofziger,
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                                                                                                             30 of 30
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             Oregon Justice
             Resource Center
             Advocate. Educate. Engage.



SENT VIA
SENT VIA EMAIL TO: rob.j.persson@doc.state.or.us; craig.a.prins@doc.state.or.us


                                               September 29, 2021

Rob Persson, Assistant Director of Operations
Craig Prins, Inspector General
Oregon Department of Corrections
2575 Center St. NE
Salem 97301-4667

       Re:     Mark J. Wilson, SID 7449142
               Request to Vacate Final Disciplinary Order per OAR 291-105-0100

Dear Assistant Director Rob Persson and Inspector General Craig Prins,

        We are writing to request that the final
                                            fmal disciplinary order issued against Mark J. Wilson
on August 31, 2021 be vacated in the interest of justice, pursuant to OAR 291-105-0100. There
will unlikely be a more fitting use of this regulation than in this case. Each decision made against
Mr. Wilson throughout this disciplinary process constitutes a grave injustice: the allegations in
the misconduct report dated March 23, 2021; the findings of violations for Unauthorized Use of
Information Systems II, Contraband II and Compromising an Employee; and the inhumane
sanction of 120 days in disciplinary segregation, the maximum penalty available. In vacating Mr.
Wilson’s final disciplinary order, we request the restoration of Mr. Wilson's
Wilson's                                                               Wilson’s status at OSCI prior
to the disciplinary investigation in January 2021, including his housing in the incentive unit at
OSCI, and position as a legal assistant in the OSCI library.

        Mr. Wilson has an incredibly robust record of countless remarkable contributions to his
community which demonstrate his honest, strong, and compassionate character. This exceptional
record, speaking volumes about who Mark is as a person, stands in stark contrast to the scant and
spurious information with which ODOC unsuccessfully attempts to create a basis for the charges
and guilty findings against Mr. Wilson in the disciplinary order issued on August 31, 2021.


Summary of investigation of allegations made against Mr. Wilson by confidential
informant.

         On December 4, 2020, Oregon State Correctional Institution (OSCI) staff received a
report from a confidential informant, an adult in custody with a reputation for submitting false
reports about other AICs. The report contained allegations pertaining to Mr. Wilson and Library
                                   “other unauthorized things in the OSCI library.”
Coordinator Pam McKinney, and "other                                       library." On or about
January 19, 2021, Mr. Wilson was ordered to cease assisting other AICs with their legal affairs,
removed from his job as a legal assistant, and placed on work restriction. Mr. Wilson continued
to live in general population on the incentive unit and continued to be paid as a legal assistant,

PO Box
PO  Box 5248, Portland, Oregon
        5248, Portland, Oregon 97208
                               97208
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F: 971-279-4748
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                                                                 Declaration of
                                                                 Declaration of Nofziger,
                                                                                Nofziger, Exhibit
                                                                                          Exhibit 3, Page 1
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                                                                                                               28
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      ODOC’s Special Investigation Unit (STU)
while ODOC's                                 (SIU) investigated the allegations made by the
confidential informant. On or about January 21, 2021, Ms. McKinney was removed from the
OSCI library and stationed at a desk in another facility. On March 23, 2021, ODOC initiated a
misconduct report against Mr. Wilson. On April 15, 2021, Ms. McKinney, following what she
               “brutal” four- to six-hour interrogation by ODOC employees, resigned from
described as a "brutal"
ODOC because she was forced to "[e]ither
                                    “[e]ither resign or lose the [retirement] money match."
                                                                                    match.” On
August 4, 2021, Mr. Wilson received a misconduct report with the following charges: 4.15
Compromising an Employee (Major); 1.11 Contraband II (Major); 1.25 Unauthorized Use of
Information System 1 (Major); and 4.01 Disobedience of an Order I (Major). A copy of the
misconduct report is enclosed. On August 10, 2021, Mr. Wilson had his first disciplinary
hearing, during which he sat shackled in a cage and was unable to access and read the materials
he had prepared to defend himself. On August 31, 2021, he was found guilty of Contraband II
and Compromising an Employee, sentenced to the maximum penalty of 120 days in disciplinary
segregation, also known as solitary confinement, and immediately taken to the Disciplinary
Segregation Unit.

        The record of this matter, further discussed below, reveals that Mr. Wilson is being
unjustly and cruelly punished for carrying out his prescribed duties as a legal assistant, and is
being wrongfully held accountable for the independent actions and decisions of his supervisor,
Library Coordinator Pam McKinney
                           McKinney. Mr. Wilson's
                                            Wilson’s duties as a legal assistant are provided for in
ODOC regulations and were overseen and authorized by Ms. McKinney, a veteran of ODOC for
over 20 years before her resignation.


Summary of the robust record evidencing Mr. Wilson's
                                            Wilson’s strong moral character and
profoundly meaningful service to others.

        Mr. Wilson has been incarcerated since 1987 and has spent over 30 years in the custody
of the Oregon Department of Corrections (ODOC) for a crime he committed at age 18. It is well-
documented that Mr. Wilson is truly an exceptional human being, a person of immense
compassion and wisdom, and has lived many lives'
                                               lives’ worth of profoundly meaningful service to
others. Throughout his incarceration, he has met, assisted, and positively influenced the lives of
countless people, not only being a support to fellow AICs, but also to many individuals in the
        community. He has been a hospice worker, serving others in their darkest hours and
outside community
touching the depths of humanity in a way few ever will. He has created education groups and
programs within the prison that have positively shifted the trajectory of many, many incarcerated
individuals, which has a far-reaching impact on the families of AICs, on the prison environment,
and on the general community. He has served tirelessly as a legal assistant for decades, giving
hope and a voice to incarcerated individuals who would otherwise be invisible and buried by the
system. This only scratches the surface of Mr. Wilson's
                                                Wilson’s service to others. Enclosed is a summary
       Wilson’s contributions to his prison community and the broader community
of Mr. Wilson's                                                           community.

      Those who encounter Mr. Wilson quickly recognize how special he is. He has the
ongoing support of so many: legislators, educators, spiritual leaders, victim support specialists,




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attorneys, mental health providers, incarcerated and formerly incarcerated people, and his
greatest and most devoted supporters, his mother, father, aunt, and grandmother.

        Mr. Wilson has always done this good work within the parameters of what is authorized
by ODOC. Since entering prison in 1988, until this recent discipline action, Mr. Wilson had only
incurred a single, low-level rule violation, for being in an unauthorized area on August 22, 1991.
Twenty-nine years ago, Mr. Wilson joined approximately 20 co-workers in protesting wage
issues that their employer, UNIBASE, refused to resolve. The protest consisted of not returning
to work after lunch one afternoon. Mr. Wilson returned to his cell after lunch instead of going to
his work assignment. He was sanctioned to spend seven days in segregation and pay a $100 fine.
He was also banned from holding a preferential prison industry job for one year, but the ban was
rescinded after six months of clear conduct.

            Wilson’s positive discipline record and his remarkable contributions are a reflection
        Mr. Wilson's
of his character and his deeply held personal values. Dr. Rex Newton, who was an ODOC mental
health therapist for over 35 years, wrote in a 2019 letter to the Oregon Board of Parole, "The
                                                                                          “The
maturity and personal growth with which [Mr. Wilson] has gone about serving his prison
community is exemplary and a model for all whether living in prison or the free community . . . I
                          become.” Dr. Newton further expresses that Mr. Wilson genuinely
truly admire who he has become."
           “a positive moral compass demonstrated over time, commitment to the service of
possesses "a
others, continual education and a faith based belief in the goodness of humanity."
                                                                         humanity.”


    Wilson’s decades-long misconduct-free history as a legal assistant and summary of the
Mr. Wilson's
longstanding procedures within the OSCI library.

        Mr. Wilson has worked as a legal assistant since 1989, beginning at OSCI. In June 1990,
he was transferred to Oregon State Penitentiary (OSP). He worked as a legal assistant at OSP
from November 1991 until September 2004, when ODOC retaliated against him for his
assistance in a civil lawsuit by transferring him to Eastern Oregon Correctional Institution
(EOCI). The lawsuit resulted in a court order requiring ODOC to provide adequate medical care
to prisoners with Hepatitis C. At EOCI, Mr. Wilson was not allowed to work as a legal assistant.
Michelle Burrows, the attorney who filed the Hepatitis C case, filed a retaliation lawsuit on Mr.
Wilson’s behalf, and as a result, Mr. Wilson was transferred back to OSCI in January 2008.
Wilson's

         From July 2012 until earlier this year, Mr. Wilson worked as a legal assistant at OSCI.
During these nine years, Mr. Wilson worked under the supervision of at least five library
coordinators. He was hired as a legal clerk in February 2012 by Library Coordinator Greg
Hunter, who remained his supervisor when Mr. Wilson became a legal assistant a few months
later. It was under the supervision of Mr. Hunter that Mr. Wilson learned the protocols and
procedures for legal assistants in the OSCI library. As former OSCI legal assistants and library
coordinators would attest, library coordinators rely on the honesty, professionalism, and skills of
the legal assistants to carry out the work, recognizing that legal assistants have privileges not
afforded to other AICs. Mr. Wilson could not have remained in the position of legal assistant for




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so many years, through multiple library coordinators, if he did not conduct himself appropriately
and only as authorized.

        Under ODOC regulations, library coordinators are "responsible
                                                               “responsible for supervising facility
legal libraries and the provision of law library services to inmates,"
                                                              inmates,” and for prioritizing and
assigning activities to the legal assistants. Library coordinators "may
                                                                    “may instruct inmates on how
and where to access requested law library services and other resources, but may not offer advice
or directly assist an inmate with their legal issues, case or matter."
                                                              matter.” OAR 291-139-0150. Legal
           “are assigned to work in the facility law library by the library coordinator to help guide
assistants "are
and assist other inmates in legal research and document preparation on a prioritized basis as
                         coordinator.” OAR 291-139-0160.
assigned by the library coordinator."

         In accordance with these rules, Mr. Wilson received assignments from the library
coordinators to assist AICs on matters including but not limited to: appeals of convictions and
sentences, conditions of confinement challenges, Board of Parole issues, child custody and
visitation matters, dissolution proceedings, wills and estates, and other civil actions. Throughout
his nine years as a legal assistant at OSCI, Mr. Wilson was authorized by library coordinators to
conduct research, prepare documents, and develop working relationships with attorneys, prisoner
and mental health advocacy groups, court staff, Board of Parole personnel, and other
professionals. These privileges allowed Mr. Wilson to effectively conduct his duties assisting the
AICs who were assigned to him.

        Mr. Wilson could only carry out this work with the knowledge of, approval by, and
assistance of the library coordinators. Legal assistants have no access to the internet, no email
accounts, and no phone access other than what is available to all AICs, which are phones on their
living units or legal calls scheduled by the library coordinator. If Mr. Wilson or other legal
assistants needed to contact people outside of the institution by phone, the library coordinator
would schedule a legal call. If Mr. Wilson or other legal assistants needed to contact people
outside of the institution by email, the library coordinator would send and receive emails through
the library coordinator's
            coordinator’s ODOC email account and then print out the message and attachments or
put them on work thumb drives for the legal assistant and AIC. If Mr. Wilson or other legal
assistants needed to access information from the internet, they would make a request to the
library coordinator who would then print out the requested information.

        At OSCI, it was standard procedure, as authorized by library coordinators, to print the
first copy of any document that a legal assistant was working on for an AIC from the legal
assistant’s standalone printer without charging the AIC. AICs paid for any subsequent copies of
assistant's
documents.

         Also as authorized by the OSCI library coordinator, AICs who are working on legal
matters can store their legal materials on a thumb drive and take them home when they leave the
institution. Legal assistants are also authorized to use thumb drives to store work that they are
doing for AICs assigned to them. Again, legal assistants do not have access to the internet. So,
any information that is stored on the thumb drive from the internet is done by the library
coordinator.




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                            Wilson’s behavior for the past thirty years in ODOC custody, Mr.
        Consistent with Mr. Wilson's
Wilson always carried out his duties as an OSCI legal assistant in accordance with ODOC rules
and as authorized by his supervisor.


The misconduct report and final order do not include any unauthorized conduct by Mr.
Wilson to substantiate the charges brought against him or the findings of violations.

        The allegations contained in the misconduct report, dated March 23, 2021 and submitted
              2021, 1 and the findings of violations in the final order, dated August 31, 2021, are
on August 4, 2021,1
entirely unsupported by substantiating evidence. Instead, the misconduct report and final order
clearly reveal that Mr. Wilson was charged and found in violation of the rules for (1) assisting
AICs completely within the proper bounds of his position as a legal assistant and as authorized
by Library Coordinator Pam McKinney and four previous library coordinators; and for (2)
actions and decisions made by Ms. McKinney, of her own volition, which were encouraged and
condoned by the ODOC director and administration.

        Mr. Wilson was charged with: Disobedience of an Order I (4.15), Unauthorized Use of
Information Systems I (1.25), Contraband II (1.11), and Compromising an Employee (4.15). He
was found in violation of: Unauthorized Use of Information Systems II (1.26), Contraband II
(1.11), and Compromising an Employee (4.15).

        The evidence offered for each charge and violation is addressed in detail below. Some
repetition of the facts is provided in order to make clear that each individual allegation lacks any
basis in fact to justify the actions taken against Mr. Wilson.


Disobedience of an Order I (4.15)

        Mr. Wilson should never have been charged with Disobedience of an Order I, which was
ultimately dismissed. The charge was based on protocols and procedures that had long been
authorized by library coordinators at OSCI. In the misconduct report, the investigator explains
that the charge was based on Mr. Wilson disregarding and violating OAR 291-139 (Legal
Affairs), OAR 291-131 (Mail), and OAR 291-86 (AIC Access to Automation). The investigator
                                                                               “hundreds of emails,
concludes that those OARs were violated because the investigator reviewed "hundreds
from January 2020 to January 2021, between Ms. McKinney and individuals in the community
                                                                                       community.
These emails were both incoming and outgoing. Most of these emails were with individuals at an
outside justice resource firm, or [with] attorneys and other professional[s]. All of the individuals
are associated with AIC Wilson in some manner."
                                           manner.” It has been a longstanding procedure in OSCI
for library coordinators to help legal assistants communicate, through email and scheduled legal
calls, with attorneys, prisoner and mental health advocacy groups, court staff, Board of Parole
personnel, and others to effectively assist assigned AICs with their legal matters. The

1
i Misconduct reports are commonly dated on the date the report is started rather than date completed and submitted.




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                                  “Ms. McKinney's
investigator further asserts that "Ms. McKinney’s actions of sending and receiving emails,
containing messages, and attached legal documents saved AIC Wilson at least $387.40."
                                                                                $387.40.” Again,
it is a longstanding practice for OSCI library coordinators to send and receive emails and print
emails and attachments for AICs. Furthermore, all the activities described in the misconduct
                                   McKinney.
report were actions taken by Ms. McKinney


Unauthorized Use of Information Systems II (1.26)

         Similarly, the charge of Unauthorized Use of Information Systems I should never have
been brought against Mr. Wilson. The finding of Mr. Wilson to be in violation of the lesser
included rule, Unauthorized Use of Information Systems II, is likewise baseless. The final order
states that Mr. Wilson is in violation of Unauthorized Use of Information Systems II because he
“made copies, viewed video or listened to audio files for personal use . . . that exceeded the
"made
                                                                                   designee.”
conditions of use or access granted by the Director, functional unit manager, or designee."
However, all conduct described was either authorized by Ms. McKinney or done by Ms.
McKinney, of her own volition, for AICs.

        While the final order does not otherwise refer to Mr. Wilson making copies, the
misconduct report states that the charge of Unauthorized Use of Information System I was based
on Mr. Wilson printing a copy of work for AICs'
                                            AICs’ legal affairs from the standalone printer at the
legal assistant work area without charging the AICs. As explained above, this was a procedure
authorized by library coordinator Ms. McKinney, as well as the previous four library
coordinators.

        The referenced audio files and video were files downloaded and put on thumb drives by
Ms. McKinney of her own accord. Mr. Wilson did not request any of these materials. Ms.
McKinney downloaded music and put the files on thumb drives so that AICs who worked in the
library, such as the legal assistants and law clerks, could listen to music while they worked. The
AICs could only assume that Ms. McKinney had authorization to do so, and that she did this to
create a more productive, pleasant, and "normal"
                                           “normal” work environment. In fact, Ms. McKinney was
                                  “normal” and humane environment for AICs by the ODOC
regularly instructed to create a "normal"
director and administration, as further explained below.

         Similarly, Ms. McKinney downloaded a video onto Mr. Wilson's
                                                                Wilson’s work thumb drive, not
at his request, but of her own volition. Ms. McKinney exchanged emails with a former AIC's
                                                                                      AIC’s
partner about new children in their lives, Ms. McKinney's
                                               McKinney’s grandchild and the former AIC's
                                                                                     AIC’s
child. None of the emails were addressed to Mr. Wilson or made any mention of Mr. Wilson.
Knowing that Mr. Wilson and other AICs at OSCI knew this former AIC, Ms. McKinney
downloaded the video and a few photos of the child and asked Mr. Wilson to show them to other
AICs who came into the library. Again, Mr. Wilson could only assume that Ms. McKinney was
authorized to do this. This action was consistent with the "normal"
                                                           “normal” and pro-social community
environment that Ms. McKinney, a 22-year ODOC employee, created in the library. The library
environment Ms. McKinney created, which AICs were accustomed to, is further explained in a
later section.




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                                                                 Wilson’s "personal
       Finally, the suggestion that any of this occurred for Mr. Wilson's “personal use"
                                                                                     use” is
without evidence. The conclusion that Mr. Wilson is in violation of Unauthorized Use of
Information Systems II is baseless and should be vacated in the interest of justice.


Contraband II (1.11)

       The finding of Mr. Wilson to be in violation of Contraband II is entirely unfounded. The
alleged violation is based on actions and decisions made by Ms. McKinney of her own volition,
which were encouraged and condoned by the ODOC director and administration.

       The final order states,

           There is a preponderance of evidence AIC Wilson was in possession of
           contraband that was not authorized that created a threat to the safety, security,
           or orderly operations of the facility as AIC Wilson was in possession of an
                                 child’s toy phone in AIC Wilson's
           unauthorized plastic child's                    Wilson’s work area,
           photographs of a former AIC on AIC Wilson's
                                                   Wilson’s thumb drive that is to be
           utilized for work as the Legal Assistant, a video of a former AIC on AIC
           Wilson’s thumb drive that is to be utilized for work as the Legal Assistant,
           Wilson's
           music on the thumb drive that is to be utilized for work as the Legal Assistant.

       An AIC commits a Contraband II violation when an "AIC      “AIC possesses
                                                                          possesses contraband,
including that listed in Contraband I and Contraband III, that creates a threat to safety, security
or orderly operation ofof a facility,
                             facility, including but not limited to: [ ] Tobacco or smoking
paraphernalia, unauthorized medication, items of barter, checks, money under $10, or
unauthorized explicit material; or [ ] Items that were obtained by threats of or actual theft,
forgery, or coercion."
            coercion.” OAR 291-105-0015(1)(e) (emphasis added). The discipline rules define
“possession” as "To
"possession"     “To have physical possession of or otherwise exercise dominion or control over
property.” OAR 291-105-0010(34).
property."


Plastic child’s
        child's toy phone
                    phone

        The misconduct report and final order explain that the investigator searched Mr. Wilson's
                                                                                         Wilson’s
                                     “white plastic child's
work area in the library and found a "white         child’s toy phone,"
                                                                phone,” which Ms. McKinney said
she purchased with her own money and gave to Mr. Wilson without supervisor approval,
constituting a Contraband II violation. Here is an accurate image of the child's
                                                                         child’s toy phone
referred to in the reports:




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       The Imitedgeta
            investigator catittad
                          omitted from the Weecadua
                                             misconduct spat
                                                           report that Me.
                                                                        Ms. McKinney placed
                                                                                        placed this
                                                                                                thb toy
      on Mr
phone at Mr. Wilson's
              Wilson’s week
                          work area desks,
                                    desk as 6a joke,  not ea
                                                jam, net  as 6a gilt
                                                                gift. Mr. WI
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item end
     and he did not exercise control of Wethis toy in
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                                                           way   that could constitute a violation
Contraband 11             was placed bin the library
            II. This toy wee                 Wray by 1.48.     McKinney of her am
                                                         Ms. Manley              own accord, awland it
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          b the Nutty
remained in      library.

        No explanation is Shan
        No                   given eaas to how the prelate
                                                   presence of the toy in  b the library created "6
                                                                                                 “a threat
       safe, seam
to the safe  secure, and  orderly   operation of the facility,”
                                    ore:Ulm           facility," 6a required element of 6a contraband
violation, other dun
ylolatix,         than to s1Ic
                          allege that Mr. Wilma      engaged bin srunauthorbied
                                            Wilson aimed           an “unauthorized relationship with anea
employee,” which is
employee,"           b baseless, eaas explained below.
                                                 Wow. In fed,fact, within the eammaity-lke
                                                                               community-like
environment Ms
earktnnent     Ms. Meli3
                    McKinney
                          easy sought to ereatekt
                                            create in the library,
                                                          Wary, the existence                 phone could
                                                                         edge= of the toy phone
hardly be deemed Irregular
                    irregular or kuppmcriate,
                                   inappropriate. The toy wee
                                                            was just one of msny
                                                                              many pleyful
                                                                                     playful items duet
                                                                                                   that Ms
                                                                                                        Ms.
Maktey
McKinney brought in   b end
                         and placed throtshout
                                       throughout the library. Fix
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                                                                                as recent  as August 2021,
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in the OS
       OSCI           there b
           CI library than  is 6a Omit       Ms, Makaey
                                  clock that Ms.  McKinney malemade from perm&
                                                                            personal pictures and 6a plastic
                                                                                                     plastic
mud=
container with fake fish,
                      flak meant to resemble an aquaria
                                                     aquarium. Ms Ms. McKinney also often decorated die  the
library
lixery  with  festive items
                      hens   for  various  holidays, like Halloween
                                  Tuba kmildays, lift Hellman           and Christmas   – including
                                                                            Club tens, — ktekding
bringing 'tin:Wax      antlers for AICs
          in reindeer atlas         MC e to RCM
                                             wear.

       Me,
       Ms. McKinney, WC   like many ODOC       staff, ra:ehred
                                       O11OC etsff,   received regular emals
                                                                       emails from O1:OC
                                                                                    ODOC
adeednistreticn encouraging etaif
administration enecuraging     staff to Interact
                                        interact with MCs
                                                       AICs acarding
                                                             according to the 'Vegan
                                                                              “Oregon Way"
                                                                                       Way” — – the
ODOC philosophy that AICs        are to be treated "Ina
                          AICe ere                  “in a normsilined
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        way reasible."7             Director Colette Peters has   consistently
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   Written Testimony,   House hoary       Committee, H
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importance of ODOC doing what it can to "make                                    communitiess33
                                          “make the institutions feel more like communities”
                                                               4
so that AICs will return to the community as "good
                                             “good neighbors.”
                                                    neighbors.s4 To illustrate the environment
Ms. McKinney created in the OSCI library — – in accordance with the Oregon Way —   – below is a
photo of Ms. McKinney in the OSCI library. ODOC posted this photo on Twitter (ODOC
Twitter) on December 30, 2020, among a few other photos of the decorated OSCI library that
ODOC posted on Twitter that holiday season.




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       photographs, and video files
Music, photographs,            files on Mr. Wilson’s
                                            Wilson's work thumb drive

       As explained previously, Ms. McKinney downloaded music and put it on thumb drives so
that AICs with jobs in the library could listen to music while they worked, a decision that AICs
considered unremarkable and consistent with how Ms. McKinney ran the library. Also as
explained previously, Ms. McKinney exchanged emails with a former AIC'sAIC’s partner to share

 Oregon Department of Corrections, 2021-23 Agency Budget Request, at 316, available at
 https://www.oregon.gov/doc/Documents/2021-23-agency-request-budget.pdf ("The    (“The Oregon Way is a philosophical
 approach to corrections based on security best practices and the belief that normalizing and humanizing the prison
 environment is beneficial for employees and incarcerated individuals. This innovative approach to incarceration
stems from an exploration of and immersion in the Norwegian correctional system. The objectives and outcomes of
                      ODOC’s focus on segregation reduction and reform, and the primary goal of keeping both staff
 this program support ODOC's
 and AICs safe. Normalizing an individual's
                                 individual’s environment and experience while incarcerated is believed to help in
successful re-entry and ultimately reduce recidivism. Shifting the focus from punitive to a rehabilitative mindset is
 the foundation of normalization. Creating humane conditions and transition opportunities prepare AICs for a
successful incarceration and re-entering society.");
                                         society.”); Oregon Department of Correction, The Oregon Way,
 https://www.oregon.gov/doc/about/Pages/oregon-way.aspx (accessed Sept. 20, 2021).
33 See Suzanne Stevens, Inside the Oregon State Penitentiary and efforts to make it a model of
                                                                                             of prison
                                                                                                prison reform,
 Portland Business Journal (Aug. 1, 2019),
 https://www.bizjournals.com/portland/news/2019/08/01/inside-the-oregon-state-penitentiary-and-efforts.html.
44 See, e.g., Id.




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               McKinney’s new grandchild, and photos and a video of the former AIC's
photos of Ms. McKinney's                                                         AIC’s child.
Ms. McKinney downloaded the video and photos on Mr. Wilson’s
                                                           Wilson's work thumb drive, not at his
request or the request of anyone, but of her own volition. Knowing that Mr. Wilson and other
AICs knew this former AIC, Ms. McKinney downloaded the video and photos and asked Mr.
Wilson to show them to other AICs who came into the library.

       Like the presence of the child's
                                  child’s toy phone in the library, these uses of the thumb drive
provide no basis for a finding of a Contraband II violation. First, as previously explained, AICs,
including Mr. Wilson, would not have any reason to suspect that Ms. McKinney was not
authorized to take these actions. Her actions were consistent with the positive environment that
she consistently created in the library with the encouragement of ODOC leadership. Mr. Wilson
should in no way be held accountable for the actions and decisions of his supervisor, an ODOC
employee who had worked for the department for more than 20 years.

        Second, Mr. Wilson did not "possess"
                                     “possess” the thumb drive in any way that could constitute a
violation of the Contraband II rule. The thumb drive was kept in the library, under the control
and dominion of the library coordinator. Mr. Wilson only used the thumb drive as authorized by
the library coordinator while he worked as a legal assistant in the library. Finally, no explanation
                                                                    “creat[ed] a threat to safety,
is offered as to how, through use of the thumb drive, Mr. Wilson "creat[ed]
                                   facility,” necessary for a finding of a Contraband II violation.
security or orderly operation of a facility,"
Given the circumstances, even the suggestion that safety, security, or order was threatened is
absurd.


Compromising an Employee

        An AIC commits the violation of Compromising an Employee when an "AIC “AIC knowingly
                                        relationship[.]” OAR 291-105-0015(4)(h). The final order
engages an employee . . . in a personal relationship[.]"
states,

       There is a preponderance of evidence AIC Wilson engaged in a personal
       relationship with Ms. McKinney by accepting items not authorized such as a
               child’s toy phone, photographs from a former AIC, a video of a former
       plastic child's
       AIC, two thumb drives, and having Ms. McKinney send and receive numerous
                        Wilson’s behalf.
       emails on AIC Wilson's


        The plastic toy phone has already been explained above and provides no evidence of Mr.
                                        “engage” Ms. McKinney in a personal relationship.
Wilson doing anything whatsoever to "engage"
                     “normal” community environment that she created in the library, per the
Consistent with the "normal"
                                                                                      Wilson’s
culture encouraged by ODOC administrators, Ms. McKinney put the toy phone in Mr. Wilson's
work area as a joke —– not at the request of Mr. Wilson.

      The photos and video of the former AIC's
                                         AIC’s child, as explained above, were placed on Mr.
Wilson work thumb drive by Ms. McKinney of her own volition, and she asked Mr. Wilson to




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show the files to other AICs who knew the former AIC. These circumstances provide no basis to
conclude that Mr. Wilson engaged Ms. McKinney in a personal relationship.

        In regard to the numerous emails sent by Ms. McKinney, as has been explained, it was a
longstanding practice by library coordinators in OSCI to help legal assistants communicate,
through email and scheduled legal calls, with attorneys, prisoner and mental health advocacy
groups, court staff, and Board of Parole personnel, and others to effectively assist assigned AICs
with their legal matters. Mr. Wilson is known to be a very dedicated and proficient legal
assistant. Any emails that Ms. McKinney sent and received on behalf of Mr. Wilson were all
pursuant to his work as a legal assistant; or to his work in helping to create pro-social programs
in the prison as known about and authorized by ODOC administration, some of whom were cc'd      cc’d
on the emails.

         The final order refers to an obituary that Ms. McKinney sent by email, on Mr. Wilson's
                                                                                           Wilson’s
behalf, to a former AIC. While not entirely clear, this email appears to be proffered as evidence
of the Compromising an Employee violation. Yet, like all the other emails that Ms. McKinney
                            Wilson’s behalf, this email was connected to Mr. Wilson's
sent and received on Mr. Wilson's                                              Wilson’s work as a
legal assistant. The obituary reported the death of a close family member of a criminal defense
attorney who represents AICs at OSCI. Mr. Wilson had a professional relationship with the
defense attorney pertaining to his job duties as a legal assistant, assisting AICs at OSCI with
criminal case-related matters. The former AIC who received the obituary is a contract legal
assistant who has worked with the defense attorney on cases of AICs at OSCI, including matters
that Mr. Wilson also worked on. Given this ongoing work relationship, Mr. Wilson believed it
was appropriate that the former AIC be timely made aware of the death, an unexpected and
tragic occurrence. As explained earlier, for legal assistants to effectively carry out their duties,
they develop ongoing working relationships and engage in regular communication with legal
                             community. Library coordinators routinely help legal assistants
professionals in the wider community
communicate by sending emails and scheduling legal phone calls. The fact that Ms. McKinney
facilitated this particular email is consistent with this longstanding practice. There is simply no
basis from which to conclude that Mr. Wilson’s
                                          Wilson's actions — – asking Ms. McKinney to send an email
to inform a legal assistant in the community about important news related to an attorney
representing an AIC in OSCI —    – constitutes Mr. Wilson engaging in a personal relationship with
     McKinney.
Ms. McKinney

         The final order further attempts to support the Compromising an Employee violation by
             “two thumb drives."
referring to "two          drives.” The final order states, "AIC
                                                            “AIC Wilson admitted to receiving two
black thumb drives from Ms. McKinney that he was storing all of his legal work on. AIC Wilson
stated he was planning on taking the two black thumb drives home with him when he was going
to leave the institution."
             institution.” Again, it is common practice at OSCI for AICs to save their legal
materials on a thumb drive and then take those thumb drives with them when they leave the
                 Wilson’s legal materials would exceed the available storage on a single thumb
institution. Mr. Wilson's
drive. So, Ms. McKinney gave him two thumb drives. Again, this fact is not evidence of
Compromising an Employee.




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        Although the following allegations from the misconduct report related to the
Compromising an Employee charge do not appear in the final order, we address them here
because they gratuitously suggest wrongdoing by Mr. Wilson without providing any plausible
basis in fact.

        In the misconduct report, the investigator states that Ms. McKinney "admitted
                                                                              “admitted to directly
                                                  matters” and "admitted
assisting AIC Wilson with his legal issues, case, matters"      “admitted to giving AIC Wilson
                                            afforded.” The investigator provides no examples or
special privileges which not all AICs were afforded."
                    McKinney’s assistance or "special
description of Ms. McKinney's                 “special privileges"
                                                        privileges” other than again describing the
emails, printing of emails, and attachments, and scheduled legal calls, which are all longstanding
practices in the OSCI library that were authorized by numerous library coordinators. Legal
assistants, like Mr. Wilson, do have "special
                                     “special privileges"
                                              privileges” not afforded to other AICs that allow
them to carry out their authorized work duties.

        Finally, the investigator uses statements made by Ms. McKinney that are unrelated to Mr.
Wilson as evidence of Compromising an Employee. First, he says that Ms. McKinney "admitted“admitted
that her relationships with several individuals at the outside justice resource firm became more of
a personal friendship than a professional relationship."
                                            relationship.” This is a boundary issue personal to Ms.
McKinney and independent of Mr. Wilson.

        The investigator also states that when he asked, "'Have
                                                          “‘Have you been compromised as an
employee?’ She said, ‘Yes.’”
employee?'            `Yes.'" No further explanation is given about this statement other than the
                                                       “22-year veteran employee with the DOC,"
investigator acknowledging that Ms. McKinney is a "22-year                                  DOC,”
                       “countless hours of training."
who has been through "countless             training.” There is no connection made to Mr. Wilson.
Again, this question of and answer from Ms. McKinney occurred in an hours-long interrogation,
which she described as "brutal"
                        “brutal” and "intimidating"
                                      “intimidating” and resulted in her feeling forced to resign.
Ms. McKinney did not feel "compromised"
                            “compromised” as an employee prior to the interrogation.

        The record is void of any description of actions or statements by Mr. Wilson that would
                 “knowingly engage[d] an employee . . . in a personal relationship."
indicate that he "knowingly                                            relationship.” There is
simply no basis for a finding of a Compromising an Employee violation.

        None of the violations and charges described above are supported by any
unauthorized conduct by Mr. Wilson. The findings of fact in the record refer to conduct by
Mr. Wilson that was completely within the bounds of his position as a legal assistant, as
well as actions taken independently by Ms. McKinney that were encouraged and condoned
by the ODOC director and administration. The findings of guilty for violations of
Unauthorized Use of Information Systems II, Contraband II and Compromising an
Employee are baseless. Therefore, the interest of justice requires that the final disciplinary
order issued against Mark J. Wilson on August 31, 2021 be vacated.


The sanction ordered for Mr. Wilson is inhumane, contrary to law and regulations
governing ODOC, and further compounds the injustice experienced by Mr. Wilson.




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        The injustice that Mr. Wilson has suffered is further compounded by the extreme sanction
of 120 days in disciplinary segregation, also known as solitary confinement, and loss of
                                      OSCI’s incentive housing unit and his position as a legal
privileges, including his housing on OSCI's
assistant in the OSCI library. Experts would consider ODOC's
                                                       ODOC’s use of disciplinary segregation
inhumane and out of line with the overwhelming amount of data and research documenting the
severe adverse effects of solitary confinement for any length of time on all human beings.
Sanctioning Mr. Wilson to any time in disciplinary segregation is immensely inappropriate,
contrary to state law and regulations, and profoundly unjust.


The cruel and inhumane nature of ODOC's
                                 ODOC’s use of disciplinary segregation.

        The United Nations Standard Minimum Rules for the Treatment of Prisoners, also known
                        Rules, 5 define solitary confinement as "confinement
as the Nelson Mandela Rules,5                                     “confinement of prisoners for 22
                                                   contact 6,” and "prolonged
hours or more a day, without meaningful human contact6,"           “prolonged solitary confinement"
                                                                                       confinement”
                                                      7
     “time period in excess of 15 consecutive days.”
as a "time                                      days."7 The National Commission on Correctional
Health Care (NCCHC) defines solitary confinement as "the “the housing of an adult or juvenile with
                                                 individuals.” 8 The NCCHC has adopted the
minimal to rare meaningful contact with other individuals."8
following position on the use of solitary confinement:

        Solitary confinement as an administrative method of maintaining security should
        be used only as an exceptional measure when other, less restrictive options are not
        available, and then for the shortest time possible. Solitary confinement should
        never exceed 15 days. In those rare cases where longer isolation is required to
        protect the safety of staff and/or other inmates, more humane conditions of
                                  utilized. 9
        confinement need to be utilized.9

ODOC’s disciplinary segregation is solitary confinement. Experts would consider its use to be
ODOC's
                                                                        – serving no safety and
inhumane and, specifically in the case of Mr. Wilson, a misuse of power —
security purpose, it is nothing more than extreme and unwarranted cruelty.

         AICs have described OSCI's
                               OSCI’s Disciplinary Segregation Unity (DSU) as follows. During
the first 24 hours, an AIC is placed in a cell in Section 1 of DSU. These cells are monitored by
surveillance cameras, have no light and no table. There is a cement slab to sleep on, a toilet, a
sink, and plexiglass over the bars. After the first 24 hours, the AIC is moved to a cell in a
different section of DSU. The approximately 9’x11’
                                                9'x11' cells each have a bed, toilet, and sink, and
                  “really dirty"
are described as "really  dirty” and "filthy."
                                     “filthy.” There is a light in the cell, but no access to natural

5
5 G.A. Res. 70/175, United Nations Standard Minimum Rules for the Treatment of Prisoners (the Nelson Mandela
Rules) (Dec. 17, 2015).
6
  Id. at 17.
6 Id
7
7 Id.
8
8 National Commission on Correctional Health Care, Solitary Confinement (Isolation),
https://www.ncchc.org/solitary-confinement (accessed Sept. 20, 2021).
https://www.ncchc.org/solitary-confmement
9
9 Id.




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light. Across the unit from the cell is a frosted window to the outside where a person can see
whether it is night or day, but cannot see anything else outside. The cells themselves do not have
air ventilation. There is an air duct that is turned on at night in the general area. AICs spend more
than 23 hours a day in these cells. They are allowed to leave their cells for 40 minutes a day to
move about in a cage within the unit that has a pull-up bar but is otherwise empty. This cage, like
the cells, has no natural light or natural air. After the first 30 days, AICs may be allowed to go
outside for a maximum of 40 minutes per day.

       AICs in DSU are allowed to shower only three times a week in "filthy"
                                                                       “filthy” showers. They
receive a soda bottle-sized cap of soap and have ten minutes to shower. There are no other
                                                        “community” electric razor during
hygiene products. AICs who wish to shave must use the "community"
shower times. They are only allowed to change their clothing and underwear at shower times.

         During the first 30 days of segregation, AICs have no access to canteen, meaning they
cannot buy any hygiene products or other necessities. To brush their teeth, they are given two
small envelopes of baking soda, which is meant to last the first 30 days. AICs are only given two
envelopes to send out mail. Because their only real means of communicating with anyone on the
outside depends on those two envelopes, AICs must be very thoughtful about how to use them.
Phone calls other than legal calls are limited to "verified
                                                  “verified emergency situations (death, serious
                                                     etc.).” OAR 291-011-0060(15).
illness, or injury to an immediate family member, etc.)."

        All AICs are placed in restraints when escorted by staff. This can include the use of a
“leash,” which is hung on the unit in view when not in use.
"leash,"

       The Vera Institute of Justice, which assessed the ODOC's
                                                          ODOC’s use of disciplinary segregation
in 2015, stated that AICs in ODOC's
                             ODOC’s DSU live in "conditions
                                                    “conditions marked by isolation, idleness and
sensory deprivation"                         average. 10 At OSCI's
        deprivation” for 23 hours a day, on average.1°      OSCI’s DSU, there are no programs,
“no ability to engage in productive activities"
"no                                 activities” and AICs "rarely
                                                          “rarely have meaningful contact with
                                  DSU.” 11 People report that in this desperate and idle
other people during their time in DSU."11
environment, time stands still.

        The inhumane and degrading nature of DSU is impossible to imagine and to understand
for anyone who has never spent time there. It is also difficult for AICs who have experienced
DSU to adequately describe the severe environment. In their attempts to do so, people have
expressed the following. Imagine the most beastly state that a person could be in. That is the
state of many AICs in DSU. Everything smells. Your body never feels clean. You feel grimy all
day long, all the time. It is not because of the restriction of three showers a week. It is because
the grime of the environment gets into your skin, into you. All day long, people are screaming
and yelling out of desperation, anger, and states of insanity. People are harming themselves and

10
'13 Alison Hastings et al., Vera Institute of Justice, The Safe Alternatives to Segregation Initiative: Findings and
Recommendationsfor  for the Oregon Department of   of Corrections at 26, available at
https://www.vera.org/downloads/publications/safe-alternatives-segregation-initiative-findings-recommendations-
odoc.pdf.
11
" Id.




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harming others out of frustration, anger, and to feel any sense of autonomy or control of their
lives. It is common for people to clog toilets so that the units flood, to throw objects, including
feces, out of their cells and at corrections officers and other AICs. One person recounted
knowing of AICs who would eat their own feces, smearing it in their teeth, when corrections
officers came by. Adding insult to injury, behavioral health specialists do not regularly visit
           OSCI’s DSU.
AICs in OSCI's

         This is the environment that Mr. Wilson, who poses no risk to the safety and security of
the prison, has been ordered to endure for 120 days.

        Solitary confinement is a severe sanction that "a         body” 12 of scientific research
                                                       “a massive body"12
confirms is physiologically and psychologically harmful to all people, not only vulnerable
populations, with significant and long-lasting impacts occurring after just a few days of
segregation. 13 The National Commission on Correctional Health Care (NCCHC), which opposes
segregation.13
solitary confinement longer than 15 days, explains in its position statement:

        The inherent restriction in meaningful social interaction and environmental
        stimulation and the lack of control adversely impact the health and welfare of all
        who are held in solitary confinement. While there is a school of thought that
        suggests that solitary confinement in facilities that meet basic standards of
        humane care has relatively little adverse effect on most individuals'
                                                                  individuals’ mental or
        physical health, this is not the view of most international organizations. The
        World Health Organization (WHO), United Nations, and other international
        bodies have recognized that solitary confinement is harmful to health.

        . . . Even those without a prior history of mental illness may experience a
        deterioration in mental health, experiencing anxiety, depression, anger,
        diminished impulse control, paranoia, visual and auditory hallucinations,
        cognitive disturbances, obsessive thoughts, paranoia, hypersensitivity to stimuli,
        posttraumautic stress disorder, self-harm, suicide, and/or psychosis. Some of these
        effects may persist after release from solitary confinement.

        Moreover, the very nature of prolonged social isolation is antithetical to the goals
        of rehabilitation and social integration.

In addition to the psychological impact of solitary confinement summarized in the
NCCHC’s position statement, solitary confinement has physical impacts. These include,
NCCHC's
“gastrointestinal and genitourinary problems, diaphoresis, insomnia, deterioration of
"gastrointestinal

12
12 Peter Scharff Smith, The Effects of
                                     of Solitary Confinement on Prison Inmates: A Brief
                                                                                  Brief History and Review of
                                                                                                            of the
Literature 441, 475 Crime & Justice Vol. 34, No. 1 (2006), available at
https://www.jstor.org/stable/10.1086/500626?seq=1#metadata_info_tab_contents.
https://www.jstor.org/stable/10.1086/500626?seq=14metadata_info_tab_contents.
13
13 See e.g., Id. at 12; Craig Haney, Mental Health Issues in Long-Term Solitary and “Supermax”
                                                                                    "Supermax" Confinement (Jan.
1, 2003), available at https://journals.sagepub.com/doi/abs/10.1177/0011128702239239; Lauren Brinkley-
Rubinstein et al., Association of
                                of Restrictive Housing During Incarceration With
                                                                            With Mortality After Release, JAMA
(October 4, 2019), https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2752350.




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eyesight, profound fatigue, heart palpitations, migraines, back and joint pain, weight loss,
                                                  problems.” 14
diarrhea, and aggravation of preexisting medical problems."14

                                                              “social pain,"
         Humans are naturally social beings, and it is the "social    pain,” the environmental
and social isolation, of solitary confinement that can be the most torturous and
damaging. 15 Researchers define "social
damaging.15                         “social pain"
                                            pain” as "the
                                                      “the feelings of hurt and distress that
come from negative social experiences such as social deprivation, exclusion, rejection, or
loss.” 16 Even after a few days in solitary confinement, researchers observe people
loss."16
“descend into a mental torpor or ‘fog,’
"descend                            `fog,' in which alertness, attention, and concentration all
become impaired. . . . [T]he individual becomes increasingly incapable of processing
external stimuli . . . Over time the very absence of stimulation causes whatever
                                                                17
stimulation is available to become noxious and irritating.”
                                                    irritating."17 “This lethargic condition has
                                                                   "This
been described by researchers in connection with a complete breakdown or disintegration
of the identity of the isolated individual. This can be described as a simultaneous attack
of several symptoms that effectively erase the personality of the isolated individual: they
experience problems talking and understanding others, hallucinate (hear and see things),
have constant headaches, are troubled by anxiety, lose control (cry, become lethargic,
                                                                         psychosis.” 18 Expert
have fits of rage, etc.), and reach a condition that resembles (or is) psychosis."18
                                        “isolation panic,"
Craig Haney describes a reaction of "isolation     panic,” which sets in quickly. "The
                                                                                    “The longer
they’re in it, and especially if they're
they're                          they’re not sure when they're going to get out, a range of
                                              mount.” 19
negative psychological reactions begin to mount."19

        To be clear, solitary confinement harms all individuals, not only those considered
                                                           “Isolation can be
vulnerable, such as those with preexisting mental illness. "Isolation
psychologically harmful to any prisoner, with the nature and severity of the impact
depending on the individual, the duration, and particular conditions (e.g., access to
                         radio).” 20
natural light, books, or radio)."2°

                                                                    person’s risk of
      Also, any amount of time in solitary confinement increases a person's
                 21
premature death.
          death.21  A 2019 study of 229,274 people released from incarceration in North

14
14 Hastings et al., supra note 10 at 7; See also, e.g., Lars Moller et al., eds., Health in Prisons: A WHO
                                                                                                       WHO Guide to the
Essentials in Prison Health (Copenhagen: World Health Organization, 2007) at 36.
15
15 See e.g., Tiana Herring, Prison Pol'y
                                    Pol’y Init., The research is clear: Solitary confinement causes long-lasting harm
(Dec. 8, 2020), available at https://www.prisonpolicy.org/blog/2020/12/08/solitary_symposium/
16
16 Id.
17
17 Stuart Grassian, Psychiatric Effects of Solitary Confinement 325, 331 Wash. U. J. Law & Pol'y, Pol’y, Vol. 22 (2006),
              https://openscholarship.wustl.edu/cgi/viewcontent.cgi?article=1362&context=law_journal_law_policy.
available at https://openscholarship.wusthedu/cgi/viewcontent.cgi?article=1362&context=lawjournal_law_policy.
18
18 Scharff Smith, supra note 12, at 492-493.
19
19 Ramin Skibba, Solitary Confinement Screws up The Brains of      of Prisoners, Newsweek (Apr. 18, 2017),
https://www.newsweek.com/2017/04/28/solitary-confinement-prisoners-behave-badly-screws-brains-585541.html.
https://www.newsweek.com/2017/04/28/solitary-confmement-prisoners-behave-badly-screws-brains-585541.html.
20
   Jeffrey L. Metzner & Jamie Feltner,
                                Fellner, Solitary Confinement and Mental Illness in U.S. Prisons: A Challengefor    for
Medical Ethics at 104 (citing H. Reyes, The worst scars are in the mind: psychological
                                                                               psychological torture. Int. Rev. Red Cross
89:591-617 (2007) and M. Basoglu et al., Torture vs. other cruel, inhuman and degrading treatment: is the
distinction real or apparent? Arch. Gen. Psych. 64:277-85 (2007)).
21
21 Lauren Brinkley-Rubinstein et al., Association of of Restrictive Housing During Incarceration WithWith Mortality After
Release, JAMA (October 4, 2019), https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2752350.




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                                            “Compared with individuals who were
Carolina from 2000 to 2015 concluded, "Compared
incarcerated and not placed in restrictive housing [also known as solitary confinement],
individuals who spent any time in restrictive housing were 24% more likely to die in the
first year after release, especially from suicide (78% more likely) and homicide (54%
more likely); they were also 127% more likely to die of an opioid overdose in the first 2
              release.” 22 Social pain can cause ongoing suffering for people because of
weeks after release."22
                                                               later.” 23
“humans’ ability to relive social pain months or even years later."23
"humans'

         The "massive
              “massive body"
                        body” of research documenting the severe adverse impacts of solitary
confinement have led many state policy makers and corrections departments to drastically reduce
confmement
and limit the use of solitary confinement. States who have reformed their laws and policies have
                                      “Nelson Mandela Rules,"
considered the standard set by the "Nelson               Rules,” a resolution unanimously adopted
by the United Nations General Assembly in 2015. The Nelson Mandela Rules prohibit indefinite
                                    “prolonged solitary confinement"
solitary confinement; considers "prolonged              confinement” as a time period more than 15
consecutive days; and prescribes that solitary confinement be used "only“only in exceptional cases as
                                                 24
a last resort, for as short a time as possible."24
                                      possible.”

        Several states have a maximum sanction of disciplinary segregation that is far below
what is authorized in Oregon. Further, a few states have led the way in ascribing to the
guidelines set forth in the "Nelson
                            “Nelson Mandela Rules."    Colorado 25, Idaho
                                              Rules.” Colorado25,         26
                                                                    Idaho26,           York 27 have
                                                                             , and New York27
all limited solitary confinement as a discipline sanction to a maximum of 15 consecutive days.
      York’s legislation, passed in 2021 and to take effect on March 31, 2022, limits allforms
New York's                                                                                 forms of
                                                  28
                                            days. Similarly, in 2019, New Jersey enacted a
solitary confinement to a maximum of 15 days.28
reform limiting solitary confinement of all incarcerated persons to no more than 20 consecutive
                                              period. 29
days, and no more than 30 days in a 60-day period.29

       Rick Raemish, Executive Director of the Colorado Department of Corrections, wrote the
following in a blog post of the American Civil Liberties Union in December 2018 after Colorado
became the first state in the country to limit solitary confinement to a maximum of 15
consecutive days in 2017,



22 Id
   Id.
23
23 Herring, supra note 15.
24
24 G.A. Res. 70/175, supra note 5, at 17.
25
25       Dep’t of Corrections, Reg. No. 150-01, Code of Penal Discipline, Attachment A (Nov. 1, 2019), available at
   Colo. Dep't
https://cdoc.colorado.gov/about/department-policies.
26
          Dep’t of Corrections, Control No. 318.02.01.001, Standard Operating Procedure, Disciplinary Procedures
26 Idaho Dep't
for Inmates at 31 (Oct. 5, 2018), available at
http://forms.idoc.idaho.gov/WebLink/0/edoc/281212/Disciplinary%20Procedures%20for%20Inmates.pdf.
27
27 S.B. 2836, 2021 Leg., 244th Sess. (N.Y. 2021), available at
https://www.nysenate.gov/legislation/bills/2021/s2836.
28
28 Notably, any confinement
                 confmement to a cell for more than 17 hours is considered solitary confinement
                                                                                    confmement under the New York
law, lower than the 22 hours in the Mandela Rule. See id.
29
29 N.J. A314, 218th Leg., Reg. Sess. (N.J. 2019); Isolated Confinement Restriction Act, Pub. L. 2019, Ch. 60,
available at https://www.njleg.state.nj.us/2018/Bills/AL19/160_.PDF.




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        In Colorado, long-term solitary confinement used to be a tool that was regularly
        used in corrections. The problem is that it was not corrective at all. It was
        indiscriminate punishment that too often amounted to torture and did not make
        anyone safer.

        The practice was pervasive because it was considered reasonable and effective. It
        was neither. In practice, long-term isolation punished people in a way that not
        only lacked humanity but sense. And when a program lacks both sense and
        humanity, the results are as clear as they are disastrous: dehumanization and
        harm.

        We have ended the use of long-term solitary confinement in our state and limited
        its use to 15 days at a time. This limitation follows the international human rights
        standards from the United Nations'
                                    Nations’ Nelson Mandela Rules, which state that
        keeping someone in solitary confinement for over 15 days is torture.

        ...

        We made this policy change because we are committed to public safety. The
        research has shown that housing someone in a cell the size of a parking space for
        22 or more hours per day for extended periods of time damages them both
        mentally and physically. Since most people who go to prison —  – 97 percent — – return
        to their community, that means we were releasing people back into their
        communities in worse shape than when they arrived. That’s
                                                               That's why long-term
        restrictive housing needs to end, not only for the health and well-being of
        incarcerated people —                                              return. 30
                             – but for the communities to which they will return.3°

        The Vera Institute of Justice assessed ODOC's
                                               ODOC’s use of disciplinary segregation in 2015
                   “ODOC’s maximum DSU sanction of 120 days with a possible upward
and reported that "ODOC's
                                                                         jurisdictions.” 31 The
deviation of 60 days (for a total of 180 days) is long compared to other jurisdictions."31
report further found that "DSU
                          “DSU is frequently used as a sanction for non-violent rule violations"
                                                                                      violations”
         “[a]dults in custody experience a number of collateral consequences from a sanction to
and that "[a]dults
DSU. . . includ[ing] incentive-level reduction, program failures and/or loss of eligibility for
                                                                                     time.” 32 These
certain programs, loss of employment, loss of housing, and loss of recreation yard time."32
collateral consequences can cause AICs to experience feelings of "despair"
                                                                   “despair” and hopelessness,
leading them to "question
                 “question whether they should strive to accomplish anything in prison when their
                                            away.” 33 This impact on AICs'
accomplishments can so easily be stripped away."33                   AICs’ morale and loss of
privileges, programs, and work opportunities can diminish their ability to succeed after their re-
entry.
30
3° Rick Raemish, ACLU, Why                         of Long-Term Solitary in Colorado’s
                            Why I Ended the Horror of                       Colorado's Prisons, (Dec. 15, 2018)
https://www.aclu.org/blog/prisoners-rights/solitary-confinement/why-i-ended-horror-long-term-solitary-colorados-
https://www.aclu.orgiblog/prisoners-rights/solitary-confinement/why-i-ended-horror-long-term-solitary-colorados-
prisons.
31
31 Alison Hastings et al., supra note 10, at 25.
32
32 Alison Hastings et al., supra note 10, at 23..
33
33 Id.




                                                                        Declaration of
                                                                        Declaration of Nofziger,
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        The ODOC's
            ODOC’s use of disciplinary segregation is inhumane and is nowhere near to living
                                                                              possible.” 34
                                                      “in the most humane way possible."34
up to the philosophy of the Oregon Way: to treat AICs "in

       The sanction ordered for Mr. Wilson of 120 days in DSU and loss of privileges, in
addition to being inhumane, is beyond the bounds of the laws and regulations governing ODOC.
ORS 421.105(1) provides,

        The superintendent may enforce obedience to the rules for the government of the
        adults in custody in the institution under the supervision of the superintendent by
        appropriate punishment but neither the superintendent nor any other prison
        official or employee may strike or inflict physical violence except in self-defense,
        or inflict any cruel or unusual punishment.

(Emphasis added).

        This sanction is woefully inappropriate and is therefore contrary to this state law
                             ODOC’s disciplinary process.
and to regulations governing ODOC's

        First, Mr. Wilson should never have been put in formal proceedings that could result in
                                                “Procedures for Handling Misconduct by AICs"
such a severe sanction. The rules regarding the "Procedures                              AICs”
state,

         Employees shall be expected to use less formal procedures if the act or acts of
         misconduct do not constitute an immediate and continued threat to life, health,
         facility security, employee authority, or serious property damage or destruction,
         and in a manner that promotes and embraces the Oregon Accountability Model.
         Less formal corrective action may include: a reprimand, a warning, counseling, a
         conduct order, or as otherwise authorized by the functional unit manager,
         Officer-in-Charge, or designee.

OAR 291-105-0021(1).

        The record is void of any indication that the alleged actions of Mr. Wilson constituted "an
                                                                                                  “an
immediate and continued threat to life, health, facility security, employee authority, or serious
                     destruction.” At worst, the record suggests that Mr. Wilson had a child's
property damage or destruction."                                                        child’s toy
phone in his work area in the library. All other allegations made were of longstanding authorized
conduct within the OSCI library: email communications by the library coordinator with
attorneys, outside organizations, and court and Board of Parole personnel; the printing of
documents under the supervision of the library coordinator; the scheduling of legal calls by the
library coordinator; and the use of thumb drives to store legal materials. The absence of any
threat or harm explains why Mr. Wilson remained in general population, living on the incentive

34
 Testimony of Colette Peters, supra note 2; see also, e.g., Oregon Department of Corrections, 2021-23 Agency
34
                                     https://www.oregon.gov/doc/Documents/2021-23-agency-request-budget.pdf
Budget Request, at 316, available at https://www.oregon.govidoc/Documents/2021-23-agency-request-budget.pdf




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unit, throughout the seven-month investigation. Concerns of misconduct by Mr. Wilson should
                         “less formal"
have been handled using "less  formal” proceedings and a sanction of solitary confinement should
never have been available.

       Second, Mr. Wilson should never have been sanctioned to any time in disciplinary
segregation. The ODOC rules provide:

       Placement on Disciplinary Segregation Status: An AIC charged with committing
       a rule violation may be placed on disciplinary segregation status pending
       resolution of the charge through a formal hearing. This action will be taken when
       the functional
       the functional unit
                      unit manager
                           manager or or designee
                                         designee or
                                                  or the
                                                     the Officer-in-Charge
                                                         Officer‑in-Charge determines that
       the alleged rule violation or violations are of such seriousness that the
       security of a facility is at risk and requires immediate removal of the AIC
       from the general population, or determines that the AIC is a threat to the
       community, or determines that the AIC is likely to escape or abscond.

OAR 291-105-0021(3) (emphasis added).

                                                               Wilson’s actions placed the security
        Again, the record is void of any indication that Mr. Wilson's
of OSCI at risk or threatened the community, requiring his immediate removal from general
                                        child’s toy phone (pictured above) confiscated from the
population. Any suggestion that the child's
library by investigators posed a security risk or threat to the community is absurd. Any
suggestion that Ms. McKinney downloading materials for AICs, in furtherance of a more
              “normal” work environment, is an indication that Mr. Wilson poses a security risk
humane and "normal"
to the community is likewise absurd. Furthermore, the only discernable results of the alleged
violations consisted of: Ms. McKinney sending and receiving emails and printing out emails and
attachments for Mr. Wilson related to legal matters, as is done for all AICs who seek legal help
from the OSCI legal assistants; Ms. McKinney sending and receiving emails and printing out
email attachments for Mr. Wilson related to his work to create pro-social programs in the prison
as authorized by the ODOC administration; and Ms. McKinney scheduling legal calls for Mr.
Wilson, as is done for all AICs by the library coordinator. It is impossible to reasonably conclude
that these results rise to the level of removing Mr. Wilson from general population and placing
him in solitary confinement. Again, while the seven-month investigation was pending, Mr.
Wilson remained in general population, living on the incentive unit, with no issues.




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        ODOC also failed to comply with its rule that
sanctions ordered for rule violations are to be                       “Even
                                                                      "Even though I have interviewed the
“individualized” to the circumstances and the incarcerated
"individualized"                                                     Dalai Lama, Maya Angelou and
person. The rule states, "adults
                           “adults in custody found in violation            prominent and inspiring
                                                                      other prominent
of the rules of prohibited conduct are issued individualized          figures, one of
                                                                     figures,       of the most profound
                                                                                                profound
sanctions based upon the totality of circumstances                    experiences for
                                                                                    for me personally
                                                                                           personally has
(including . . . the adult in custody’s
                              custody's behavior, strengths, and      been to interview Mark [Wilson] and
            .” OAR 291-105-0005(3)(c). In this case, a
needs . . . ."                                                        other spiritually-oriented men at
gratuitously punitive sanction was imposed despite the                OSCI. I believe Mark's
                                                                                        Mark’s story of
                                                                                                     of
absence of any harm or threat, and without consideration of           transformation demonstrates the
     Wilson’s exemplary record during his incarceration.
Mr. Wilson's                                                          positive change, redemption and
                                                                     positive
Mr. Wilson not only has been misconduct-free for 30 years,            personal insights that we are all
                                                                     personal
he has been a model for all AICs in his commitment to                          of....”
                                                                      capable of..."
serving others in his community, demonstrating that he is a
compassionate individual of strong moral character. Under             —Khashyar
                                                                      –Khashyar Darvich, Producer-Director,
these circumstances, a sanction of even one day in solitary           Wakan Films, who filmed and
                                                                      interviewed Mark Wilson over a ten-
confinement is inconceivable.                                         year period for a documentary film
                                                                      about men who commit crimes as youth
        Sanctioning Mr. Wilson to any time in solitary                and have experienced transformation
confinement is completely inappropriate, unjustified, and a           through a decades-long process of
clear injustice. Sanctioning Mr. Wilson to 120 days of                accepting and facing their crimes and
solitary confinement, the maximum available sanction for a            dedicating themselves to a personal and
                             – serving no purpose other than
violation, is unconscionable —                                        spiritual practice of yoga and
                           punishment’s sake.
grotesque punishment for punishment's                                 meditation.


Conclusion

        At every stage, this disciplinary proceeding has inflicted a series of harms upon Mr.
Wilson that are wholly unwarranted and unjust, culminating in the grievous 120-day sanction of
solitary confinement that he is now serving. ODOC removed Mr. Wilson from a longstanding,
well-earned work assignment and launched an investigation based on information from a dubious
source, a confidential informant reputed to have fabricated allegations against other AICs. At his
hearing, Mr. Wilson was shackled and prevented from accessing the written materials he had
prepared to defend himself. Then, ODOC issued guilty findings against Mr. Wilson without
providing any factual basis to support them. Finally, despite lacking any evidence that Mr.
Wilson represents a security threat, ODOC imposed the maximum possible sanction of 120 days
in solitary confinement, showing a complete disregard for Mr. Wilson's
                                                                 Wilson’s exceptional record of
ethical and pro-social behavior over the last 30 years. In doing so, ODOC failed to follow state
law and agency rules designed to protect AICs from inappropriate punishments, and defied its
pledge to treat AICs humanely through "the“the Oregon Way.”
                                                      Way."

       In the interest of justice, we request that the final disciplinary order issued against Mark
J. Wilson on August 31, 2021 be vacated pursuant to OAR 291-105-0100, and that Mr. Wilson's Wilson’s




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status as OSCI be restored to its previous status, including his housing in the incentive unit in
OSCI and his position as a legal assistant in the OSCI library.



                                              Sincerely,

                                                      ,?d,i;ill,17`
                                              Julia Yoshimoto
                                              Attorney

                                               /s/ Juan Chavez
                                              Juan Chavez
                                              Attorney




Encl:
End: Summary of Mark Wilson's
                     Wilson’s Record in ODOC

cc:    Colette Peters, Director, Oregon Department of Corrections
       Michael Dembrow, Oregon State Senator
       Mark Wilson




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                       Summary of Mark Wilson's
                                       Wilson’s Record in ODOC
                                   1988 to Present

Treatment and Self-Improvement Programs
Completed hundreds of hours of counseling in more than 100 programs, from 1988 to the
present, including:

         – 2010 Oct
1988 Nov —                   Mental health treatment/counseling, 152+ months

         – 1992 Oct
1989 Mar —1992               Substance abuse treatment, 42 months

     – 1993
1992 —1993                   Anger management counseling 12 months

         – 2004 Sept
1995 Feb —                   Victim Awareness & Empathy Development Group, 108 months

2008 Mar —
         – 2013              Insight Development Group, 60 months

     – present
2008 —                       Empathy Development & Victim Awareness Group, 108+ months

2010 Jun -– 2014 Apr         Violent Offender Group, 48 months

2012 Jan —
         – 2012 Apr          Presence Process Addiction Recovery Class, 3 months

         – present
2015 Oct —                   Impaired Driver Impact Panels, 16+ months


Activities in Service to Others
Extensive commitment to serving others including but not limited to:

     – present
1988 —                       Legal assistant for other prisoners

     – 1998
1994 —1998                   Volunteer visiting room photographer

         – 2004 Sept
1995 Feb —                   Co-founder and co-facilitator of a victim awareness and empathy
                             development group
         – 2004 Sept
1995 May —                   Facilitator for crime prevention group of at-risk youth

         – 2004 Sept
1999 Feb —                   Hospice volunteer for 23 terminally ill prisoners

2000                         Co-creator of a 90-day pilot victim awareness and empathy
                             development group for Josephine County Parole and Probation

2000                         Creator and facilitator of three-day forgiveness seminar

2000 -– 2002                 Co-facilitator of victim awareness panels


                                                Summary of Mark Wilson's
                                                                Wilson’s Record in ODOC 1

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2003 -– 2009             Member of the Western Prison Project (nka Partnership for Safety
                         and Justice) Prisoner Advisory Committee and Legal Advisory
                         Committee

2005 Jul -– 2008 Jan     GED/ABE Tutor

         – 2013
2008 Mar —               Co-founder and co-facilitator of Insight Development Group

     – present
2008 —                   Co-creator and co-facilitator of an empathy development and
                         awareness group

     – present
2014 —                                             Oregon’s Prison Education Program to
                         Assist with University of Oregon's
                                                   program’s credit and non-credit classes
                         advance and promote the program's
                         and workshops in OSCI and ODOC

         – present
2015 Feb —               Co-founder of weekly Buddhist study group

         – present
2015 Aug —               Volunteer yoga and mindfulness instructor for prisoners with
                         developmental disabilities and severe mental illness

2015 Oct —
         – present       Co-creator and co-facilitator of impaired driver impact panels

2016 Jun -– 2016 Sept    Volunteer gardener in the OSCI garden

2018 Sept —
          – present      Co-coordinated stakeholder and community outreach meetings
                         with the Oregon Justice Resource Center; hosted over 40 state
                         leaders, on multiple days, at OSCI to educate them on the
                         experiences of juvenile lifers

2018 Sept —
          – present      Special Advisor to the Oregon Justice Resource Center

2019 Jun                 Wrote A Guide to Preparingfor
                                                     for Your Murder Review Hearing
                         published by the Oregon Justice Resource Center and distributed
                         by ODOC to prisons state-wide

     – present
2019 —                   Co-creator and co-coordinator with the Oregon Justice Resource
                         Center of the Peer Support Program, a peer support mentorship
                         program for OYA youth transferring to ODOC custody

2019 Jun —
         – present       Member of the Oregon State Legislature's
                                                    Legislature’s Prison Education
                         Workgroup, led by Senator Michael Dembrow




                                           Summary of Mark Wilson's
                                                           Wilson’s Record in ODOC 2

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Charitable Giving
Commitment to charitable giving and coordinating fundraising efforts, which have raised more
than $11,000 for crime victims, children, and others in need, including:

     – 2004 Sept
1993 —                       Participated in six annual charitable races and donations for Make-
                             A-Wish Foundation

2004 Jun                     $2,030 for burial expenses for former prisoner

2004 Sept & 2009 Oct         $1,372 for The Dougy Center for Grieving Children, Portland

2007 Aug -– 2009 Dec         $400, personal contribution, for the Sexual Assault Victims'
                                                                                 Victims’
                             Emergency Medical Response (SAVE) Fund administered by the
                             Oregon Department of Justice Crime Victims'
                                                                   Victims’ Assistance Section

2008 —
     – present               Participation in annual walkathon and donations for Gales Creek
                             Children’s Diabetes Camp, American Foundation for Suicide
                             Children's
                             Prevention, Angel Tree

2009 Apr -– 2009 Oct         $7,505.13 for counseling from three children who witnessed their
                             father murder their mother on March 16, 2009

2017 Oct                     Participated in American Red Cross Eagle Creek Fire Relief Fund,
                             total funds raised: $1,000


Education and Vocational Training
Commitment to continuously furthering his education by participating in opportunities including:

■   Vocational Training

1989 Mar —1989
         – 1989 Jul          Print Shop Operations, Vocational Training Program

1999 Apr —1999
         – 1999 Feb          End of Life Hospice Care Training, 36 hours

1999 Feb —
         – 2004 Sept         Monthly In Service Hospice Training

2000 Mar                     Basic Meditation Training, 30 hours

2001 Feb                     Advanced Family Mediation Training, 12 hours

2005 Jun                     TELT -– GED/ABE Education Tutor Training

2010 Nov —
         – 2011 Apr          Business Technology, Computer Aided Design
                             (AutoCAD)certification program


                                                Summary of Mark Wilson's
                                                                Wilson’s Record in ODOC 3

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2015 Mar                      Protecting Human Research Participants web-based training course
                              from the National Institute of Health

2015 Aug -– 2016 Mar          Certified Yoga Instructor Training, 200 hours


■   Higher Education

1988                          Completed half credit of high school and earned high school
                              diploma

1988 Fall                     Began taking college-level course through Chemeketa Community
                              College

1995 Mar 17                   Associates of Arts Degree, Chemeketa Community College, 3.52
                              GPA

2002–2003
2002-2003                     Completed three law classes offered by Ohio University

2017 Winter                   Teaching Assistant, University of Oregon class Autobiography as
                              Political Agency II

2017 Spring                   Teaching Assistant, University of Oregon class Prison Narratives
                              and Social Change

2018 Winter                   Teaching Assistant, University of Oregon class Autobiography as
                              Political Agency

2019 Jun 6                    Bachelor of Arts Degree, Majoring in General Social Sciences with
                              a focus on Crime, Law and Society, University of Oregon, GPA
                              4.08

2020 Winter                   Teaching Assistant, University of Oregon class Autobiography as
                                                       master’s-level credit
                              Political Agency; earned master's-level

Institutional Employment History
Held nine jobs during over thirty years of incarceration, including:

Corridor Orderly              1988 Jul -– 1988 Sept

Legal Assistant               1989 Oct —– 1990 Jun; 1991 Nov —  – 2004 Sept; 2012 Jul -– 2021 Jan.
                              Mark Wilson has worked as a legal assistant throughout most of
                              his incarceration. He finds this position the most rewarding
                              because it is challenging and allows him to be of service to others
                              in very meaningful ways.

                                                 Summary of Mark Wilson's
                                                                 Wilson’s Record in ODOC 4

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Legal Clerk                     1989 Aug —
                                         – Dec 1989; 2012 Feb —
                                                              – 2012 Jul

UNIBASE Telephone                        – 1991 Sept
                                1990 Aug -1991
Operator/Data Entry

Clothing Room Worker                     – 2005 Jun
                                2004 Oct —

Education Clerk                 2005 Jun -– 2006 Jan

GED/ABE Education               2005 Jul -– 2008 Jan
Tutor

Engineering Support Unit                 – 2010 Apr
                                2008 Feb —
GIS Technician

Print Shop —
           – Pre-press          2011 Apr -– 2012 Jan
Assembly


Publications
Published a vast number of articles over the past 30+ years of incarceration, educating the public
on criminal justice news and the experiences of incarcerated people.

 Catholic Sentinel, Portland, OR
        Catholic Community Flourishes in Salem Prison                                    1989 Apr 28
        Hoping the Padre Serves a Stiff Sentence                                         1989 May 26
        Prisons Need Long-Term Planning                                                  1989 Jul?
                                                                                              Jul 7
        Parable Brings Out the Rich Man in All of Us                                     1989 Oct 6
        Murder is Murder No Matter Who Commits It                                        1991 Feb 1
        Inmate Has Fond Memories; Best Wishes to Prison Chaplain                         1999 Nov 5

 The Printer's
     Printer’s Northwest Trader, Portland, OR
        Rehabilitation Training, You Can Help                                            1989 Aug 8

 Legal Assistant Today, Costa Mesa, CA
        Not Always Frivolous (Part 1)                                                    1996 Jan/Feb
        Civil on the Side (Part 2)                                                       1996 Mar/Apr

 Prison Legal News, Lake Worth, FL
        
        * Regular Contributing Writer                                                         – Present
                                                                                         1998 —
        For a list of articles, visit www.prisonlegalnews.org and search for "Mark
                                                                             “Mark
        Wilson"
        Wilson”

                                                    Summary of Mark Wilson's
                                                                    Wilson’s Record in ODOC 5

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 The Oregon Defense Attorney, OCDLA, Eugene, OR
       Post-Conviction Relief: The Last Hope                                             2002 Mar

 Hope Magazine, Brooklin, ME
       Finding the Heart                                                                 2002 Nov/Dec

 The Mindfulness Bell (Issue No. 32)
       Practicing the Mindfulness Trainings in Prison                                    2002/2003
                                                                                         Winter

 Criminal Legal News, Lake Worth, FL
       
       * Regular Contributing Writer                                                              –
                                                                                         2018 Dec —
       For a list of articles, visit www.criminallegalnews.org and search for            Present
        “Mark Wilson”
        "Mark Wilson"


 The Appeal, https://theappeal.org                                                       2020 Sep 14
       Far From Beyond Saving, Prison Youth Deserve Every
       Opportunity for Meaningful Rehabilitation


Additional Evidence of Rehabilitation
Highest possible incentive level and eligible for incentive/honor housing and other privileges
since 1993.

Discipline Record: Prior to the Final Order at issue here, in August 2021, Mark has only incurred
a single, low-level prison rule violation for being in an unauthorized area on August 22, 1991.

No drug or alcohol use since 1990, 30 years ago.

No participation or affiliation with prison security threat groups or gangs.

No acts of violence, criminal or abusive behavior against any other person during his 32 years of
incarceration.




                                                    Summary of Mark Wilson's
                                                                    Wilson’s Record in ODOC 6

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             z
                          regon                                  Oregon Department of Corrections
                                                                                  Office of the Inspector General
                                                                                             2575 Center Street NE
                                                                                           Salem, OR 97301-4667
                    Kate Brown, Governor                                                      Voice: 503-945-0988
1859                                                                                            Fax: 503-373-7092

                                                                                                          oRECON




 October 28, 2021                                                                                                 6.




 Mark Wilson SID# 7449142
 Oregon State Correctional Institution
 3405 Deer Park Dr SE
 Salem, OR 97310-9385

 Dear Mark Wilson,

 This will acknowledge receipt of a written request to vacate case number 2103 OSCI
 0056 OSCI 35 in the interest of justice. This request was submitted by Julia Yoshimoto
 and Juan Chavez of the Oregon Justice Resource Center on your behalf. Our office
 received this request on September 29, 2021.

 The above mentioned case, as well as your overall misconduct and institution history,
 have been thoroughly reviewed. Your case was handled in accordance with the
 provisions outlined in the Department of Corrections rules governing Prohibited Conduct
 and Processing Disciplinary Actions (OAR 291-105). Our findings show there was
 substantial compliance with the rule, the findings were based on a preponderance of
 the evidence, and the sanctions recommended were appropriate given the
 circumstances of this case and your history.

 At this time I find no compelling reason to vacate, modify, or re-open this case.

 Sincerely,

                  Azdte-

 Craig Prins
 Inspector General

 /mds
 cc: Rob Persson, Assistant Director
     File
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                                      CERTIFICATE OF SERVICE

             I certify that on November 29 , 2021, I served the foregoing JEREMY NOFZIGER'S

     DECLARATION IN SUPPORT OF DEFENDANT JERRY PLANTE'S RESPONSE IN

     OPPOSITION TO PLAINTIFF'S MOTION FOR TEMPORARY RESTRAINING ORDER

     upon the parties hereto by the method indicated below, and addressed to the following:

     Juan C. Chavez                                          HAND DELIVERY
     Franz H. Bruggemeier                                    MAIL DELIVERY
     Oregon Justice Resource Center                          OVERNIGHT MAIL
     PO Box 5248                                             TELECOPY (FAX)
     Portland, OR 97208                                    X E-MAIL
                      for Plaintiff
            Attorneysfor  Plaintiff                        X E-SERVE




                                                           s/ Shannon M. Vincent
                                                                          Vincent
                                                        SHANNON M. VINCENT #054700
                                                        Senior Assistant Attorney General
                                                        KENNETH C. CROWLEY #883554
                                                        Senior Assistant Attorney General
                                                        Trial Attorney
                                                        Tel (503) 947-4700
                                                        Fax (503) 947-4791
                                                        Shannon.M.Vincent@doj.state.or.us
                                                        Sharmon.M.Vincent@doj.state.or.us
                                                        Kenneth.C.Crowley@doj.state.or.us
                                                        Kermeth.C.Crowley@doj.state.or.us
                                                        Of Attorneys for Defendant




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           SMV/jm8/151894191.docx
                                                  Department of Justice
                                                  1162 Court Street NE
                                                 Salem, OR 97301-4096
                                          (503) 947-4700 / Fax: (503) 947-4791
